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           Exhibit 11
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  CENTER FOR DRUG EVALUATION AND RESEARCH


                     APPROVAL PACKAGE for:


APPLICATION NUMBER: 050742


TRADE NAME: Mectizan


GENERIC NAME:           Ivermectin


SPONSOR: Merck Research Laboratories


APPROVAL DATE: 11/22/96
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            %,
                   Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 3 of 382
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~=                   DEPARTMENT     OF HEALTH & HUMAN SERVICES                               Public Heaw      Sewice
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  ‘* %,,.
     >
                                                                                             Food and Drug Administration
                                                                                             Rockville   MD   20W7
                                                                                  .



                 NDA 50-742

                 Kenneth R. Brown, M.D.
                 Exetxtive Director
                 Worldwide Regulatory Liaison                                                    NOV22 19%
                 Biologics/Vaccines
                 Merck & Co., Inc
                 West Poin~ PA 19486-0004

                 Dear Dr. Brown:

                 Reference is made to your March 29, 1996 new drug application (NDA) and your resubmission
                 dated October 15, 1996, submitted under section 507 of the Federal Food, Drug, and Cosmetic Act
                 for Tablet STROMECTOL@ (ivexmectin) 6-mg.

             We acknowledge receipt of your amendments        dated April 16, June 28, July 9,    16, 22, and 31,
             August 23, and 28, and October 4, 1996.

             This new drug application provides for the treatment of strongyloidiasis    and onchocerciasis.

             We have completed the review of this application, including the submitted draft labeling, and have
             concluded that adequate information has been presented to demonstrate that the drug product is
             safe and effective for use as recommended in the enclosed draft labeling.        Accordingly, the
             application is approved effective on the date of this letter.

             The fml printed labeling (FPL) must be identical to the enclosed draft labeling. Marketing the
             product with FPL that is not identical to this draft labeling may render the product misbranded and
             an unapproved new drug.

             Please submit sixteen copies of the FPL as soon as it is available, in no case more than 30 days
             after it is printed. Please individually mount ten of the copies on heavy weight paper or similar
             material. For administrative purposes this submission should be desigmted “FINAL P~TED
             LABELING” for approved NDA 50-742. Approval of this submission by FDA is not required
             before the labeling is used.                                                                   ..

             Should additional information relating to the safety and effectiveness of the drug become available,
             revision of that labeling may be required.

             In addition, please submit three copies of the introductory promotional material that you propose
             to use for this product. All proposed materials should be submitted in draft or mock-up form, not
             final print. Please submit one copy to the Division of Anti-Infective Drug Products and two copies
             of both the promotioml material and the package insert directly to:
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Page   2
                                                                         .
                                   Food and Drug Administration
                                   Division of Drug Marketing, Advertising       and Communications,
                                   HFD-40
                                   5600 Fishers Lane
                                   Rockville, Maryland 20857

Validation of the regulatory methods has not been completed. At the present time, it is the policy
of the Center not to withhold approval because the methods are being validated. Nevertheless,
we expect your continued cooperation to resolve any problems that may be identified.

Please submit one market package of the drug when it is available.

We remind you that you must comply with the requirements for an approved NDA set forth under
21 CFR 314.80 and 314.81.

If you have any questions,        please contact:

                                  Ms. Pauline Fogarty
                                  Regulatory Health Project Manager
                                  (301) 827-2125


                             -.                     Sincerely   yours,
                    .-


                                                     w~fq—?
                                                    David W. Feigal, Jr.,    .D., M.P.H.
                                                    Acting Director
                                                    OffIce of Drug Evaluation IV
                                                    Center for Drug Evaluation and Research




                                                                                                       ,“
ENCLOSURE
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                                                       .
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                         MEDICAL OFFICER REVIEW OF NDA
                                          NDA 50-742
Applicant:               Merck Research Laboratories
                         Sumneytown Pike
                         West PoinL PA 19486
                         Contact:      Kenneth Brow MD
                                       Executive Director, Regulatory Affh.irs
                                       (610) 397-2552

Date of submission:             29 March 1996
CDER stamp date:                1 April 1996
Date review completed:          23 September 1996

Drug identification:
       Generic name:                     Ivermectin
       Proposed trade name:              Stromectol@

Molecular formulae:    Cq8H7d01g(component HzB1~
                       C,THnO1d (component HzB,~)

Molecular weights:     875.10 (component H2B1J
                       861.07 (component HzB1~)

Chemical name:

        5-O-demethyl-22,23 dihydroavennectin       A1,;22,23-dihydroavennectin
        B1,/5-Odemetiyl-25de(metiylpropyl)-22,23dfiy&o-25-(l           -methylethyl)   avermectin
        A1~;22,23-dihydroavennectin B1~

structural   formula




                                    H,
                                            H
                                            H,




                                                              Ii
                                                       canjmentE&R - C%
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 Iverrnectin      in the treatment      of Strongyloidiasis

 1 The disease
         a. Life cycle
        b. Clinical manifestations
        c. Therapy

 2. OVerviewof studies submitted in support of indication

 3. study
        004 (Gentiiini)
       a Study ~
       b. Deviations from protocol
       c. AppIicant’sfindings
       d MO findings
       e. Conclusions

4. Study 020 (Dreyer)
        a. Study summary
        b. Deviations from protocol
        c. Applicant’s fidings
        d. MO findings
        e. Conclusions

5. Studies O14 (Berk) and O16 (GamI)
         a. Study summary
         b. Deviations from protowl
         c. AppIieant’s findings
         d MO iiidings
        e. COnchsions
                           ..
6. WI-10 Study” (Mar@
        a. Study summary
        b. Applicaut’s tidings
        c. MO findings
        d. Conehu$ions

7. Submitted literaturcj including Naquira study
        a Study summq
        c- Applicant’s findings
        d MO fhdings
        e. COxleluskma

8. Statistical considerations

9. overall conclusions

10. Recommendations
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NDA 50-742                                                               Page 2
Me&an” (Ivennectin)                                                  Introduction




Pharmacologic category:    averrnectin antiparasitic

Dosage form: 6-mg scored tablets

Route of administration   oral

Proposed INDICATIONS       AND USAGE section




Proposed DOSAGE AND ADMINISTRATION                     section:




                                                                                    /
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NDA 50-742                                                                                Page 3
Mcctizm* (Ivernwlin)                                                                 lntrodudion




Materials reviewed:

       1. NDA 50-742, volume 1.1 and volumes 1.15-1.27

      2. Additional information submitted 9 JuIy 1996. 34 volumes. (included all information
      previously submitted as a Marketing Authorisation Application w]      to the French
      regulatory authority)

       3. Safety Update report submitted31   July 1996. 1 volume.




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NDA SO-742                                                                                                                               l’agc 1
Mcclti” (lvmncdin)                                                                                                               Stiongyioid&iS


1. The disease
         A. Life eyclc:
                   Srvngyfoidcs stemoralis (heretofm refh        to as SS) is a nematode paratite of UKclam Phasmidia,
which also inchxles such humsn parasites as the hookworms (Aneylostoma and Neeator), Tn”choM-ong@s, and
Angiosmmg.vlus. These psrasites aIl develop from the egg stagq through f- awecssive Iamal stages, tbcn finally
mature to the adultstwe. SS has a lifeeyelewhichis uniqueamongall humanhelminthparasitesin that it has a free-
living phase of the Iife-qcle and ean al~ continually reinfd the s&e W

         The eornplete SS life cycle is demonstrated in the following diagrsm:
                           ..   ----    .. .                   .                       .. -- .. .    . —- .. .


                           LIFE CYCLE OF STRONGYLOIDES                                                               .
                                   !. PARASITIC $TAGESA~
                      IN TRANSIT       THROUGH
                                                         ,
                      AND IN THE       LUNGS     *                                ‘[      TRACT       (ESPECIALLY
                                                     I
                                                                   “n




                                                                                        IINTERNAL{ROUW

                                                                                         @A~hk          Q(WTli OR
                                                                                                                 m   LUNC

                                                                                         WITHOUT d) ENTERS
                                                                                         MUCOSAAND bEpOSfTS
                                                                                         fwso WH!CH HATCHAND
                                                                                         ES-     INTO INTESTINE.
                                                                                         11+~ I[)PASS boWN AND
                                                                                         ARk tvAcuAt ED, OR(2)
                                                                                         TRANSFORM INTO FILAR
                                                                                         lR)Rti LARVAE AND




                 I
                 UNbEFl OPTIMUM                cOt4tNtfOt4SINTHE
                 so IL FREE -LIVN.lG         DEVELOPMENT                  II%I%%M:A                                          I
                  t.AAY CONTINUE         [NDEFIN ITEt_Y
                 I                                                        t
                 ?-
                                        METMODS OF (NWCTION
                       i. HLAfIttoRM LAtiAE ENTER SKIN IN CONTACT ww                                     SOIL
                           A. FoLLoWING  OIRECT nH‘F LARVAL DEVELOPMENT
                           6. FoLLoWINGFREE-LIvING  CYCLE N-4THE SO(L
                        2.F{LARtFORM       LARvAE            DEVELOP    t3EFoRE   LEAVING           PATIENT
                          A. FoLLOwI~JG          DEPosI moN ON T HE SOIL,ENTER                      EXPOSED sttm
                           B. ENTER PER(ANAL             SKtN AND lNlmATE         AUTOINFECTION
                           C ENTER INTESTIIJAL  MUCOSA,                   MIGRATE         TO LUNG AND                (.::.
                             INITIATE AUTO IWECTION
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    NDA 50-742                                                                                                         Page 3
    M&”     (iwmuxiin)                                                                                         Slrongyloidiasis
                                                                                              .

             The following aspecls of the life cycle are relevant to clinical trial design:

    .       Theusualmodeof tnmsmkion iavia pemutaneouspenetrationby an infectivethird-stagelarva. Oncethis
            occurs,the pre-patent period (i.e., the time h initial infection to detection of SS larvae in the stool) is
             roughly 28 days. Therefbre, ifpaticuts are treated for this inf’on but then return to a potentiall@fkclious
             environment follow-up stool examinations beyond that time point will not be able to distinguish relapse of the
             original inkction (i.e., drug fdure) fi-omm-infection.
    .        lk adult fde      is not nearly as prodigious as most of her nematode relatives. It is estimated that the daily egg
            output of a mature female SS is approximately 30 eggs per day. (Comparatively, an aduh Asearis
            Iumbricoides fernalelays approximately 200,000 eggs per day.) As a resuk detection of SS larvae in the stool
            of an infected patient requkes concentration methods. The most sensitive method for direct parasite dekcl.ion
            is the Baermann technique, m which a relatively large stool qxcimen can be processedsuchthatthe larvaeof
            SS. if press% will migrate out of the specimen This technique was reportedly udlized for all parasitologic
            specimens processed in the trials submittcxiby the applicant fbr this indication.
.           %c.ause of this low-level shedding of larvae in the stool of the ho% the definition of ‘cure’ should be based on
            more than a single negative stool examination. There does no+ however, appear to be a umensus in the
            literature as to how many consecutive negative stools shotdd be requira and over what period of time post-
            therapy they should be checked.
.           Infection may persist for years, due to the internal autoreirdkction aspect of the life cycle. Larvae hatched in the
           host intestine may undergo accelerated development into infective third-singe lame while still in the intestinal
           lumen. These infective larvae then penetrate the gut epitheliumsor @anal skim enter the host circulati~ and
           repeat the pulmonary + trachea+ gastrointestinal migration which results in the continued presence of
           sexuaIlymature, parthenogenic finale worms. Elderly adult veterans of the Second World War, particularly
           those who were prisoners of war in the Pacific theatre of operations, have been diagnosed with strongyloidiasis
           30+ years after their initial exposure.
.          Strongyloidiasis can become disseminated if the host becomes immunocompromised. The medical literature
           documents cases in which quiesent infections dkerninate when the host is given immunosuppressive
           chemotherapy. The advent of the HIV epidemic has brought about an increased number of cases of
           disseminated Strongyloidiasisin those geographic areas in which the two&eases are both p-t.
           Disseminated disease is notoriously difficult to indicate via anthelminthic therapy alone.


         B. Clinical mmifkstations
         In general the severity of clinical symptoms is related to the intensity of the infection Law-level infections can
be rehtivdy asymptomadc. Heavy i.nfkdona, pSrtiClddy when di              “ qcanbefatal-
         The tiected patientcanmmifeatsymptomswhichcomqond to the migrationofthe parasite. Initial
_m&ti~wtixrntiti                          *-_kem@-@Wti&Wldti~b-
h&@ion. b*lm=amti~M-tim                                        *a~@~P-*fi=**
migrate intotheahecdi.      ‘fhiapmeeaamayrestdt      ineagk~~b~                                  onia-like puhmnmy symptoms.
FolIowinganival in the qpta of thesmallma         f-e     worms rapidly ~     and invade the tissues of the wfi              .
~fd=mvetiat~f-at                        hb=oftietimhtidq~                         ~-e~=tiqp-
Theseeggspromptly hatch and the first-stage (rhabditiform) lamae burrow towards the intestinal lumen In light
infections, intestinal symptoms may be mild. In heavy infections, the mucosa may be honeycombed by the adult worms                 ““
and lamae, and sloughing of extensive patches may occur. Watery, mucous and blood-laden diarrhea can result- The
patient may experience various de~ees of abdominal pain with alternating bouts of diarrhea and constipation
Secondaq bacterial infectio~ including bacteriid sepsis, may result from such massive compromise of the intestinal
epitheliums.Leukocytosis and msinophilia are.common features of this illness. Cutaneous mani$sstations, particularly
urticaria and Iama currens (similar to larva migrans but more rapid in evolution) may also be seen.
          In disseminated disease, a variety of clincial manifestations may result from the migration of the SS larvae.
Pulrnomuyinfikatcs and progressive respiratory compromise can result, ~~lhichwill progress despi[e the initiation of
empiric antibac(e~ialtherapy. Central nervous syslem involvement has also been described (FIB: in this NDA, the
appllcmf is not swking a disseminated strongyloidiasis indics[ion.)
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  NDASO-742                                                                                                        Page 4
  Medizan” (Ivcrmxtin)                                                                                       Swcmgyloidimis

           C. Therapy
           CurrcntJy,there is one FDA-approved agent for the treatment of strorgyloidiasis: thiabendazole (Minte.@
  Merck). This agent was approved for this indication in 1966 and remains the maimtay of therapy for this disease in the
  US. The approval of this indication was based on a total of i 03 patients with strongyioidiasis treated by investigators in
 the United States, with a reported 89?? cure rate, and an additional 2% -of        stron~loidiasis submitted-liom
 international clinical studies, with a reported cure rate of 99% (M. Albueme, Medical Officer review of NDAs 16~%
 and 16-097, dated 26 January 1%7). These studies were presumably open-label and noncomparative, as there was no
 accepted, reasonably efficacious therapy for strongyloidiasis at that time. (Unfortunately, the nature of the trial desigo of
 the various studies submitted in support of this application is not discussed in Dr. Albuerne’s review.)
           Although thiabendazole is the only currently-approved drug for this indication the precise mechanism of its
 anti-strongyloidcs activity is unclear. According to Grove in his reference textbook Sronmdoidiasis: A maior
 roundwoxminfection of man (Londom TayIor & Francis, 1989):

            When the actions of thiabendazole on the various phases of infkctionwith S. ruffi in mice were investigate@the
            drug was found to have little effect on migrating larvae, nor did it eradicate adult worms from the intestinal
           tract. Excretion of eggs in the fames was markedly reduced, howevw, this was shown to be due to impaimncnt
           by thiabendazole of the fkcundityof parasitic females in the gut. Thiabendazole had no efkct on S. stercorak
           filariform larvae in the muscles of mice...
           These findings suggest that thiabendazole cannot be relied upon in treatment. It appears to be inactive against
           both migrating larvae and intest.imdadult worms. its apparent effkacy being due to a marked reduction in the
           fecundity of parasitic finale adult worms. It is possible, however, that this action reduees considerably the
           intensity of infection. (Page 205-6)

On the other hand, there is evidence from animal studies that ivermectin has better Iamicidal activity. In the chapter
discussing the rat model of strongyloidiasis (which involves a difkrent species, Sfrongyloides rutt~~,the above-
ref~eneed text discusses the anthehninthic activity of the avcrmedns:

          Avcnnectin BI act$ by p*aIyzing worms and permitting host responses to remove the parasite. Paralysis of the
          worms occurs when avermectin B, stimulates the pre-synaptic release of gamma aminobutyric acid which
          blocks the postqnaptic transmission of nerve impulses. Averrnectin was found to be efYkctNeagainst S. rutti
          and totally suppressed the fecal larval excretion. Avermectk acted on tissue migrating huwae and completely
          prevented the appearance of S. ratti in the d     intestine. (Grove, op. cit. at page 325)


          At presentj thiabadazole appears to retain its activity against this parasitq drug resistance does not appear to
be a aiginificantproblem- Tolerability, on the other Ix@ does appear to be au issuq epigastric &tress, diarrh%
nausea, vomiting, dizziness and Weakss am common thiatnmdazole-related adveme drug efkcts. The Minted
producl label calls fix a dose of approximately22m@&givm           BID fortwocxmseah .ve days. (Note that the
thiabdazole regimens in the atudiea detailed below are threeday reginms. IvfaqI parasitic disease exper@ including
the WHO, recommend a threeday thiabendazole reginxm fm the treatment ofintestinal strongyloidiasis.)
Gastroiitcstinal side-effects are sometimes severe eaough to interfere with patient cxxnpliancewith this regimen.
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 ~DA 50.742                                                                                                           Page 5
 Mcclizmm(IvamcUin)                                                                                           St ongyloidiasis

 2. Overview of studies submitted in support of this indication.

 The applimnt has submitted five clinical studies in support of this indication.




   T            t
                                  Ivermecin
                                  arms
                                                Comparator         Study
                                                                   design
                                                                                    Patknt-

                                                                                    I
                                                                                    kvd data
                                                                                    submitted?
                                                                                                 Cmsiderd
                                                                                                 ‘@VOtd’ by
                                                                                                 applicmt?     I
                                                                                                                iiunber
                                                                                                                  randomized




   T                                                                            I
                                  single dose   albendazole        open label       Yes          Yes             ABz      27
                                                BIDX3              random                                        IwX1     29
                                                days
                                                                                                 no.



                                                                                                               I
                                  single dose   thiabendazolc open label            yes                         Ivcrxl 4
                                  QDX2


                                  single dose
                                                BIDX3
                                                days

                                                thiabendazolc
                                                              random


                                                                 open label
                                                                                I   yes
                                                                                                                IverX2 6
                                                                                                                Thiabas 6



                                  QDX2          BIDX3            random
                                                days

   D20/Brazil       Dreyer        singledose    thiabendazolc open label            yes          no             Iverxl 17




                                                                -h
                                                BIDX3                                                           IwX2 17
                                  QDX2                        random                                            -rhiabal 15
                                                days

                                                albendazole     open label          no           yes            m        209
                                                BIDX3           random                                          k? x I 208
                                                days
                                                                                I
                             -.

As can be seen above. of the two studies considered ‘pivotal’ by the applicanL only one has patient-level data submitted
with the NDA This was&cussed with the applican~at the ~e of ~eFileability-dctermina ‘tioI.Land the applicant
agreed to attempt to recover some of these data.
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NDA 50-742                                                                                                      Page 6
Mcclizan*~VCMS@iIS)                                                                   .                 Stmngyloidi=is


3. Study 004 (Gentilini): An open, randomized study of dkq,    safety, and tolerability of ivermectin single dose vs.
albendazde (threeday course) in the &eatmentof patients infected with S&ongyloides sfexoralis.

         A Study ~:
         lle foI1owingmmmmrkm         this study (t.akmibmpages D-2148-57, volume 1.21 of NDA):           —




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 MK-0933 Prot. No. 004
                                                                                                         (f’.7-
 Prof Gentilini

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    11.    SUMMARY         OF PROTOCOL               AND STUDY      PROCEDURES

              Protection of Human Suhiects

              This study was conducted in conformance with applicable country or local
              requirements regarding ethical committee review, informed consen~ and other
              statutes or regulations regarding the protection of the rights and welfare of
              human subjects participating in biomedical research.

          B. Investi~atm-s

             Prof Marc Gentilini, M.D./Annick Datry, M.D.
             Deparment De Medecine Tropical*Parasitologie
             Hopital De La Salpetriere
             43 BD de 1’Hopital
             75013 Paris, France

          c. Ohiective
             To study the efficacy, safety, and tolerability of ivermectin vs. albendazole in the
             treatment of patients infected with Strongyloides stercora!is.

          D. Patient SeIection

             Approximately 50 patients were entered into this study.

             Patient Inclusions

             1. Patients infk.ctedwith Strongyloides stercoralis.

             2. Patients were between 5 and 70 years of age.

             3. An examination of the stool done 6 days or less before entry into the study
                was positive for Strongyloides stercoraIis latvae or duodenal aspirates or
                jejunal biopsies were positive for the larvae.

                                                                                                    .,




MK-0933U3C869
           DOC                                                                          07FE1396
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  MK-0933 Prot. No. 004
  Prof. Gentilini

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         D., Patient Selection (Cont.)

            Patient Exclusions

            1, Age under 5 or over 70 years.

            2. Women of childbearing potential.

            3. Medical histo~ of mental illness, seizure, or other serious illnesses.

            4. SGOT or SGPT greater than twice the upper normal limit, creatinine greater
               than 2.0 mgll 00 rnL or grossly abnormal BUN or urine analysis.

            5. An abnormal ECG or history of an abnormal EEG.

           6. Moderate or severe anemia, i.e., hemoglobin less than 10 g or hematocrit less
              than 30%; any abnormality of white blood cell count and/or differential
              (except eosinophilia).

           7. Any past or concurrent medical illness which the investigator felt might
              influence either the outcome of the study or interpretation of the data
              accrued.

        E. Study Design

           General Description

           This study was an opeq randomized study of the efficacy, safkty, and tolerabiliq
           of a single ivermectin dose vs. albendazole for 3 days in the treatment of
           ambulatory patients who have an infection with Szron@oides stercorah.

           Although the study was open in design, stool specimens were examined by one
           single expat who was to remain blinded as to the treatment allocations.




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                                                                                                   .5
 MK-0933 Prot. No. 004
                                                                                                  6’
 Prof. Gentilini

                                              -5-

        E    Study Design (Con&)

             Patients who satisfied all inclusion titeria (except as noted in section LI.LB.2)
             and none of the exclusion criteria specified above were randomly allocated to
             receive either a single dose of ivermectin (target dose of 200 mcg/kg) or
             albendazole (200 mg b.i.d. for 3 days). It should be noted that the actual dose of
             ivermectin administered to patients in this study was approximately 170 mcg/kg
             (medkn 169 mcgilcg). The reason for this was that the dosage schedule (i.e.,
             combinations of ivermectin 6-mg tablets by body weight) included in the
             protocol for the study was in error. The difference between the administered
             dose and the target dose is not considered meaningful [8].

            The efficacy and stiety of iverrnectin was evaluated on the basis of physical
            examinations and laboratory tests prior to treatment and on Days 7 (5 to 9), 30
            (26 to 34), and 90 (85 to 95) posttreatment.

            In the event that mild or moderate reactions to drug treatment occwed, they
            could be treated with aspirin and antihistamines; other medications were not to
            be administered during the first week of drug administration except for necessary
            treatment of patients with severe aIlergic reactions.

            Although not required by the protocol, patients remained in France throughout
            the study period, thus eliminating the confounding variable of reinfection.

            Patient Allocation

            After completion of the infoxmed consent procedures and documentation of
            strongyloidiasis evidenced by stool examinatio~ patients were randomized to
            receive either ivermectin or albendazole according to an allocation schedule.
            The patients were dosed at least 2 hours before breakt%st.

            During the week prior to the study, the patient was screened to assure that
            hehhe was in good physical condition. The patient had a physical examination
            and a laboratory screen. Vital signs were recorded on Day -1 (the day before
            drug administration).




MK-0933U3C869
           MC                                                                        07FEB96
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 MK-0933 Prot. No. 004
 Prof Gentilini

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        E Studv Design (Cent+)

               Treatment

               Ivermectin wasprovided as6-mgcommercial tabIets. Thedose closest to that
               calculated on the basis of body weight was utilized. A schedule of recommended
               combinations of these tablets for patients who weigh between 15 and 84 kg is
               shown in the following tab!e (Table 1).

                                                      Table 1

                           Ivennectin Dosage Recommended Tablet Combimtions
                                       Based on Patient Body Weight

                                       Patient Body
                                       Weight (kg)          Tablets (6 mg)
                                          15t025                 ‘/2
                                          26 to 44                1
                                          45 to 64                1%
                                          65 to 84                2


           Albendazole was” provided as 200-mg tablets. Each patient in this group
           received two tablets each day for 3 days for a total of 6 tablets.

           Failure to respond to therapy could be determined in 5 to 9 days, and although
           there were no provisions in the protocol for the retreatment of treatment fidlures,
           the investigator did retreat all treatment failures as follows:

           .     Ivermectin-treated patients who t%.iledwere treated with two doses of the
                 same ivermectin dose as previously administered 24 hours apaxt.

           .     Albendazole-treated patients who failed were treated with a single dose of
                 iverrnectin in accordance with their body weight (Table 1).




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        F. ~inical    Observations    and Laboratow Measurement

            The patient was evaluated medkally for suitability for the study. Based on =WS
            and symptoms of disease, the investigator categorized the patient’s clinical illness
            as mild, moderate, or severe. Categorizing the patient’s severity of illness was
            not formally required by the protoml; however, such art evaluation is in keeping
            with the exercise of good clinical judgment in comparing patients in this clinical
            setting.

            Table 2 shows the schedule of clinical observations and laborato~ measurements
            during the study.

                                                          Table 2

                     Schedule of Clinical Observations and Laboratory Measurements

                                                                     Day 7      Day 30       Day 90
                              Prcstudy     J         2        3     (5 to 9)   (26 to 34)   (85 to 95)

       Drug Administration                 x
                                                     or
                                          x          x       x
       Physical Examination      x        x                           x           x            x
       Vital Signs     -         x        x                           x
       LabolatoIy Saf@y          x                                    x
       Stool Examination         x                                    x           x            x
       HOphili.a+                x                                    x           x            x
       +This t~ @, hypcmsinophilia)   was not a specificprotml r~~ent    nor ~   the ~o~tion
        made part of a MFtL analysis. However, the information was part of a sub-protocol at the
       ~        “ site and    Itcdbyt.hc investigative tcm[ll].




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        F. Clinical Obsemations and Laboratory Measurements (Cont.)

           Obsewations” and measurements relating to efficacy and safety are desc~ed
           below:

           Eflicacv Measurements

           Baseline evaluation of Strongyloides stercoralis was to be established in each
           patient prior to study drug administration. Although the protocol allowed
           duodenal or jejunal biopsies for the determination of S. stercoralis, only
           examination of stool samples by the Baermann technique [10] was used in the
           study. All stool specimens were examined by one single expert who was to
           remain blinded as to the treatment allocations.

           Although the protocol allowed for severrd diagnostic examinations for detection
           and quantification of S. stercoralis in stools, parasitological cure, the primary
           measure of efficacy, was assessed using three repeated Baerrnann stool
           examinations during each of the three follow-up periods on (Days 5 to 9, 26 to
           34, and 85 to 95).

          The Baermann technique [1O] is a method examining a stool specimen suspected
          of having small numbers of Strongyloides larvae and uses the modified Baermann
          apparatus. The technique is dependent on the migration of active larvae out of
          the fecal material, through a wire gauze covered with gauze padding and into
          water, where they settle out. The procedure is as follows:

          a. Fti a fimneI (6-inch) with water (attach rubber tubing with a pinch clamp to
             the bottom of the finnel) and place the wire gauze, one or two layers of gauze
             padding on it, on the finnel.

          b. Place 100 g (or other weighed amount) of fecal material on the gauze padding
             so that it is covered with water.

          C. Mow     the apparatus to stand for 2 or more hours, draw OR 10 fi Of fluid bY     .
             releasing the pinch clamp, spin it down in a centrifuge and examine the
             sediment with a magnifier or low power microscope to count and confirm the            .
             species of the larvae.




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                 F. Clinical Observations      and Labomtow Measurements (Cont.)

                    Because the investigator gave actual counts (number of laxvae per grn stodj for
                    some of the patients and plus (+) or word designations for others, it was decided
                    to use the following scheme to have consistency for all patients (Table 3).

                                                            Table 3

                          Scheme to Translate Between Lamae Counts, Word Designations and
                                                 “PIus” Designations

                                   Word           Larvae Counts Per
                                Designations          grn stool         ‘Plus’ Designations
                              Few                       1to 15                 +
                                                      16t030                   -H-
                              Many                    31 to 100                +ii-
                                                    >100


-----
                   The above scheme is presented only for purposes of quanti&ing the level of
                   itiestation (intensity of infection) per patient and important ordy to determine
                   comparability of treatment groups and to examine whether there is an interaction
                   between rntensity of infection and clinical outcome. This scheme was not
                   specifically stated in the protocol; however, MRL believes that such an analysis
                   between intensity of inkction and outcome is vahd. Since intensity of infixtion
                   (in addition to age, s% race, and severity of infkction) was found to be not
                   related to are rate at the CY=O. 10 level of significance (see H Statistical Planning
                   and Analvsis) it was dropped from the statistical model, leaving only treatment
                   group.




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            F. ~inical Observations and Laboratory Measurements (Cont.)

                Safetv Measurements

               A complete physical examination was done during the week preceding study
               drug administration and repeated at follow-up visit. Prestudy and follow-up
               samples for the laboratory safety studies on blood and urine included:

                a.   Hematology:            Hematocrit
                                            Hemoglobin
                                            White blood cell count, total
                                            Differential counts will be made if WBC is
                                            abnormally low or high
                                            Blood smear for malaria parasites (saved until the
                                            foIlow-up examination is completed)
                                                                                                  ,

                b.   Blood Chemistries:     Blood urea nitrogen
                                            Serum creatinine
                                            SGOT
                                            SGPT
                                            Total bilirubin
                                            Alkaline phosphatase


               c.    Urinalysis:           Urinalysis was performed in patients          with
                                           abnormal serum creatinine values or           with
                                           signdsymptoms or urinary tract infection.


              The investigator could carry out addtiional analyses as required by the hospital
              or as indicated for optimum patient care.

              Vital signs (blood pressure and pulse rate, both supine and ere@ respiration rate
              and temperature) were recorded on Day-1 and therea.fier according to hospital
              routine for patients who remained in the hospital.




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                  G. Evaluation Criteria

                      1. Evaluability

                             All patients whose data was reeeived by August 30, 1991-were classified by
                             the MRL clinicxd monitor as evaluable or unevaluable with respect to
                             efiicaq. These evaluations by the MRL monitor, although not specified in
                             the protoco!, were in keeping with the dictates of the protocol (i.e., inclusion
                             and exclusion criteria) and the exercise of good clinical judgment. Thus,
                             patients were considered evaluable for efficacy if

                            a. Strongyloidiasis was documented on stool examination

                            b. The patient did not receive other effective therapy during the study
                               period.

                            c. The patient was compliant with therapy.

                            d. Adequate     follow-up     stool   examinations     were    performed     for
----                           deterrnimtion of effie.acy.

                            e. There was no violation of inclusion and/or exclusion criteria that would
                               compromise efhcacy evaluation.

                     2. E~cacY

                            As described earher, baseliie evaluation of Strongyloidks stercoralis was to
                            be established in each patient prior to study drug administration. Although
                            the protocol allowed duodend or jejunal biopsies for the determination of S.
                            sfercoralis, only examination of stool samples by the Baermann technique
                            [10] was used in the study. AU stool speeimens were examined by one single
                            expert who was to remain blinded as to the treatment allocations.
                                                          ...’
                            The primary measure of efficacy in this study was the absence of Luvae in
                            posttherapy Baemmn fecal examinations. The detection of Iawae on any                -
                            posttreatment stool examination meant ftilure.         patients with ad~uate            .,.
                            follow-up examinations which were all negative for larvae were considered
                            cured. It should be noted that although not specified in the protocol,
                            parasitological cure (i.e,, stool exams negative for larvae) without resolution
                            of symptoms was counted as a clinical failure.




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          G. Evaluation Criteria (Cont.)

              3. Safety

                 All patients were evaluated for safkty by physical examination and laboratory
                 studies. In additio~ the patient was questioned daily (by phone) regarding
                 adverse experiences with particular attention to evidence of allergic reactions
                 (rasi itching and anaphylaxis). Adverse experiences were described and
                 recorded by the investigator who determined the durations, seriousness,
                 seventy, and drug relationship as well as the eventual outcome of each
                 adverse experience.

          H. Statistical Planninz and Analvsis

             Methods of Analvsis

             The primag measurement of efficacy was the cure rate. Logistic regression was
             used to determine if any concomitant factors, i.e., age, sex, race, severity of
             infectio~ intensity of infkction, affected the cure rate. None of these factors was
             related to cure rate at the a=o. 10 level of significance. Thus, aJl were dropped
             from the statistical model, leaving only treatment group. The treatment groups
             were compared using Fisher’s exact test for the proportion of patients who were
             cured. .

             Baseline characteristics were analyzed using either Fisher’s exact test or the
             Chi-square test of the Wdcoxon Rank Sum test, as appropriate. Confidence
             intends were cakx.dated using the method of Blyth and Still.

             All statistical tests for treatment-group differences were two-tailed (a=O.05).

         L Clinical Sumdies

             Ivermectin in the form of commerchd tablets (Lot 9H9476) were obtained
             through MSD-Chiiret. Albendazole (200 mg ZENTEL) tablets were obtained                  -
             through a Iocal pharmacy in Paris.




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NDA50-742                                                                                                        pa~~17
Mectizan*
        {Ivemsectin)                                                                                     Strongyioidiasis




200 mg BID X 3 a@s. It shares similariti~ with theother submitted studies in the NDA for this indication,
particularly in that patients were required to have stools positive for SS by Baermann technique. This method OJ
 stool processing was &o usedfor allfollowup examinations.
            The dosing ofalberuizzole k generally consistent with product labeling in those countries w=e ii is
 approved for the treatment of stron~loidiasis     (namely: Australia, France, Germany, India. South Africa, and
 Switzerlar@.     Those labels do, however, spec:~ that the dosing should be 400 mg daily as a single dose for three
 &ys; the Gentilini stub uti1tied200 mg BID for three abys. It is also of note that the product label in Germany
 indicates thatin ‘severe’ infections (not otherwtie dq$ned in the labe~ the dose of albedzzole      should be 800 mg qd
for 3 days. Labelsfiom both Germany and India cailfor a second corse of aibenalzrole ifthe stools are stilipositive
 ~ter 14-21 alzys. The Swtis Iabeispeciflcally states that albendzsole at 400 mg QDX3 @Ys is “not suitable
 dosage for the therapy of immunocompromisedpatients”.
           It must aLro be noted that the dosing schedule for ivermectin used in this study deviates from that used in
 all the other submitted studies in support of thti indication:

                                    Protocoi-specified   Ivermectin Dosing Schedules

                         Genti[ini stuc$                          Ber~ Gann, Dreyer, and Marti studies
           patient wei~ht (k~l         #J?&l@                     Patient wei~ht (k~l     &@&Is
                15 to 25                  E                          15 to 24                 Z*
               26 to 44                   1                          25 to 35                 1
               45 to 64                   1%                        36 to 50                  1%
               65 to 84                   2                         51 to 65                  2
                                                                    66 to 79                  2%
                                                                  80 and over                 3

The net result of this discrepant is that the patients in the Gentilini stu& were relatively underdosed compared to
the other submitted studies. For example, a 55 kg subject enrolled in Gentilini would receive 1 % tablets, whereas
the same subject in any other s@Y would have received 2 tablets. This resulted in a median ivermectin dose of 169
pg/kg in this stuc&. Sim this discrepancy results in relative &dosing        rather than overdosing, it is reasonable to
combine r~uhs. If the opposite were true (i. e., subjects in the ivermectin arm of this study were relatively
&rdos&),     then combining these results with those of the remaining submitted studies would be more problematic.



           B. Deviations from protocol:
           In reviewing the study summary and the original protocol, the following deviations were noted:

●
           the protocol calls for the entry stool to documentStrongyloides infection to have been collected “six days or
           less before entry into the study”; however, the majority of enrollees in both arms of the study had their
           infection documented well before day -6. (One subject’s entry stool was collected 100 days prior to
           enrollment.)
Medicai oficer comment: in genera[, stools collected earlier than 6 ahys prior to enrollment will be considered
acceptable. However, a single stool over three months prior to entry seems to stretch this a bit. It is unclear why a
repeat stool could not have been collected at the time the subject was enrolled and treated with study medication.

.          the protocol calls for followup stools to be collected at days 7,30, and 90 post-therapy; cure is defined as
           (Page D-2228 of VOI1.21) “the absence of detectable larvae in the follow-up stool examinations.”
           However, many of the subjects only have stools recorded at/around the day 7 timepoint, then variably at the
           30 and 90-day timepoints. No mention is made of how these subjects will be dealt with in evaluating
           efficacy.
Medical officer comment: because this study was conducted in France, where s(ronwloidiasis    is not present, these
subjee!s(all of whom remained in France for the duration ofdw slud>j, according [o [he appiicun[ [page D-2162])
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NDA 50-742                                                                                                       Page 18
Meckan=’ (Iverrmxtin)                                                               .                    Swon:yloidiasis


are not subjecl to the confounding variable of reinr~tion post-therapy.   Therefore, ANY positive S!OO[posi-therapy,
no matter how many ahys outfiom therapy that may be, should be considered a failure. The applicant (Page D-
2162) concurs with this assessment.
          It ik unclear whether the apphkant required ‘cured’ subjects to have negative stools documented at &       of
these post-thera~ time points. In other worak, l~the 30-&y stool collection was missed, but the sub~ct was shown
to have a negative stool at ahy 90, was this subject caiied a ‘cure’?

.        the protocol makes no mention of a requirement     for retreatment but the investigator apparently re-treated
         several patients with positive stools on follow-up.
Medical oflcer comment: some of these retreatedpatients        were given a dose of ivermectin (either a repeat dose, or
an initial dose l~the subject hadprevioudy    been given albendazole) as recently as seven days after their initial
dosing regimen had been completed       In other studies submitted in support of this indication, this practice was LKZ
done and it h clear that some patients ciear their parasites from the stool more slowly than others. In these
prompdy retreated subjects, it is dlficult to definitively state that they failed their initial course of therapy.
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NDA 50-742                                                                                                    Page 19
Meclizan- (Iverrncctin)                                                          .                    Strongyloidiasis


        C. Applicant’s tindings:
        The applicant’s interpretation of the results of this study are found on the following pages, which are taken
from pages D-2158 to 2171 of volume 1.21 of the NDA:




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           111. RESULTS

                  L Patient Characteristics

                      A sumrmuy of demographic Mormation for both evaluable patients and all
                      enrolled patients is provided in Table 4. There were no statistically significant
                      differences in the characteristics of the two treatment groups. A detailed
                      summay of each patient’s treatment therapy maybe found in Appendix 1.

                      Eleven of 29 patients in the ivermectin group (37.9%) and 11 of 27 patients in
                      the albendazole group (40.7Yo) had secondary diagnoses. A detailed sumnuuy of
                      each patient’s secondmy diagnoses maybe found in Appendix 2.

                      Twelve patients (41 .38Yo) in the ivermectin and 7 patients in the albendazole
                      group (25.93%) received concomitant therapy during the study.              No
                      concomitant therapy had activity against S. s~ercoralis or might have modified
                      symptoms related to S. stercorafis infkction. A detailed summary of each
                      patient’s concomitant therapy may be found in Appendix 3.

                      As stated earlier in this report, the actual dose of ivermectin administered to
                      patients in this study was approximately 170 mcgkg (median 169 mcgkg - see
                     Table 5) instead of a targeted dose of 200 mcg/kg. The reason for this was that
                     the dosage schedule (i.e., combinations of ivermectin 6-mg tablets by body
                     weight) included in the protocol for the study was actually targeted at an
                     approximate dose range of 150 to 171 mcgkg ivermectin and not 200 mcgkg.
                     However, the difference between the administered dose of ivermectin and the
                     target dose (200 mcgkg) is not considered meaningful [8].
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                         A. Patient Characteristics (ConC)
                                                                                                            —
                                                               Table 4
                                                   Baseline Characteristics


                                                               All                           Evaluat

                                                                                                       ==1
                                                                        hems
                                                        W*                     -*           W*

                Number of Patients                 29                     27           28              23

                MeanAge(AgeRangein Years)           36 (21+57)            36 (16-74)    36 (2147)       36 (19+5)
                 MaIe(AgeWnge in Years)            (23-67)               (16-74)       (2347)          (20+7)
                 Female(AgeRangein Years)
                Sex
                  Male                             16 (55%)               15 (56%)     16 (57??)       11 (48Yo)
                  Female                           13 (gs~o)              12 (44%)     12 (43%)        12 (sz~o)

                Race
                  Caucasian                         6(2 1~0)               8 (30??)     6 (21%)         7 (30YO)
                 Asian                              6 (21%)                3 (11%)      6 (21%)         3 (13%)
......           Negro                             14 (48%)               16 (59%)     13 (46%)        13 (57’%0)
                 Indian                             I ( 3’%)               o            1 ( 4%)         o
                 Mulatto                            2 ( 7%)                0            2 ( 7%)         0
                jeverityof Infection
                  Mild                             18 (64’%0)             19 (xl’%)    18 (67%)        15 (65%)
                  Moderate                          9 (32%)                5 (19%)      8 (30%)         5 (22%)
                  severe                            1 ( 4%)                3 (11%)      1 ( 4%)         3 (13%)
                  No data                           1 ( 4%)                o            1 ( 4%)         o
                ntensity of Infection
                  1+                               12 (41%)               9 (33%)      12 (43%) - “-    9 (39VO)
                  2+                                7 (24%)               6 (22%)       6 (21%)         6 (26’%)
                  3+                                8 (28%)              11 (41YO)      8 (29%)         7 (m%)
                  4+                                2 ( Wo)               1 ( 4%)       2 ( 790)        1 ( 4%)
                                      differences betweentreatmentgroups.
                ‘here were no significant
                 !Wivermectin
                 ALB=albendamle



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        A Patient Characteristics    (Cent-)

                                             Table 5
                                     Ivermectin Dosage                   .

                                                       Patient BOdy
               AN          Ivcrmcctin (mg)             Weight(kg)       mcglkg
                                 9                        49            184
                                 9                        59            152
                                12                        70            171
                                12                        67            179
                                 9                        60            150

                                9                         64            141
                               12                         75            160
                                9                         59            152
                                9                         57            158
                                9                         51            176
                                9                        53             170
                               12                        78             154
                               12                        80             150
                               12                        73             164
                               12                        70             171
                               12                        65             185
                               12                        76             158
                                9                        61             147
                               12                        65             185
                                9                        60             150
                               9                         63             143
                              12                         67             179 -
                               9                         52             173
                              12                         81             148
                              12                         68             176
                              12                         65             185
                               9                         52             173
                              12                         71             169
                              12                         71             169
                                                               Maiian   169
                                                                Mean    164.6
          —




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        B. Patient Accounting

             1. Accounting for Patients in the Study

                Table 6 presents a summary of patients who enter~              completed,    and
                discontinued the study by treatment group.

                                          Table 6
                  Accounting for Patients in the Study by Treatment Group           ~


                                                    Iwrmcctin      Albcndazole
                            patients                Treatment       Treatment
         Total Patients Entered                          29           27
         Told Patients Completed                         22           11
        Total Patients Discontinued                      7            16 “
          Adverse Clinical Experience                    o             0
          Mverse Laboratory Experience                   o             0
          Lost to Fo11ow-UP                              o             0
            PatientDeath                                 o             0
            PatientUncuopemtie                           1             2
            NoTherapeuticWgimen/Retxwt                   4             0
            ProtocolD&iation                             1             0
            No ThCGi~tiC RcqJonse                        1             0
            No ThCEijEUtiC~ni$dhatm.nt    bge            o            14
                                                                             . .-
        *

            2. Accountin? for Patients in the Analvsis

               Table 7 presents a sumrntuy of patients who were evaluable and nonevaluable
               in the efiicacy and safety analysis.




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         B., Patient Accounting (Cont.)

                                                Table 7
     Accounting for Patients in the Analysis of Efficacy and Safety by Treatment Group


                                                          Ivermectin   A&ndazole
                                Patients                  Treatment     Treatment
          Evaluable for Efficacy Analysis                 28           23
          Nonevaluablc for Efficaq Analysis                1            4
          Rzason for Nonevaluable for 133icacyAnalysis:
            Diagnosis 10Treatment >30 days                 I (AN 24)   2 (AN7, 19)
            Inadequate Follow-Up Parasitology              o            1 (AN 16)
            No Follow-Up V&its                             0            1 (AN 28)
         Evaluable for Safety                             29           27

                Patients who did not fidfill the criteria for efficacy evaluation outlined in
                Section 11.G. were considered nonevaluable for efficacy. However, failure to
                satis~ the entrance criteria in Section 11.D. did not necessarily exclude
                patients from the analyses of efficacy if the criteria for efficacy evaluation
                were titisfied. The inclusion criteria in Section 11.D. required that the time
                period from diagnosis of strongyloidiasis (i.e., detection of lamae on stool
                examimtion) to initiation of therapy not exceed 6 days. In practice, this was
                often not possible.

               Because the mtural histoty of Strongyloidiasis is one of persistence over
               time, patients who received study drug therapy within 30 days of a diagnostic
               stool examination were considered evaluable. In additio~ if the pefiod from
               diagnosis to therapy was greater than 30 days but a postthempy stool
               examination was positive for S. sfercorzdis kuvae, thus confirming that the
               patient was infkzted at the time of therapy sirIce reinfkcdon would not occur
               in France, the patient was considered evaluable.

               It is recognized that these changes in entry and evaluation criteria differ from
               the requirements of the protocol; however, they are considered by MRL as
               consistent with the treatment of patients in nonendemic are+m A such
               MRL believes that the alterations from the protowl as specified above do
               not impact on the validity of the results of this study.




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          B. Patient Accounting (Cont.)

                     ~       patienti @ermAn-15,     albendazole-15) with diagnosis to tr~tment
                     periods of 7 to 30 days were considered evaluable. One patient (AN 57) had
                     a diagnosis to treatment period of 39 days but was cihsidered evaluable
                    (faiIure) based on positive follow-up stool examination on Posttreatment
                    Days 7 and 8. One patient (AN 21) had negative stool examinations
                    following ivermectin therapy but symptoms recurred during follow-up. The
                    patient was treated with other antistrongy[oidiasis therapy. based on the
                    clinical picture. This patient was considered evaluable as a therapeutic
                    ftilure.

                    Results of alI parasitological examinations appear in Appendix 4.

                    OveraI1,96% (28/29) of patients in the ivermectin treatment group and 85%
                    (23/27) of the albendazole-treated patients were considered evaluable.
                    Table 7 above identifies the reason for each patient being excluded from the
                    efficacy evaluation.




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                  c. Efmacv

                      There were a total of51 evaluable patients in the study (Table 8), 28 in the
                      ivermectin treatment group and 23 in the albendazole treatment group. A total
                     of 7!Y/o(2228) of patients were cured following ivermectin therapy compared to
                     43% (10/23) of those receiving albendazole. This difference in cure rates is
                     statistically significant (p=O.02). Logistic regression analysis demonstrated that
                     no other factor (age, s% race, clinical severity of infkctio~ and intensity of
                     inkction) was significantly related to treatment fkilure.

                                                          Table 8
                                      Study Outcome -- Evaluable Patients


                                              Ivermectin (N=28)                    Albendazole (N=23)
                                     Cure          Percent      95% C.I.   cure         Percent     95% C.I.
       oval                         22f28*           79        (59, 91)    10/23          43        (24, 65)

       sex
         Male                        13/16           81        (54, 95)    2/1 1          18        (3, 52)
         FemaIe                       9/12           75        (43, 93)    8112           67       (35, 89)

       Raa
         Caucasian                    4;6           67        (24, 94)      4r7          57        (20, 88)
         Asian                        6/6          100        (52, 100)     213          67        (13, 98)
         Negro                       9/13           69        (39, 90)     4/13          31        (10, 61)
         Indian                       1/1          100         (5, 100)     010
         Mulatto                     2/2           100        (20, 100)    0/0

       Sevexityof Infection
          Mikl                      14/18           78        (52, 93)     6/15          40        (17, 67)
          Moderate                   718            88        (47, 99)      2/5          40         (7* 83)
         -Severe                     0/1             o         (o, 95)      2/3          67        (13, 98)
         No daIS                     1/1           100         (5, 100)    0/0

       Intensityof Infection
          1+                        10/12           83        (51, 97)     5/9           56        (23, 85)
         2+                          516            83        (36, 99)     3/6           50        (14, 86)
         3+                          5/8            62        (26, 90)     m             29         (5, 70)
,        4+                          Z2            100        (20, 100)    0/1            o         (o, 95)

       ‘ Significant difference between treatment groups @cO.05)




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         C., Eflicacy (Cent)

            If only those patients who met the entrance criteria of Section 11.B. are
            considered for efficacy evaluation (i.e., if those patients with diagnosis to
            treatment periods of greater than 6 days are removed), qO of 13 (76.9%)
            ivermectin-treated patients and 2 of 6 (33 .30A) patients treated with albendazole
            were cured. These cure rates are not statistically different from those calculated
            when patients with a prolonged diagnosis to treatment intend are also
            considered evaluable (see above). The similarities in efficacy seen with these
            comparisons emphasizes the clinical equivalence of the two groups.

           Similar results are seen if all patients, regardless of their efficacy evaluation
           status, are considered for analysis. Twenty-three of 29 (79%) patients were
           cured following ivermectin treatment versus 13 of 27 (48°/0) cured after
           albendazde (p=.03).

           A single patient (AN21 in the ivennectin group) deveIoped recmdescent
           symptoms and was considered a failure despite negative stool examinations.

           Table 9 presents a summaxy of the 17 patients who failed their initial course of
           therapy (4 ivermectin-treated; 13 albendazole-treated) and rcxxived a follow-up
           course of ivermectin. This information is offered for purposes of fill disclosure
           only and is not brought to bear on the interpretation of this study.
                                                                            ..




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               C Efficacv (Cent)

                                                           Table 9

                                Summaty of Patients Who Failed Initial Course of-Therapy
                                   and Received a Follow-Up Course of Ivermectin



                                                    Days Between

          AN
                        Initial
                      Treatment*
                          Iv
                                       Second
                                     Treatment*
                                                      First and
                                                  Second Treatment                     Outcomet                      I
                                         Iv            36               Cure
                          Iv             Iv           181               In.sufkient Parasilolofl data to evaluate
                          Iv             Iv            25               Cure
                          Iv             IV           111               Insufficient parasitology data to evaluate
                         ALB             Iv           184               Insufficient parasitology data to evaluate
                         ALB             Iv            20               Cure
                                         Iv            11               Cure
                         A.LB            Iv             9               Cure
                         ALB             Iv            42               cure
                                         Iv            10               Cure
                         A.LB           IV             11               Cure
                                        IV            41
                        ALB             Iv            24
                                        Iv            39                Cure               -.
                                        Iv             11               Insufficientparasitologydata to evaluate
                                        Iv             10
                                        Iv            40                                 “tologydata to evaluate
                                                                        Insufficientpararn
        rv=xvennectin
        ALB=AIkdazole
        Outcomeis basedon an evaluationof the pmsitologic resultsavailablefor the patient indicated         Cure
        implies                                             examinations after the second course of trcatmert



                  A quality assurance audit was pdormed         on this study 3.5 years after the
                  completion of the trial (reference Audit Information Sheet - Appendix 5). The
                  ~      representative who cmducted the audit found certain ~P       compliance
                  issues relating to insufficient documentation of informed consent, incomplete                          --
,                 case report form documentation at the site, protocol compliance, incomplete
                  regulatory documentation at the site and lack of study monitoring. Examples of
                  the audit findings included




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              DOC                                                                                   07FEB96
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        C.. Eficacy (Cont.)

           ●    There was no record of drug supplied to the patients and no rti~d              of
                unused drug having been returned to MRL.

           ●    There was no routine field monitoring conducted at this site.

           ●   Lack of availability of patient consent forms for some patients (6) while
               others had consent forms which were not signed by the patients (3) and of
               those with signed forms some (4) were dated by the investigator and not the
               patient.

           ●   Insufficient case report form documentation in MRL’s Official Regulatory
               File and at the site (missing for 4 patients and incomplete for 38 patients).

          ●     The 4 patients whose case reports were not submitted were entered in the
                study but were not reported to MRL. It is not clear at this time why data for
                4 patients were not submitted to ~,       however, it may have resulted from
               MRL data cut-off dates imposed for the assembly of the French M.AA. Data
               for these 4 patients are not included in this sumrnay (60 patients were
               entered into the trial by the investigator rather than the 56 included in this
               write up). However, comparing the results of the trial for-all 69 patients
               (which were published [10] in 1994) with the results summarized here
               indicate no substantive difference.       In additio~ as stated earlier, the
               investigator included an analysis of hypereminophilia which was not a
               requirement of the protocol nor made part of MRL’s analysis. Table 10
               summarizes the dtierences in the two reports.




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          . C. E~lcacy (Cont.)

                                                Table 10

          Comparison Between MRL Data Reeeived From Investigative Site and Data Published
                                 by the Investigative Team [10]


                                         I                           i                         I
                                         tM           J   Summaly            Publieati
                                           iv* -      ALB* ALL*           N*   MB* ALL*
                Patient Accounting:

                Patients Entered               29         27   56         32     28     60

                Evaluable Patients             28         23   51         29     24     53
                (Efficacy)

                Nonevaluable Patients           1         4     5          3      4     7
                (-Efiicacy)

                Cure Rate (%)                22/28    10/23    N!A       24/29   9/24   WA
                                              (79)    (43)                (83)   (38)

                *   IV= Ivermeetin;                            ( ) = Pereent cured
                    ALB = AIbendazol~




                                                                                                             ,.”




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          C E-ficacy (Cont.)

             In the opinion of MRL, the lack of a complete file of case report forms~t the
             investigative site does not aff’ the integrity of the itiormation originally
             received from the investigator and used to produce this MRL ~ary.

            AIthough not specified in the protocol, patients who ftiled initial therapy with
            either agent were retreated with ivermectin in an open, nonrandom manner
            (Reference Section 11.E. Study Design). In additioq the investigator did not
            always follow the complete dictates of the protocol requirements dealing with
            examinations, vital signs, and laborato~ tests and in some cases recordings of
            same were made to workbooks but never transfemd to case report forms that
            were fonvarded to MRL. The investigator did not maintain adequate regulatory
            documentation (e.g., no signed copy of the final approved protocol, no signed
            Normal Ranges for Laboratory Tests, no drug supply records, etc.).

            Despite these regulatory compliance issues, MU believes that the results of this
            study, that are reported in this summary, suppoxt the use of ivermectin in
            strongyioidiasis of the gastrointestinal tract and that the integrity of the data and
            conclusions drawn are generally consistent with the findings reported by the
            investigative group [I 1].

         D. Safety     -

            1. Adverse Experienc-inical

                  & OveraI1 Assessment of Clinical Adverse Experiences

                     All 56 patients, regardless of evaluability for efficacy, were included in
                     this saf~ analysis. Three patients, one in the ivermectin group and two
                     in the albendazole group, had clinical adverse experiences. There were
                     no statistically significantdifferences in the fkquency of adverse
                     experiences between the two groups.

                     AN 3 in the ivermectin group experienced mild nausm fatigue, dizziness,
                     sleepiness, tremors, and mild vefiigo study day one to two days afier
                     treatment each lasting 18 hours. The investigator considered them to be
                     probably drug related.




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             D. Safety (Cork)

                                 in the albendazole group on the firstday of treatment expen%aid
                         mild vertigo lasting 24 hours and epigastric pain 72 hours duration which
                        was also mild in intensity. Both events were considered possibly drug
                        related. On the first day of albendazole treatmen~           experienced an
                        increase in nausea and abdominal discotiort of moderate intensity lasting
                        for 12 hours which the investigator considered possibly related to drug
                        treatment.

                   b. SCrious Clinical   Adverse Emergences

                      There were no clinical adverse experiences that were considered serious
                      by either the investigator or the clinical monitor.

                  c. Patients Discontinued     Due to Clinics! Adverse Exr)eriences

                      No patient in this study was discontinued because of a clinical adverse
                      experience.

               2. Adverse Exnenences--Laborator-y
                                                                                  ..
                  a. Overall Assessment of Laboratory Adverse Experiences

                     Three patients, 2 in the ivermectin and 1 in the albendazole group, had
                     laborato~ adverse experiences.

                             in the ivermectin group had an increase in SGPT and alkaline
                     phosphatase 6 days posttreatment that was considered probably not
                     related to ivermectin but more likely concomitant halofiintrine treatment
                     for mahri~ which has been associated with such elfkots [12].

                              m the ivermectin group had anemia (hemoglobin 11.2°/0,
                     hematocrit 33.5%) and Ieukopenia white count 2.74 ths/mm3 31 days
                     posttreatment considered probably related to ivermectin.




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            D. Safetv(ConL)

                                 in the albendazole group had a very slight increase in SGPT (21
                        to 59 U/L, normal range 5 to 45). Since the patient had a Iaparotomy
                        petionned within the past month drug relationship was difficult to
                        establish and considered unknown by the investigator. Since no fbrther
                        follow-up tests were performed the outcome was also unkno~        but the
                        patient was clinically well at last visit.

                    b. Serious Laboratory     Adverse Experiences

                        None of these laboratory adverse experiences was considered serious.


                    c. Patients Discontinued     Due to Laboratory    Adverse Experiences

                        No patients discontinued due to a laboratory adverse experience.

                3. Adverse Experiences-Other         (Special Examinations)

                    There were no other adverse experiences.

                4. Clinical Safety Measurements

                    No clinically significant changes in clinical measures of safety were noted.

                5. Laboratory Safetv Measurements

                    No consistent or significant changes in laboratory measures of dety        were
                    noted.




                                                                                                        .. ..




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 NDA 50-742                                                                                                    Page 34
 Meu”m- (Ivcrrnectin)                                                              .
                                                                                                        SWongyloidiasis


          D. Medical Ofllcer findings: effkacy

         Since this study took place in Fmnce, it is assumed that there is no possibility of re-infection and that any
 follow-up stool exam that is positive represents a treatment failure.

 The following criteria were utilized to determine evaluability and eflicacy:
          A positivestool no morethan 60 days prior to entry into study
          Present for follow-up for the day 30 and day 90 (or later) timepoints
          Have three consecutive negative stools to be called a cure.

                                    Medical officer evaluation of enrolled patients
                                      by treatment group and patient number
                                                  Gentilini study 004

        Patient #         Evaiuable?           Reason                     Cure?             Reason
Treatment arm: Ivermectin X 1
                         yes                                              Yes               = stool up to day 95
                         yes                                              Yes               m stool up to day 93
                         yes                                              Yes               = stool up to day 85
                         yes                                              No                + day 29; retreated
                         yes                                              Yes               _ stool up to day 102

                            yes                                           Yes               _ stool up to day 87
                            yes                                           No                _ day 28; + day 93,94,95
                            yes                                           Yes               _ stool up to day 102
                            no                lost to flu
                            yes                                           Yes               _ stool up to day 99

                            no                lost to flu
                            yes                                           Yes               _ stool up to day 92
                            yes                                           Yes               _ stool up to day 155
                            no                entry stool day -100
                            yes                                           Yes               _ stool up to day 138

                           yes                                            Yes               _ stool up to day 103
                           yes                                            Yes               _ stool up to day 90
                           yes                                            Yes               _stool up today 124
                           yes                                            Yes               _ stool up to day 123
                           yes                                            No                * day 25; retreated .

                           yes                                            Yes               _ stool up to day 85
                           yes                                            No                -day 105; ● day 106
                           yes                                            Yes               _ stool up to day 91
                           yes                                            Yes               _ stool up to day 92
                           yes                                            No                -day Il; +day 100, 101

                           yes                                            Yes               _ stool up to day 101
                           yes                                            Yes               = stool up to day 87
                           yes                                            Yes               _ stool up to day 91
                           yes                                            Yes               _ stool up to day 90
Totals                     Evaluable 26                                   Cure 21 (810A)
                           Unevaluable 3                                  Fail 5 (19”A)
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 NDA 50-742                                                                                               Page 35
                                                                                .
 Mectizan=’(Ivermectin)                                                                           Stron:yloidiasis


                                 Medical officer evaluation of enrolled patients
                                   by treatment group and patient number
                                               Gentilini study 004
                                                  (Continued)

         Patient #        Evaluable?     Reason                      Cure?            Reason
 Treatment arm: Albendazole 200 mg BID X 3 days
                          yes                                        No               + day 33; retreated
                          yes                                        Yes              = stool up to day 89
                          yes                                        Yes              = stool up to day 100
                         yes                                         Yes              a stool up to day 197
                         yes                                         No               ~ day 8; retreated

                          no               lost to flu
                          yes                                         Yes             = stool up to day 166
                          no               no pre-therapy stool recorded
                          yes                                         No              + day 8; retreated
                          yes                                         No              + day 39, 40; retreated

                          yes                                        No               * day 9; retreated
                          yes                                        Yes              _ stool up to day 96
                          no               lost to flu
                          yes                                        Yes              - stool up to day 220
                          yes                                        Yes              _ stool up to day 131

                          yes                                        No               + day 7,8; retreated
                          yes                                        No               + day 29,30,31
                          yes                                        Yes              _ stool up to day 92
                          yes                                        No               41day 10; retreated
                          yes                                        Yes              = stool up to day 58

                          yes                                        No               + day 29,30,31
                          yes                                        Yes              _ stool up to day 97
                          no              retreated day 1I after_ stool day 8
                          yes                                        No               + day 5,6,7; retreated
                          yes                                        Yes              = stool up to day 87

                          no              lost to flu
                          yes                                        No               + day31, 32; retreated

Totals                    Evaluable 22                               Cure 12 (550A)
                          Unevaluable 5                              Fail 10 (45%)
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NDA 50-742                                                                                                   Page 36
Mectizarr””{Ivetmectin)                                                          .                   Strongyloidiisis


                                             Results per medical officer
                                                Gentilini study 004
                                         1                                   I                       .                  1
                                                    Ivermeetin X 1                        Albendaz.oje

  Enrolled, Total                                         29                                   27

  Evaluable per Medieal Officer                           26                                   22
                                         ~                                   ~
  Cure at 30 days
                                         I                24
                                                                             I
                                                                                                12

 Fail at 30 days                         !                2                  !                  10
                                                                                                                        I
 Cure at 90 days                         I                21                 1                  10                      I
  Fail at 90 days                        I                3                  I                  I                       I
 Last to f/u from days 30 to 90
                                         ~
                                                          o                  ~                  I
 Cure day 90(% of evaluable)            I            21/26 (81”A)            I            10/22 (45”/’0)



            Medieal Officer findings: Safety

          The patient-level clinical and iaborato~ data was reviewed and the applicant’s summaty (see SectionC
above) was corroborated.
          The applicant mentions two subjeets in the ivermectin arm who had adverse iaborato~ events that the
investigator thought to ~ worthy of mention. One of these subjects (~      was found to have anemia and Ieucopenia
‘probably related to ivermectin”. Upon closer examination of the laboratory values reported in the ivermectin-
treated subjects, the following was found:

Subjeet #           lab finding (day of study)                 Comments
                    AST 32+86 (d6); ALT 57-0167 (d6)           repofied by applicanc ? Seeondary to Halfan
                    Hgb 16.0+ 11.2; Hct 47+ 33(cI31)           reported by applicant
                              WBC 6.7-2.7(d31)
                              ALT24+ 61 (d31)

                    WBC 3.2+ 2.5 (d29)                        Not commented on by investigator
                    WBC 5.3+ 3.7 (d6h 3.4 (d100)                             U*1
                    WBC 8.9+ 6.9 (d26~ 5.6 (d98)                             ,’*,
                    WBC 6.5- 4.3 (d7)                                        “v,
                    WBC 5.944.3 (d8)+ 3.9 (d104)                             6’n
                    WBC 7.9+ 3.2 (dl 1)-o 4.2 (d41)-+ 4.4 (d103)             .’,,
                    WBC 5.5+ 5.8 (d8~ 4.5 (d37)+ 3.6 (d84)                            “,7

Thus there were a total of 8 of the 29 iverm+tin-treated subjects who had a drop in WBC count. Additional cases
were found but these appeared to be related to resolution of elevated eosinophil counts following ivermectin
treatment; these are not included in the above table. A similar pattern was not readily evident in the albendazole
arm.
From this it would seem appropriate to mention ‘decline in WBC count’ as a laboratory adverse event that maybe
associated with ivemlectin therapy.
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NDA 50-742                                                                                                 Page 37
Mcctizan-’ (Ivermectin)                                                       .                    Strongyloidiasis


4. Study 020 (Dreyer): An open, randomized study of effkacy, safety, and tolerability of ivermectin single dose (one
or two day course) vs. thiabendazole (threeday course) in the treatment of patients infected with S[ron~loides
slercoraiis.
       A. Study summary: The applicant’s synopsis of this study is presented below (taken fiom~ge      D-2592-3,
volume 1.22 of NDA)




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                                                                                                                           -3’%
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                                   MERCK RESEARCH LABORATORIES                                 .

PRODUCT: MK-0933, Ivermectin Tablets
PROTOCOL TiTLWNO.: h      om      W-                       smd~ Of Effi~w.         sti~.       ad                  #020
  Tolerability of 1vermech       SingIe ‘Dose (One or Two Day Course) vs~ “~abe&azole
  (Three-Day    Course) in the Treatmnt         of    Patients In&ted      With Strongyloides
  Stercoralis
INVESTIGATORS: Dr. GerusaDreyerflrof. Anaatuy tiutinho, Reciik, Brazil
PRIMARYTHE~y     PERIOD: hhy 91 to k 91            CLINICAL’PHASE: I-     II-     IIr-x
DURATION:Study dumtion - ~PKIXiIWltdy1 year (6-monthmrolhnc@ 6-month follow-up). Treatment
  period lto3&ysdepcding          ontm@mwntgroup.
                                                                       . vs. thiabendazolein the
PRIMARYOBJECTIVES: To studythe cfficaey,sakty, andtokmbility of iwnnectm
  treatment of patients infixted with Strongyloides_sterw~aIis.
STUDYDESIGN. C&q randomizedtrial m ambulatmy patiemts with strongyldiask                      of the gastrointestinal
  ttaet. Following diagnostic studies and Iabomtory tests, patients received either a single dose of ive-         two
  single doses of iverrneztin I &y apart or thiabendazde twice a day for 3 days. Follow-up visits were held
  weekly for 4 weeks.
DIAGNOSIWINCLUSION            CRITERIA: Males and females between the ages of 5 and 70 years weighing at
 least 15 kg who have strongyloidiasis ecdrmed by stool examination.
PATIENT ACCOUNTING:                        H          Ivermeetin 1x              Iverrneetin 2x     Thiabendazole
  ENTERED: Totzd                         49                   [7                   17                 15
   Male (age range years)                42(4 to 64)          14 (18-37)           16 (4-63)          12 (18-64)
   Female (age range years)               7(7t051)             3 (17-27)            1 (44)             3 (7-51)
  COMPLETED:                             47                   15                   16                 15
  DISCONTINUED: Tots!                     2                    2                    1                 0
                            o
   Adverse clinical experience                                    0                 0                 0
                 experience o
   Adverse kibOIZitOly                                            0                 0                 0
   other                                2                    2                  1                     0
DOSAGWFORKULATION             NOS.: Single 200+neg/kg ivcrmectin oral dose, two 200+neg/kg oral doses of
 ivermcetin 1 day apart or 3 days of 25 mg/kg b.i.d. oral treatment with thiabendamle. Gnnmereial ivermwtin
 obtaindtbrough MSD-Chibrq (Lot H7502) and commmid d@en&zole     .            obtained Ioealiy.
EVALUATIONCRITERIk Pamsitologid                Minimum of three rqeated stool examhhm           on Days 5 to 9,




 Iatmtory Studies.
STATISTICALPLANNINGANDMETHODS: The prisnaty measurcanemt of cfficaey was the cure rate.
 mm----                               fw*wtitit*ti                 lddtipmtimof@af@a
 qerknc@adverseexperieace       using Fisbedsexaet test. Baseiinec&mter@ - “a wem analynd using Fisher’s
 exact ~thedliqlam        test or the wlleoxon Rauksum wasappropfiate.           Coofidcneeintcrvakwem
 calculatedusingthe methodof Blythand StiU. All atatistiealtests for tmatmmt group d&wllees were two-
 tailed(a=O.05).


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MK4933U3C850DOC                                                                                      02FEB96
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                                                                                                                             if
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f>..
~.~
         RESULTS:
         Efiicaqc       -
         There mre no statistically significant differences in cam rates among the trcatmeat
                                                                                           groups (singledose
         kmeetin-67°/q twodose iverme&n- 82%, thiabendazole-87%).

        Safety:
        A summary of Adverse Experkm         (A&) follows:




                                                       IVerm@in             Ivermectin
                                                      Srngk-lkae            Two-Dose               Thiabendazole
                    Treatment Group                     (N=17)                (?4=17)                 (N=15)

        Patients with Clinical AEs                           o                2(11.8)                 9 (60%)
        Serious Clinical AEs                                 o                   0                          0
        Dismntinuationsdue to CIinical AEs                   o                   0                          0
        L)mg-Rela@d
                  ClinicalAEs                                o                   0                     9 (60Y.)
        W difference in the inciderm of clinical adverse experiences (A&) between the singledose iverrnectin group
        and the thiabendazole group was significant (p<O.001) as was the difIercnce Mxveen the two-dose ivermectin and
        thiabcndazole groups (p=O.008). There was no statistically significant differcmce in the incidence of clinical AE
        betwen the two ivermectin treatment groups (p=O.48). There was no laboratory AEs. There were no serious
        clinical AE5 or serious laboratory AEs.
        CONCLUSIONS: (1) Iwmmctin (200 mcglcg) as a single dose and as two doses on consecutive &ys and
FIn -
          thiabendade (25 mg/kg b.i.d x 3 days) are effkctive thempies fir strongyloidiasis of the gastrointestinal tract.
          (2) Immectin is geue@ly well tolerated and is associated with t%wer clinical adverse experiences than
          thbdazole.

        REGULATORYCOMPLIANCE ISSUES:                     Regulatory compliance issues were fbund during an MRL
        audit conducledat thisinvest@*site   3yearsafter theeompletion ofktriaI    andthese fidings m-reportedin
        this summary. Despite these findings, MRL believesthe results presmted in this report su&ort A use of
        ivermectiniuthetmatmmt of strongyloidiasis. In additiom the results remrted herein enable one to evaluate
           . .
        P     prdoutcmeswithregar dto~efficacyand        aafkty.
        A~HORS:           F. M. Ricci                 T. ~       M.S.            G. B. ~         M.D.. Ph.D.
                          Director                    Aso&ate Director           Senior Director
                                                         CBARDS                         clinical Research




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    Mectizan” (lvermcctin)                                                             .
                                                                                                           Ssrongyloidiasis


              B. Deviations from protocol.

             in reviewing the documentation of the conduct of this study, the following deviations from the stated
    protocol were detected:

    .         Inclusion criteria call for an examination of stool samples done 2 weeks or Iess before entry into study to be
              positive for S.srercorufis larvae. Of the 49 patients enrolled, 34 had their entry stool listed as being
              collected >2 weeks prior to drug dosing. Many enrollees ( 10) had the only positive stool recorded pre-
              therapy over one month prior to enrollment. One subject was listed as having one positive stool pre-
              therapy, taken 102 days prior to study entry.
Medical oficer comment: the issue of whether some patients can self+ure from intestinal strongvloidiasis is
controversial. It is reasonable to assume that, l~no intervening thera~ was given during the 102 &ys that this
patient had known strongyloidiasis prior to study entty, he still had the disease at the time of enrollment. However,
it woould not seem unreasonable to expect a repeat stool collection at the time the patient was actually enrolled in
the stu~ (i.e., at d~ O). Even t~such a specimen had been coilected and were negative, il would nof necessarily
indicate spontaneous cure, &u!rather indicate thai light infections are sometimes d@cult to diagnose, even with the
Baermann technique.

.            Sera were to be collected for specific lgG antibody studies, but these data were not presented because the
             collection of such specimens was not consistently adhered to during the conduct of the study.

.            The protocol defined parasitological cure as the primary study endpoinl and called for stool specimens to
             be collected for analysis at the following time points [acceptable range] post-therapy: day 7 [5-9], day 18
             [16-19], day 28 [26-34], and at months 3 and 6. However, (page D-2601) “several changes to the protocol
             were agreed to by MRL [applicant] and the investigato~ however, the changes were not made into a formal
             protocol amendment.” Two specific changes were agreed to: 1) patients who had “highly reproducible
             positive stool examinations (at least two of four pretreatment stool examinations positive) were selected for
             entry”, and 2) “the follow-up period was restructured...conducting these [Baermann] studies approximately
             weekly with the final follow-up at approximately day 30.”
Medical oflcer comment: as discussed earlier in this review, it k unreasonable to require continued negalive stools
when the treatedpatient returns to his home environment, where he ti likely to be re-infected       Therefore, since the
pre-patent period is approximately 28 ahys, it b reasonable to have the 30-day follo+up be the test-o f<ure.
However, given that light infections may show intermittently negative on stool examination it k necessary to have
three negative stools documented post-therapy in order to be called a cure. If repeated negative stools are obtained
after the one-month timepoint in order to document three consecutive negative stools, then that patient will sti[l be
consi&red a cure.
          ?%eflrst change referred to by the applicant is do reasonable. The d@ul~         is that, of ail the 34 enrolled
patients mentioned above who have positive stacz% dacumentd more than 14 C@ pre-enrollment, NONE have w
dacumentedposittie     pretreatment stools. Therefore, l~the applicant were to be strictly held to these amended entry
criteria, 34 of the 49 enrolledpatients would be acluddfiom       analysis. In theopinion of thti medictd oflcer, this is
unreasonable.

.            Criteria for evaIuability were not defined in the original protocol, but the study summary (page D-2603 of
             volume 1.22) defines an evaluable patient as one who had: a) strongyloidiasis documented on stool
             examination; b) not received other anti-helminthic therapy during the study period; c) been compliant with
             therapy; and d) had at least four stool samples submitted during the one-month post-therapy follow-up
             period.
Medical oficer comment: !hus it appears that the evaluability criteria were altered re[rospectiveiy such that any
posi[ive stooi, at any time prior to study ent~, was considered adequa~e for enrollment and evaluabili[y, as long as
dle pa[ien: deilicd intervening aiz!i-helminthic therapy. Again, it does no[ seem unreasoirable to expecl tiw[ a siool
sample co~ild hove been collected at the time the patient presented for raildomizatioil and drug ini[iaiion,
          The applicant inakes no mei?[ion of how enrolled szibjecls will be classi~ed O( the time ojfollow-up !fthcy
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    Mec[izan” (Ivenncc[in)                                                      .                      SIron:yloidixiS


     have stoo!s positive for SS AFTER [he 30-day pos[-lherapy Iitne poin[. Are lhese subjects all IO be considered
    failures? Are they alI considered reinJec[ion~, and thus only lhe specimens up to and inchding the 30-dql specimen
     are to be considered? How the applicant has dealt witil this issue, on a patient-bppatienl basis, is no~ cleari’
     delineated in the submitted information.

          C. Applicant’s findings
          The applican~’s results are presented on pages D-2605-2616 of the study summary, volume 1.22 of the
    NDA. This study summary appears on the following 28 pages:




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                                                                                                     (f-
 Ivermectin vs. Thiabendazo!e




                       COMPREHENSIVE                STUDY SUMMARY                        .

     An Open, Randomized Study of Eff]cacy, Safety, and~olerability  of
     Ivermedin Single Dose (One or Two Day Coume) vs. Thiabendazole
       (Three-Day Course) in the Treatment of Patients Infected With
                                   Strongyloides Stercora!is

    I.    BACKGROUND

          Tens of millions of people around the globe are cumently infixted with StrongyIoiaks
         stercoraiis [1]. It is widespread, not only in moist rainy areas of the tropics and
         subtropics, but also in some areas of southern and eastern Europe and Southeastern
         United States. StrongXoides sfercorak is an intestinal nematode that usually causes a
         limited intestinal infection. Patients may remain asymptomatic but recument cutaneous
         and gastrointestinal symptoms are common. The intestinal disease is rarely fatal and
         usually associatai with eosinophilia.

         Strongyloidiasis begins when infective Ia.tvae in contaminated soil penetrate intact skin
         and cause an fichy erythematous rash at the point of entry. The larvae are then tied
         in the bloodstream to the lungs where they ascend the bronchial tree before being
         swallowed. They then enter the small intestine where they penetrate the mucosa and
         mature into adult worms. Eggs shed by f-e        WOMISare tradormed into huvae that
         are excreted in the intestinal lumen. Most kvae are excreted in the stoo~ but some may
         penetrate the mucous membrane of the lower bowel or periarta! skin resulting in
         autoinktion which intensifms and perpetuates the intestinal colonization [2].

         This phenomenon of autoinfbction is unique to S. sferwralis and is not found in the
         other nematode parasites cxmunotdy infkcting humans. In this forq the disease can be
         perpetuated for an indefinite period of time. World War II veterans who had beeu
         former prisoners of war in Southeast tia as well as Vktnam veterans have been
         diagnosed as having strongyloidiasis without being fixther exposed for periods of over
         40 years [1].




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     1.    BACKGROUND           (CONT.)

            Thiabendazole (TBZ) has been the “chug of choice” for treatment of-strongyloidiasis for
           almost 30 years since ithas a wide range of action and is readily absorbed from the G.I.
           tract. However, it sIso is responsible for frequent and sometimes serious side effkcts
           [3,4]. Ahendazole, a more broad spectrum anthehnintic, has efficacy in strongyloidiasis
           similar or dightly less than that of thiabendazole. Albendazole is, however, better
           tolerated than thiabendazde. Both drugs rquire administration of multiple doses [3].
           Treatment ftilures occur with both albendazole and thiabendazole and a few patients are
           not cured even when treated with increased amounts of drug for a long time. A single-
           dose drug with fewer side effkcts and increased efficacy would be usefid in the treatment
           of strongyloidiasis.

          Ivermectin, a derivative of avermectin J3,is an orally effective nicrofilaricidal agent, It is
          now the current drug of choice for treating patients infiimd with the nematode
          Onchocerca wbuhs, which is a major cause of blindness in inhabitants of tropical areas
          [3].

          More than 5.2 million peopIe worldwide have received at least one single oral dose of
          ivermectin at kvels up to 200 tncglkg for onchocerciasis [5]. Ivermectin given as a
          single oral dose of 100, 150, or 200 mcgkg has been found to be a relatively safe and
          effective microfila.ricidereducing 0. VIAJUIUSskin microfilariae counts to near zero for
          up to 12 months [6]. Based on the tiety and tolerabtity evaluations born these studies,
           150 mcg/kg was judged to be the optimal oral dosage [6]. Ivermectin was approved by
          the French Regulato~ Agency for the treatment of onchocerciasis in October 1987.

          There is substantial evidence to suggest that Nermectin may be a usefhl therapeutic
          alternative for treatment of strongyloidissis. Ivermectin has demmstmt Cd activity in
          animal models of infkction [7J. More importantly, ivermectin has been shown to be
          effective against human strongyloidiasis in rtoncomparative studies [8,9]. Ivwmectin
          was well tolemted and a single dose demonstrated good activhy.. ““Based on this
          experience, we have undertaken a randomized, comparative trial of ivermectin versus
          thiabenda.zole in the treatment of strongyloidiasis.




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    11. SUMMARY OF PROTOCOL AND STUDY PROCEDURES–
         A. Protection of Human Subiects
             This study was conducted in cofiormance with applicable count~ or local
             requirements regarding ethical committee review, informed consent, and other
             statutes or regulations regarding the protection of the rights and welfare of human
             subjects participating in biomedical research.

         B< Investi2ator(s\
             Dr. Gerusa Dreyer/Prof Amaury Coutinho
             Fundacao Oswaldo Cruz
             Centro de Pesquisas Aggeu Magalhaes (CPqAM)
             Campus de Universidade Federal de Pemambuco
             Av. Moraes Rego S/n Cidade
             CEP 60030
             Universitaria, 50730
             Recife, Pemambuco, Brazil

         c. Obiectks
            To study the efficacy, safety, and tolerability of one or two oral doses (200 mcgkg)
            of ivermectin compared to a 3day regimen of 25 mgkg b.i.d. thiabendazole in the
            treatment of patients infected with StrongyIoidess!ercorc.dis.

        D. Patient selection
            Inclusion Criteria
            1. Patients infixted with StrongyIoidesstercoralis.                 ..

            2. Patients were between 5 and 70 years of age.

            3. Anexamin@ .on of the stoo! samples done 2 weeks or less before cn~       into the
               study was positive for SZrongyioidesWwwrafis larvae.
            4. No treatmentfor strongyloidiasis within the previous 3 months.




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                D. Patient Selection (Cont.)
                    Exclusion Criteria
                    1. Age under 5 or over 70 years or weight under 15 kg.              -
                    2. Women ofchildbm”ng potential (unless they have a negative HCG).
                    3. Medical history of mental illness, seizure, or other serious illnesses.
                    4. Abnormal levels of SGGT or SGPT, creatinine greater than 2.0 mg/100 mL or
                       grossly abnormal BUN or urine analysis.
                   5. A history of an abnormal ECG,
                   6. Moderate or severe anemi~ i.e., hemoglobin less than 10 g or hematocd less than
                      30%; any abnormality of white blood cell count and/or differential (except
                      eosinophilia).
                   7. AIIypastor concurrent medical illness which the investigator fds might influence
                      either the outcome of the study or interpretation of the data accmed.

               E. Studv Desipn
                    This was an open, randomized study in ambulato~ patients who had strongyloidiasis
                   evidenced by microscopic stool examimtion or positive stool culture. Using a local
                   allocation-schedule patients were randomized into three groups of patients each to
                   receive either ivermectin (single dose or wo single doses 1 day apart) or
                   thiabendazoie (3 days of b.i.d. dosrng).
                   During the 2 weeks prior to the study, the patient was screened to &mre that hdshe
                  was in good physicid condition. The patient had a physical emmhation and a
                  laborato~ screen. V:taf signs were recorded on Day-1 (the same day as drug
                  administration but before drug was administered), Day 1 (the first day of chug
                  administration), and 7 days later. Generally prestudy vital signs were recorded on
                  Day 1 prior to admkktration of study drug, howmq there may have been occasion
                  for vital signs to be recorded the day prior to the administration of study drug. Since
                  all patients had no cammnt       illness which the investigator fdt might influence the
                  interpretation of data collected, this deviation from protocol was viewed by MRL as
                  inconsequential.




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          E. Study Desire (Cont.)
                                                  Table 1

                                    ReecmunendedDosage Schedules
             v
                                  IverrnwtinDosage Recommended
                                      Tablet Combinations for
                                         200-mcg/kg Dose
                                                            Number of Tablets (6 mg)
                       PatientWeigh (kg)
                      15to 24                                     ‘Y’
                      25 to 35                                    1
                      36t050                                      1!4
                      51 to65                                     2

                      66 to 79                                    2!4

                      80 and over                                 3



                                 Tbiabendazole(MINTIZOL@) Dosage
                                       Tablet Combinations for
                                              50-mgA<gDose
                                                      Number of Tablets
                           PatientWeight (kg)                (500 mg)
                                 15.0-22.2            0.25 (% tablet)
                                 22.3 -33.4          0.5 (1 tablet)
                                 33.5 -44.5          0.75 (1%tablets)
                                 44.6 -55.7           1.0 (2 tabks)
                                 55.8 -66.8           1.25 (2% tablets)
                                 669 and mm           15 C tablets}




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          F. Clinical Observations and Laboratom Measurements
             Table 2 shows the schedule of clinical observations and laboratory mfirements
             during the study. In additio~ the patient was questioned daily.(%yphone) regarding
             the adverse experiences with pmicular attention to evidence of allergic reactions
             (rash itching and anaphylaxis).
                                                       Ilb!$Q
                      Schedule of Clinical Obsewations and Laborato~ Measurements
                                                                                                         —
                                                                           s
                                       Es?w            1       2       3       5-9       16-19   28-36

               Drug Administration                 x
                                                                                           ..
                                       or
                                                   x       x
                                       or
                                                   x       x       x
               PhysicalExamination     x           x                       x
               VitaISigns              x           x                       x
              Labolatmy safety*        x                                   x
              Stool Examination        x                                   x         x           x
              I&                       x                                                         x
              EosinopMia++       x                                       x                       x
              + Prcstudy=During2 weeks (14 d ys) pr=g              the i at day of study dmg


                   notII& with anydegreeof &istemy to allow fir appropriateanalysis.
               r   Blood eknktries were performedonly if indicatedafter prestudy evaluations.

            Observations and measurements related to effioacy and safkty are desoriied below.




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          F.       CIinieal   Observations and Laboraton Measurements (Cont.)
                   EfYicacvMeasures
                   Baseline evacuation of Srrongyloities stercora!is as determined by larval munts using
                   a modification of the Baermantt’s technique [ 10] was to be established in each patient
                   prior to drug administration. All stool specimens were examined by one single
                   expert who was to remain blinded as to the treatment allocations.
               Parasitological cure was the primary measure of efficacy. A!though the protocol
               required follow-up stool examinations at Days 5 to 9, 16 to 19, 26 to 34, and at
               Months 3 and 6, both the investigator and MRL realized after fidzation        of the
               protocol that this design was not appropriate for an area of high endemicity because
               the risk of reinfection was considered to be high over this extended period (i.e.,
               greater than 1 month). Therefore, several changes to the protocol were agreed to by
               MRL and the investigator however, the changes were not made into a formal
               protocol amendment.
               The foIlowing changes were instituted:
               ●     Patients with highly reproducible positive stool examinations for Sfrongyloides
                     szercoralis larvae (at least tsvo of four pretreatment stool examinations positive)
                     were selected for entry into the trial.

               ●     The follow-up period was restructured, maintaining a high number of Baermann
                     stool examinations but conducting these studies approximately weeldy with the
                     final follow-up at approximately Day 30 (range: Days 28 to 36).
            MRL betieves that these changes do not impact on the overall VaIidityof this study
            rather, it allows for appropriate clinical outcomes to be assessed in an area of high
            endemicity for Strongyfoidesstercora!is.
            The Baermann technique [10] is a method of examining a stool specimen suspected
            of having small numbers of Strongyloides lanme and uses the modified Baermann
            apparatus. The technique is dependent on the migration of active lmae out of the
            fecal mat~      through a wire gauze covered with gauze padding and into water,
            where they settle out. The procedure is as follows:
            1. Fill a finnel (6-inch) with water (attach rubber tubing with a pinch clamp to the
               bottom of the funnel) and place the wire gauze, one or two layers of gauze
               padding on it, on the funnel.




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      lvermectin vs. Thiabendazole

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              F. Clinical Observations and Laboratory Measurements (Cont..)
                  2. Place between 50 and 100 g of fecal material on the gauze padding snhat     it is
                     covered with water. If the fd material is too finr+ break i~up slightly.
                  3. AIJow the apparatus to stand for 2 or more hours, draw off 10 mL of fluid by
                     releasing the pinch clamp, spin it down in a centfige and examine the sdment
                     with a magnifier or low power microscope to count and confirm the species of the
                     lwae.
                 Although not outlined in the protocol, Ritchie’s concentration Kato or fresh stool
                 counts were done for many patients; however, the lawal counts obtained from the
                 Baermann technique are the basis for evaluation of efficacy.
                 In addition, although not specified in the protocol, the intensity of infection at
                 baseline was also assessed. Quanti&ing the level of infestation (intensity of
                 infection) per patient was important only to determine comparability of treatment
                 groups and to examine whether there was an interaction between intensity of
                 inkction and clinical outcome. Because the investigator gave actual counts (number
                 of kwae per gm stool) for some of the patients and pIus (+) or word designations
..               for others, it was decided to use the following scheme to have consistency for all
                 patients (Table 3).
                                                       Table 3
                   Scheme to Translate Between Lawae Counts, Word Designations and “Plus”
                                                Designations
                                                                          7
                               Word          Lame counts           ‘Plus”
                            Designations      VW   stool         Designations
                          Few                   1to15                +
                                                16to 30              ++

                                               31toloo              +H-
                                                >100

                This scheme was not specifically stated in the protocm~ however, MRL believes that
                such an analysis between intensity of infection and outcome is valid.
                                                                                                         .,,




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               F. Clinical Obsewations and Laboratow Measurements (Cent)
                  Safetv Measures                                                     .-
                  A complete physical examination was done during the 2 weeks preceding study drug
                  administration and repeated at follow-up visits. Prestudy and follow-up samples for
                  the laboratory safety studies on blood and urine included:
                  a. Hematology:          Hematocrit
                                          Hemoglobin
                                          White blood cell count total
                                          Differential counts were made if WBC was abnormally low
                                          or high
                  b. Blood Chemistries:   Blood urea nitrogen
                                          Serum creatinine
                                          SGQT
                                          SGPT
                                          Total bilirubin
                                          AJkaline phosphatase
-.
                 c. Urinalysis:           Urinalysis was petformed in patients with abnormal semm
                                          creatinine values or with signskymptoms of urinary tract
                                          infection      ‘
                 The investigator could cany out additional analyses as required by the hospital or as
                 indicated for optimum patient care.
                 Vial signs (blood pressure and pulse rate, both supine and erect, respiration rate and
                 temperature) were recorded on Day 1.

             G. Evaluation Criteria
                 1. Evnluabilitv
                    AU patients whose data was received by May 28, 1992 were classified by the
                    MRL clinical monitor as evaluable or unevaluable with respect to eflkacy.
                    These evaluations by the MU monitor, although not apec%edin the protocol,
                    were in keeping with the dictates of the protocol (i.e., inclusion and exclusion
                    criteria) and the exercise of good clinical judgment. Thus, patients were
                    considered evaluable for eflicq if
                    a. Strongyloidiasis was documented on stool examination.



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  Ivennectin vs. Thiabenda.zole

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           G. Evaluation Criteria (Con~)
                    b. The patient did not receive other anti-helminthictherapy during the study
                       period.                                             .
                    c. The patient was compliant whh therapy.
                   d. Adquate follow-up stool examinations were peflorrned for determination of
                      effica~. At least four samples during the follow-up period (1 month) were
                      rquired.
              2. Efiicacy
                   The primary measure of efficacy in this study was the absence of larvae in
                   posttherapy Baennann fml examinations. Cure was defined as the absence of
                   larvae in the follow-up stool examinations. The detection of larvae on any stool
                   examination past Day 6 up to 36 days posttreatment met the definition of
                   treatment ftilure.
              3. Safety
                   All patients were evaluated for safety by physical examination and laboratory
                   studies. In addition, the patient was questioned daily (by phone) regarding
                   adverse experiences with particular attention to evidence of allergic reactions
                   (ras~ itching, and anaphylaxis). Adverse experience were described and
                   recorded by the investigator who determined the duratio~ seriousness, seventy,
                   and chug relationship as well as the eventual outcome of each adverse
                   experience.

          H. Statistical Planninr and Analvsis
             The primq measurement of e5cacy was the cure rate. Logistic regression was
             used to determine if any concomitant factors, i.e., age, sw race, seventy of
             infbctiotq intensity of ir&tioz aflkctedthe cure rate. None of these factors was
             related to cure rate at the a=(). 10 level of significant. Thus all were dropped
             from the statistical mode~ leaving only treatment group. The treatment groups were
             compared for the proportion of patients who were cured as well as for the
             proportion of patient’s experiencing adverse experiences using F&er’s exact test. -
             Baseline characteristics were analyzed using either Fisher’s exact test or the chi-        .
             square test of the Wkoxon Rank Sum test, as appropriate. Confidence intewals
             were calculated using the method of Blyth and Still. All statistical tests for treatment
             group differences were two-taikd (a=O.05).



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 Ivermectin vs Thiabendazole

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          1. Clinical Supplies
              Ivemwctin in the form of commercial MECTIZAN tablets (Lot H7~02) were
              obtained through MSD-Chibret. Commercial thiabendazole (500 m~ MINTEZOL)
              was obtained locally [4].


   III.   RESULTS
          A. Patient Characteristics
             A total of 49 patients were enrolled in the study. A summary of demographic
             information for all patients is provided in Table 4. There were no statistically
             significant differences in the characteristics of the three treatment groups. A detailed
             swnma~ of each patient’s treatment may be found in Appendix 1.
                                                            Table 4
                                     —--- ..---- Characwristic:
                                     Baseline      ------------------- - All Patient~
                                                                             - --------   {o~’s
                                                                                          , , -,
                                             Ivermecl.in                  Ivcrmectin
                                              One Dose                    Two Doses                  Thiabendazole
           Nurnlxr of Patierm               17                           17                           15
           M-     Age                       22                          28                            25
           sex
            Male (age &nge - yrs)    14 (18-37)         (82%)        16 (4+3)       (94%)          12 (18+4)   (80%)
            Female (age range - YTS)                    (18%)                       ( 6%)                      (20??)
           mu
            Caucasian                        3         (18%)              4         (24%)              3       (20??)
            Black                            3         (18%)
            Mulatto                         11         (65%)            1;          (76%)             1;       (80%)
                                                                          .
           Intensity of Infkction*
            2+                               8         (47%)             6          (35%)             10       (67%)
            3+                               7         (41%)             4          (24%)              2       (13%)
            4+                               2         (12%)             7          (4 lYO)            3       (xl%)
          ● = Comparisons tmwc.n treatment groups of Imcnsity of infection, although not spcciiicd in the

          protocol, were done in order to furtherensurethe detectionof treatment-group Wknces.
          Note: There were no significant diffcrcnecs between treatment groups.                                          .,.”




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  Ivermectin vs. Ttiabendazole

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          A. Patient Characteristics (ConL)
              Most patients had other secondary diagnoses at entry into the study &gle-dose
              ivennectin - 82.40A, twodose ivermectin - 94. 1%, thiabendazole - 60.0%). The
              majority of these diagnoses were gastrointestinal parasitic inkctions other than
              strongyloidiasis. Two patients in each ivennectin treatment group were diagnosed
              as having AIDS; 1 patient in the thiabendazole treatment group was HIV
              seropositive but ~ptomatic.      A detailed sumrnmy of each patient’s secondary
              diagnoses may be found in Appendix 2.
              Two of 17 patients (1 1.8Yo)receiving ivermectin single dose, 4 of 17 patients treated
              with ivermectin two doses (23.5’Yo)~  and 2 of 15 patients receiving thiabendazole
              (13.3%) received concomitant drug treatment an~or prior antinematode therapy
              (Appendix 2). Of these patients, no patients in the single-dose ivermectin group, 2
              patients in the two-dose ivermeztin group and 1 patient in the thiabendazole group
              had previously received agents with antinematode activity. In the two-dose
             ivermectin gToup, AN 82 was treated with albendazole for 10 days ending 37 days
             prior to entry and AN 453, who was HIV-infected and also receiving AZT’, was
             treated with 102 days of thiabendazole ending 37 days prior to enrollment and 6
             days of albendazole ending 25 days prior to entg. The thiabendazole-treated patient
                        received 3 days of mebendazole (200 mg/d) ending 71 days prior to entry.
             Positive stool examinations were documented in each of these 3 patients prior to
             initiation of study drug therapy.
             There were significant differences between treatment groups with respect to
             secondary diagnoses, prior therapy, or concomitant therapy.




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                B. Patient Accounting
                     L Accounting for Patients in the Studv
                        Table 5 following is a sumnmy of patients who entefd,                     completed, and
                        discontinued the study by treatment group.

                                                               Table 5
                                    Accounting for Patients in the Study by Treatment Group
                                                       Ivcrnwtin         lvcrmcctin
           Patients                                      1-DOSC            2-DOSC         Thiabcndazo!e
           Total Patients Entered                         17               17               15
           Total Patients Completed                       15               16               15
           Total Patients Discontinued                     2               1                 0
            AdverseClinical Experiences                    o               0                 0
            AdverseLaboratoryE~rienccs                     o               0                 0
            Last to Follow-Up                              2
            No TheIapCUtiC   ~qxm.$c                                        ]*

           ●
               = Although this patient ~was          discontinued from study &cause of “No therapeutic
                  ICSOOILSC”
                         she is still consideredcvaluable for cfkim.



                  2. Accountin~ for Patients in the Analysis
                      Table 6 is a summary of patients who were included in the analysis
                                                                                    .    of efficacv
                                                                                                   .
                      (evaluable patients) ad &et-y.

                                                           Table 6
                               Accounting for Patients in the Analysis by Treatment Group
                                                       Ivemuuin
,.        Patients                                       1-DOSC
          Evaluable for Efbcy halysis                     15             %?--+%-
          Noncvahtabk for Efikaq A.n@sis                  2                     0                0
          &n     for Noncw4uability for Eftlcscy
          Analysis:
           Inadquate Foknv-up Parasitology         2
          Evaluablcfor SafetyAnalysis                     17         L          17    I          15    -




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          B. Patient Accounting (Cont.)                                                       —
                 A total of 49 patients were enrolled in the trial (ivemnectin one dose - 17,
                 ivermectin two dose - 17, thiabendazde - 15). Of the 42 patients enrolled, 47
                 cmmpleted the study and 2 (both in the singledose ivermectin group) were
                 considered discontinued and nonevaluable for efficacy due to lack of follow-up


                  Patients who did not filfill the evaluability criteria outlined in Section 11.G.were
                  considered nonevaluable for efficacy. In certain circumstanc&, ftilure to Satisfi
                 the entrance criteria in Section 11.D.did not exclude patients from the anaIyses of
                 evaluable patients if the evaluability cnteti were satisfied. The inclusion criteria
                 required that the time period from diagnosis (i.e., positive stool exam) to
                 initiation of therapy not exceed 14 days. In practice, this was ofien not possible.
                 Because the naturaI history of strongyloidiasis is one of persistence over time,
                 patients who received study drug therapy within 30 days of a diagnostic stool
                 examination were considered evaluable. Furthermore, 1 patient                 , single-
                 dose ivermectin) had four of four positive stool examinations from Study
                Day -102 to Study Day -71. Because of the highly reproducible mture of this
                patient’s itiection status, this patient was also considered evaluable. Five
                patients in the trial were HIV-positive; some patients had a histo~ of
                opportunistic infections. None of these HIV-positive patients had any evidence
                of extra-gastrointestinal disease. Because enrollment of patients with underlying
                disease who meet ent~ criteria is at the discretion of the investigators, these
                patients were considered evaluable. Lastly, patient               (4 years, IO months
                old at randomization) was considered evaluable despite an age of less than 5
                years old at entry.
               All patients in the two-doseivermectin(17) and the thiabendazde (15) treatment
               groups were considered evaluable. Two patients (2/17, 11.8%) in the single-
               dose ivermectin group were considered nonevaluable for efficacy. The
               t!iiferences in patient evaluabtity among the three groups were not statisticzdly
               si~”ficant. The 2 patient exclusions in the singledose ivermectin group
                                     were lost to follow-up prior to any posttreatment outcome
               evaluation and were excluded from analysis of efficacy.
                Three patients                   - twodose ivermecti~               tiiabendazo]e)
               received antinematode therapy during the 3-month period prior to entry into the
                study. However, all patients- completed this therapy-at least 25 days before study




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 Ivermectin vs. Thiabendazole

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                 en~   and had muhiple positive stool examinations for StrmgyIoides stercmalis
                 prior to initiation of study drug. Therefore, these patieq~s were considered
                 evaluable.
                 It is recognized that these changes in enby and evaluation criteria differ from the
                 requirements of the protoco~ however, they are considered by MRL as
                 consistent with the treatment of patients w-th strongyloidiasis given the natural
                 history of the disease. In additioq with the exception of the 2 patients .
                              in the singledose ivermectin group who were excluded from the
                efficacy analysis (outcome in these patients could not be rendered), no data are
                excluded from the analysis of efficacy or safety. & such, MRL believes that the
                alterations from the protocol as specified above do not impact on the validity of
                the results of this study.

         C. E~cacv
            Ten of 15 (67%) evaluable patients in the single-dose iverrnectin group were cured
            compared to 14/17 (820A) in the two-dose ivermectin group and 13/15 (87Yo) of
            patients treated with thiabendazole. There was no significant difference between
            treatment groups in the proportion of patients cured. A patient’s likelihood of cure
            was not significantly related to age, se% race, or intensity of infection. Cure rates
            with 95°/0.confidence intewals for treatment groups and vmious subgroups are
            contained in Table 7.




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        Ivennmin vs. Thiabend~ole


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                     C. E~aq      (ConL)

                                                           w                                                            .
                                                Cure Rate - Evaluable Patients                       .

                                                      rvcrmecfj~
                                            one Dose      I      Tw Doses
                                       cn     N      mjb~m
                                   I
               Ovaall




             I
                                                15                 14       17
                                                       (3?87                                         t3
              sex                                                                  (56,?5;
                  Male
                                                13                          16
                                                      (46794)                                        10       12
                  Female                                                           (s4:;5)
                                                2        0                  1
                                                                                                                     (s1,$7)
                                                                                      100            3        3
              Race
               Cmlcas&                                                                                               (&&l
                                                2       100                 4        100             3        3
              Black                                                                                                   100
                                                2      50                   0                                       (29,100;
                                                                                      0              0        o         0
              Mulatto
                                            11                          13                       10       12                              -.
             kn.sity of ~~”m-                        (32:8)                      (46,74)
             2+                                                                                                     (s1:;7)
                                            6                                                                                             -—
                                                                        6                        8        10                              -.
             3+                                      (M:99)                      (24;;4)
                                            7                           4                                          (4A)
                                                                                    75           2        2          100
             4+                                      (2:88)
                             -i             2          50   I           7          100       I   3        3          100


                                                                                                                                        --
                                                                                                                                        —

                                                                                                                                       —

                    AS sWd t?dier (Section II. F. of this r~fi), par-@to]o@d     ~    ~     fie pd
                    measure of efficacy. Although the protocof reqtird folJow-up stool examinations at
                   D~ 5 to 9, 16 to 19, 26 to 34 nd at h-fon~ 3 ~d 6, fi ~               r-        tier
                   fhdiz#ion of the protocol that this design was not appropriate for an area of hi@
                   endem-ti~ because the risk of reinfdon       was considerd to be high over this                                    .
                   extendd period (i.e., greater than 1 month).                                                                       . ......_
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 Ivermectin vs. TIiabendazole

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          C. Ef@w(Con
                   t.)
             Many patients (72%) had follow-p stool examinations beyond posttr=tment
             Day 31. Among these patients, there was a mean fo[low-up period of 124 days (93
             days Postday31) with a mean of 5.4 stool examinations beyond Day 31. For those
             ultimately found to have positive stool examinations for S. sfercoralis Iarvae during
             extended follow-up, it is not possl%leto distinguish between relapse and reinfection.
             For this reasoq outcome at Days 28 to 36 is considered the primaxy measure of
             efilcaey.
             In order to estimate a “worst outcome” cure rate, effieaey was also evaluated by
            desigmting all patients with any positive stool examination at any posttreatment time
            point (beyond Day 5) as treatment ftilures, By this criteri~ 10/15 patients (67%) in
            the singledose ivermeetin group, 10/17 (59%) of patients in the two-dose
            ivermectin group and 9/15 (60°/0) of patients in the thiabendazole treatment group
            were cured.     As in the primaxy definition of effieaey, there was no significant
            difference between treatment groups in the proportion of patients cured and no other
            factor was significady predictive of outcome.          Although Postday 31 stool
            examinations were performed, none of the HIV-positive patients enrolled in the
            study ftikd therapy using this “worst ease” definition. Agai% this data is presented
            “for information purposes” only since in this highly endemic area one could not
            distinguish between relapse and reitiection.
            A quality-assurance audit was performed by the MRL Clinical Quality Assurance
            Resources at the study site 3 years after the completion of the trial (reference - Audit
            Information Sheet, Appendix 3). The audit indicated certain regulatory compliance
            issues relating to source documentation and monitoring. Exampies of audit findings
            included:
            1, Source document Iaboratoxy results for hematology, blood chemishy, urinalysis
               and parasitological stool resuks were unavailable.
            2. Numerous workbook to CRF transcription errors were noted in the reporting of
               total eosinophil counts for some patients.
            3. There were no records of prestudy pregnancy or ECG results as required in the
               protocol imlusionkxclusion crittia.
            4. I- assay results for tests which were to be performed by the NH as pafl of a            ,
               substudy of this protoml were never repmted.




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Ivermectin vs. Thiabendazole

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         c. Efficacy (Cont.)
            5. The ERC approva! of the study was based on a draft protocol and not me final
               version.
            6. There was no routine monitoring.
            The lack of a complete file of source documentation at the investigative site does not
            impinge on the integrity of the itiormation originally received from the investigator
            during the conduct and subsequent completion of this study some 3 years before.
            Nor does it compromise the information used to produce this’ MRL summary.
            Despite these GCP-related findings, MRL believes that the basic scientific and
            medical conclusions drawn from this study and described in this summary are valid.

        D. SafeW
            All 49 patients were evaluated for safety and tolerability.
            1- Adveme Experiences - Clinical.

                a. Overall Assessment of Clinical Adverse Experiences
                   Table 8 below is a summary of the clinical adverse experiences (AEs).
                                             Table 8
                               Clinical Adverse Experience Summary


                                     I Iverrnectin      I   Ivennectin    I
                                                            Two-Dose          Thiabendazole
                                                                                 (’N=15)
                                                            JHZl-
                                                             2(1 1.8%)          9 (60.0%)

       Serious Cliical AEs                   o                  o                   o
                                     I
       Dismntinuations Due to                o                  0                   0
       Clinic.al
              AEs                    I
       Drug-Related Clinieal AEs             o                  0               9 (60.0??)

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             D. Safety (ConL)                                                                 .
                         The difference in the incidence of clinical adverse experiences (AEs) between
                         he singledose ivermectin group and the thiabendazole group was significant
                        @KO.001) as was the difference between the twodose ivermectin and
                        t.hiabendazole groups (p=O.008). There was no statistically signiikant
                        difference in the incidence of clinical AEs between the two ivermectin
                        treatment groups Q+I.48).       There were no serious clinical AEs and no
                        discontinuations due to clinical AEs.
                        Table 9 lists clinical AEs by body system.
                       The difference in the incidence of clinical adverse experiences considered by
                       the investigator to be possibly, probably, or definitely drug related between
                       the thiabendazole treatment group and each of the ivennectin groups was
                       statistically significant (pzO.001 for each comparison).




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                D. Safety (Cont.)                                                                   —
                                                        Table 9
                                 Cliical Adverse Experiences by Body System      -

                                      .
                                           Ivermectin              Iverrnectin       Thiabendazole
              Body System/                Single-Dose              Two-Dose
               Diagnosis                    (N=17)                  (N= 17)            (N= 15)

          Patients with AE                     o                   2(1 1.8%)           9 (60.0??)


         Body m a whole:                                           1 (5.9%)            5 (33.3%)
         Malaise                                                                     5 (33.3%) [5]
         Abdominal Pain                                           1 (5.9%) [0]

         Digestive system:                                        2(11.8%)             2 (13.3’%0)
         Nausea                                                                      2 (13.3%) [2]
-..      horexia                                                  1 (5.9%) [0]
         Diarrhea                                                 1 (5.9%) [0]

         Nervous system I                                                             8 (53.3%)
         psychiatric system
         Dizziness                                                               6 (40.0?!) [6]
         !kadache                                                                2 (13.3%) [2]
         kritability                                                              1 (6.7%) [1]
         Wentalacuity decrease                                                   2 (13.3%) [2]
         %resthesia                                                               I (6.7%) [1]
         feltigo                                                                 2 (13.3%) [2]

         ;pecial senses:                                                               1 (6.7Yo)
         ris                                                                         1 (6.7%) [1]

         Q.B.: Patient counts and event cmunts may not be the same since some patients may have
         nore than one clinical AE event.                                                                     ..

          J Numbers in brackets are those patients who had clinical AEs which were considered
         ~ossibly,probably, or definitely related to study drug.




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                D. Safety (ConL)
                           The clinical AEs reported for 2 patients in the twodose ivemectin group
                           were considered not related to study drug. One patient ~perienced anorexia
                           on Study Days 1 and 2 that was considered by the investigator to be probably
                           not related to study drug. The second patient repofled abdominal pain on
                           Study Days 2 and 3 that was considered by the investigator to probably not
                           be drug related and diarrhea on Study Day 14 considered to be definitelynot
                           related to ivermectin.
                           All clinical AEs in the thiabendazole group were considered by the
                          investigator to be drug related (i.e., possibly, probably, or definitely).
                          Psychiatric/nervous system complaints accounted for the most commonly
                          affected body system with 8 patients (53.3% of patients in the group)
                          reporting adverse events in this category. Six of the 8 patients (40.0°A of the
                          patients in the group) reported dizziness, making this the most frequently
                          repofied clinical AE among patients treated with thiabendszole.
                          Each patient who entered the trial was asked to give an overall tolerance
                          assessment of their treatment. Seventeen of 17 (100°/0)patients in the single-
                          dose ivermectin group found the treatment to be “well tolerattxl,” compared
                          to 17 of 17 patients (100%) in the two-dose ivermectin and 6 of 15 patients
                          (40??) treated with thiabendazole. The difference between each ivermectin
                          group and thiabendazole was statistically significant (pEO.001).
                          Serious Clinical Adverse Experiences
                          Therewere no adverse experiences that were considered serious by eitherthe
                          investigatoror the clinical monitor.
                          Patients Discontinued Due to ClinicaI Adverse Exmxiences
                          No patient in this study was discontinued from study drug because of an
                          adverse experience.
                  2. &dverse Emergences- Laboratoq
                      a. Overall Assessment of Laboratow Adveme Experiences
                         No laboratory adverse experiences were noted during the course of this
                         study.




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  Iverrnectin vs. Thiabendazole

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           D. Safety (Cent)
                   b. Serious Laborator-vAdverse Experiences
                      There were no serious laboratory adverse experiences during the course of
                      tbk study.
                  c   Patients Discontinued Due to Laboratom Adverse Experiences
                      No patients required discontinuation of study drug due to a laboratory
                      adverse experience.
              3. Adverse Experiences - Other
                  There were no other adverse experiences.
              4. ClinicaI Safetv Measurements
                 No clinically significant changes in clinical measures of safety were noted.
             5. Laboratory Safety Measurements
                 No consistent or significant changes in laborato~ measures of safety were noted.


  IV.    IIISCUSS1ON

          Ivermectin @ an 80:20 mixture of avermectin f31a and avermectin D]b, monocyclic
          Iactones produced by the actinomycete Streptomycesavermitilis. While its mechanism
         of action is not fi.dlyunderstood, ivermectin appears to exert its activity by inducing a
         chloride current via a glutamate-gated channel in the parasite resuhing in apparent
         paralysis and death [11]. It is an orally effkctive antiparasitic agent that has been used in
         veterinary medkine since 1981. Based on its efficacy and excellent aafkty profile,
         ivennectin has achieved widespread acceptance as the treatment of choice for
         onchocerciasis (river blindness) [3].

        During trials aimed primarily at establishing ivermectin’s efik.acy in onchocerciasis, a
        number of uncontrolled obsewationa suggested that iverrnectin had significant act-hity
        against a number of gastrointestinal nematodes [12]. These cliical notes were -
        consistent with the drug’s activity in an animal model of atrongyloidiasis [7J.                  ,
        Subsequently, nonamparative studies demonstrated that iverrnectin was an effective


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          IV. DISCUSSION(CONT.)

                agent against strongyloidiasis [8,9]. Based on these obsewat.ions asawell as the need for
                a more effixtive, less toxic therapy in strongyloidiasis, several studies, including this
                trial, were undertaken.

                This comparative randomized trial evaluated ivermectin’s efficacy. Inclusion criteria
                selected for patients with heavy larval burde~ and a very sensitive techrique for parasite
                detection was utilized. The primary measure of efficacy in this trial was the absence of
                S. sfercoralis larvae on four posttherapy stool exams, the Iast examination being on
                Days 28 to 36. Although additional follow-up stool examinations were performed for
                many patients, later time points were not used because of the increasing ambiguity
                between reJapse and reinfection. In fact, reinfection could occur even before the Day31
               time point, making this definition somewhat arbitrary. One month follow-up was chosen
               as a compromise between minimizing the risk of reinfection and the need for a follow-
               up period of reasonable length that incorporated an adequate number of stool
               examinations. It is also uncertain how quickly a patient’s stool should be clear of laxvae.
               A positive stool examination pefiormed prior to the first time point (Day 7) was not
               considered sufficient to define a patient as having failed as long as at least four
               subsequent examinations were negative.

               Cure rates of 67V0 (singledose ivermectin), 82’% (two-dose ivermectin), and 87??
              (thiabendazole) were observed, confirming ivemw%n’s activity in this infkction. While
              the single-dose ivermectin group had a somewhat lower cure rate than the other
              therapeutic groups, none of the difkences in cure rates among the treatment groups
              were statistically significant. The cure rates for both ivermectin treatment groups were
              lower than those reported in one nommmparative study [8]. These difkrences may
              reflect the fotlow-up that patients in this study underwent or the possiile preelection of
              a patient population with a high intensity of infection based on the trial’s entry criteria.

              Although efficacy did not differ among treatment groups, the incidence of clinical
              adverse experiences was substantially lower among patients tiving       ivermectin. NO         .
              patient in the singledose ivemwctin group had a clinical adverse experience compared
              to 11.89’0of patients treated with two doses of ivermectii and 60?! of patients receiving
              thiabendazole.     This higher incidence of adverse events among patients in the




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         IV.     DISCUSSION        (CONT.)

                 This difference was magnified when only those adverse experien~s considered by the
                 investigator to be drug-related (possibly, probably, or definitely related to study drug)
                were considered. None of the adverse clinical events in the ivermectin groups were
                considered drug-related compared to all the events in patients treated with
                thiabendazole. It is not possible to exclude some bias in the interpretation of the
                relationship between reported symptoms and drug therapy. It is important to note that a
                statistically higher incidence of adverse experiences was present when all events were
                considered regardless of relationship. The safety profile for thiabendazole seen in this
                study is also consistent with other published reports [3,4].

               In onchocerciasis, many of the adverse effkcts that occur atler ivermectin treatment are a
               result of the patient’s immune response (Mazzotti reaction) to dead microfilariae and
               usually appear wittin three days of the dose [13]. The severi~ of the response is
               directly related to the initial intensity of 0. vofvuhs infestation. The lack of Mazzotti-
               type reactions in this trial following treatment of strongyloidiasis is consistent with
               previous experience and would be predicted based on disease pathogenesis.

               A criterion for entry into this trial was that patients have strongyloidiasis limited to the
               gastrointestinal tract.   It is not possible to extrapolate ivermectin’s efficacy in
               disseminated disease. Several patients were HIV-infected, including patients with a
               histo~ of opportunistic inf~ons.       While these patients responded well to ivermectin
               therapy, the numbers of patients were small, and no conclusions regarding ivermectin
               efficacy in immunocompromised patients can be drawn from this study.-

               This study demonstrates that ivermectin is a generally well tolerated and effective
               therapy for strongyioidiasis of the gastrointestinal tract in immunocompetent patients. It
               is associated with significantly fewer clinical adverse experiences than thiabendazole
               with similar efficaq. In additio~ ivermectin’s simple dosing regimen offers substantial
               advantages over thiabendazole for patient compliance. Overal~ the results of this tria!
               suggest that ivermectin offixs a significant advance in the treatment of strongyloidhusis.




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  Ivennectin vs. Thiabendazole

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     V.      CONCLUSIONS

             1. Ivermectin (200 mcgkg) as a single dose and as two doses on consecutive days and
                thiabendazole (25 mgkg b.i.d. x 3 days) are effective therapies for Strongyloidiasis of
                the gastrointestinal tract.

            2. Ivermectin is generally well tolerated and associated with fewer clinical adverse
               experiences than thiabendazole.




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          F. M. Ricci                                         T. tiO~ M.S.
          Director                                            Associate Director
                                                              CBARDS

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       ~.    Calandra, M.D., Ph.D.
       Senior Director
       Clinical Research




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Mectizan-’ (Ivennec~in)                                                       .
                                                                                                   Strongyloidiasis

          D. Medical officer findings.
          As discussed above in the section entitled “Deviations horn protocol”, the medical officer agrees that
patients with a documented stool examination positive for SS at any time prior to enrollment are considered
evaluable. As mentioned, 10 of the 49 enrollees had> 30 days elapse between documentation of S-infection and
enrollment in the trial. However, the medical oflicer cannot accept the outlier (patient-    whose only positive
stool pre-therapy is listed as being collected 102 days prior to enrollment.
          The patient daa by treatment group and day of parasitologic follow-up, are presented in the following
tables:

    Disposition and patient follow-up by treatment arm and patient number
                                 Dreyer study 020

          Timepoint                Ivermectin     X1     I     Ivermectin    X2        I    Thiabendazole

 enrollment stool collected                                           o                            0
  >60 days pre-treatment            (Patierl~

 enrollment stool collected                 10                        14                           9
  >14 days but <60 days
       pre-treatment


 enrollment stool collected                 6                         3                            6
  s 14 days pre-treatment
                              .    .. . .
       total enrolled     .                 17                       17                           15
                                                        I                              I
    day 7 (range 5-9)                14 (zero+)                    17(1 +)                     15(1 +)
 post-initiation of therapy




   day 30 (range 26-34)               14(4+)                       16(1 +)                     15(1 +)
                                                                                                                 ,




  day 90 (range 80-100)              6 (zero I+)                  14(4 +)                      13(5 +)



                                                                                       1
  day 180 (range 160 or              2 (zero+)                     6( I +)                    2 (zero+)
                                         ,                                                    . . .. . .
           greater)

‘ootnotes:
        + denotes positive stool for Strongyloides stercoralis by Baermann technique
        0 denotes enrolled patient is HIV positive
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  NDA 50-742
  Mec[izm-’([verrnectin)                                                                                              Page 7 I
                                                                                                              Slrongyloidiasis

  If the criteria for evaluabilit-y and cure that are discussed above are utilized (specifically, the requirement for three
  consecutive negative stools to be called a cure, and the validity of the 30-day post-therapy timepcsint because of the
  possibility of ‘re-infection), the following results are obtained on a patient-by-patient basis:


                                    Medical officer evaluation of enrolled patients
                                      by treatment group and patient number
                                                    Dreyer study 020
            Patient#              Evaluable?     Reason                      Cure?     Reason
 Treatment arm:        Ivermectin X 1
                              yes                                            No        + Stool day 29
                              yes                                            Yes       = stool Up to day I @
                              yes                                            Yes       = StOOlUp to day 92
                              yes                                            Yes       = Stool Up to day ]()I
                              no                entry stool day -102

                              yes                                            No       + stool day 29
                              yes                                            No       + day21; only 1 = stool thereafter
                              yes                                           No        ~ stool day 29
                              yes                                           Yes       - stool day 29
                              yes                                           No        + stool day 29

                             yes                                            Yes       = StOO]Up to day 183
                             yes                                            Yes       = stool Up to day 81
                             no                 lost to flu
                             yes                                            Yes       = stool Up to day 99
                             yes                                            Yes       = stool day 25

                             yes                                            Yes       - stOOlday 29
                             no                lost to th

Treatment arm:      Iverrnectin X 2
                             yes                                           Yes       = stool Up to day 92
                             yes                                           Yes       - stool up to day ] 1s
                             yes                                           Yes       - stool up to day ] ]s
                             yes                                           Yes       =to&y87ti
                             yes                                           Yes       = stool up to day 84
                            yes                                            Yes       - stool up to &y 87 W
                            yes                                            No        +day21; _X2; +day 101
                            yes                                            Yes       = Stoolup to day 183
                            yes                                            Yes       = stool up to day 183
                            yes                                            Yes       = Stool up to day 207
                            yes                                            Yes       - stool up to day 28
                            yes                                            Yes       = stool up to day !2!3
                            yes                                            Yes       = stool up to day 93
                            yes                                            Yes       _ stool up to day 85 d
                            yes                                            No        ‘t day 29

                            yes                                            Yes       = stool up to day 29 d
                            yes                                            Yes       - stool up to day 192
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  Mcctizan-’ ([vcnnectin)                                                                                              Page 72
                                                                                                               SIrongyloidiasis

                                  Medical oficer evaluation of enrolled patients
                                    by treatment group and patient number
                                                     Dreyer study 020
                                                          (Continued)

          Patient #         Evaluable?           Reason                         Cure?    Reason
  Treatment arm: Thiabendale
                           yes                                                 Yes       = std Up to day 19 I
                           yes                                                 Yes       = stool Up to day 94
                           yes                                                 No       +day 17,24; mday31-78d
                           yes                                                 Yes      = st~l Up to day 93
                           yes                                                 No       +day31
                            yes                                                Yes      = stool Up to day 186
                            yes                                                Yes      = st~l Up to day 94
                            yes                                                Yes      = std Up to day 92
                            yes                                                Yes      = stool Up to day 94
                            yes                                                Yes      = stool Up to day 93
                            yes                                             Yes         _ stool up to day 29 V
                            yes                                             Yes         = stool up to day 85 W
                            yes                                             Yes         _ stool up to day 45 W
                            yes                                             Yes         = stool up to day 82 V
                            yes                                             Yes         = stool up to da; 29
Footnotes:
        O HIV+ enrollee
        M reinfection or relapse (stools_ X 3 at or including day 30 but again positive at later follow-up)


The totals of the above chart are presented below:


                                               Dreyer study 020
                                         Results per Medical Oflicer

                                     lvermeetin X 1                lvermectinX 2                   Thiabendazde
 Enrolled         Total                    17                              17                             15          -
                  HIV i-                   2                               2                              1                .,
Evaluable per M.O.                        14                               17                             15
Cure at day 30 (%)                      9 (@%)                          15 (88VO)                     13 (87’%0)
Fail at day 30 (%)                     5 (36%)                          2 (12%)                        2(13%)
Reinfections/reiaPses                     o                             4 (24%)                        5 (33%)
 (% of evaluables)
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    NDA 50-742                                                                                                   Page73
    Mectkan- (Ivcrmec[in)                                                           .
                                                                                                         Strongyloidiasis


              Medical officer tindings: safety

              [n the applicant’s summmary of the Dreyer study, a table on (applicant’s) page D-26 14 reveals that a
    significantly higher number of thiabendazole-treated subjects reported clinical adverse experiences.~e
    computerized patient-leveI data to corroborate these findings were included in the NDA submission (pages D-2795-
    97) and were verified by the medical oflker. As there were no deaths or discontinuations, nor were any events
    considered serious in nature, no case report fotms were included in the NDA.
              R is noteable that practically all of the adverse clinical events in the thiabendazole arm (19 evnets in 9
    patients who reported them) were considered to be ‘definitely’ related to thiabendazole. This is somewhat striking;
    investigators are not usualiy so adamant in their desire to ascribe causality. This would have been more convincing
    had the study been conducted in a blinded fmhion.

         The applicant reports that there were no Iaboratroy adverse experiences in this study. Patients were
assessed at one timepoint pre-therapy, and then once at day 7 or 8 post-therapy. Thus, the degree of follow-up is not
nearly as long-term as it was in the Gentilini study. Upon review of the submitted information, the medical officer
agrees that the investigator did not report any laboratory changes to be adverse events associated with study drug
administration. There were, nonetheless, several laboratory perturbations that were noted upon medical officer
    review;



Subject #      lab finding (day of study)                         Comments
lvermectin X 1
               AST 17+43 (d7)

Thiabendazole
                      AST 18+38     (d8)
                      AST 17*43 (d8)
                      AST 19+38 (d8)
                      ALT 24+35 (d8)
,                     WBC 4.7+ 2.2 (d7)

Ivermectin X 2
                      AST 26+44    (d8)
                      AST 17+43    (d8)
                      AST 20+38    (d8)

Thus it can be seen that the only laboratory effects of ivermectin that were seen in this smaIl study with limited
laboratory followup was mild elevation in transaminases, particularly AST. This observation holds for thiabendazole
as well as both ivermectin atms. There were no appament perturbations in WBC count among the ivermectin-treated
subjects in this study, as were noted previously in the Gentilini study. The lack of laboratory follow-up past&e day
8 post-therapy timepoint makes it difflcuh to make any firther comment on this matter.                             .,.




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NDA 50-742                                                                                                   Page74
Mectizan-’(Iverrnectin)                                                         .                    Strongyloidiasis


5. Study 014 (Berk) and 015 (Gann): An open, randomized study of the efficacy, safety. and tolerability of
ivermectin single dose and repeat dose (one day apart) vs. Thiabenda.zole (three-day course) in the treatment of
patients infected with Strongyloides stercoralis.

These two studies were conducted in separate Ioeations but utilized comparable protocmls. Both study sites are in
the United States. Both utilized Baennann technique for processing of all stool speeimens. TimePoints of follow-up
were relatively comparable. On this basis, it would seem to be reasonable to combine the two studies.

The following summary of these studies is taken from pages D-2983 thru 2996 of volume 1.23 of the NDA
submission:
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 MK-0933 Prot. No. 014/015
 Dr. Berk and Dr. Gam                                                       .


                       COMPREHENSIVE STUDY SUMMARY

      An Open, Randomized Study of Efficacy, Safety, and Tolerability OF
  Ivermectin Single Dose and Repeat Dose (One Day Apart) vs. Thiabendazole
  (Three-Day Course) in the Treatment of Patients Infected With StrongyZoides
                                            Stercoralis

    I.    BACKGROUND
         Tens of millions of people around the globe are currently infixted with Strongyioidks
         stercoralis [1]. It is ~despread, not only in moist rainy areas of the tropics and
         subtropics, but also in some areas of southern and eastern Europe and Southeastern
         United States. StiongyIoides stercoraIis is an intestinal nematode that. usually causes a
         limited intestinal infection. Patients may remain asymptomatic but recurrent cutaneous
         and gastrointestinal symptoms are common. The intestinal disease is rarely fatal and
         usually associated with eosinophilia.

         Strongyloidiasis begins when inkctive larvae in contaminated soil penetrate intact skin
         and cause an itchy e~hematous rash at the point of entry. The larvae are then carried
         in the bloodstream to the lungs where they ascend the bronchial tree before being
         swal!owed. They then enter the small intestine where they penetrate the mucosa and
         mature into adult worms. Eggs shed by fernale worms are transformed into lawae that
         are excreted in the intestinal lumen. Most larvae are excreted in the stoo~ but some may
         penetrate the mucous membrane of the lower bowel or perianal skin resulting in
         autoinbstion which intensifies and perpetuates the intestinal colonization [2].

         This phenomenon of autoinfixtion is unique to S. sfercoralis and is not found in the
         other nematode parasites commonly infecting humans. In this fo~ the dkease can be
         perpetuated for an indefinite period of time. World War II veterans who had been
         fomwr prisoners of war in Southeast Asii as well as Vktnam veterans have been
         diagnosed as having strongyloidiasis without being tier exposed for periods of over
         40 years [1].

         Thiabendazole (TBZ) has been the “dreg of choice” for treatment of strongyloidiasis fir
         almost 30 years since it has a wide range of action and is readily absocbed from the G.I.      -
         tract. However, it also is responsible for fkquent and sometimes serious side effects
         [3,4]. Albendazole, a more broad sp-m         anthehnintic, has efficacy in strongyloidiasis        -’
         similar or slightly inferior to that of thiabendazole. Albendazole is, however, better




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         Dr. Berk and Dr. Gann
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             1. BACKGROUND (CONT.)
                 tolerated than thiabendazole. Both drugs require administration of multiple dos= [3].
                 Treatment failures occur with both albendazole and thiabendazole and a few patients are
                 not cured even when treated with increased amounts of drug for a rong time. A single-
                 dose drug with fewer side effects and increased efficacy would be usefid in the treatment
                 of strongyloidiasis.

                 Ivermecti% a derivative of avermectin 13,is an orally efikctive microfilaricidal agent. It
                 has now been proven to be the current drug of choice for treating patients infected with
                 the nematode Onchocerca wbulus, which is a major cause of blindness .in inhabitants of
                 tropical areas [3].

                 More than 5.2 million people worldwide have received at least one single oral dose of
                 ivermectin at levels up to 200 mcg/kg for onchocerciasis [5]. Ivermectin given as a
                 single oral dose of 100, 150, or 200 mcgkg has been found to be a relatively safe and
                 ef%ctive microfilaricide reducing O. vofvzdusskin rnicrofilaxiae counts to near zero for
                 up to 12 months [6]. Based on the safety and tolerability evaluations from these studies,
                  150 mcg/kg was judged to be the optimal oral dosage [6]. Ivermectin was approved by
                 the French Regulatory Agency for the treatment of onchocerciasis in October 1987.

                 There is substantial evidence to suggest that ivermectin may be a usefid therapeutic
                 alternative for treatment of strongyloidiasis. Ivermectin has demonstrated activity in
                 animal models of infection [7]. More importantly, ivermectin has been shown to be
                 effixtive against human strongyloidiasis in noncomparative studies [8,9]. Ivermectin
                 was well tolerated and a single dose demonstrated good activity. Based on this
                 experience, we have undertaken a randomized, comparative trial of ivemwctin versus
                 thiabendazole in the treatment of Strongyloidiasis.

           11.   SUMMARY OF PROTOCOL AND STUDY PROCEDURES
                    Protection of Human Subkets

                    This study was conducted in conformance with applicable coun~               or local
                    requirements regarding ethical committee review, itiormed amen;           and other
                    statutes or regulations regarding the protection of the rights and welfwe of human
                    subjects participating in biomedkal research.




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              B. Investizators

                 Steven Beriq M.D. and C. Donald Howe, M.D.                            Protow~014
                 East Tennessee State University                              .
                 Veterans Administration Medical Center
                 Johnson City, Tennessee 37614
                                                                                  -.
                 Peter ~    M.D. and Franldin Nev~ M.D.                                Protocol 015
                 Lowell General Hospital
                “Lowell Community Health Center
                 Lowell, Massachusetts 01852

             c. Objectives
                It should be noted that the primary objectives of the two protocols being combined
                in this report were identical in the expressed need to measure efficacy, safety, and
                tolerability of one or two oral doses (200 mcglkg) of ivermectin compared to a
                3day regimen of thiabendazole (25 mgkg bid.) in the treatment of SfrongyIoides
                sfercoralis. However, other treatment comparisons were listed among objectives in
                each study that rendered the two protocols somewhat different. These differences
                do not affect repoxting on the cumulative experience for the primary objective stated
                above. The differences may be summarized as foilows:




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               C. Obiectives (Cent)



                                                                        Gann    -...       Berk
                               Protocol Objective                   (Study 015)        (Study 014)
                  Compare the efficacy, safety, and tolerance of         x                 x
                  one or two doses of ivermectin (200 mcg/kg)
                  to 3 days ofthiabendazole (25 mghcg b.i.d.).
                  Compare declines in specific antibody titers           x
                  over a 12-month period for the treatment
                  groups specified.
                  Compare the times for stool to become
                  negative for the treatment groups specified.
                  Compare treatment results in hyperinfection
                  syndrome for the treatment groups specified.

 —.

                Although the above objectives were listed in each of the protocols as indicated, it
                was not possible to consistently execute measurements dealiig with the Study 015-
                objective of antibody titers; and frequent stool collections and cultures required to
                compare the time rate of stools beuxning negative for S. stercoraks could not be
                consistently executed as required in Study 014. In additio~ “hyperinfkction
                syndrome” was not encountered in Study 014 and therefore not addressed. Thus,
                ordy the objective comparing the efficacy, tiety, and tolerance of one or two doses
                of ivermectin (200 mcg/kg) to 3 days of thiabendazole (25 mgkg b.i.d.) was
                consistently addressed in both studies and this summary is limited to this single
                objective.




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              D. Patient Selection
                                                                                        .
                 Inclusion Criteria
                                                                                   .
                 1. Patients were between 5 and 80 years of age.

                 2. An examination of the stool samples done 2 weeks or less before entry into the
                    study was positive for StrongyIoidess!ercoraiis kwae.

                -3. No clinical evidence of disseminated strongyloidiasis (Study 015).

                4. No treatment for strongyloidiasis    within the previous 6 months (Study 015).

                Exclusion Criteria

                1. Age under 5 or over 80 years.

                2. Women of childbearing potential (unless they have a negative HCG).

                3. Medical history of mental illness, seizure, or other serious illnesses.

                4. Abnormal levels of SGOT or SGPT greater than twice above the upper normal
                   limi~ matinine greater than 2.0 mg/100 mL or grossly abnormal BUN or urine
                   analysis,

                5. A history of an abnormal EKG or EEG (Study 015 only).

                6. Moderate or severe anemi~ i.e., hemoglobin less than 10 g or hematocrit less than
                   30%; any abnormality of white blood cell count and/or differential (except
                   eosinophilia).

               7. Any pastor concumnt medical illness which the investigator feels might influence
                  either the outcome of the study or interpretation of the data accrued.



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         E. !%udvDesire

            General Description

           This was an opq randomizedstudy in ambulatorypatients whihad strongyloidiasis
           evidenced by microscopic stool examination or by positive stool culture. Using a
           local allocation schedule patients were randomized into one of three groups to
           receive either ivermectin (single or two dose) or thiabendazole. Although duodenal
           aspirates ardor jejunal biopsies were permitted in Study 014 these tests were not
           routinely pdomwd nor were they used as confirmation of strongyloidiasis. Only
           Baermann stool examinations were used to assess strongyloidiasis in patients in
           Studies 014 and 015.

           Although the study was open in desigq stool specimens were examined by one
           single expefi who was to remain blinded as to the treatment allocations.

           The safety of ivermectin was evaluated on the basis of physical examinations and
           laboratory tests prior to treatment and on Day 7 posttreatment. Study 014 allowed
           for an additional physical examination on Day 30 posttreatment.

          In the event that mild or moderate reactions occurred, they could be treated with
          aspirin and antihistamines; other medications were not to be administered during the
          first week of dreg. administration except for necessq treatment of patients with
          severe allerfjc reactions.

          Patient Allocation

          Atler completion of the itionned consent procedures and documentation of
          strongyloidiasis evidenced by stool examimtio~ patients were randomized to receive
          either single dose of ivenn~     two single doses of ivexmectin 1 day apart or 3 days
          of b.i.d. dosing with thiabendazole.

          During the week prior to the study, the patient was screened to assure that hckhe
          was in good physkal condition. The patient had a physkd examination and a
          laborato~ screen. VitaI signs were recorded on Day -1 (the day before or same day
          but before drug administration), Day 1 (the first day of drug administration), and      ..
          7 days later.




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             IL Study Desire (Cont.)

                 Treatment

                Ivermectin and thiabendazole (TBZ) were provided as 6- and 500-mg commercial
                tablets, respectively. The dose cIosest to that calculated on the basis of body weight
                was utilized in order to achieve the targeted dose of 200 mcgkg of ivermectin or
                50 mghq$day of thiabendazole. A schedule of recommended mmbinations of these
                tabIets is shown on the following page (see Table I).




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              Il. Study Desire (Cont.)

                                                      Table 1

                                      Dosage Reeonunendation by Weight                        -

                                                                                      —
                                     Ivemectin DosageRecommendedTablet
                                       Combinationsfor 200-mc* Dose
                                                                        Numberof
                                    Patient Weight (kg)                Tabkts (6 mg)
                                        15 to 24*                             %
                              I         25 to 35                I            1            I
                              I         36 to 50
                                                                I            1% I
                              I         51 to65                 121

                              I         66 to 79
                                                                I           2!4           I
                              I         80 and over             I            3            I


                                  Thiabendazole(MINTEZOL)DosageTablet
                                    Combinationsfor Daily50-rng/kgDose
                                                                        Numberof
                                  Patient Weight 0%)                  Tablets (500 mg)
                                      13.3 to 22.2              0.25 (%tablet)
                                      22.3 to 33.4              0.5      (1 tablet)
                                      33.5 to 44.5              0.75 (1%tablets)
                                      44.6 to 55.7                  1.0 (2 tabks)
                                      55.8 to 66.8              125 (2%tablets)
                                      66.9 and over             1.5 (3 tablets)


                        ●   Range not specified in either protocol; however, range was
                            necessary to accommodate children down to 5 years of
                            age.



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         F. Clinical C)bsewations and Laboratow Measurements

            Table 2 shows the schedule of clinical observations and laboratory measurements
            during the study. In additio~ the patient was questioned dail~@y phone) regarding
            adverse experiences with particular attention to evidence of allergic reactions (rash
            itching, and anaphylaxis).

                                                  Table 2




                                         I r1
                  Schedule of Clinical Obsaations       and Laboratory Measurements
                                                        ~
                                                                                     -1-1I
                                                                            —        M.hs
                                           Pre-                    Day 7
                                          stud      1   2
                                                        —     3    (5-9     —1        6     12
                 Drug Administration
                                            or
                                                    x                                            I
                                                    x   x
                                            or
                                                   x    x    x
                 Physical Examination       xx                      x
                 Vital Signs                xx                      x
                 LaboratorySafety           x                       x
                 StoolExamination++         x                       x       x        xx
                 lgG (ELISA)”               x                                        xx
                 Eosinophilia**             x           —           x       —        xx
                    Prestudy
                         within
                             14daysof treatment,
                    S1OO1examinations for Study 014wereto include Post&ys 7, 14,21, and 30
                   then monthly for 1 yeaq however, investigator was notable to co~istently
                   execute this schedule.
                   Study 015 only however, investigator not able to consistently execute this
                   requirement.
                   The anaIysis of eosinophilia was for Study 015 only. Although results were
                   coliected and submitted to MRL by the investigator the analysis was not
                   performed by MRL. However, the investigator performed the malysis and
                   concluded that eosinophil IeveIs returned to normal in 90?? of all subjects
                   bv 12 months 1111




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                                                                                            .
        F. Clinical Obsewations and Laboratory Measurements (Cont.)

            Observations and measurements related to efficacy and sakty are descriied below:

            EtTmcY Measures

           All stool specimens were examined by individuals who were blinded to the patient’s
           treatment.
          -Parasitological cure was the primary measure of efficacy and was assessed using
           repeated Baermam stool examinations during the follow-up period, Any positive
           Baerrnann stool examination afier Day 6 was considered a treatment ftilure.

           The Baermann technique [1O] is a method of examining a stool specimen suspected
           of having small numbers of Strongyloides larvae and uses the modified Baermann
           apparatus. The technique is dependent on the migration of active larvae out of the
           fecal material, through a wire gauze covered with gauze padding and into water,
           where they settle out. The procedure is as follows:

           a. Fill a fbrmel (six-inch) with water (attach xubber tubing with a pinch clamp to the
              bottom of the fimnel) and place the wire gauze, one or two layers of gauze
              padding on it, on the fimnel.
          b. Place 50.to 100 g of fd      material on the gauze padding so that it is coverti
             with water. If the fkcal material is too firq break it up slightly.
          c. Mow the apparatus to stand for 2 or more how draw off 10 ML of fluid by
             releasing the pinch clamp, spin it down in a centrifuge and examine the sediient
             with a magnifier or low power microscope to count and confirm the species of
             the larvae.

          The lamd counts obtained from the Baermann technique are the basis for evaluation
          of efficacy. Counts were done for pucposes of quantifying the level of infestation
          (itensity of infkztion) per patient and important only to determine comparabdity of
          trt!atmerltgrOUPS and emnine whether there is an interaction between intensity of
          infiiion and clinical outcome. This approach was not specifically stated in the            “
          protocol; however, MRL believes that such an analysis between intensity of infixtion                ..
          and outcome is vflld. However, for purposes of assessing clinical efficacy, stool




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         F. ClinkaI Observations and Laboratow Measurements (Cont.)

            exams for larvae were recorded only as positive or negative; no quantitative
            assessment of the intensity of infkctio~ as reflectd in the number of lravae, was
            made.

           The investigators omsionally used “word” or “plus” designations to quantifj the
           number of lmae.     The following convention was applied to “word” or “plus”
           designations:

           ‘Word” Decimation       Larvae Counts/innStool      “Plus” Desijznation
           Rare                         1to 15                     +
           Few                         16t030                      *
           Moderate                    31toloo                     -l-l+-
           Heavy                       >100

           Safety Measures

           A complete physical examination was done during the week preceding study drug
           administration and 7 days posttreatment. Prestudy and follow-up samples for the
           laborato~ safkty studies on blood and urine included:

           a, Hematology:         Hematoerit
                                  Hemoglobin
                                  White blood ce!l count, total
                                  Differential counts will be made if WBC is abnormally low
                                  or high.

          b. ~lood Chemistries: Blood urea nitrogen
                                Serum creatinine
                                SGOT (AST)
                                SGPT (ALT)
                                Total bilirubin
                                Alkaline phosphatase

          c. Urinalysis:         Urinalysis was petiormed in patients with abnormal serum
                                 creatinitte values or with signskyrnptorns of urinaq tract
                                 infkction.




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         F. Clinical Observations and Laboratory Measurements (Cont.)

            The investigator cmdd cany out additiomd analyses as required by the hospital-or as
            indicated for optimum patient care.                           .
           Vital signs (blood pressure and pulse rate, both supine and erect, respiration rate and
           temperature) were recorded on Day 1 and Day 7.

        G. Evacuation Criteria

           1. Evaluability

               All patients whose data were received by September 1992 were classified by the
               MRL clinical monitor as evaluable or unevaluable with respect to efficacy.
               These evaluations by the MRL monitor, although not specified in the protocol,
               were in keeping with the dictates of the protocol (i.e., inclusion and exclusion
               criteria) and the exercise of good clinical judgment.       Thus, patients were
               considered ewduable for efficacy if

               a. Strongyloidiasis was documented on stool examination.

               b. The patient did not receive other effective anthehnintic therapy during the
                  study period.

               c. The patient was compliant with therapy.

               d. Adequate follow-up stool examinations were pdormed        for determination of
                  efficaq. See details in next section.

               e. There was no violation of inclusion and/or exclusion criteria that would
                  compromise efficacy evaluation.

          2.   E!Eswi
               The primary measure of efficacy in this study was the absence of lame in
               posttherapy Baermann fd      examinations. Cure was defined as the absence of         -
               lame in the follow-up stool examinations. The detection of huvae on any stool
               examination past 6 days posttreatment met the delinit.ion of treatment failure.




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               G. Evaluation Criteria (Cont.)

                      The original protocols called for a number of posttreatment stool examinations.
                      Although a 12-month foIlow-up was planned at both sit~s, this was primarily
                      related to a parallel serological study at one site (Study 015). Three- to 6-month
                     follow-up was the main goal. In general, fill compliance with follow-up
                     examinations outlined in Table 2 was not possibl~ therefore, the criteria
                     summarized earlier (II. G. 1. Evaluability) was established for evaluability.
                     Patients with stool sampIes that were positive for Sr?ongy[oiti% tierwralis
                     larvaeany time after posttreatment Day 6 were considered evaluable for efficacy
                     regardless of the total number of posttreatment stool examinations.

                    It is recognized that these changes in evaluation criteria differ from the
                    requirements of the protocol; however, they are considered by MRL. as
                    consistent with the treatment of patients ‘with strongyloidiasis given the natural
                    histo~ of the disease. As such, MRL believes that the alterations from the
                    protocol as specified above do not impact on the validity of the results of these
                    studies.

                 3. Safety

                    AU patients were evaluated for safety by physical examinations and laboratory
                    studies. In additio~ the patient was questioned daily for 3 days (by phone)
                    regarding adverse experiences with p~icular attention to evidence of allergic
                    reactions (rash itching, and anaphylaxis). Adverse experiences were described
                    and recorded by the investigator who determined the durations, seriousness,
                    severity, and drug relationship as well as the eventual outcome of each adverse
                    experience.

             IL Statistieal Plannhw and Analysis

                Methods of Analwis

                The primary measurement of efficacy was the cure rate. Logistic regression was
                used to determine if any concomitant factors, i.e., age, se% racx, severity of
                infkctio~ intensity of iqftztioq tiected the cure rate. None of these factors was
                related to cure rate at the a=o. 10 level of significance. Thus, all were dropped          --
                from the statistical model, leaving only treatment ~oup. The treatment groups were
                compared for the proportion of patients who were cured using Fisher’s exact test.



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               H. Statistical Plannin~ and Analysis (Cont.)

                  Baseline characteristics were analyzed using either Fkher’s exact test ~r the
                  Chi-square test or the Wilcoxon Rink Sum test, as appropriate.     Cordidence
                  intends were cakzdated using the method of Blyth and StiUfor N>5. All statistical
                  tests for treatment-group differences were two-tailed (a=O.05).

               L CIinical Surndies

                 - Ivermectin in the form of 6-mg tablets (Lot C-WO11 17420) wzi used in both
                   studies and obtained through MRL facilities in West Point, PA Thiabendazole
                   (TBZ) tablets (500 mg MINTEZOL) were obtained through local drug supply
                  houses [4].




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Mectizan”’ (Ivcmsectin)                                                              .                     S[rongyloidiasis


            B. Devaitions from protocol

         Despite the similarity in protocol design an$ most importantly, the similar methods of stool collection and
evaluation, it should be pointed out that there are several important differences between these two s~dy sites:

.           the site for Dr. Berk’s study was East Tennessee State University and its affiliated Vetrans Administration
             Medical Center. ‘llms, the enrolled subjects at this site were all elderly males, many of whom presumably
            were infected during their military service in the Pacific or SE Asia. (It should also be pointed out that this
            area of the United States is known to have low-level endemic strongyloidiasis. Therefore, although
            extremely unlikely, these study subjects would be potentially subject to re-infection post-therapy.)
●           the site for Dr. Gann’s study was a community health center in Lowell Massachusetts, a community with a
            large proportion of its population composed of immignnts from Southeast Asia. This group of enrollees
            were generally younger, evenly distributed with regards to sex, and with a single exception, entirely of
            Southeast Asian (predominantly Cambodian) origin.
.           the Berk protocol allowed for the entry of patients with disseminated strongyloidiasis, because of the
            demographics of the patient population at the VAMC study site; the Gann protocol specifically excluded
            subjects with clinical evidence of disseminated strongyloidiasis.
●           the Gann study specifically sought to follow and analyze specific anti-strongyloides
                                                                                           -.      antibody titers over the
            12 months following therapy, whereas the Berk study did not.


The actual implementation of these studies was similar enough to allow for their combined analysis. However, the
difference in demographics is striking:



                                      Demographics of enrolled subjects
                                      Studies 014 (Berk) and 015 (Gann)

     Investigator,
          Site        I           Demo     ‘aphics              Ivermectin X 1      Ivermectin X 2      Thiabendazole


                                           Number enrolled              4                   5                   6

                             Males         Avemge age &s)              72                  70                   65

    Ber~                                   Number of deaths             0                   I                    1
     Terrtwsaec
                                           Number enrolled              0                   o                   0
                            Females        Average age(yrs)
                      t                    Number of deaths

                                           Number enrolled             10                   8                   6

                             Males         Average age (yrs)           38                  46                   42

    Gann,
    Massachusetts

                      1-
                      I
                            Females
                                           Number of deaths

                                           Number enrolled

                                           Average age (yrs)

                                           Number of deaths
                                                                        0

                                                                        8

                                                                       30

                                                                        0
                                                                                            0

                                                                                           11

                                                                                           33

                                                                                            0
                                                                                                                0
                                                                                                                10
                                                                                                                32

                                                                                                                 0
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Mectizan” (Ivennectin)                                                                               SWongyloidia.sis
                                                                                 .

The relatively small numbers of subjects enrolled by Dr. Berk makes the difference in these demographics less
concerning. Furthermore, although this site was looking to enroll patients with disseminated disease, the applicant
states that no such patients were enrolled. The two deaths noted in this group, patients            died at days 84
and 57 of the study, respectively. Neither of these deaths were considered to be diug related. Patient    had severe
underlying COPD and prostatic cancer; patient ~- had coron~ artery disease and COPD.                - ~

Comment: the case report forms for these two deaths were not submitted with the NDA,

In general, these investigators were more compliant than the previously-reviewed studies regarding the protocol
requirements for maximum allowable time between documentation of a positive stool and enrollment in the study.
Both protocols called for a maximum of two weeks to elapse between these two events. Dr. Berk did not violate this
paramete~ Dr. Gann enrolled 8 subjects whose stools had been collected between 2 and 4 weeks pre-enrollment.
These 8 subjects were not excluded from the medical oftlcer analysis. One Gann patient ~          was enrolled 79 days
following her only pre-therapy stool collection; this patient was not considered evaluable for efficacy by the medical
officer.


         C. Applicant’s tindings

         The applicant’s summary of the results of these combined studies is found on the following pages, as
excerpted from pages D-2997 to D-3022, volume 1.23 of the NDA:
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    111. RESULTS
          A. Patient Characteristics

              Summaries of demographic itiormation for evaluable patien~as we[l as all patients
             entered into the trial we provided in Tables 3 and 4, respectively. A detailed
             summary of each patient’s treatment may be found in Appendix 1 (Summary of
             Therapy). There were no significant differences in the characteristics of the
             treatment groups.

             Of a!] patients enrolled in the study, 8 of 22 patients in the single-dose ivermectin
             gToup had secondary diagnoses as did 15 of 24 in the twodose iverrnectin group
             and 12 of 22 patients receiving thiabendazole. Although more than haIf of the
             patients had secondary diagnoses, no single body system accounted for the majority
             of the secondary diagnoses recorded in these studies. A summary table of patients
             with secondag diagnoses maybe found in Appendix 2.

             A majority of patients (13 of 22 in the single-dose ivermectin group [59. l%], 12 of
             24 patients in the two-dose ivermectin group [50.0%], and 15 of 22 patients in the
             thiabendazole group [68.2VO))received concomitant therapy during the study. No
             patient received concomitant therapy with activity against S. sfercorak      Two
            patients were treated with prednisone. C’(Study             015) was chronically
            receiving 5 mg of prednisone per day and was considered evaluable. -(Study
            014) was “treated with 30 mg of prednisone daily, which was considered potentially
            immunosuppressive, and was considered nonevaluable based on this concomitant
            therapy.




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              A. Patient Characteristics (Cont.)
                                                       Table 3
                                 Patient Characteristics - Evaluable Patients

                                                                                                      4

                                                          lvenne.ctin
                                              One Dose              Two Doses       lliabendazole

        Number of Patients                        14                      19                17

        Study (ProtocoI)
          Berk (014)                               2                       1                 2
          Gann (015)                              12                      18                15

        Mean Age                               40                        42                 42

        Sex
          Male [Age Range-Years]           9 [17-79] (64%)        7 [25-62] (37%)    8 [25-72](47%)
         Female [Age Range-Years]          5 [2145 ](36%)        12 [17-50)(63%)     9 [8-56] (53%)

        Race
         Caucasian                           2 (14%)                    2 (11%)       2 (12%)
         Southeast Asian                    12 (86%)                17 (89Yo)        15 (88%)

        htensity of Infixl.ion
          1+                                 4 (29%)                 4 (2 IYO)        3 (18%)
         2+                                  2 (14%)                 5 (26%)          4 (24%)
         3+                                  2 (14%)                 3 (16%)          6 (35%)
         4+                                  6 (43%)                 7 (37%)          4 (24Yo)

        :Ollow-up stool Exam
         Mean Number                        4.9                     4.6               4.3
         Mean Duration (Days)             274                     288               289

        hre     wem no significant differences between treatment groups.


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               A. Patient Characteristics (Cont.)
                                                    Table 4                                        .
                                     Patient Characteristics - All Patients
                                                                                   .

                                                       Iw-metin
                                                OneDose        Two Doses         Thiabendazole

          Number of Patients               22                  24                 22

          Study (Protocol)
            Berk (014)                      4                    5                 6
            Gann (015)                     18                   19                16

          Mean Age                        41                   45                 44

          Sex
           Male [AgeRange-Years]           14 [17-79](64%)     12 [25-81](50%) 12 [25-86](55Yo)
           Female[AgeRange-Years]           8 [1845 ](36%)     12 [17-50](50YO) 10 [8-56)(45%)

          Race
.
           Cau&sian                        4         (18%)              (25%)              (27%)
           southeast Asian                18         (82%)     1:       (75%)     1:       (73%)

          Mensity of Infection*
           1+                              6        (30%)       7       (32%)      5       (23%)
           2+                              2        (10??)      5       (23%)      6       (27%)
           3+                              3        (15%)       3       (14%)      6       (27%)
           4+                              9        (45%)       7       (32%)      5       (23%)

          :Ollow-upstool EXam
           MeanNumber                      3.9                  4.3               4.3
           Mean Dumtion (Days)           240                  237               244

          ‘ Intensityof inf&lion may not have been necmled fir certain patients (as m the ease of a
            negative pretreatment stool examination). Percentages relative to tots! number with
            pretreatment intensityof infkctionrecorded.
          lkre were no significantd.ifferen= betweentreatment groups.                              <




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                   B. Patient Accounting

                         1. Accounting for Patients in the Study

                            TabIe 5 is a summary of patients who entered, completed, ‘id                discontinued the
                            study by treatment group.


                                                            Table 5
                              Accounting for Patients in the Study by Treatment Gfoup

                                                              Ivermeetin        Ivermectin
                               Patients                         l-Dose            2-Dose            Thiabendamle
            Total Patients Entered                               22                24                      22       -

            Total Patients Completed                             11                19                      15
            Total Patients Discontinued                          11                 5                       7
                    Adverse Clinical Experience                  0                  0                       1
                    Adverse LaboraloIYExperieno?.                0                  0                       0
..                  Lost to Follow-Up                            9                  4                       3
                    Patient Death                                0                   1’                     0
                    Patient Uncooperative                        2                  0                       1
                    No ThCfapCUtiC Response                      0                  0                       1
                                                                                                            12
                    No Therapeutic ResponscJDeath                0                  0
                                                        I                  I                  ,
            ‘ Study 014,~         Patient actually completed treatment course and died 57 days posttreatment of
             background diseasa (coronary artery disease and chronic pulmonary disease).
            z Study 014, ~patient         considered to have no therapeutic response and died on Study Day 84 as a
                                                                                                                        .
             red    ofunderiying @l10 nary di~,      the death was considered to be not drug related.


                     2     Accountability for Patients in the Analvsis

                           Table 6 is a summary of the number of patients who were included m the
                           analyses of efficacy (evaiuable patients) and safety.



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              B. Patient Accounting (Cont.)

                                                 Table 6

                        Accounting for Patients in the Analysis by Treatment G&p
     .
                                                   Ivermectin      Ivermectin
                          Patients                   I-Dose          2-Dose        Thiabendazole

         Evaluablefor Eflkacy Anatysis                14             19                 17

         Nonevaluablefor Efficacy Analysis                8           5                  5

     I&son for Nonevaluability for Efficacy
     Analysis:

            Pretreatment Stool Exam. Negative         2’             22                 0
            Inadequate Follow-Up Parasitology         53             3s                34
            Pretreatment Stool Exam. >30 days         16              0                 0
            Patient Discontinued Too Early            o               0                17
            Patient on High Dose                      o              0                 )s
            hnrnunosuppressive Treatment

     Evaluablefor Safety Analysis                    22             24                 22

     Patient Identities (Study/AN):




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          B.    Patient Accounting (Cent)

                A total of 68 patients were enrolled in the trial (ivermectin one dose -22, ivefiectin
                two dose -24, thiabendazole - 22). AU 68 patients are included in the safety
                analysis; however, 50 (74°/0)are included in the efficacy analysis.

                Patients who did not fidfill the evaluability criteria outlined in Section XX.G.1. were
                considered nonevaluable for efficacy. In certain circumstances, ftilure to satisfy the
                entrance criteria in Section 11.D. did not necessarily exclude patients from the
               ‘analyses of evaluable patients if the evaluabili~ criteria were satisfied. The inclusion
                criteria required that the time period from diagnosis (i.e., positive stool exam) to
                initiation of therapy not exceed 14 days. In practice, this was not always possible.
                Because the natural history of strongyloidiasis is one of persistence over time,
                patients who received therapy within 30 days of a diagnostic stool examination were
                considered evaluable.

               It is rwognized that these changes in entry/evaluation criteria differ from the
               requirements of the protocols; however, they are considered by MRL as consistent
               with the treatment of patients with strongyloidiasis given the mturaI history of the
               disease. As such, MRL believes that the alterations from the protocols as specified
               above do not impact on the validity of the results of this study.

             The study protocols allowed the investigator to determine whether a patient’s
             underlying disease or concomitant therapy would interfere with evaluation of study
             outcome (i.e., exclusion critefi).   Two patients enrokd in the study received
            concomitant steroid therapy. One patient (Study 015, ~was                chronically
            treated with only 5 mg of prednisone per day; this patient was considered evaluable
            because of the low daily steroid dose. Study 014,~30        mg prednisone per day)
            was considered an aweptable study candidate by the investigator. The patient was
            enrolled in the study and f~ed thiabendazole therapy.           Because of &dy
            immunosuppressio~ this patient was considered nonewduable by the Merck clinical
            monitor (this MRL decision was made independent of the clinical outcome for this
            patient).




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          B. Patient Accounting (Cent)

              The daily doses of ivexmectin and TBZ were based on each patient’s body weight.
              Ivermectin and TBZ were supplied as 6-mg and 500-mg tablet$ respectively, both of
              which are scored to allow administration of half tablets. Individual doses were
              determined using Table 1 in Section I’I.E. These dosing guidelines were designed to
              achieve as close to 200 mcg/kg/dose and 50 mgkglday as possible within the
              physical Iirnits of tablet administration. Ivemectin was administered as single daily
              doses for 1 day or on 2 consecutive ,days. AN patients randomized to receive
            -thiabendazole were treated b.i.d. for 3 days. With the exception of 1 patient (Study
                                aJlpatients received dosages consistent w-th those recommended in
             $e%                  was somewhat underdosed having received a maximum of only 33
             mg/kg/day of thiabendazole on 1 day and a minimum of .22, mg/k*                    of
             thiabendazole on 2 days. This patient was considered a clinical cure having had
             repetitive negative stool examinations from 1 week posttherapy to 1-year
            posttherapy. ~            was considered evaluable for efficacy.

             Several patients had minor modifications or errors in their thiabendazole dosage
            regimen,                           (both in Study 015) received their sixth doses of
            thiabendazole on Study Day 4 rather than on Study Day 3.                 (Study 015)
            received her last dose of thiabendazole on Study Day 5 rather than Study Day 4.
                      (Study 015) was moderately underdosed. It appeared unlikely that any of
            these irregularities would significantly impact the patients’ outcomes and no patient
            was considered nonevaluable solely on the basis of these dosing modifications.

           A single patient (Study 014,             was inappropriately recentered into the study
           following a therapeutic failure with thiabendazole. He was assigned a new allocation
           number           and was re-randomized to be retreated with thiabendazole that was
           again ineffective. Because patient re-entry is not allowed and because the
           experience represented by         is not an additional independent obsewatio~
           is not considered an additional patient entry. Therefore          is not included in any
           analysis. Safkty data from             is considered to be a part of the continuing
           observation for            To insme W] availabtity of dam tionnation collected
           during the patient’s treatment as           is included in tabulated information as a -
           second treatment phase for




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         B. Patient Accounting (Cont.)

               Overal~ 14 of 22 patients (63.6%) randomizedto receive single-dose iverm~       19
               of 24 patients (79.2Yo) in the twodose ivenmctin treatment group and 17 of 22
               patients (77.3%) assigned to thiabendazole treatment were considered evaluable for
               efficacy. There were no significant difkences among treatment groups in the
               percent of total patients considered evaluable for efficacy.

         c.

              1. Evaluable Patients

                     All evaluable patients (14/14) in the singledose ivennectin group were cured
                     (100%) compared to 18 of 19 patients (95%) assigned to the two-dose
                     ivermectin group and 16 of 17 (94Yo)of patients receiving thiabendazole. There
                     were no signifkant differences between treatment groups in the proportion of
                     patients cured. Cure was not significantly related to age, se~ race or intensity of
                     infkction. Table 7 contains the cure rates and 95% ccmtldence intemak for
                     evaluable patients.
                 The mean number of posttreatment stool examinations and total duration of days
                 included in the follow-up period also did not differ among treatment gToups.

              2. All Patients

                 For the analysis of efficacy for all patients, patients without adequate
                 posttreatment stool examinations were excluded as well as patients with negative
                 pretreatment stool examinations.

                 Thus, the following patients were excluded from the “all-patients” analysis of
                 eificacy
                 .      For simdedose ivennectin:
                        014/005 - Negative pretreatment stool examination
                        015/233 - No follow-up stool examination
                       015/301 - No follow-up stool examination
                       015/389 - Negative pretreatment stool examination                                    ,.’




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           C.. Efllcacv     (ConL)
                   .      For two-dose ivermectin:
                          014/006 - Negative pretreatment stool examination
                                                                              .
                          015/262 - Negative pretreatment stool examination
                   .      For the thiabendazole RTOUP:
                          014/01 1 - Only posttreatment Day 9 stool examination
                          014/01 6 - No follow-up stool examination

                   Thus, in the group of patients with adequate pretreatment and posttreatment
                   stool examinations, 18 of 18 (1OO??O)patients in the single-dose ivermectin group
                  were cured compared to 2 I of 22 (95°/0) patients in the two-dose ivennectin
                  treatment group and 18 of 20 (90’XO)   patients assigned to receive thiabendazole.
                  The mean number of posttreatment stool examinations and total duration of days
                  included in the follow-up period also did not differ among treatment groups.
                  There was no significant difference between treatment groups in the proportion
                  of patients cured. Cure was not significantly related to age, sex, race, or
                  intensity of infection. Table 8 contains the cure rates and 95’% confidence
                  intends for all patients with adequate follow-up stool examinations.




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                     C Eflkacy (ConL)
                                                                      Table 7
                                                   Patients Cured - Evaluable Patients
                                                                                                  .
                                                            Ivcrmuxin
                                                  OneDose             TwoDoses                          llliabcndazolc
                                             cure  N     PCT     Cure  N     PCT                 cure     N        ~


                        OVaall                14      14      100         18    19       95      16       17       94
                                                           (58,100)                   (72,100)                  (69,100)

                        study
                         Bak                   2       2     100          1      1     100        1        2       50
                         Gann                 12      12     100         17     18      94       15       15      100
                                                           (53,100)                  (72,100)                   (58,100)

                        la
                          Male                9       9      100          7     7       100       7       8        88
                                                           (43,100)                  (34,100)                    (51,99)
                         Fanale               5       5      ]00         1]     ]2      92       9        9       100
                                                                                      (63,99)                   (43,100)

                        km
                         Caucasian            2       2      ]00          2      2     100        1       2        50
                         southeastA5iarl     12      12      100         16     17               15      15       100
                                                           (53,100)                  (70?00)                    (58,100)

                        maay     of Ix&ion
                         ]+                  4       4       100         3      4      75        3        3      100
                         2+                  2       2       100         5      5      100       4        4      100
                         3+                  22              100         3      3      100       5        6       83
                                                                                                                (36,99)
                        4+                   66              100   67                   86       44              100
                                                          (28,100)                   (28,100)
                        herem no Significafltdimrcnccsbctwcultnatmalt groups
                         = 95%aIlfmenCeintaval (for Ibs).




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              C. Efllcacv (ConL)

                       A qualhy assurance audit was pdormed for Study 015, 1% years fier the
                       completion of the trial (reftience Audit Information Sheet - Appendix 3).
                       Persons who conducted the audit found uxtain GCP compliance issues relating
                       to organization of the study and study documentation. Examples of their audit
                       findings included:

                       ●     Lack of availability of signed patient consent fotms for 43% of all patients
                            and of those with signed forms 23°/0 either did not have a date indicated or
                            the date that was indicated was not consistent with study start. It should be
                            pointed out that almost all of the patients who entered the trial were
                            Cambodian refigees who were for the most part illiterate. In additio~ the
                            investigator did not counter sign 810/0 of the patient consent forms as
                            required by his IRB.

                   .       Laboratory safety data reported to MRL had discrepant dates with regard to
                           source laboratory reports and multiple laboratories were used during the
.                          conduct of the trial without the approval of MRL.

                   ●        Two additional patients                      were treated at this site and
                           never reported to MRL. Both patients had nonserious adverse experiences
                           repofied which were judged by the investigator to be drug related. Both
                           patients received TBZ. Efforts made to obtain formal case .repofis on these
                           patients were unsuccessful. Data from these two patients are excluded tim
                           t~s ~.

                   .       Finding a lack of complete supporting laboratory documentation for stool
                           testing and some cases of Baermann results which were not reported to
                           MRL. Subsequent to MRL leaning about the lack of complete laboratory
                           documentation for stool testing a second audit was ptionmd      wherein all
                           patients’ files were reviewed for the presetm of Iaboratofy reports of stool
                           testing in support of the test results reported to Merck. This subsequent
                           audit showed that 52°/0 of the patients had incomplete suppotive             -
                           documentation on file for stool testing. In this group of 52Y0, one to four
                           source reports were missing per patient, with most patients having had an        ‘
                           average of 6 to 7 tests completed during the study course. Admittedly, these
                           findings would be of great eoneem if the frequeney of positive stool tests
                                                  *



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         C. lNfkacy(Cont)

                   were hig~ howwer, this is not the ease for any of the three treatment groups
                   in this study. All treatments in this study d~playql, for the most p-
                   negative stool tests. In general, what is not evident because of the “missing”
                   itiormation is confirrnato~ and repeated negative stool-testing results.

                   .   After the prestudy visit there was no routine field monitoring conducted
                       at this site.

                   .   There was no record of accountability for unused drug at this site.

                  Comparing the results of Studies 015 and 014 with those published in 1994
                   [11,12], the results summarized here indicate no substantive difference.
                  Table 9 summarizes the differences between the two published reports and
                                                                                                    .
                  the data in this summa~.




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           C. E~cacy (Cont.)
                                                   Table 9
    Comparison Between Data Received at MRL for Studies 014 and 015 vs. Two Independent
                      PubIic.ations(11, 12] by the Investigative Groups -


                                                          MRL sumIna@                                      Publication*

       Patient Accounting                         IVxl            IVX2           TBz           rvxl              IVX2         TBz

       Patients Entered - Total:              22                24           22            20               23            26
                Berk (014)                                4            5               6              4              5              7
                Gann (015)                            18              19              16              16            18            19
       Evaluable Patients - Total:            14                19           17            20               23            26
               Berk (014)                                 2              1             2              4              5              7
               Gann (015)                             12              18             15            16               18            19
       NonevaiuablePatients - Total:          8               5              5             0                0             0
               Berk (014)                                 2           4                4              0     -o                      0
               Gann (015)                                 6           1                1              0             0               0
       We Rate+ - To(al:                      14/14           18119          16/17         20/20            22/23         22/26

               Berk (014)-                            m              1/1             1/2         4J4               5/5          Sn
               Gann (015)                         12/12           17/18          15/15          16/16            17/18         17/19
       ●   IVxl=kmrwtinsin gledoaeforlday.
           IVX2=I vmncctin single dose for 2 &ys.
           T13Z= Thiabendazole 50 n@@iay for 3 days.
       +   Cure rates for “MILLSummary” are for )3duable Patienta only.




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          C. EfiieaeY (Cont.)

                    It is not clear why the total numberof patientsin Table 8 who entered into Study
                    014 differs by 1 patient between the MRL report and thg publication by Berk
                   (Study 014) [12]; however, data for only 15 patients were ever received at MRL
                   for this study. What remains a puzzle is that for Study 015, wherein both reports
                   aee.ount for 53 patients; the number of patients per treatment group diffim
                   between the MRL summary and what appeared in the publication by Gann
                   (Study 015) [11]. Agai~ a comparison of the MRL database uwd in preparation
                   of this report with the case reports submitted by the investigator to MILL reveals
                   no discrepancies.

                The major difference between this MRL summary and the two publications is the
                exclusion of certain patients from the amlysis of efficacy. Both investigators
                included aI1their patients in their efficacy evaluation however, MR.L, used the
                stringent criteria described earlier. Regardless of the approach taken for effieaey
               evaluatio~ the cure rates described in each of the publications and this summary
               are consistently comparable.

               Despite these GCP-related findings, h4RL believes that the basic scientific and
               medieal conclusions drawn from these studies and described in this summary are
               valid in that the data have been published in a peer-reviewed journal and the fact
               that incomplete source documentation for some of the prirnay effieacy
               laborato~ data is outweighed by the high frequency of negative stool testing
               results for a!l three treatment groups.




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         D. Safety

             L Adverse Experiences - Clinieal

                 All patients were evaluated for safkty and tolerability.                  “

                 a. Overall Assessment of Clinical Adverse Experiences

                     Table 10 below is a surnm~              of the clinical adverse experiences.
                                                   Table 10
                                Clinical Adverse Experience Summary


                                             Ivermeetin           Ivermectin
                                         Single-Dose              Two-Dose        Tbiabendazole
             Trea~ent Group                   (?+=22)              (N=24)            (N=22)
        Patients with clinical AE              3 (14%)             6 (25%)           19 (86%)

        Serious Clinical AE                    o                   1+                 1+

        Discontinued Due to
         Patient Death                        o                    1+                 o

        Diseondnuatim” Due to
         clinical
              AE                              o                    0                  1*

        Dimmtinued Due to No
         TherapeuticRespon@
                                              o                    0                  1*

        Dreg-RelatedClinicalAE                3 (14’YO)           5 (21%)           18 (82%)

        ‘ Study 014,         - patient -idly    completed treatrnmt eoursc and died 57
          days posttmatment of baekgrouriddiseases (eoronruyartery disease and chronic
          pulmonarydisease);the death was not drug related.
        “Study 014,           - Patient died on Study Day 84 as a result of underlying
          pulmonarydisease the death was consideredto be not drug related.
        ‘ Study 014,        had study drug discontinued after 1 day of therapy due to
         severe nausea    and moderate       thuitus    considered by the investigator to be
         definitely related to study drug.




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           D. Safety (Cont.)

              The difference in the incidence of clinical adverse experiences (AEs) between each
              of the ivermectin groups and the thiabendazole group was significant (PcO.001 for
              each comparison). There was no statistically significant difference in the incidence
              of clinical AEs between the two ivermectin treatment groups (p4.46).     There were
              two serious clinical AEs (both patient deaths) as summarized above; neither was
              considered drug related.

             “Drug-related (possibly, probably, or definitely related) clinical AEs were not
              significantly different between the two ivermectin treatment groups (p=o.70);
              however, the difference between each of the ivermectin ‘groups and the
              thiabendazole group was significant(pzO.001 for each comparison).

             Table 11 is a listing of clinical AEs by body system.




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                 D. Safetv (Cent)
                                                     Table 11
                                 rl;n;f.ml AAx?arco wmtiCw’Mwx n!? nnav Cvcta=m
                                                            Ivennectin           Ivermedn
                                Body systeml                SingIc-Dose          Two-Dose          Thiabendamle
                                  Diagnosis                   (?4=22)              (N=24)             (?4=22)
                     Patients with AE                          3 [3J                6 [5]              19 [18]

                     Body as a Whole                             o              2 (8.3%) [1]    - 12 (54.5%) [11]
                      Asthenia/Fatigue                                                            11 (50.070)[11]
                      Death                                                     1 (4.2%) [0]       1 (4.5%) [0]
                      Malaise                                                                      2 (9. lYO)[2]
                      Abdominal Pain                                            1 (4.2%) [1]

                    Digestive System                       2 (9.1%) {2]         1 (4.2%) [1]       15 (68.2%) [15]
                     Anoretia                              1 (4.5%) [1]                             7(3 1.8%) [7]
                     Constipation                          1 (4.5%) [1]
                     Diarrhea                              1 (4.5%) [1]         1 (4.2%) [1]        1 (4.5%) [1]
                     Dyspepsia                                                                      2 (9.1%) (2]
                     Flatulence                                                                     1 (4.5%.)[1]
                     Nausea                                                    1 (4.2%) [1]        9 (40.9??) [9]
                     Salivation                                                                     1 (4.5%) [1]
                     Vomiting                                                  1 (42%) [1]         3 (13.6%) [3]

                    Navous &Wm/i%yChiaQ’iC System               o              2 (8.3%) [2]       15 (68.2%) [15]
                     Disorientation                                                                4 (18.2Yo)[4]
                    Dizziness                                                  2 (83%) [2]         9 (40.9%) [9]
                    somnolence                                                                     7 (31.8%) [7]
                    vertigo                                                                         1 (4.5%)[1]

                    Win and Skin Appendage                3 (13.6%) ~]         2 (83Yo) [2]         1 (4.5YO)[1]
                    Pnuitus                                1 (4.5%) [1]        2 (8.3%) [2]         1 (4.5%) [1]
                    Rash                                   1 (4.5YO)[1]
                    Unicalia                               1 (4.5%) [1]

                    ;pecial Scnaes                                   o               0               1 (4.5%) [1]
                    Tinnitus                                                                         1 (4.5~%)[1]
                    J.B.:Patien( counts and event counts may not be the same since some patients may have more than
                         one clinical AE event.
                     ] Numb       in brackets am those paticnta who had clinical A& which were considered possibly,   ,.”
                       probably, or definitely related to study drug.




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         D. Safety (Cont.)

                    The organ system most commonly involved among patients treat= with
                    ivermectin repofiing clinical adverse experiences vqs the skin (14Y0 of
                    patients receiving single-dose ivennectin and 8~0 of pat.irmts treated with two
                    doses of ivermectin). Pruritus was the most frequent slcin”sign or symptom.
                    Two patients in the two-dose ivermectin treatment group repotied mild
                    dizziness. No other clinical adverse experiences were repotied by more than
                    1 patient treated with either ivermectin dosage regimen.

                    The organ systems most commonly involved in clinical adverse experiences
                    reported by patients treated with TBZ were the digestive system and the
                   nenous/psychiatric     systems (both were identified in 68°A of patients).
                   Dizziness (9 patients), somnolence (7 patients) and disorientation (4 patients)
                   were the most common symptoms within the nervous/psychiatric           system.
                   Nausea (9 patients) and anorexia (7 patients) were most frequent within the
                   digestive system complaints. The single most frequently reported cIinical
                   adverse experience among patients treated with TBZ was asthenialfatigue,
                   occurring in 11 (50°/0)of patients.

                   halysis    was also performed considering only those adverse clinical
                   experiences considered by the investigators to be drug related (relationship
                   of the clinical event to the study drug was rated as possibly, probably or
                   definitely related). Using this definitio~ 3 of the 22 patients (1470) in the
                   single-dose ivermectin group had one or more drug-related cliicd adverse
                   experiences mmpared to 5 of 24 patients (21~0) of patients treated with two
                   doses of ivermectin and 18 of 22 patients (82%) in the thiabendazole group.
                   The dtiixence    between the two ivermectin groups was not significant
                   (p=O.70) but the difference between each of the ivermectin groups and the
                   thiabendazole group was significant @-@.001 for each comparison).

                   Most of the clinical AEs were considered drug related (possibly, probably, or
                   definitely) regardless of the treatment group. Eight of the 9 (89?!) clinical
                   AEs among both ivermectin treatment groups and 18 of the 19 (95%) of the
                   thiabendazole group were considered drug related. Thus, all clinical AEs
              -    with the exception of the two deaths were considered related to study drug.        --




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          D. Safety (Con~)
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                     Two patients were considered to have had one or more serious c~ticaf
                     adverse experiences probably or definitely not related JO study drug both
                     were in Study 014.~,       a 64-year-old male in the thiabendazole treatment
                     group; died as a result of underlying pulmonary disease; the patient’s death
                     was considered to be definitely not related to thiabendazole therapy. This
                    patient was scored as “Dkcontinued Treatment Because of Lack of
                    Therapeutic Response/Death’’. ~as           a 70-year-old male with coronary
                    artery disease and chronic pulmonary disease randomized to receive two
                    doses of ivermectin. The patient died on Day 57 of study the patient’s death
                    was considered definitely not related to ivermectin therapy by the
                    investigator.  Although this patient (014/012) completed his treatment
                    course, he was scored as discontinued from study because of AE (death),

               b. Serious Clinical Adverse Experiences

                   Two serious clinical adverse experiences oecumd during the trial. Both
                   events were patient deaths (Study 014,                      Both events were
                   considered definitely not related to study drug. Clinical descriptions of these
                   patients are provided in the preeedng paragraph

               c   Patients Discontinued Due to ~inieal Adveme Experiences

                   One patient (Study 014,          “ treated with thiabendazole had study drug
                   discontinued after 1 day of therapy due to a chical adverse experience. The
                   patient reported severe nausea and moderate tinnitus on the first day of
                   thiabendazole administration considered by the investigator to be definitely
                   related to study drug,        The patient’s symptoms resolved following
                   discontinuation of treatment. Refkrence the above for
                   (Study 014) concerning patients who completed treatment course but were
                   scored as discontinued because of either “Death” or ~o Therapeutic
                   ResponseAleath*, respectively.




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              D. Safetv (Cont.)

                 2. Adverse Experiences - Laboratory

                    a. Overall Assessment of Laboratory Adverse Ex~eriences

                        No patients in the singledose ivermectin or twodose ivennectin treatment
                        groups were noted to have any laboratory adverse experiences. One patient
                        (Study 015            . treated with thiabendazole (1 of 22, 4.5Yo) had
                        elevations of AST, ALT, and alkaline phosphatase, which all returned to
                        normal without intemention.        These laboratory abnormalities were
                        considered by the investigator to be possibly related to therapy with
                        thiabendazole.

                    b. Serious Laboratory Adverse Experiences

                        There were no serious laboratory adverse experiences during the course of
                        this study.

                    c. Patients Discontinued Due to Laborato w Adverse Experiences

                        No   patients   required   discontinuation   of   study   drug   due   to   a laboratory
                        ad-verse experience.


                3. Adverse Experiences - Other

                   There were no other adverse experiences.

                4. Clinical Safety Measurements

                   No cliically significant changes in chkxd measures of saf~ were noted.

                5. Laboratory Safetv Measurements

                   No consistent or significant changes in laboratory measures of safety were noted.




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    Iv.    DISCUSSION
           Ivemwctin is an 80:20 mixture of avermectin f31a and filb, monocyclic Iactones
           produced by the actinomywte Streptomycesavennitilis. While its mechanism of action
           is not fidly understood,   ivemmctin   appears   to exert its activity    bj inducing    a chloride
           current via a gkunate-gated     channel   in the parasite   resulting   in apparent   paralysis   and
           death [13]. It is an orally effective antiparasiticagent which has been used in veterinary
           medicine since 1981. Based on its efficacy and excdlent safkty profile, ivennectin has
           achieved widespread acceptance as the treatment of choice for onchocerciasis (river
           blindness) [3].

          During trials aimed primm”ly at establishing ivennectin’s efficacy in onchocerciasis, a
          number of uncontrolled obsenations suggested that ivermectin had significant activity
          against a number of gastrointestinal nematodes [ 14]. These clinical notes were
          consistent with the drug’s activity in an animal model of strongyloidiasis [7].
          Subsequently, noncomparative studies demonstrated that ivermectin is an effective agent
          against strongyloidiasis [8,9]. Based on these observations as well as the need for a
          more effective, less toxic therapy in strongyloidiasis, several studies, includlng this trial,
          were undertaken.

          This comparative randomized trial establishes conditions for evaluation of ivermectin’s
          efficacy in strongyloidiasis. All patients evaluated for efficacy had microscopically
          documented S. sfercoralis infixtion and all subsequent follow-up stool examimtions
          utilized a very sensitive technique for parasite detection. Because the study was carried
          out in areas with a low risk for patient re-infectio~ the foIIow-up period was longer than
          that used in most previously published therapy triak in Strongyloidiasis.

          Cure rates of 100% (singledose ivetmectin), 95% (two-dose ivermectin) and 94%
          (thiabendazole) were observed in evaluable patients, confirming ivermectin’sactivity in
          this infixtion. There is no evidence that there is an advantage to two doses vs. a single
          dose of ivexmectin in this patient population. It is importantto note that no patient was
          severely immunocompromiwd or had evidence of infection beyond the gastrointestinal
          tract. It is not possible to extrapolate from this trial to these other patient populations.

                                                                                                                   .

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  MK-0933 Prot. No.014/015
  Dr. Berk and Dr. Gann
                                                                                                           (?
                                                   -37-


    IV.    DISCUSSION (CONT.)
            Although efficacy did not differ among treatment groups, the incidence oFclinical
           adverse experiences was substantially lower among patients receiving ivermectin. Three
           of 22 patients (14°4) treated with single-dose ivemwctin were considered to have had
           drug-related clinical adverse chical events as compared to 5 of 24 patients (21%)
           assigned to the two-dose ivermectin group and 18 of 22 patients (82°/0) receiving
           thiabendazole. The difference between the two ivermectin groups was not significant
           but the difference between each of the ivermectin groups and the thia,bendazole group
           was significant. Because this study was not conducted using methods to blind both
           patients and investigators to the therapy each patient received (i.e., aIl laboratory
          personnel involved in Baermam stooi examinations were to be blinded), it is not
          possible to exclude some bias in repo~ing.and interpretation of adverse events. Several
          points suggest that these results are not due to such bias. Similar patterns of clinical
          adverse experiences are present at both sites and so are not specific to the investigator.
          Furthermore, when all clinical adverse experiences are considered rather than only those
          felt to be drug related, a significantly higher incidence of adverse events are still found in
          patients treated with thiabendazole. This analysis is independent of any interpretation of
          events by the investigators. Lastly, side effects in patients treated with thiabendazole is
          consistent with other published repofis [3,4].

          In onchocerciasis, many of the adverse effkcts that occur after ivermecti.ntreatment area
          result of the patient’s immune response (IWwzotti reaction) to dead microfdariae and
          usually appear within 3 days of the dose [15]. The severity of the response is directly
          related to the initial intensity of 0. wlvuh.r infkction. The lack of Mazzotti-type
          reactions in this trial following treatment of strongyloidlasis is consistent with previous
          experience and would be predicted based on disease pathogenesis.

          This study demonstrates that ivemwctin is a well tolerated and effixtive therapy for
          strongyloidiasis Iimited to the gastrointestinal tract in immunocompetent patients. It is
          associated with significantly fewer clinical adverse reactions than thiabendazole with
          similar eilk.acy. Overal~ the results of this trial suggest that ivermectin offkrs a
          significant advance in the treatment of strongyioidiasis.



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         Dr. Berk and Dr. Gann
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             V.    CONCLUSIONS
                   1. Ivenneetin   (200 mcg/kg) as a single dose and as two doses on consecutive days and
                     thiabendazole (25 mg/kg b.i.d. x 3 days) are effeetive therapy for strongyloidiasis of
                     the gastrointestinal tract.

                  2. Ivermeetin is generally well tolerated and associated with fewer clinical adverse
                     experiences than thiabendazole.




        Director                                           Associate Director
        Regulatory Liason                                  CBARDS


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               Ad
                       1

        G. B. CaIandra, M.D., Ph.D.
      - Senior Director
        CIinical Research




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   NDA 50-742
   Mcctizan-’ (Ivcrrncc[in)                                                                                           Page I 15
                                                                                         .                    Strongyloidiasis

   Medics! oficer Commeno:



             D. Medical ol%eer findings



                                      Medical officer evaluation of enrolled patients
                                        by treatment group and patient number
                                                    Berk 014/Gann 015
  Patient #             Evaluable?         Reason/Comment                     Cure?      Reason                # - stools
  Treatment arm:        Iverrnectin x I
  Berk
                                yes                                           Yes       - Stool to day 233             6
                                yes                                           Yes       = Stool to day 264             6
                                yes                                           Yes       = stool to day 126             3
                                yes                                           Yes       = Stool to day 158             3
 Gann
                                yes               lost to f/u till day +97    Yes       _ stool to day 232         3
                                yes                                           Yes       = stool to day 19]         4
                                yes                                           Yes       = stool to day 357         5
                                yes                                           Yes       = stool to day 38 I        5
                                no                pre-Rx stool> 60 days

                                yes                                          Yes       = WOO]to day 370            5
                              - yes                                          Yes       = stool to day 366          5
                               yes                                           Yes       = stool to day 182          4
                               yes                                           Yes       = stool to day 189          4
                               yes                                           Yes       = stool to day 379          5
                               no                lost to ffu
                               yes                                           Yes       - stoolto day 186           4
                               yes                                           Yes       = stool to day 296          5
                               no                lost to f/u
                               yes                                           Yes       = stooI to day 252          5
                              yes                                            Yes       = StOOltO day 236          3
                              yes                                            Yes       - stool to day 196         5.
                              no                 only 2 stools post-w

Totals                                                                                                                      .. .
                     enrolled 22                                             Cure 18
                     evaluable 18                                            Fail O
 Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 123 of 382



 NDA 50-742                                                                                                   Page I I6
 Mectizan” (Ivermcctin)                                                                               Strongyloidiasis


                                   Medical oflicer evaluation of enrolled patients
                                     by treatment group and patient number
                                             Berk 014/Gann 015 (con’t)

Patient #            Evaluable?          Reason/Comment                 Cure?   Reason                 # m stools
Treatment arm:       Iverrnectin X 2
Berk
                             yes                                        Yes     - stool to day 35            5
                             no                 no + stool recorded
                             no                 no flu past day 23
                             no                 only 2 stools post-Rx
                             yes                                        Yes     _ stool to day 28            3

Gann
                             yes                                        Yes     m stool to day 365           5
                             yes                                        Yes     _ stool to day 363           5
                             yes                                        Yes     = stool to day 372           5
                             yes                                        Yes     _ stool to day 378           4
                             yes                                        No      + stool day 35

                             yes                                        Yes     _ stool to day 215           5
                             yes                                        Yes     _ stool to day 180           4
                             yes                                        Yes     _ stool to day 365           5
                             yes                                        Yes     _ stool to day 329           5
                             yes                                        Yes     _ stool to day 350           5

                          - yes                                         Yes     _ stool to day 225           5
                             yes                                        Yes     _ stool to day 33 I          5
                             yes                                        Yes     = stool to day 183           4
                             yes                                        Yes     _ stool to day 267           5
                             yes                                        Yes     _ stool to day 102           3

                             yes                                        Yes     _ stool to day 231           4
                             yes                                        Yes     _ stool to day 187           4
                             yes                                        Yes     _ stool to day 208           5
                             no                no pre-Rx stool +

Totals              Enrolled 24                                         Cure    19
                    Evaluable 20                                        Fail    I

                                                                                                                     .,”




                                   .——                     .—
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     NDA 50-742                                                                                            Page I I7
     Mecti.zan- (Ivennectin)                                                  .                     Wongyloidiasis


                                    Medical officer evaluation of enrolled patients
                                      by treatment group and patient number
                                              Berk 014/Gann 015 (con’t)                            —
-    Patient #    Evaluable?             Reason/Comment               Cure?     Reason             # - stools
     Treatment arm: Thiabendazole
     Berk
                     yes                                              Yes     _ stool to day 339           7
                     yes                                              No      + stool day 39,46
                     no                  only 1 stool post-Rx

                          no             only 1 stool post-Rx
                          yes                                                 + stool day91
                          no             lost to flu

    Gann
                         yes                                          Yes     _ stool to day 348           5
                         yes                                          Yes     D stool to day 363           5
                         yes                                          Yes     _ stool to day 381           5
                         yes                                          Yes     _ stool to day 387           5
                         yes                                          Yes     = stool to day 360           5

                         yes                                          Yes     _ stool to day 351           5
                         yes                                          Yes     _ stool to day 238           5
                         yes                                          Yes     m stool today 354            5
                         yes                                          Yes     _ stool to day 307           5
                         yes    -                                     Yes     - stool to day 82            3

                         yes                                          Yes     _ stwl to day 298           5
                         yes                                          Yes     _ stool to day 268          5
                         yes                                          Yes     _ stool to day 304          5
                         yes                                          Yes     _ stool to day 94           3
                         yes                                          Yes     - stool to day221           4

                         yes                                          Yes     _ stool to day 235           5

    Totals:              Enrolled 22                                  Cure 17
                         Evaluable 19                                 Fail 2
 Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 125 of 382



NDA 50-742                                                                                                       !@c 118
Mectizarr”’(Iverrnectin)                                                            .                  Strongyloidiasis


                                           Study 014 (Berk)/ 015 (Gann)
                                            Results per Medical Officer

                                      Ivermectin X 1              Ivermectin X 2               Thia~endazole

                                    Berk           Gann         B&k             Gann         Berk            Gann

 Enrolled, Total                      4             18            5                 19         6                 16

 Evaluable per M.O.                   4             14            2                 18         3                 16

 Cure at day 30                       4             14            2                 17         3                 16

  Fail at day 30                      0             0             0                 1          0                 0
 Cure at day 90                       4             14           nla                17         1                 16

 Fail at day 90                       0             0            nla                o          2                 0
 TOTALS             Cure (%)           18/18   (1OOY’O)               17/18 (94%)                  17/19 (89%)
  (day 90)
                    Fail (“A)                  o                       1/18 (6%)                   2/19 (ll”A)



           Medical officer findings: safety

          The applicant’s summaty of safety results for these combined studies is found on (applicant’s) pages D-
3012-17. In this, the applicant reports that there were 3 clinical ADE’s in the singledose iverrnectin arm, 6 in the
two-dose iverrnectin am; and 19 in the thiabendazole arm; this was repotted to be a statistically significant
difference between each of the ivermectin groups and the thiabendazole group.
          The computerized patient listing for these adverse events was reviewed and compared with the tabular
presentation found in the applicant’s summary. The results as presented in Tables 10 and 11 of that summary were
found to be consistent with the computerized   patient listings. As can be seen in Table 11, the most commonly
affected organ system in these clinical adverse events was skin and skin appendages in the ivermectin-treated
patients, and nervous system and digestive system in the thiabendazole-treated patients.
          As can be seen in Applicant’s Table 10, there were two deaths and one discontinuation in these combined
studies. (All three of these events were among the subjects enrolled by Dr. Berk.) Although information is given on
these subjects in the text of the study summary, the case report forms for these three study subjects were not
submitted with the NDA.
          The patient population enrolled by Dr. Berk was considerably older and had many more co-morbidities than
did the population of Cambodian immigrants enrolled by Dr. Garm. Thus is is not suqxising to see these adverse
outcomes predominantly in this’~oup of enrollees. A brief synopsis of these 3 cases follows:
                                                                                                                     ,“
           Early discontinuation:

           Patient ~,Berk:    a 59 year old white male with pre-existing hypertension, hemiparesis, s/p
           cerebrovascular accident and a history of alcohol abuse. Patient randomized to thiabendazole and had
           severe nausea on the first day of drug administration. He also had moderately severe tinnitus. Both of these
           events were considered to be definitely related to thiabendazole administration and the patient was
           withdrawn from the study.




                                                                                                                           .-
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NDA 50-742                                                                                                      Page 1I9
Mcctizan” (Ivermec(in)                                                             .                    .Qrongyloidiasis

          Death:

          Patient *   Berk: a 64 year old white male with COPD and prostate cancer, being treated concomitantly
          with multiple medications including steroids. This patient was treated with an initial three-cJay course of
          thiabendazole, with stools converting from 4+ positive to negative for Won~loi&s larvae on days 10 and
          25 post-therapy. He then was found tct have larvae in the stool on day.39 post-therapy, and was started on a
          second course of thiabendazole on day 44. He completed this course of therapy. No further stools are
          recorded in the computerized listings, but the patient expired on study day 84, reportedly from his
          underlying pulmonary disease. The death was considered to be ‘definitely not related’ to study drug
          administration. (It is unclear whether this patient died of or with disseminated strongyloidiasis.)

         Patien~        Berk: a 70 year old white male with underlying coronary artery disezse and COPD who was not
         taking concomitant steroids, randomized to the two-dose ivermectin arm. His stools were free of
         So-ongy/okks larvae by day 3 post-therapy and were negative on three further exams. The patient died on
         day 57 of study. The precise nature of this death is not clear from the study repo~ but the investigator
         stated that it was ‘definitely not related’ to study drug. A review of this patient’s laboratory values only
         presents lab data from study days 1 and 9, even though the death was considered to have occurred while on
         study.


          Laboratory adverse events which were considered worthy of mention by the investigator(s) include a single
event in patient-    a Gann patient in the thiabendazole arm who was found to have transaminase and alkaline
phosphatase elevations on day 9 post-therapy that were ‘possibly’ drug-related. Upon review of these line listings,
the following additional perturbations were noted:

~                   lab findino (day of stud                    Comments
Iverrnectin X 1
Berk               serum creatinirie 1.I+ 1.8 (d7)
Gann               alkaline phosphatase 59+ 112 (dll)
Gann               alkaline phosphatase 34+ 147 (d7)
Gann               ALT36+ llO(dlO)

lvermectin X 2
GannW              ALT 33+66 (d12)

Thaibendazole
Gann               alkaline phosphatase 111+218 (d7)
Gann               AST 49-$126 (d9)                                       As mentioned in applicant’s summary
                   ALT 37+ 153 (d9)
                   alkaline phosphatase 52+ 150 (d9)

          As can be seen from the above da% this study also reveals minor perturbations in transarninases and        ‘-”
alkaline phosphatase levels but nothing else of note. It should be noted that the great majority of these patients only
had post-therapy labs included from day 7-10, and nothing thereafter. This is of some concern, particularly in the
case of the one patient (Berk~     who was considered to have died while in the study. No laboratory data from the
time approaching the patient’s ultimate demise is included in the computerized listings.


         E. Conclusions
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NDA 50-742                                                                                                    Pa:c I20
Mcctizan”’(Ivcrmcctin)                                                            ,                   Strongyloidi~is

6. “WHO Study”: A comparative trial of a single dose Ivermeetin versus 3 days of albendazole for treatment of
           s[ercorahs and other soil transmitted helminth infections in children.
S/rongyloides

          A. Study summary

          This is a trial conducted under the auspices of the WHO in two villages on the island of Zanzibar, off the
eastern coast of Africa. llte applicant supplied study medication in the form of scored 6 mg tablets of ivermectin,
which was dosed at 200 ygkg as a single dose. The comparator drug, albendazole, was dosed at a fixed 400 mg qd
for three days.
          Although this study is submitted by the applicant as one of the ‘pivotal’ adequate and well-controlled
investigations in support of the proposed product Iabelling for ivennectin, no primaty patient data is submitted. The
submission consists of a 20-page manuscript that has been submitted for publication in the American Journal of
Tro~ical Medicine and Hv~iene. (NB: subsequent to the filing of NDA 50-742, the applicant has reported that this
manuscript has been accepted for publication in that same journal.) The applicant maintains that the patient-level
data are not controlled by Merck, since the study was conducted not by Merck but by the WHO.
 Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 128 of 382



NDA 50-742                                                                                                   Page I21
 Meetizan-’ (Iverrnectin)                                                                             Slron@oidiasis


            Study setting: two primary schools in two villages located in northern Zanzibar
            Time of study: October to December 1994
            Entry criteria
                     “male and female students z 10 years ol~ including schoolteachers
                     - oral informed consent
                     . stool positive by Baermann technique for larvae of S. stercoralis
            Exclusion criteria:
                     - No consent
                     “fever or other signs of acute illness
                     . severe neuroiogic disorder
                     . severe liver disorder
                     . pregnancy

          Randomization: a randomized list of sequential allocation was prepared in advance. Afier entering the trial,
individuals were weighed and given their respective treatrnen~ with either ivermectin at a dose of 200 pglkg or the
first dose of albendazole at a dose of 400 mg. Both drugs were administered in the presence of a study monitor with
water. The subjects randomized to albendazole were given the subsequent daily doses under direct supervision so
that compliance with the three-day regimen was assurred.

Medical oflcer comments: no information is presented to describe which weight ranges were administered which
combinations of whole and half-tablets. For comparison to o!her studies submi!ted in supper! of this indication, it is
importan[ to know whether subjects of similar weights were dosed in a similar fashion. AIso, the absorption of
alben~-ole is signij7cantly affected by co-administration with food. Since it is unclear whether anthe[minthic
activi~ against intestinal parasites is correlated with serum levels as opposed to intraluminal levels ofalbenda~ole
(or metabolizes), the importance of taking the comparator with vs. without food cannot be determined
          The app[icant was asked to provide this information, and in response a fm was received by this medical
oficer on 26 A ugust 1996. The following dosing information was provided by the principal investigator, Dr. H.
Marti:

                                      Patient weight (kd         )Vumber of6 m~ tablets
                                           15 to 24                      Z*
                                           251035                        1
                                           36 to 50                      1%
                                           51 to 65                      2
                                           66 to 79                      2$
                                           80 and over                   3

This dosing schedule k identical to that used in the Drqwr, Berk and Gann studies but k dl~erentfrom the
schedule utiiized in the Gentilini stu~. (The Gentiiini dosing schedule caused an inadvertent underdosing in the
ivermectin-treated subjecfi, who received on average 169 pg/kg rather than the targeted 200 p~kg dose.)    ----
          In this samefax, Dr. Marti reaflrmed that both stu@ medications were dosed with water only; therefore
there was no food effect on &ug absorption

          Follow-up: subjects were queried regarding medication side-effects at day 3 of the study, using a
questionnaire identical to that used at baseline. Three weeks following the first day of therapy, subjects were given a
stool specimen container and instructed to Tetum the following morning with a freshly-collected specimen. Upon
submission of this specimen, the subjects were questioned again regarding side effects of medication, using the same
questionnaire as previously. Each subject was then given another container and told to submit a second specimen the
following day.
         Endpoints: Subjects were considered cured if they had no evidence of Stron@oides larvae in both follow-
up stool specimens, by Baerrnann technique. Individuals who did not provide both follow-up specimens were
excluded from the efficacy analysis.
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 NDA 50-742                                                                                                   Page 122
 Mectizan- (Ivcrmectin)                                                           .                   Strongyloidiasis

             B. Applicant’s findings

           The applicant’s findings are summarized in the Ikwdts section of the submitted manuscrip~ which begins
on page D-3560 of volume 1.24 of the NDA. The following table, taken from this manuscript prese~ts the           -
demographics and disposition of the subjects enrolled in this study

               Demographics          and Disposition of Enrolled Subjects, WHO (Marti) study

  Patients examined

  Males (age range 9-22 years)                                                    545 (45.3%)
  Females (age range 9-19 years)                                                  659 (54.7%)

  Pre-study evaluation                                                                  1204

  Patients infected with S. slercoralis                                           419 (34.8?4.)

  Males                                                                           207 (49.4%)
  Females                                                                         212 (50.6Yo)

  Excluded     for medical reasons                                                    2 (0,5%)

                                                                                      Treatment

                                                               Ivermectin         Albendazole            Total

  Eligible for trial                                               208                  209               417

  Incomplete questionnaire or treatment, or                        45                    39                84
   Absence at last start of treatment

  Evaluable for safety                                             163                   I70              333

  Evaluable for efficacy (both follow-ups completed)               152                   149              301

  Males                                                        58 (38.2%)             67 (45?40)      125 (41 .5%)
  Females                                                      94(6 1.8Yo)            82 (55Yo)       176 (58.5%)




 Medical ojicer comments: in reviewing the submitied manuscript, it b impossible to determine the precise         -
 accountabili~ ofa!l subjects randomued in this trial. For -mple,       how many were e.dudedfrom       arudysb became
 of incomplete therapy? What daes ‘absence at lmt start of treatment’ mean? How ma~patients          wwe exc[uded ..-
form analysis because they presented with one positive follow-up stool, but did not have a second one collected?
 This question was asked of the applicant, who re[ayed it to the investigator. Dr. A4arti supplied the following
 diagram in his fa communication of 26 August 96:
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 130 of 382
     NDA 50-742                                                                                                                         page 123
     Mectizm- (Iverrncain)                                                                                                        SWongyloidimis
                                                                                                      .


                                                   SubjectaUocationin Martistudy,Zantibar

                                                                                            .    ..       .
                                                                         12a4         ptestudy evaluation

                                     mediealfy excluded                     419         Infested wftfr Stsongyfoldes stercoralls
                                                                        8




                                                  ~m’z’dZtffi
                                                              I




                                             7 F
                                                    fvermectin
                             incomplete       o                                                           1         -.
                              treatment

                             absence at
                                              6                                                           6
                             last start of
                             treatment



                             treatment completed             202                         202


                             no follow-up




                             oniy one
                             follow-up

                             negative
                             positive     @l
                                              2
                                              11

                                             10



                                             -4?
                             both fo[lmwrp stools
                                                        39

                                                             163




                                                                                       h
                                                                                        %
                                                                                        170
                                                                                                32




                                                                                                          21

                                                                                                               13




   As can be seen in thir diagram, the inwrtigator states that of the subjects who submitted one, but not the second
   folio+up stoo!for tawminatio~ 10/1 I were negative in the ivermectin arm versus 13/21 negative in the albendazole
    arm.

               The efficacy results, as reported in the study manuscript are presented in the following table (the results for
    the other intestinal parasitic infections are not included since they are not relevant to the NDA currently under   ..
    review):

                                    Applicant’ s Efficacy Results, WHO (Marti) study
                                                    .
                                                    I                                                                                              1
                                                    I                                       Cure rate                                              I
     Parasite species                               I                Ivermectin                      I                   Albendazole               I
     Strongvloides    stercoraiis
                                                    I              82.9?40(126/152)
                                                                                                      I                  45% (67/149)
                                                                                                                                                   I




                                                                                                                                              .
  Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 131 of 382
        .
 NDA 50-742                                                                                                    l’a:c 124
 Mectizan”’(Ivcrrnectin)                                                           .                   Strongyloidiasis

 Medical oflcer comment: the denominator in these cure rates h the number of subjects in each arm who returned
for ~     foilow-up stool aruujwes. Ifthe subjects whopresentedfor      one follow-up stool are includd, the rates
 become 83.4 % (136/163) for ivermectin, and 47.1% (80/170) for a[benahzole. Thus, the comparative results are
 not changed by the applicant’s evaluability requirement oftwo documentdfo!lo+up           SIOOLS.
           It should be kept in mind that there eficacy aizta are base on a three-week post-therapy foIi~wup
 timepoint. As such, thb is the shortest dwation ofpost-therapy follow-up of a~ of the submitted studies in this
portion of the NDA. The other study to be conducted in an endemic area (the Dreyer stu~, which was conducted in
Brazio attempted to gather follow-up stool samples at 30, 90, and 180 a@s post-therapy. Because of concerns over
possible re-infection of study subjects, the 30-a@ et@oint wa considered acceptable for this SIU4 (with a range of
26-34 days post-therapy).     The A4arti stu~ pruhes this primary study edpoint up to 21 &ys post-therapy.

         The safety data presented in this study were generated by questionnaires that were completed for all study
subjects at the time of enrollmen~ at the time of treatment and three days following the start of treatment (which for
the albendazole group would have been while still on therapy). Further safety information was collected by
questionnaire at the three-week timepoint as well.
         The treatment-emergent signs and symptoms, as shown in Table 5 of the submitted manuscript (page D-
3573 of volume 1.24 of the NDA), are presented below (the table in the manuscript is entitled “Number of patients
developing new signs and symptoms within three days after treatment [Adverse effects]”):

                              Applicant’s Safety Results, WHO (Marti) Study
                                                                                                                           7


                  Symptom                       Albendazole (N = 170)                   Iverrnectin (N = 163)

 Abdominal distention                                      1                                     7$

 Chest pain/tightness                                     o                                      7$

  Loose stools                                            17                                     16

 Headache                                                 18                                     15

 Cough, not with cold                                     8                                      11

 Fever                                                    7                                      10

 Dizziness, vertigo                                       10                                      5

 Nausea                                                   6                                       5

 Difise itching                                           6                                       3

 Watery diamhoea                                          3                                       2
                                                                                                                      ..
$ p < ().05



            C. Medical offtcer findings

          The medical officer review of this submitted study, which the applicant considers ‘pivotal’ to the approval
of this indication, must be confined to a critical reading of the manuscript. The applicant was unable to provide any
source documental ion from this study, since it was conducted under the auspices of the WHO rather than Merck
Research Laboratories.   The applicant participated in the conduct of the study only insofar as provision of study drug
(iverrnectin) was concerned.
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NDA 50-742                                                                                                         Page 125
Mectizan- (Ivennectin)                                                                 .                   Strongyloidiasis


          In a sense, then, despite the fact that the applicant considers this study to be ‘pivotal’ to the strongyloidiasis
indication, this clinical data is no different than the section of the NDA which provides literature references which
support the approval of iverrnectin for the strongyloidiasis indication (reviewed below). In fact, this study has not
yet been published in a peer-reviewed journal whereas the remaining literature submitted has, at the v~ry leas~ been
scrutinized in this manner.

Medical oficer comment: shortly afler this NDA was submitted the applicant informed DAIDP that the manuscript,
which Dr. Marti had submitted for publication in November 1995, had been accepted for publication in the
American Jo urnaf of Tronical Medicine and Hvg iene. However, as the deadline for action on this NDA approaches,
the paper has ye~ [o appear in this journal. The medical oficer thus took the liber~ of calling Dr. Mc Wilson
 Warren, editor-in-chief of the aforementionedjournal, on 29 August 1996. Dr. Warren contrmed that the
manuscript had been accepted for publication, and that the two peer reviewers had provided editorial comments but
that the actual data presented in the manuscript was identical to that which was to go to press. He anticipated the
appearance of the Marti paper in the December 1996 issue of the A merican Journal of Tro~ical Medicine and
m.

          If the reader refers back to the table on page 4 of this review, in which an overview of the submitted clinical
studies is presented, itcan be seen that the Marti study is, numerically, the study on which the strongyloidiasis
indication rests. In terms of total patients randomized, the Marti study includes 4 17/591 or 710/0of the subjects
studied in this portion of the NDA.
          Methodologically, the Marti study is similar enough to the other studies to allow for pooling of the efficacy
data, particularly since Baerrnann analysis was used for all stool processing. However, there are two major
methodologic differences between this study and the other four reviewed above:

         ■   test-of-cure stool examination was done at three weeks post-initiation of therapy and at no other time; and
         ■   cure/fai] W~ determined on the basis of two stools collected within a few days of each other.

The reader will recall tha~ even in the other study performed in an endemic area (Dreyer, conducted in Brazil), a day
30 stool collection was considered acceptable by the medical officer tithere were a total of 3 post-therapy stool
collections documenting clearance of Strongyloides larvae from the stool. One would expect such a study as Marti
to have a range of actual dates of stool collection, varying around the targeted three-week timepoint; thus, some of
the submitted specimens were undoubtedly collected earlier than day 21 of the study. Since patient level data was
not available for medical offker review, no further comment can be made.


         D. Conclusions

          The Marti study provides evidence of the short-term efficacy of singledose iverrnectin in the treatment of
intestinal strongyloidiasis. Even though the test-of-cure (ToC!) endpoint was shorter than in all the other submitted
studies, the observed comparative effkacy of iverrnectin versus albendazole makes it highly likely that a similar
difference would have been seen had the TOC stool samples been collected one week later. Furthermore, the
sensitivity of the TOC would have been improved had a third stool been collected in the post-therapy follow-up
period. Unfortunately, this study did not incorporate a thiabendazole arm for active comparison with the agent
currently approved for this indication in the US. Despite these shortcomings, this study is an important component
of the the NDA submission because of the large number of subjects enrolled and the substantially higher degree of
efficacy demonstrated as compared to the attive control, albendazole.
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NDA 50-742                                                                                                    pi3gC126
Mcclizan-’(lvcrrncclin)                                                                 .              .Wrongyloidiasis


7. Overview of literature   references   submitted   in support of strongyloidiasis indication.

          A. Applicant’s findings

         The applicant has submitted a total of 13 literature references in support of the strongyloidiasis indication.
These references are broken down into compassionate treatments (4 references), anecdotal treatments (2 references),
and non-applicant-sponsored treatment studies (7 references).
         The applicant’s summary of this literature, as found on pages D-3580-90 of volume 1.24 of the NDA,
follows:




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   The purpose of this document is to summarize information appearing in the Literature that can
   be used to fuxther support the use of ivermectin in the treatment of strongyloidksis of the
   gastrointestinal tract. The information, as published, deals with the use of ivermectin in
  compassionate treatments, anecdotal treatments (i.e., patients who~e strongyloidiasis was
  treated secondarily to a pnmag treatment eoncem, e.g., treatment for onchocerciasis) or non-
  MRLsponsored treatment studies. In general, there were no safety problems encountered in
  the various citations covered that differed from what is presented in the safety analysis of
  ivermectin &ea@ent of patients within stronglyloidiasis in this NDA. Thus, this summary
  deals on~y with presentation of efficacy data that supports the claim for the use of iverrnectin
  in the treatment of S. stercoralis infection of the gastrointestinal tract.

  In addition to citing references to the prim~ claim sought, this summary includes additional
  case reports dealing with disseminated S. stercora!is infections. However, these cases are
  presented for “information purposes” only since a claim is not being sought for this
  indication.

 Many of the publications are in a foreign language; however, English summaries are
 provided for those citations that are used. Numbers in [ ] refer to the references that are
 attached to this report.

 Following the summaries of the published eornmunieations there is a table that summarizes
 information obtained from these publications regarding the effkacy of ivermectin in the
 treatment of strongyloidiasis of the gastrointestinal tracL
                                                                            .-




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       A.     Compassionate Treatments (1 -41

              Four compassionate treatments using ivermectin in the treatment of strongyloidiasis
              appear in the literature.

             One patient (a 51-year-old male with Cushing’s syndrome) previously underwent 3
             successive 10day courses of albendazole treatment, each with relapse. Ivemnectin
             treatment (12 mg per day for 2 days) eliminated the parasites with findings still
             negative at one year follow-up. [1]

             A 32-year-old female (fotmer drug addict) with HIV presented with disseminated
             strongyloidiasis that was resistant to thiabendazole. The patient received a single
             dose of ivermectin (150 mcgkg); however, intestinal obstruction was present along
             with severe electrolyte imbalance. These symptoms worsened and diffuse mesenteric
             adenopathy was found at laparotomy. The patient died of septic shock (Pseudomonas
             ueruginosa)   with meningitis. The outcome of ivermectin treatment in this patient
             could not be determined. [2]

             A 45-year+ld male with strongyloidiasis that was resistant to various antiparasitic
             agents received multipledose ivermectin. The patient was given an initial dose of
             ivetmectin 12 m~ after 1 week the parasite burden was reduced. The same dose of
             ivctmectin was then given on 2 consecutive days. No parasites were detected in stool
             samples during 14 months of follow-up. [3]

            A 40-year-old man who was unsuccessfully treated with thiabendazole evety 3-4
            months over an 8-year period was given a single dose of iverrnectin (200 mcg/kg).
            Stool samples were clear of all larvae in 48 hours and remained negative for at least
            one year after iverrnectiri therapy. [4]

      B.    Anecdotal Treatments r5 - q

            “During a mass treatment program of onchocerciasis with ivermectin in the rain forest
            zone of Cameroon, 20 patients were found to have coincidental strongyloidiasis of the
            gastrointestinal tract. Based on examjna(ion of stools 1 month after treatment,
            ivermectin    (single dose of 150 mcg/kg)    provided a cure rate of 10090 for
            strongly loidiasis. [5]
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                B.     Anecdotal Treatments [5 -61 (Cont.)

                       In a pilot study to determine the efficacy of singledose iverrnectin in the treatment of
                      human gastrointestinal helrninthiasis in a hyperendemic area of Central Arneri~
                       12 randomly selected adults received a singledose treatment of iverrnectin (140 -200
                      mcgkg).       Prior to treatment, 3 of the 12 subjects had Strongyloides stercorulis
                      infestation; based on examination of stools 1 month following administration of
                      ivermectin, aIl 3 were successfully treated. [6]

                co    Non-MRL-Sponsored       Treatment Studies {7 -131

                      One series involved 9 HIV-infected men, including 5 with AIDS-defining conditions,
                      with evidence of strongyloides hyperinfection, who received either a singledose
                      ivemw.ctin treatment (150-200 mcg/kg in 2 of 9 patients) or multiple doses of
                      ivermeetin (200 mcg/kg on Days 1, 2, 15 and 16 in 7 of 9 patients). All 7 patients
                      who received multiple doses of ivermectin experienced sustained clinical and
                     parasitological cures of their Strongyloides infedions.     One of 2 patients who
,—
                     received singledose ivermeetin relapsed on day 30 with both general, respiratory, and
                     GI symptoms. This patient refised finther tteatment with ivermeetin and died 4 days
                     later with symptoms suggestive of sepsis and/or disseminated strongyloidiasis.    The
                     remaining 8 patients remained in remission during follow-up periods from 7 months
                     to 3 years. [7J

                     In a second study, 70 patients (41 males and 29 females) with strongyloidiasis of the
                     gastrointestinal tract were treated with ivermectin (6 mg on day one and another 6 mg
                     2 weeks later). The eradication of S’.stercoralis was found in 60/68 (88.2%) 13 days
                     after the first dose (i.e., prior to dose 2); in 59/65 (90.8%) 13 days after dose 2; in
                     49/54 (90.7%) 1-2 months late~ in 47/47 (100%) 3-4 months lateq and in 45/47
                     (95.7%) 5-6 months later. Comparison of patients who responded to those who did
                     not respond showed significant differences between the groups in the amount of pre-
                     existing symptoms, anti-HTLV-1, eosinophil count, and IgE. [8]

                     In a third study, in a highly endemic area of S. stercoralis infection, 23 patients with
                     positive stool cultures for S. srercoralis were treated with iverrnectin (single 6-mg
                     tablet on day one foIlowed by a 6-mg tablet 2 weeks later). Two weeks after the
                     single treatment, and prior to dose 2, parasitological eradication occurred in 18 of 21
                     patients (85.7%). Two weeks after the second ivermectin dose one more patient
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    c.    Non-MRL-Sponsored        Treatment Studies [7 - 13] (Cont.)

           In another clinical study, a series of 125 patients with strongyloidiasis of the
          gastrointestinal tract (78 males and 47 females) were treated with ivermectin 6 mg on
          day 1 followed by 6 mg on day 14. Parasito~ogical eradication was achieved in 108 of
           125 patients (86.4%). Of (he 17 patients who showed persistence, 8 received a
          furlher course of ivermectin and al! S. srercoralis in their feces was eradicated. It was
          noted by the authors that the positive rate of anti-HTLV-I in the resistant group was
          significantly higher (80.070) than in the eradicated group (29.2%). [10]

          A series of 54 patients (28 males and 26 females) in another study received
          ivermectin (6 mg on day 1 followed by 6 rng on day 14) for strongyloidiasis of the
          gastrointestinal tract. For the patients with follow-up stool examinations, the cure
          rate at 2 weeks after dose one (i.e., prior to dose 2) was 49 of 53 patients (92.5%) and
          at 2 weeks after the second dose was 48 of 50 patients (96.0%). [11]

          An open trial of 100 patients with S. stercoralis infection of the gastrointestinal tract
          (57 maks, 43 females, ages 3 - 94 years) was done comparing ivermectin to
          abendazole. Patients were treated with singledose iverrnectin (200 mcg/k& N=53)
         or albendazcde (400 mg for 3 days; N = 47). Efficacy was evaluated in 85 patients
         and cure rates were 42 of 43 patients in the ivermectin group (97.7%) versus 37 of 42-,
         in the albendazole group (88.1 $ZO).The 6 treatment failures (1 iverrnectin and 5
         albendazole) were re-~eated with iverrnectin and were cured. [12]

         In a series of 114 patiefits in Bangui, Central African Republic (56 males and 58
         females, age range 5 to 70 years, mean age 26.3 some with mixed parasitic
         infestations but the majority with single parasitic infestations [strongyloidiasis,
         ascariasis and/or ancyjostomiasis]),    53 patients (46Yo) were shown to have
         strongyloidiasis. All patients received a single dose of iverrnectin (200 rncg/kg) and
         follow-up parasitology was evaluated at 7-10 days posttreatment and again at 15 days
         posttreatment. Patients with strondyloidiasis had nega[ive stool examjna(ions al both
         lime points [13].
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                          COMPASS1ONATE                                 1                          12 mgldayx 2 days           1/1(lCo)              Subjectwith Cttshing’ssyndrome
                                     TREATMENT                                                                                                       previouslyunderwent3 failureswith
                                                                                                                                                     albendazolc


                          COMPASSIONATE                                 3                          12 mg/dny x I day+          1/1 (loo)             After secondtreatment,definite cure
                                     TREATMENT                                                     12 mg/day x 2 days                                wi[h 14 mo. posttreatmentfollow.up



                          COMPASS1ONATE                                 4                            I x 200 mcgkg              1/1 (loo)            Chronic s[rongyloidimis
                            TREATMENT                                                                                                                unsuccessfully treated with TBZ over
                                                                                                                                                     an tt-ycm period was cured with neg.
                                                                                                                                                     stoolsfor at least I yr. post!hcrapy.



                                     ANECDOTAL                          5                            1 x 150 mcg/kg           20/20( 100)            Da!a collected during masstreatment
                                     TREATMENT                                                                                                       of onchoccrciasiswith i~ermectin in
                                                                                                                                                     Comcroon. Twenty priticntshad
                                                                                                                                                     coincidentalstrongyloidiasisof the
                                                                                                                                                     gastrointestinaltract.

                      * Refcrencea [2] and [7] me excluded from this summary since they represenI, respecliveiy, trcatmcnls of disscrnksted disease nnd
                        hyperinfection.                                                                                                             1
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                                     Summary of Published Information That Supports the Use of Ivermectin
                                       in the Treatment of Strongyloidiasis of the Gastrointestinal Tract (Cont.)

                                                                                            CURE RATE
                                                                                            ,,, ”(%) ~~‘!’
                 .
                     ., ANECDOTAL                                                                 3i3 (loo)      Three of 12 randomly selectedadults in
                        TREATMENT                                                                                a hypcrcndemic area of Central
                                                                                                                 America were positive for
                                                                                                                 S slerocomlis and treatedwith
                                                                                                                 ivcrmectin (140.200 mcgkg).

                                                                                                                 Stool examinationat:

                                                                                                 60/68 (88)      ! 3 days Postdose1
                      TREA1’’NlENT                  8                6mgon Dayl+
                        STUDIES                                       6mgon   Day 14             59/65 (9 I )    13 days Postdosc2

                                                                I                                49/54 (91 )     1-2 monthsPostdosc2

                                                                                                 47f47 ( 100)    3-4 monthsPostdosc2
                                                                                                                                                          .
                                                                                                 4s/47 (95.7)    5-6 monthsPostdosc2       ,

                * Referencca [2] and [7] are excluded from this summary since they rcpres        rcspectivcly,   satmcnts of disseminated disease and
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                  hypennfection.




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                                                                                                                                                                        Stoolexfsmimstion at:
                                        TREAT?vIENT                                                    9             6mgon        Dayl+           18/21 (86)            Prior to Dose 2
ii
                                               STUDIES
                                                                                                                      6 mgon Day 14               19/21(90)             Two Weeksafter Dose 2


                                                                                                                                                                        8 of 17 who failed received an
                                        TREATMENT                                                      10             6mgon Dayl+                108/125 (86)           additionalcourseof ivermeciin and all
                                               STUDIES                                                                6mgon Diry 14                                     8 were cured



                                                                                                                                                                        S1001examination itt:
                                        TREATMENT                                                                     6mgon Dayl+                49[S3 (92)             Prior to Dose 2
                                          STUDIES                                                      II             6mgon Day 14
                                                                                                                                                 48150 (96)             Two weeks aller DOSG2

                             * References [2] and [71 are excluded from this summary since they represent, respectively. treatments of disseminated disease and
                               hyperinfectiom




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                   TREATMENT’                                               1 x 200 mcgkg         42143(98)        lvermeclin treatment
                      STUDIES                                 12
                                                                                                                   Albendazole (400 mg x 3 days) was the
                                                                                                                   comparativeagent in this trial and
                                                                                                                   achieveda cure rate in 37 of 42
                                                                                                                   patients(88%).

                                                                                                                   The six treatmentfaiirsres(one
                                                                                                                   ivcrmcctin nnd five albentjazole) were
                                                                                                                   retreated with ivermcctin and were
                                                                                                                   cured.

            TREATMENT          STUDIES                        13             1 x 200 mcg/kg      53/53(100)        Foliow-upstooi examsconducted7-10
                                                                                                                   days and 15days posttreatment,
                                                                                                                                                                     .
           * References [2] and [7] are exciuded fmm this summary since they represent, respectively, treatments of disseminated disease and
             hyperinfedion.                                                                                                                     b




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            Ivennectin                                                                               9
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.-.                 WERMECTIN Nl YORU CHIRYOH NI TEIKOHSI-IIT’A
                    FUNSENCHUUSHOHKANSHA                NO ICENTOH dVERMECTIN AND
                    DRUG-RESISTANCE IN PATIENTS WITH STRONGYLOIDLASIS>
                    Kzmwnshogaku 2ixsshi66(7} 935-943, July 1992 (Jan with Enrd, sum
                    Vot translated]

            9       ;hikiyz K., Kinjo, N., Uehar~ T., Uechi, H., Ohshiro, J., Arakaki, T.,
                    Linjo, F., Saito, A., Iju, M. and Kobari, K EFFICACY OF
                    VERMECITN AGAINST STRONGYLOIDES STERCOM.LIS IN
                    WMANs
                    hten Med. Jpm 31(3): 310-312, Mar. 1992

           10        Clinical study on ivennectin against 125 strongyloidiasis patients]
                     Mkiya ~ Zaha O; Niimura S; Uehara T, Ohshiro k Kinjo ~ Saito
                    k,
                    Asato R. Kan.senshogakuZmshi Jan 1994, 68 (1) p13-20,


           11       [Clinical study on ivetmectin against Strongyloides stereora.lis]
                    Wciya ~ Uehara T; ,Uechi H; Ohshiro J; Arakaki T, Oyakawa ~
                    Mugawa H.; Kinjo F, Saito A; Asato R. Kansenshogaku Zasshi Sep
                    1991, 65 (9) p1085-90,




        h4K-0933U3W826.DOC                                                                    25JAN96
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    Iverrnectin
    Clinical Documentation
    D. ClinicaI Efficacy and Safe~
                                                               .
    Il. References
    B. Reference Documents




           I
      13   I Tests J, Kizimandji-Coton G, Delmont J, Di Costanzo B and Gaxotte P
             TFUU7’EMENT D-EL’ANGUILLULOSE, DE L’ASCARIDIOSE ET DE
             L’ANKYLOSTOMIASE PAR L’IVERME-                   (~~)          A
             BANGUI (RCA) nREATMENT OF STRONGYLOIDIASIS,
             ASCARIASIS AND ANCYLOSTOMIASIS WITH IVERMEC’ITN
             (MECTIZAN) IN BANGUI (CAR)]
             Med Afr Noire 37(5): 283-284,1990 (French only. Not translated Only
            English summary)




  MK-0933U3W326. DOC                                                               25 JAN96
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 NDA 50-742                                                                           .                           Page. 138
 Mrxtizanq (Ivcrrncctin)                                                                                  Strongyloidiasis


           B.   Medical ofllcer findings

            1. Studies designed specifically to investigate strongyloidiasis

         There are several studies in the literature which specifically examine the effkacy of ivermectin in the
therapy of strongyloidia.sis, in both immunocompromised as well as immunologically intact subjects.


Reference: Torres, J.R, et al. Efficacy of ivermectin in the treatment of strongyioidiasis complicating AIDS.
Source: clin Infect Dis 17(5): 900-2, 1993.
Type of study: open-label, compassionate use series
Treatment arms: Single-dose 150-200 mcg/kg, N = 2
                  Multi-dose 200 mcgkg on days 1~,15, and 16, N = 7
Number of patients: 9
Method of diagnosis: Baermann technique of stools (N= 9); sputum examination (N = 3)
Follow-up timepoints: at least seven months; up to three years
Results:       One patient with a CD4 count of 358 cells/mm3 and no evidence of disseminated infection was treated
               with a single dose and was cured; the other single-dose patient had a CD4 count of 52 cells/mm3 and
              evidence of disseminated disease (larvae in sputum); he refused fi.wthertherapy and died with
              disseminated strongyloidiasis. The other seven patients were treated with multiple dose therapy. All
              were cured of their strongyloidiasis, including two other patients with larvae in sputum and CD4
              counts below 100/mm3.
Comments:     although open-label and compassionate in design, this study is of value because it utilizes
              Baermann technique for stool examination, and provides prolonged follow-up of all subjects. It is
              also a remarkable paper in light of the fact that immunosuppressed patients with disseminated
              strongyloidirtsis have, in general, a very poor clinical response to thiabendazole. The results of the
              Torres study cited here should be compared to the recent review of the literature done by Celedon et al
              (Systemic strongyloidiasis in patients infected with the human immunodeficiency virus: a report of
              three cases and review of the literature. JUedicin~ 73(5) 256-63, 1994) which documents 14 cases of
              HIV-associated strongyloidiasis, 12 of whom died despite therapy with multiple, often prolonged,
              courses of thiabendazole.


Reference: Scaglia M et al. [vermectin vs. Albendazole in the treatment of strongyloidiasis in Italian patients.
Source: Abstract tlom 1993 annual meeting of the American Society of Tropical Medicine and Hygiene, in
         Am J TmD Med Hyg 49 (3, supplement): 262-3, 1993.
Type of study open-label
Treatment arms:             Ivetmectin 200 mcgkg single dose, N = 53
                            Albendazole 400 mg qd X 3, N = 47                                                      .
Number enrolled: 100 patients with ‘uncomplicated’ Strongloidiasis
Method of diagnosis: ‘coproparasitological exam’ of fixed stool samples                                                 .. .
Follow-up timepoints: one and three months post-therapy
Results: ten patients were lost to follow-up, and five died during the trial. Of the 43 evaluable iverrnectin patients,
         42 (980%)were cured. In the 42 evaluable albendazole patients, 37 (88VO)were cured.              Side effects
         were ‘negligible’ in both groups. ,
Comments: in this study, the eftlcacy of albendazole is considerably higher than in the previously-reviewed
         studies. However, since the Baennann technique was apparently not used, Iow-level failures in both
         arms may not have been detected.


Reference: Tests J, et al. Traitement de I’anguillulose, de I’ascaridiose, et de I’ankylostomiase   par I’ivermectin
                 (Mectizan)   a Bangui (RCA).
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 NDA 50-742                                                                                                     Page 139
 Mectizan”’(Iverrncctin)                                                           .                    Strongyloidiasis

           Source: M6decine d’Afnaue Noire 37(5): 283-4, 1990.
           Type of study open study
           Treatment arms: Iverrnectin 200 mcg/kg single dose, N = 114 (total); N = 53 (infected with S. s(ercorafti)
           Number enrolled: 114
           Method of diagnosis: Tltree stool examination techniques, including Baermann technique     —
           Follow-up timepoints: 7-10 and 15 days post-therapy
           Results: 53/53 patients with strongyloidiasis were cured at the 7-10 day endpoint; 18 of these 53 presented
for             the second (15-day) follow-up and all 18 were cured. No patients reported any adverse side-effects
               (“Aucun patient trait~ n’a d6crit d’effets secondaires apr$s la prise de I’ivetmectine.”)
           Comments: multiple stool exam techniques make the possibility of false negatives unlikely; however, a 15-
day              endpoint is relatively short.




          Reference: Naquira C, et al. lverrnectin for human strongyloidiasis and other intestinal helminths
          Source: b m J TroD Med Hwg40 (3) 304-9, 1989.
          Type of study: double-blinded, escalating dose-ranging study in patients with strongyloidiasis in Peru
          Treatment arms: patients were sequentially assigned to the following treatment groups:
               Group A: Ivertnectin 50 mcg/kg (N = 18)
                 Group B: Ivermectin 100 mcgikg (N = 18)
                 Group C: Ivermectin 150 mcg/kg (N= 18)
               Group D: Ivermecting 200 mcg/kg (N = 17) =dosage used in MRL studies
               Group E: Ivermectin 100 mcg/kg qd on days one and four (N = 18)
               Group F: ivermectin 200 mcgfkg qd on days one and four (N = 20) = close to MRL dosage
         Number enrolled: 110
         Method of diagnosis: 24-hour stool collections were processed using Baerrnann technique as well as
additional                 methods.
         Follow-up timepoints: days 17-24 and 30-38 post-therapy. (Eighteen of the subjects cured at the 30day
              endpoint, who lived in an area of Peru considered nonendemic for strongyloidiasis, were followed
              additionally with three serial stool samples at day 90 post-therapy. The breakdown of these 18
              patients by treatment group was not presented.)
         Results: at 30 days post-therapy, the following cure rates were reported:
              Group A. 10/15 (67%)
              Group B: 11/15 (73%)
              Group C: 16/17 (94?4.)
              Group D: 16/17 (94%) =dosage used in MRL studies
              Group E: 15/17 (88Yo)
                Group      F: 20/20 (100%)
             Additionally, all 18 of the cured patients who were followed up at three months post-therapy were
             found to have remained cured of their infections.
             Adverse events included constipation (4 subjects), elevation of transaminases, serum creatinine, and
             alkaline phosphatase (1 each).                                                                      -..
         Comments: Method of stool analysis is comprehensive and allows for comparison with ‘pivotal’ studies.
                Excellent follow-up. Despite conduct in an endemic area, used 30-day post-therapy endpoint (unlike
                Marti study). Would have been of benefit if applicant had been able to submit patient-level
                data for this study. Unfortunately, the two-dose regimens used in this study are not precisely the same
                as those used in the MRL-6ponsored studies reviewed above (those doses were given in two
                consecutive days [i.e., days I and 2] rather than on days one and four.
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NDA 50-742                                                                                                     Page 140
Mectimn”’(Ivcrnsectin)                                                                                 Strongyloidiasis




         The applicant has also submitted four references from the Japanese Iitemture. All of these are authored by
the same group of investigators located on Okinaw% and all have the same first author (Shikiy% K.). When atmmged
chronological] y, these papers repoti successively larger numbers of subjects. Thus it is likely that these papem
represent successive accumulations of subjects and therefore the numbers repotied in each paper cannot be added
together. The paper reporting the largest number of subjects, which presumably represents the cumulation of the
investigative efforts of this group, will be reviewed and tabulated. (One of the four papers was actually published in
English [Intern MedJcm31 (3): 310-12, 1992] and will be relied upon for procedural details of this series of papers.)

Reference: Shikiya K et al, Clinical study on ivermectin against 125 strongyloidiasis patients.
Source: Kansenshoeaku Zasshi 68(l): 13-20, 1994.
Type of study: Open label, noncomparative study in an endemic area (Okinawa)
Treatment arms: Iverrnectin 6 mg as single dose with repeat dose 2 weeks later. (Approximate dose range was 70-
                     160 mcg/kg for each dose.)
Number enrolled: 125 patients
Method of diagnosis: fecal samples were examined using the agar plate method
Follow-up timepoin(s:        patients were seen and stoolsexamined2 weeks after the first and second doses, as well
                             as at or after one month following the second dose.
Results: of the 125 patients dosed with a single 6 mg dose, 112 presented for the two-week followup and 95 (85%)
         were negative. Of those 95 (all of which were dosed with a second 6 mg dose at that two-week timepoint),
         87 remained negative at the second follow-up stool. The 13 subjects lost to initial follow-up were all found
         to be negative at this four-week timepoint. Therefore, at four weeks following the initial dosing, the cure
         rate was (87 + 13)/1 19 or 84°A(six other subjects were lost to follow-up at the four week timepoint, making
         the denominator 125-6 = 119). Side effects were reported by 9 (7.2°/0)patients following the first dosage,
         and included dizziness in 3, nause and diarrhea in 2 each, and several other minor side effects in single
         subjects. The English abstract also mentions that “although liver disjunction [sic] developed in 13.6% of
         the patients, no symptoms occurred and no special treatment was required.”
Comments: dosing regimen is non-standard. Although each individual dose appears to relatively underdose the
              subjects (although data on the weight of the subjects does not appear in the article), when the total dose
              over 2 weeks is calculated, these subject received a roughly comparable dosing regimen ( 140-320
              mcglkg). Method of diagnosis is non-standard, although the agar plate method is considerably more
              sensitive than a simple stool smear or formalin-ether concentration. The approximate amount of stool
              used in the agar plate technique is less than that used for the Baerrnann technique, but is greater than
              the amount used for a typical forrnalin-ether concentration. It is also of note that 43 out of the 125
              patients treated in this study were HTLV-1 positive and therefore, to various degrees,
              immunocompromised. The investigators found a statistically significant correlation between treatment
              failure and HTLV-I status. Therefore, the overall eradication mte of 84°Ashould be considered lower
              than would be expected had immunocompromised patients been excluded fkom enrollment.



         2. Studies not specifically designed to investigate strongyloidiasis

           Additional studies appear in the literature which have resulted from studies designed primarily to determine
the efficacy of ivermect in in the treatment ~f onchocerciasis. Man y areas endemic for onchocerciasis are co-endemic
for strongyloidiasi~ thus, several teams of investigators have studied the efficacy of ivermectin against intestinal
helminths in the context of mass treatment studies for onchocerciasis. The following studies were therefore not
specifically designed as strongyloidiasis studies but nonetheless contribute efficacy information that is relevant to
this portion of the NDA.
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NDA 50-742                                                                                                      Page I41
Mectizan-’(Ivemwctin)                                                               .                   Slrongyloidiasis


Reference: Moyou SR et al: Results of mass ivermectin treatment on the endemic helminthiasis in the rain
        forest zone of southwest Cameroon.
Source: Abstractof poster in Acts Leiden59 (l-2): 466, 1990.
Type of study: ancillarystudy in contextof masstreatmentcampaignfor onchocerciasis
Treatment arms: ivermectin 150 mcgllcg X 1
Number enrolled: a subset of 20 patients was found pre-therapy to have Strongyioideslarvae in stool
Method of diagnosis: not elaborated.
Follow-up timepoints: single stool exam one month post-therapy
Results: 20/20 patients with Strongyloides larvae reported as cured
Comments: lack of description of method of stool exam probably indicates a simple stool smear was performed;
             therefore, low-level failures may not have been detected. Nonetheless, 30day endpoint is best that can
              be asked for in this endemic area.



Reference: Freedman DO et al: The efficacy of iverrnectin in the chemotherapy of gastrointestinal helminthiasis
         in humans.
Source: J Infect Dis 159(6): 1I51 -3, 1989.
Type of study: ancillary study in context of mass treatment campaign for onchocerciasis in Guatemala
Treatment arms: ivermectin 140-200 mcg/kg X 1
Number enrolled: 12 randomly selected adults submitted stools, 3 of which were infected with S/rongvloide.s
Method of diagnosis: formal in-iodine concentration of stool and examination of entire sediment
Follow-up timepoints: one month post-treatment
Results: 3/3 strongyloidiasis patients were cured at the one-month timepoint
Comments: Number is small. Difference in stool examination technique makes possibility of false-negative single
              follow-up stool more likely. Nonetheless, these results are consistent with other studies using
              Baermann technique.



Reference: Taticheff S et al: Effect of ivennectin (Mectizan~ on intestinal nematodes
Source: )?thiopian Med J 32(l): 7-15, 1994
Type of study: ancillary study in context of mass treatment campaign for onchocerciasis in Ethiopia
Treatment arms: ivermectin 150 mcg/kg X 1
Number enrolled: 231 patients with onchocerciasis, of which 7 were infected with Strongy/oide.s
Method of diagnosis: formalin-ether stool concentration
Follow-up timepoints: 15 and 90 days post-therapy
Results: 7/7 subjects were cured at the 3 month post-thempy timepoint
Comments: Number is small. Difference in stool examination technique makes possibility of false-negative single
              follow-up stool more likely. Nonetheless, these results are consistent with other studies using -
              Baerrnann technique.
                                                                                                                .,




          In addition to these references, the’applicant has also submitted four articles that describe single case
reports of individual patients treated with ‘iverrnectin for strongyioidiasis. Because of the case repor( nature of these
references and the unusual clinical aspects of the particular cases that warranted publication, they are not considered
to be directly relevant to the NDA and will not be critically reviewed.
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 NDA 50-742                                                                                                    Page 142
 Mectizan* (Ivcnncctin)                                                             .                  Strongyloidiasis


Ile     submitted literature references which support the strongyloidiasis indication are summarized below:


            Summary of literature references supporting strongyloidiasis indication

 Referencq        Ivermectin   dose        Comparator         Method of      Eftlcacy at             HIV/HTLV
 location                                                     stool          timepoint               Patients
                                                              diagnosis                              included?

 Scaglia,         200 mcg/kg X 1           Albendazole        not            at three months:        “uncompli-
 Italy                                                        specified      lVER42/43 (98%)         cated’’cases
                                                                             ABZ37/42 (88Yo)         only
 Test%            200 mctdkgX 1            none               Baerrnann      at 15 days:             not
 Central                                                                     IVER 18/18 (]()()~o)    mentioned
 Africa

Naquira,                                   none               Baermann      at 30 days:          not
 Peru            Gr A: 50 mcgkg X 1                                         Gr A: 10/15 (67%)    mentioned
                 Gr B: 100 mcg/kg X 1                                       Gr B: 11/15 (73%)
                 Gr C: 150 mcg/kg X 1                                       Gr C: 16/17 (94’%.)
                 Gr D: 200 mcgjkg X 1                                       Gr D: 16/17 (94%)
                 Gr E: 100 mcg/kg X 2                                       Gr E: 15/17 (88VO)
                 Gr F: 200 mcg/kg X 2                                       Gr F: 20/20 (1OO’YO)

Shikiya,         6 mg X 2, taken two       none               agar plate    at 28 days after first   43/125
Okinawa          weeks apart                                                dose:                    patients
                                                                            100/1 19 (84%)           enrolled
                                                                                                     were
                                                                                                     HTLV- 1 +


Torres,          200 mcgikg X I (n=2)     none                Baetmann      at 27 months:            all 9 were
Venezuela        200 mcgkg X 4 (n=7)                                        l/2 single dose          HIV+; 5 had
                  Given days                                                (50%)                    CD4 s
                 1,2,15,16                                                  7/7multidose             200/mm3
                                                                            ( 100%)

Moyou,           150 mcgkg X I            none                not           at one month:            not
Cameroon                                                      specified     IVER20/’20(100IMo)       mentioned

Freedman,        140-200 mcg/kg X 1       none                Forrnalin/    at one month:            not
Guatemala                                                     iodine        lVER 3/3                 mentioned        .. .
Taticheff,       I50 mcg/lcgX 1           none                Fonnalin/     at 90 days:              not
Ethiopia                                                      ether         lVER 717                 mentioned
                                             ,/


The applicant seeks labeling that would indicate a single dose of 200 mcg/kg for the treatment of strongyloidiasis.
When the above references are compiled by those which studied doses of 150-200 mcg/kg as a single dose, and also
had at least 30 days of post-therapy follow-up, the efficacy rate is 9’7~0:
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NDA 50-742                                                                                                  Page I43
Mectizan” (Ivcrsnectin)                                                                             Stfongyloidiasis
                                                                                   .

                                         References using 150-200 mcg/kg X 1
                                   and providing z 30 days of post-therapy follow-up

                                      Reference                 Patients cured/evaluable


                                      Scaglia                            42143
                                      Naquira                            16/17 (150mcg@X    1)
                                                                         16/17 (200 mcgkg X 1)
                                      Moyou                              20120
                                      Freedman                            313
                                      Taticheff                          ~

                                      TOTAL                              I04/107   (97%)

Not all of these studies utilized Baermann stool examinations, thus raising the possibility of false negatives.
Furthermore, the ideal test-of-cure timepoint may well be longer than 30 days post-therapy. BULsince all of these
studies were perfotmed in endemic areas where the possibility of reinfection exists, this timepoint is accepted as
being the most reasonable.



          C. Conclusions

         The published literature supports the applicant’s contention that ivermectin at a dose of200 mcgkg X 1 is
safe and effective in the therapy of uncomplicated strongyioidiasis.




8. Statistical considerations


Insert statsitical review and survival analysis here




                                                                                                                     ./”
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 NDA 50-742                                                                                                     Page 144
 Mec[izanw (Ivernwdin)                                                                                  Swongyloidiasis
                                                                                  .

 9. Overall conclusions

          The sponsor has submitted four separate clinical studies in support of the strongyloidiasis indication for
which patient-level data (in the form of computerized case tabulations) has been made available. Ile consolidated
results of these four studies, after the medical officer’s review, are as follows:



 Study               Ivermectin X 1          Ivermectin X 2             Albendamde               Thiabendazole

                   30 day     90 day      30 day        90 day       30 day       90 day       30 day         90 day

 Gentilini         24t26      21L26                                   12n2            10/22

 Dreyer             9/14                   15/17                                                13/15

 Berk                4}4       4/4          212                                                  313            1/3

 Gann              14/14       14/14       17/18        17/18                                   16/16          16116

TOTALS             51/58      39/44        34/37        17/18         12/22           10122     32/34          17/19
                   (86%)      (89%)       (92%)         (94%)        (55%)        (45%)        (94%)          (89%)



Additionally, the applicant has submitted the manuscript of a study conducted by the WHO in Zanzibar (the Marti
study). This paper, along with the additional literature submitted in support of this indication, show the following
results:


Study               Ivermectin X 1          tvermectin X 2              Albendazole              Thiabendazole

                  30 day     90 day       30 day       90 day       30 day       90 day        30 day        90 day

Marti            1261152*                                           67/149”

Literature        i 04/107    49/50                                               37142
(total)

TOTALS           130/159      49/50                                 67/149        37142
                  (82%)       (98%)                                 (45%)         (88%)




The clincal dam taken as a whole, support the applicant’s claim that a single 200 mcgkg dose of ivermectin is-safe
and effective in the treatment of uncomplicated strongyloidiasis in the non-immunocompromised host. The
statistical examination of these data performed by Dr. Sue Bell of CDER supports this claim. Therefore, the medical
officer concludes that this indication should be granted to the applicant.
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 Iverrnectin in the treatment of Onchocerciasis


 1. Tkdisease

           A Lifecycle

           tih~i~kti-tifwti                         tideatibytih~~                                   ptitt? Onchocenx
 whdus.     This human parasite is a W&or-borne disease trmmmed    “ by the bite of the blackfly, Simulium. In Ati@ the
 pred *t       vector species is S &mnosum. These insects require relatively high aquatic qga          Ievela for their larval
 development Thus, the life cycle of the vector is closely -iated       with breeding areas in fkst-moving streams and
 rivers where rapids provide adeqate oxygenation to auppoxtdevelopment of the water-borne Iawae.
 Because of the association of the vector with streams and riv~ the disease in humans is epidemiologiealiy associated
 with these bodies of water and has been texmed ‘river blindness’. (See Clinical mani~estitions, below.)
           Adult O. wlvulus males and f-es        are found in subcutaneous nodules of the infected human host. These
 nodules are usually palpable and removablq upon removal and digestion in collagenase, a typical onchoeercsl nodule
 can contain between 2-4 male and 3-6 female adults. The faale measures 30-50 mm in kn~ whereas the male
 measures 20-40 mm. The worms become tightly coiled within these nodules, which are usually palpable, measure 5-15
 mm in diameter, and characteristically are located on the hips, joints of the arms or legs (in Mica disease) or on the
 scalp (in Central American disease). Nodules are less likely to be found in csucasian patients. They have been found in
children as young as one year of age in endemic areas. Adult Onchocema cau live for over eleven years and are capable
of producing microfilariae for 9-10 years (Roberts JMD et ~ Bull WHO 37:195-212, 1%7).
           Adult females within these noduks are in a sWe of constant kvipoaition. First-stage lamae, Imown as
microfilariae, are discharged into the fibrous tissue aumounding the nodule and escape into subcutaneous tissue. These
rnicrofilariae (abbreviated mf) are relatively kmg-1.ivcdand may survive in the skin fbr up to 30 months (Duke BOL,
British Med Bull 28:66, 1972). When an infected human is bitten by an appropriate SimuIium vector, mfare ingested
when the fly imbibes tissuejuices fknn the skin. The ingested larvae penetrate the stomach of the fly and arrive m the
thoracic muscles, where they undergo two molts and become inketive third-stage larvae. These infective ]amae migrate
to the labium of the fly, where they-await the fly’s next blood meal. When the veetor is fag,       infkctive larvae migrate
down the proboscis and enL5r-iheskin of the human host dining the feeding p~.            Following two additional molts,
adult worms become sexudy mature and mating paira coil up into nodules. Nodule development takes place in
proximity to the Iocatkm of the inketive Simufium bitq this ia why location of nodules varies between M&an and
American disease, as the biting habits of the local bkckily vectors varies by geographic area


          B. Clinical mauifkstations

          Although the adult worms Oftexlcause mauoacqic, palpable masses, these amnottheksicmswhichpr educe
C~GddiSeSSe. Itistheconstsnt pmscnccofmigrating auk@mem~                    thehoatimmune lwWiontothesep&aai@&
dtimtipdApti*ti&                                     kti-dti*d--M~.                                               lb
migrating   mfeausean intenaelypluritic delmatitia thathaabeenvarioualy cham@&d as liekiforrQ eczeulatoia or
pigmented. Adenolymphocoele (%anging groin”) and acmtal ckphsntiasia has ah beemdescribed as a complicado@of
this infection.
          The most imporknt clinical manifestation of this infection occurs whm migrating mfinvade the atrucmm & . ..
the eye. The mfmay invade the comes and be associated      witha punctate,vasdar, orinterstitialsclerosing loxatitis.
Concornkmtly with the mi@ion of the mfinto the orbit and paxtictdarly into the immediate vicinity of the optic nerve,
the patient ilrst txmplains of photophobia with evidemceof congestion andpunclatehemomhagearoundthe limbus of
the eye and congestion and edema of the conjun6tivaThisisfollowedbyMkmnationof the iris, ciliary body, *
and choroi~ exudate in the vitreous, resultingin gradually increasin g 10ssof vision- The tinal stage, that of complete
blindness, results from the invasion of the optic n-e by the mf(Fa@ Russel, and Jung Clinical Parasitolotw, 8th
editiou 1977).
          It is estimated that some 20 million peoplein Subsaharsn Africa are infected with onchocerciasis, as well as an
additional one million people in scattered fmi in Central and South America. ‘his disease is considered to be the
second mos[ important infectious cause of blindness in Africa, following trachoma. Despite this prevalence in endemic
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 NDA 50-742                                                                                               Page 2
                                                                                                                  . .
 Mcc6.zan ID(hmmtin)                                                                                      O@wxmasls


 areas of the world onch~ciasis is not considered a major importd tropical *          in the United States. Acaxding to
 the CDC, there are between 100 and 200 new cases annually in the United States (John Beac4 CDC Parasitic Disease
 Drug Service, pemonal comrmmication).From one quarter toonehalfofthese cases are in immigrants who have come
 totheusfiom     endemic areas. *us-,ti=mm*hpttitim~mPa@
 volunteers, missionaries, and others who had lived m endemic areas of the world fix adqmte amouots of-tie to acquire
 a parasite burden of sexwdly mature Onchocenxz adults. The clinical manifestations of the disease am datively chronic
 in nature, as opposed to other impmted tropical &eases (such as malaria) in which the infected patieat rapidly becomes
 clinically apparent-

           In endemic areas of the world such as West tiw        onchocerciasis has a major socioeumomic impact because
 it incapacitates othexwisehealthy, potentially productive adults. This is one of the three major factors which led to the
 WHO’s decision to initiate an onchocerciasis eradication campaign in West AiYicain the mid 1980’s. The mnaining
 two factors which made this disease a candidate for a concerted eradication efhrt are 1) the aftmznentioned f~ty        of
 the disease (i.e. its close asmciation with swiftly-flowing streams and rivers); and 2) the recognition that ivermectin was
 a suitable drug for use in population-based mass treatment programs.


          C. Therapy

           Dregs for the treatment of this disease are classified as either Iaxvicidalor adulticidal. According to the fourth
 edition of Mandell’s Princimds and Practice of Infectious Diseases: “Traditionally, patients with skin disease have been
 treated with diethylcarbamazine (DEC). This drug kills microfiltiae but has little efkct on the adult worm. Severe
 reactions such as rasi fever, generalized body pains, keratitis, and iritis may occur...”. DEC (Hetr~        L.e&le) was
 discovered in the 1940’s and has been the mainstay of onchccerciasis therapy since the seminal articles on its effect on
 microfiladerrnia were published by Mazzotti in 1948. This drug was approved by the FDA in November 1950 and
remains the only drug approved for this disease in the US to date.
           Prior to the discovq of PEC, the only dug found to be effective in this disease was Suramin This drug was
synthesized in Germany inlhe 1926’s as an antitrypanosomsl drug, following the observation that some am dyes
possc=d trypsnocidal activity. It remains toti~tie~~~-                               tik~dtititi~bti~ti
onchocerciasis. Suramin still has use in the therapy of Aliican trypanosomiasis. It must be given by slow intravenous
injecti~ and has a notoxious aide effect pmfde which rncludea peripheral naxopathy, albuminti             leukopea& ~
and renal failure. Because it has some larvicidal as well as adulticidal effects. tmatmed of on&xaTiasis patialts with
suramin can evoke the constellation of signs and symptoms anmonly mfe$red to as the Maizotd reaction (freer,
pruritus, *      adenitis, genemlized body pains, arthralgia). Suramin isavailable rnthe USunderan INDheldbythe
Parasitic Disease Drug Service of the CDC.
           ~eMmtiw&mw=tiHk                          tia-ofctid              ti&titiDEC.       Infi@thisreaction iasucha
predictable ~               ofDEC ~            'onthatitia kquent&used asadiagnosdcchallcage testincaacswhere
~&k_mtid                                  _@ptitil@cd_                          ~ti@bb_W.                         llteaevai~
of this reaction is conaidexedto be pmportiemal to the rntensity of the iufkctk
           Because the Mazzottircacticm can beaevere, tiemmmmded              doaingmgirnenfb!r onckemiasia @uldelL
~cides      and practice of hlf~OUS ~,           F-Mtiq~M36)*fmmtiti                              Wb(W@@)m
dayone, then50mgtidonday 2,then100mgtidon               day3, followed by3mg@tidfordays           4-2l. (NB:thecurrent
product Meling reads “In Bancroft’s filsriasis, onchocerciasia, and loiasis, the usual dose is 2 mg5cgofbody weight 3
times a day immediately following meals... when the disease is in the acute stage, lreatment should be maintained fm 3
to 4 weeks.” The DOSAGE AND ADMINISTRATK3N aecdon then p-                           @~~ “WhCZL        ss a pubfich~~
measure, it is desirable to treat large numbers of patients known to harbor rnicrcdilariae, the same dosage schedule may
be given for 3 to 5 days.”
          The severity of the Mazzotti reaction and the need for multiple doses made DEC a suboptimal drug for use in
mass eradication campaigns. For this reasou the initial onchocerciasis control effcms of the WHO were directed at the
Simulium vector. This massive spraying campai~ which began in 1973, wss tithlly             SUUXSW      in reducing
transmission of the disease, but it became clear that ultimate success would not be achieved by this intervention alone. It
was at this critical time in the WHO’s Onchoccrciasis Eradication Program that iverrmxtin was recognized as a
       Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 154 of 382



     NDA 50-742                                                                                              Page3
     Muaizan @ (kmcuin)


     Potentidyimjxntant
                      SIlthdUdhiC        for human USC.

              Ivamectinhado@inallybeendevelopedbyMedckthe                1970’sfmve&imuy use. By 1986, ivennednhad
    been registered in 47 aunties for animal use. It was labeled fm the tmstment of eetoparasites (ticks, mites, and lice) as
    well as nematode endoparasitea m a variety of auimal hosts (cattle, sheep, _      pigs, and do@.          —
             Because ivermectinwasfbund to behighlyc4&tivernthe tmatmc@of*ne@odes                          (including the
    horse parasite Onchoctvta cervkdis), usually as a single dose, studies of its saf’ and etlicacy in human parasitic
    disease were undertaken. These clinical studies bcgau in 1980, and led to the marketing approval of ivameetin for
    human onchocerciasis in France m 1987. These clinical studies form the basis of the clinical studies section of this
    NDA. No clinical studies have been performed specifically in anticipation of an NDA filing with the FfM- -

                                                                                                    .,

    2. Ovaview of submitted application

             The applicant has mbmittd the following cliniea.1studies in support of the onchocerciasis indication:

              1. Protocol 514: A muhicenter, rsndoa          doubleblind~ placeboumtrolled comparative study of
    ivcrmectin ( 12 mg single dose, capsule formulation) versus DEC in the trestmemtof patients with onchocerciasis. This
    study enrolled 149 male patients in four locations m Afi-ica. A dataset was provided to the statistical reviewer by the
    applicant for this study, but the medical officer was provided a study sumnuuy report in bard wpy only. A 34-volume
    ‘request for additional tiormation’ amendment was submitted to the ND~ dated 9 July %, which included four
    volumes of individual patient data horn this study.

         2. Protocol 519: A multicenter, ran-          double-blinds placebo controlled study of ivcrmectin at three
doses (100, 150, or 200 mcgAcgsingle dose, capsule formulation) versus placebo in the treatmmt of onchoces-ciasis.
This lsrgephase 3 study enrolled !I%msles and l19faslesat         sixlo@ionsinAfiiea     Adatasetfwthis atudywss
provided for the statistical fiewer, but the medical officer was provided a hard copy study summsuy only. lle 9 July
% ‘additional information’ amendment to the NDA included 24 volumes of individual patimt data fi-omthis study.

          3. Protocol 545: An open study of ivermectin (1S0 mcf+kg single dose, capsule fbmmlation) fa the treatment
of onchocerciasis in children 6-13 years old. This study was submitted to the French mgulatmy agcwy in 1988 as an
efficacy supplement to the already-approved ivennectin label. A dataset was submitted to the atatktical reviewer, but
the hard qy summary of the Marketing Authorimtion Ap#ieation wss all that was submitted to the medical ofiiccr.
The 9 July% NDA ‘additional information’ submission included 3 vohnnes of individual patient data fbm this study.

         4. Protocol S48: A Single-bin plaoebo eontmiled study of the marketed tablet to assess the tolerabii,
                                           “ (1s0-220 mcgkg) inthetreatmd of onchocerch&. Tbisstudywas
aafkty,and eflicaey of single dose ivermectm
@-drntidemd                 39 f~eptim@rna~e-ti(m~)                      ~~. P.V_          Thedatasetfmuptothe
&y4@-ti~-tiw~~W                             ~titiAtim,                btimfd-_w~~tiU@b
applicant in the form of a completed study report. The ‘additional information’ submkaim to the NDA included one
volume of individud patient data ilmn this S@. This study was not revkwd by the medical officer.


        Several additional studies are referenced in the applicatim but the above four studies are the clinical tisls
upon which the application rests. The design of these onchocereissis studies includes the following common f~tures:

.           the diagnosis of onchocercissis is madeonthebasis of skin snips, using a standardized instrument
.           the degree of microfiladcrrnia is quandfied in terms of number of microfilaria per gram of skin tissue, by taking
            the average of four anatomically separate snips taken from standardized locations on the patient’s body
.           patients were treated with ivermectin for a single dose (or comparator) and then followed scriaIly for at least six
            months
     Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 155 of 382


 NDA %742                                                                                               Page 4
                                                                                                                .   .
 Mcciizan @ (Wmwxin)                                                                                    Ck&cuCmu


 ●        skin snips were repeatedat speoitied times using the same technique as the baselinesamples mentionedabove
 ●
          ~@          *Y     w~ IrMsumdasthc ckxeaseinmi cdibkmiahxn                 that~atbaseline.
 ●
          qproptiate ophthalmological p~            inchding number of visible intraodar microfilti   were monitored

           M@titiyoftimmti*                       h**krnti&,                   a~-fmti-M
 intraocular measuremeds of disease profpsion or regmssiq this is an appm@&ealdpoint Suchmammmentsare
 relatively well standardize and have been the acoepted method fa diagooaia and monitoring of onehcaw “ask patients
 for many years. Thus it is appropriate to use this pammeter as ameasummat of response to therapy. Theclinicd
 studies cited above followed ophthalmological endpoints as well. Since the spouaor requests labeling that caUsfor
repeated therapy at three month intew~ theprimaxy endpoint of interest in these studies will be &a-ease in
microfilade.nniaii-m baseline, at three months post-therapy.
            several of these studies define ‘favorable response to therapy’ as a patied whose mics’ofilarialskin auip count
has dropped below 5 mfhng of tissue. The basis fm this measummm tliesinthefact thatthesestudies weredesignd
primarily to examine the feasibility of using ivermectin in the setting of mass eradication campaigns. If the &msity of
microfiladcnnia in the population can be suppressed below a certain Iin@ it is thought that trausmissiou of the iofkct.ion
back to the Simdium vector can be interrupted. If this is accomplish~ then the t           “ ion cycle has been broken and
the eradication campaign has a much higher likelihood of success. Thus, for the pwposes of mass eradication tiles,
the 5 mt7mgtissue parameter is an important endpoint. However, at the individual patient level absolute eradication of
microfiladerrnia is the more important endpoint.


3. Medical offkzr review of submitted application

         A. Study 514: Double-blind comparative studies of ivermectin (MK-933), diethylcarbamazine citrate (DEC-
C) and placebo in patiems with onchocerciasis.

                  i. Applicant’s wag
                          -. -




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                                                                                                                               s     .




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Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 156 of 382
 NDA 50-742                                                                                                                                                                               Pas s
 Mcdizan @ @WllCC@                                                                                                                                                                        Odwcucissis
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                                                                                                                           nzma          ●MAR? A SOSIME                          nzstAReff &mo*AToRl?s
        ~xmf?m-clmxal                    S2uoYUPDRx
        Q!K& lCJAM 7
        ?800UdX :                      Xw~meetln        (IK-933)    CaPsuloC Containing        6 m MS-$33 and DiethylcarbeuziM
                                       Ci&et@ [DSC-C) CSOSU1O*~ts!nins               50 M 0ss-s and Mstetli tu ?Lteaba c4PNhm
        PSOXWOLC t:                    DoutJIo+Blhd Coapmetive          studios of Ivmmeetin,      Dicthylesrbemmzlne           8514-09
                                       Cltrete     ●ISA Plceabo in Patients MM Onehocareiacis
        MVSSXICAYORS                   Dr. M. Lerivim’e:Dekar. senessl                                                          05002
                c snmY          c:     DC. ti. t.erivhre: Baeko. ffali
                                       Dr. t. Au8dzi: Teulo.         Cbend
                                       8s, 8. Cmelse! Crend -**9          Countv.  L Iberia
        SYUDY   0SS109 :               Double-blind      vs OSC-d   mid ptSC,bO:        IDURA+IOM:Silsgh dove of iwcmecthl              en
                                       trem-t        ●sslgment    ●ccording to ● I Dey 1, 2 dally doses               of Dsc-c  en Smys 1
                                       randomized ●lloatlon         9ehedulo                 hroush 8: ●ff!escy     foll~      for 1 year
        DOSACS :                       Xmrmeetimpatlentmreeciw~ds ●incleoral 12 x dose en osy 1. DSC-Cpatiomtc
                                       roeeiwed 2 hilr         doca    tot~lln$   SO q      on Dsy* 1 and 2 snd 200 q          cm Deys 3
                                       thswsh 0.
        PAtISSY POPULATION:                                                                     JPSR2fSCYI@                                     LA
             mYSRSo:     MALI! (Mean Age/xcarc)                                                 50 (31.1)   S07R41                           4: (:2)                   “’”
                         PSffALS (Mean AR ●/Yam9)                                                o           0                                0
                                xoru                                                            so          so                               49
             ~LYTIMC   SYUOY:                                                                   44          45                               44
             kxYwDRAus:                                                                          6                      s                     s
                       SAY=Y (CLX81CALASO IA20RATORY)                                            O                      0                     0
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                  DYlrsR                                                                         4                      s                     s
             SVALUAISOFOR
             SYYICACY
                    ~ffAxIlfun)
                            :                                                                47                       49                     46
             A2mxRsE sxPl!lfIlmcss                    {Patients)
                  CLI=ICAL                                                                      25                    2s                     11
                       UYJORAYORY                                                                5                    11                      2
        Rcsuus:
          SYPICACY:        In thi9cmpsr-tivestudy of Avermectin vs OEC-C w placebo in hospitalized                         OnchOcer-
                           eiosis    patients,     mm skin dcrofilarh           (of) dencities    deeraased    sharply by Day 2 in
                           both Ivermectks ●nd OfC-c patientc 9nd resehe4 ●lmoStidmtical                      low levels    (. XT. of
                           pretreatment)       by Dey 0.      The C@ densities       then decreasd    farther    in  the iverneetln
                           patients     (mas    Eo O) over    the next   3 tithe     but imeraased Bredually in DEC-C pmtlentc
                           to ●bout 14% of pretreatment            lowal in S mnths.       Detueen 3 M4 12 menths posttrest-
                           ment, the mf dem!t~cs           in iv4rmectln    patients    $mdually   inemased     to ●bout S% of the
                           pretrostment      level    eoqmred    to 20X im the OSC-C y+atlente at 12 aths.               Xh9re were
                           ●stentldly--o        ehcnges  tith placebotreatment.

                           Both        lv~-etin             mid      MC-C           ●ltatneted    mf from  the ●nterior                            chsmber            of        thv eye.      OSC-C-
                           traatod         Pathnts            cleed            d      fsster   than lsermeetln-tr~ated                             patients.

          sum :            the lneldenee       of elinieal   ●lvers4    ●xperiences       in the fvameetln-treated      ●atients WCS
                           tllchtl~     lower than in patients       treated     uith    DIN-C  (S0 V8 S6%).    More DSC-C     pdhnt8
                           tied ● uoreeni~         of *ycteAc r4aAbne than I-emctin                 patients.      In ●ddithri    . wee
                           Of!C-C   psthnts      cwqaked   steroid*,     8nti-inf Iemeetery &wg* And analgesics             then iver-
                           osctln     patldntc      to relieve •~tm            of     ●y9tAate reactions      end elhsleal      ●dvereo
                           ●xpbrieneac.
                           In        $enaral.          ophthelaolofic                   ●sfcty          reeulto         vem           81mLlor      for         ive=tin                MA OSC-C.
                           OfXC-C.        iwwevec,          eeu$ed         ●n inereece                  in   severity            of    ltabitic
                                                                                                                                              andpwnctate                           kesmtitis in
                           =re        y+mtientc durin$                  the f h-et          4 snd 14 StdAy                 days,       mspectivoiy,                  then        iverwctla.


                           tend of the laboratory   ●dv-rse ●p4rientaa   wm$ considered ●riouc by the investi**-
                           tor4, And no @Ant      me dleeonthaed    trmi thk ●tudydoe tv kdvereeqmrlenee.      she
                           OSC-C-treaM                   *roup          hcd.     ● e~ctkr                *ert4nttg@              Of    **U4A               tith laboratory                    *dwem*
                           ●xpetiencec                thm         the      isemeetin-tr~sted                      - Croup.             2he      ~rcatcte                   of     patients       utth
                           incr4aeed            AST   Croup {2St) *O ●lttslflcantly
                                                        in thd 0SS<                 ;SWtar thsn In the ivea9cc-
                      tin &rom {221 Snll*lacoboIram (4%) $ * <0.02.
        COSCUISIOSS ! %he following      cenehsebnd     ny    be drem  from the data presented     in this      CSR:
                       (1) lv~meetln    tiven   ●e * dngle 200 9t8/kg 0s41 4ose is en ●ffective      ~emfilarl-
                       cid~  in the trestment    af onthotorel~el$  hd is ●t Ieaet ● 6ffective●s the stmdwd
                       (May eeorea of OtC+         {2) lb   ●ierofihrh l~ml resmh$ hlw      5 ti/~    ckin for up
                             to $ months for ● lqtiw   @rSWitlge Of ~vernectin pstienti then ORC-C patkmts,                                                                                        end
                             the tr4nd eonthweq   for A iamst12 mths: (3) Ivomeetin hss ● better ●afety                                                                                           pro-
                             file       in onchoem-cimis                       patients-          then       MC-C     with         ravpaet        to       ●lle~ic              ●nd inflmmstory
                             routbnc:                 ●nd     (4)       The      troetment         is   of onchoeerckic with iwatntctln
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                             pwwmetert    then WC-C, ~ .4, up to bay 4 for ~lmb~th snd up to 2 weeks for punctate
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     NDA 50-742                                                                                           Page 6
     Mcx&m @ (hwmech)                                                                                     Gdwxrciasis


                        ii. Medical offica eamments on study 514.

           ~s-w~tititifu~ma&                           ti@rn W@ Wm(~dw                   Utid-)d~
  1984 and 1985. Each study site contributed appmximately 30 patieats (ten m eaeh &e&meatarm), with the exception of
 Dr. Awadzi in GbanayWhO auded 59paticats. ~reauks              ofeachoftbese study siteawere indqenbtly_pubkhedin
 the peer-reviewed medical literature and f-an     impmtant eompnent Ofthe medical Iiteratum desuiiingthe efhcy
 of ivermectin in this disease. The publications that resulted fhmuthis study include:

 .          Green BM et aI: Comparison of ivermedin and diethy]cd amazine in the treatment of onchocerciasis. ~
            England Journal of Medicine 3 13(3): 133-8,1985.
 .          Lariviere M et al: Double-blind study of ivermectin and diethylcarbamazine in M-       onchocerciasis patimts.
            with ocular involvementt- Lancet 2:174-7,27 July 1985.                               ..-
 ●          Diallo S et al: A double-blind comparison of the eilkacy and safety of ivermectin and diethykarbamazine in a
            placebo controlled study of Senegakse patients with onckemiasis. Transactions of the Roval Societv of
            Tropical Mdicine and Hvgiene 80:927-34, 1986.
 .          Awadzi K et al: The chemotherapy of onchocerciaais XI: A double-blind comparative study of iverm~
            diethylcarbaxnazine,and placebo in human onchocerciasis iu Northern Ghana. Annals of Trooical Medicine
            and Parasitology 80(4): 433<2, 1986.

            Each of these refmences are included in the NDA Submission found on pages D-3746 to D-3785 of volume
 1.24.
           In general, the design of this study is excellent. Afkr meeting the enrollment criteria patients were randomly
 assigncxito one of the three treatment arms, and were supplied with identical-appearing treatment kits which contained
an eight  day supply of medication consisting of a single dose of ivermectin (at a dose of 12 rug) plus placebq an eight-
day course of DEC at a dose of 50 mg on day 1, 100 mg on day 2, and 200 mgdailyfwthe remaining 6 day%or all
placebo capsules. Each patient took the same number of identictd.lyappearing capsules in tie morning and evening.
Patients and investigators were bligded as to the identity of the study medication.
          All enrolled patients-were males with moderate to severe disease (defined as 220 mfper mg of skin) and
evidence of mild to moderate ocular involvement. Patients were followed daily in-hospital fa the first 2 weeks, tlm as
outpatients on day 28 and at months 3,6,9, and 12 post-therapy. Parasitologic pammetem followed included sldn Slips
at specified anatomic kxati~      as well as several ophthalmologic parametm (visual acuity, pu-ipheral visual fiel&
pupillary re5exes, color visi~ slit-lamp exam of the anterior and posterior chamber, intraocular pressure, ddated
fimdus exam with photography, and fluoresce.m angiography).



+ the formulation used was the capsule f-ulation       whereas the NDA rqueats approval of the tablet fbrrnulation
 +thedoseofivermectin atudied ka~t12~&,~ti~A_-mam~bfi.                                                                 &a
rough estimate, the baseline demographic cka&msb. .cs preaeated on page 22 of the study report @geD-1465 of
Volume 1.19) give a mean weight of approximately 56 kg in the tluee treatment arms. This means the average enrollee
received adoseof 214mcg/kg whereas tlw NDAmquestsadoseof 150mc@g. Theref~on                           average, thepatientsin
this study received a higher dose of ivermectm. thanisrequested
+ the protocol makes no mention of nodulectomy as a component of this study, but the Merature reports that were              -
generated from thse studies specifically mention that onchocercal nodules were removed from numerous patients in all
arms of the study at various times post-therapy. This is potentially important because the removal of actively
larvipositing adult worms could cause a decre& in microfihdermi% which may cmnfoundthe drug effect being studied.
There appears to be no attempt to control for this in the efficacy analysis, or to strati@the analysis by number of nodules
removed per patient. The graph presented on page 33 of the study report (page D- 1476, volume 1.19) shows that the
placebo group had a signitkant drop in microfiladermia at days 14 and 28. The applicant discusses this observation on
page D-1477. No satisfactory explanation is provided for this observation aside from the speculation that this was
‘<partiallydue to the ongoing Onchowrciasis Control Programme in Ghana”. Admittedly, the literature reports state that
nodules were removed from patients no earlier than one month post therapy; thus, the observed drop in microfdadexmia
   Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 158 of 382



 NDA 50-742                                                                                               Page 7
 Mcu.izan @ (hmmcch)                                                                                      Guhmaciasis


 seen in the placx& mm of the @ preceded the nodulectomies that were perfii             Nonetheless. nodulectomy was
 not planned to be a ~toftb.isstudy,        acardingto thesubmittcd smdyreyert. Since suchaprocedure could have
 afkctcd the parasitological cadpoid of in-    it should have been addmscd” Inthestudyreport.
 + thisistheoxdystudy aubmittedrnti       NDAti&Wa         coqamtmarmusing         anFDA-approveddrug&rt his
 indication (DEC-C). Since the methodology used in this study is essentially the same as that used in the largez phase 3
 @519,      itk~ableti~&d~~&                             of& DEW-of             &@titi~aq~&                        of tie
 ivexmec4inarmsofboth thisstudyas wellasstudy519.

                   iii. conclusions

           Study 514 supports the safety and efheacyof ivcnned.n in the therapy ofonchocemiasis. The dose and
formulation used in this study are not identical to that which the applicant proposes in the pro@ct labeling, but these
diflkrenees do not invalidate the study. In this double-blindd comparative, placebcontrolled study, the applicant has
demonstrated that ivcrmectin has better eflicacy than DEC-C, when expressed as reduction in geometric mean
microfilariae per mg of skin from baseline. This difference persists beyond the three month post-therapy timcpoint.
Furthermore, study 514 demonstrates that ivermectin (even at this higher dose) causes less severe Mazzotti-type
reactions than DEC-C, and that ivermectin does not exacerbate ophthalmological indices with the exception of a
transient increase in the number of anterior chamber microfdaria seen.
          Please see the overall conclusions to this section of the NDA review for efficacy and safety results of this study
in comparison to the other studies submitted in this application.



        B. Study 519: A multiclinic, double-blind study of ivcrrnectin (MK-933) and pIacebo in patients with
onchoccrciasis.

                  i. Applicant’s vary
                          ..-
                  The applicant’s comprelxmsive study aunumuy fm this study is fbund on pages D-1523 to D-1605,
volume 1.19 of the NDA subrnissiom The reader is refkrred to this document fix a comprehensive description of the
study. The synopsis of the clinical study report is included on the following page
  Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 159 of 382



NDA 50-742                                                                                                                                                                       PageX
Mc.dbm @ (lvcrsncdio)                                                                                                                                                            Ondmccrcissis




     ~YMOP21S--CLI8KAL K2VOf RKPDRs
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           m MJ AM 7
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     00SACS:                  Cac?I patient           rec*ivwl               ● slngl*      oral dose of                 Iv.meetln    (100, 1S0 or 200 mrglkg
                              bodr vsight)           or plaeAo                on my      i of th4●twly.

     PATISU7 POPULAIZ02:                                        TOTAL                   X)0 MCC/KC 1S0 fYCC/KC                            200 HCO/KC                     PlAcx2m
           mmso:         MLS (ma*nAge)                   1154 (31.0)                    295 (30.9) 276 (31.1)                             297       (31.8)             200      (30.0)
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           SVALUATSO?OR           DST 3   1009                                          2S4                      249                      254                          2s2
           ff~l~ff    (YLAKIRUM): ihmth 3 942                                           238                      237                      238                          229
                                  Month 4 91?                                           237                      230                      223                          227
           ADVKRW ssPmIAmc2s (Pstlantc)
                   CLIMICAL                                                             1s2                      1s5                      170                           94
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       KPrlcAcr:              his    alticlinic.     double-blind    8M+IY compared 3 dosage levels  of iwercwctln     to
                              plae+bo In Iwspltdixed         onchorerciasis   pstlents.  She ndim   skin -   densltiac
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                              ference       bet-en       the           1S0    and     200 xct/~             doses       with     mspcct             to    their        aierof     llmri-
                              eidal ●ffact. In tha ●limhmthn of micrqfllatlao
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                              OQse).  ~     pa+htk                     had s ●poestbiyc dtug-rdstod●-rim bilhubin                                                         ●lwatloa.              .   ,
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    C’D2CLUSIOKS
              :               2hs following   conelushnc         uy    be drmm       from the data presented         In   this    CSR:
                              (11 Ivm=sctin    tlv-      ●s 9 *ingle      OS-AI dom ●t l*VOIC @f 100. 150 ad 200 =rglkg
                              i* a     ●ffectivemicrofilirieide            h    the   t~shent       of onchcmrciosis.           Migher
                              d0&9h- a,hchtd V~tfI● s!(xAmid Mod Of ●ff@Ct. (2) Iwmectln is ●SSO-
                              elatod   with ●ild     •lle~lc       and infls=story        resetions     uhich increase       slightly
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                              C~lic9timc     in patiemtc        with onehocdmiaslt.           (4) Considering    the ●fficicy        ●nd
                              saf ●ty of the 3 docaga iweic           tasted.     1S0 mcgtkg ivwmwtin        r+prasents      an opti-
                              mal dosmge for     the    treatment     of onchoearci~sis.          (S) ivenmctin     dministrstlon
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                Cl In. R*c.     Yntl.                          CMRDS, Intl.                                         Cl!n. R-c. Intl.
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 NDA 50-742                                                                                                  Page 10
 Mcc&an @ (kmKc&)                                                                                            GKhocmSasis


            As presented in Table 13 of the Clinical Study Report (page D- 1557, VOL1.19), the geometric mean percentage
 redudion fiorn baseline of micmfihuiae per milligram of skin was 99.59’o at 3 months post tha-spy fbr the 1SOmcg/kg
 m of this study, with anN of 237.
            Because this atudyuscd the capsule fmulatim     which maybe more bioavailable than the to-be-marketed
 tablet formulation (see Biophannaceutics review of Dr. Philip CoIangelo, DAIDP), it is also imporhmt ti-~tice the
 resukofthe 100mcg/kgannofthis study. Thisarmhad an Nof238atthe3                 monthpost-thmpy_d
 demonstrated a 98.2% reduc$ionin microfihuia per milligram of skin tissue. Because the tablet fmulation may be
 slightly less bioavailable, the 150 mcgkg dose of tablet will most likely provide au efkacy rate that falls somewhere
 between a 99.5% and 98.2% reduction in micmiiladexmia at the 3 month timepoint. This should be compared with the
 efficacy results for the DEC-C arm of study 514:


                                        IOomcdlc gamlofstudv519                        DEC arm if study 514

 Nat entry                                        319                                            50
 density ofinftztion
          baseline (nd7mg,x [range])       47.3 (0.5-352.2)                               57.1 (9.8-228.9)
          day 4 (V.of baseline)                 26.3’Yo*                                         3.8%
          day 30                                ---.-                                            3V0
          3 month                               1.8V0                                            14%
          6 month                               2.9%                                             11%

                    ●insludy519,1his
                                  mcasuruncnl wasalday3post-lhuapy   ralhcftharl&y4




 Thus in this cross-study comparkoIL    it appears that the lower dose of ivermectin still demonstrates a substantially higher
efficacy rate in terms of clearance of microtladermia at three months post-therapy. This comparison is also notable for
the difference in rate of clearance l%lrweenthe two treatments at the 3-4 day post-therapy timepoiit- One can see that
DEC-C has a much more rapid killing effect on micrcdilariae, such that practically all the reduction in micmilhdamia
chewed has taken place by day 4 post-therapy. In contr@ ivemectin clears micadilariae more gradually. The precise
mechanism responsible for this diikence in kinetics is not know but this ditkrence would seem to provide
parasitologic evidence which cxndmrates the difkmmtial rates of Mazmtti reaction between the two treatment
regimens.
          In terms of safety, study 519 demonstrated that the 150 mcgllcgk       was, in gad      better tolerated and less
reactogenic than the 200 mc@g dose. Aside from disease-associated signs and symp~               the ivermecdn-treated
patients had more muscdoskeletal and nervous@sycb.iatricevents than did the plsoebtreated patieots. Thess evcds
appeared to show a dose-sqmnse effect The adverse experience which was the most common ‘navow/p@hltric’
event was headache.

                   iii. Conclusions

       Ivermectin at a singie dose of either 100 or 150 mcgAcgis safe and effkctive in the treatment of patients with . .
onchmxrciasis. Either do&is more efficacious and less reactogenic than the only currexdy-approved produa DEC-C.
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NDA 50-742                                                                                            Pagell
Mcciizan @ (Ivmnedin)                                                                                 GdKx=ciasis
                                                                                      .

         C. Study 54.5:An open study of the tolerability, asfkty, and eftkacy of single oral 150 mcgfkg doses of
ivermectin (MK-933) in chil&en 5 to 12 years of age with onchcwrciasis.

                    i Applicant’s~.

         Following the marketing approval of ivermectin in France in 1987, the applicant proeeded to conduct a study
of ivermectin therapy in e-hildren The previous studies were conducted in adults only.
         The Clinical Study Report fbrstudy S45 is found onpages D-1884 to D-2041C, volume 1.20 of the NDA_ The
synopsis of this report is fbund on the following page:


                                                                                             ..




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        tJDASO-742                                                                                                                                                Page 12
        Mcdizan@(Ivrmncctin)                                                                                                                                      Ckhccrraasis




P~L           & 6:     An Open Study               of     the   Tolar@bllity.            Safety.         ●nA   Cffleoey       Of        Sin$le        Orel        ●S45.00
                       150      meg/kg 00CSSof Ivamctin                           (IW-S33)          in   cMldren      5 to     12 Yaarm of
                       Ag@ uiht)nchoe~teiaoia

lSYI!STICATUR          Dr.      H.     Leriviere                                                                                                                  4ss44
      t snJoY 8:       7SDN Parle             Ca4cx        Ot tranca
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2WOY     DEsxcU:       Open      ●tucfy                                                             DuRArxos :       ?atienta            wore       clvan     1 orel
                                                                                                I                    doca of            ivomactin            on Day 1:
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msAcl! :               lvormeetln.           1S0 mcg/kg            tingle       oral     dom




 ACCOVSTIWC:                                                                            SYm2Qcrm

                                CRTSRIED:Total                                         103
                                     ?hle   (age        rmtt*--yemrm)                  71 (6        to M)
                                     ?emele (age range--years)                         32 (6        to 13)
                                CO?VL2TC!) -Y:                                         103
                                ummRAuR:                                                 0
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                                 (HA211!UHl
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~~ORS     :           ~.   s.    Pappayliou. H.s.                           K. Khostovi, SJ.A., R.A.                               H.     A.     his.    N.D.,        Ph.D.
                      kalst.       Med. Prq. Coord.                         AseLat.          statistician                          S4nlor         Director
                      Clin.      @es.                                       f!SASDS,           lntl.                               Clin.         SOS.
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 NDA 50-742                                                                                               Page 13
 Mdiz.an @ (Wcnmc&)                                                                                       GlchooAasis


                    ii. Medical officer comments

           This study was conducted so that community-based mass eradication campaigns could safely include children
 as well as adults. This is important not only so that the individual children might be spared the debilitating cfbts of
 infection with onchocerciasis, but also so that children cannot auve as reservoirs of disease within the Po@latim
 making interruption of transmission all but impssiile.

          Features of the design and execution of this study that are of particular note include the following

          + children fiofn ages 5 to 12 years, weighing 20 to 40 kg, were to be enrolled. These children had to have a
baseline skin mf density of at least 10 mi7mgakin and no ocdar involvement
                                                                                              . ..
         + The study was conducted by Dr. M Lariviere in Odienne, Ivmy CO* West Africa. A total of 103 children
were enrolled.

         + Dosage of ivcrmectin was 150 mcg/kg, provided as cap.mdeformulation. The capsuks were provided in 1,
3, and 6 mg strengths. The study was open-label and there was no placebo control.

          + Following emollmcn~ patients were hospitalized at the time of drug administration and observed for seven
days, during which time clinical parameters (blood chemistries, CBC, urinalysis, akin biopsies, and ocular examinations)
were performed. Following discharge, patients were seen in follow-up at 3,6, and 12 months post-therapy.

         + Skin biopsy and ocular examination tdmiques were identical to those utilizd in studies 514 and519 (no
fluorescein angiography was performed).


          In general, this study win--designedand executed in a manner comparable to the previously-reviewed studies in
adults. Thus, relative efficaci= should be comparable across these studies.
          As seen in table 9 of the Clinical Study Report (page D-1903, volume 1.20 of NDA), the reduction in akin
microfilaria density, expressed as a permmtagereduction in geometric mean micdilariahng of sl@ was 99.3% at the 3
month post-therapy adpod         This is similar to the results aeuI in aduh at this dosage.
          With regards to safeq results m this study, ivemecdn therapy appeared to evoke the same constellation of
‘disease-associated’ signs and symptoms as were seen in adults. Within the iirst 1-3 days post-therapy, approximately
half of the children treated (49/103,48%) had fcv=, 16% (16/103) had pruriti, and 2% (2/103) had lymph node
enlargement. These symptoms resolved by the time of the 3 month follow-up visit. The ophthalmologic parameters
revealed a similar pattern of response to ivermedb as seen in adults a transient incraseinanterior ellamberand
corned microfihuiae in some patients at the three day post-therapy timepoint. At the three and six-month timqmints,
these ophthalmologic parameters have returned to baseline or improved.
          Clinical adverse events, regardless of perceived relationabip to dxug dmhktmb ‘CnLWemrqOrted rn360fthe
103 childrq and included 47 events. The most common event reported was headache in 24 (23%) of the childxvzL
followed by edema (either periphexai or not othemae    ‘ apeciiled)in11 (1 l%), myalgiain9 (9?!), and ab&nnidpaiU
vomiting, and vexiigo in one patient each Clinical laboratory safkty results were also similar to those seen in aduk one
child had a decrease in WBC count of 50% or more h            baseline, two had increases from baseline of 100??oor more in
ALT, and 5 had increases of IOWAor more from baseline in AST.


                  iii. Conclusions

          The safety and eflicaey of ivcrmectin at a single dose of 150 mcglkg appears to be the same for children 5-12
years of age as for adults.
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NDA 50-742                                                                                          Page 14

                                                                                    .

          D. Study 548: A single-blin~ placebo-cmtrolled study of the tolerability, safety, and &cacy of successive
single oral doses of ivemeetin spprox.imately 1SOto 220 mcg/lcgin aduhs with onchocaeiasis.

                  i. Applicant’s summary

         Thisstudywasdesigned toexamine the el%eacyaud aafdy of the to-be-marketed tablet fmulation of
ivermecti and compare tbe results with those of the capsule f-ulatiom  The applie.ant’sClinieai Study Report ean
be found on pages D-181 1 to D-1838, volume 1.19 of the NDk the study synopsk is includedon the following page:




                         .. -    -.
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 NDA50-742                                                                                                                                                                                       Page15
 Median @(Ivumedin)                                                                                                                                                                              OdoaTCi&


#vOOPSIS--CLIUlCAL           STllOV
                                  REPORT
DAZE: 02rEs@7

TRooua:                  Ivauethi,                  tablet (6 x ScoreA); Plocobo
TROTOCOL & t:            ?tUc*          111     0nchoeerslao194                             Siagl*-Dlin4,                  Plae*bo-4%ntmllo4 Study                                    0s4&O0         -
                         of    theTolerability,                           Ssfety0s4 Uficoey of $UCC~CCiVQ $1w1o                               Oral
                         Oosee of Xmmeetin     (~-$~~)    Approxiutaly                                                      2S0 to 220 xcg~  ict
                         Adult* With tieheeo~
XSVESTICATOR             Dr. P. Viqtoin                                                                                                                                               0ss4s
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                         Valc




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m.c.                                                 8.s.4  9.s.                                                         S.A., m.P. H.                                   U. O.,       Ph.D.
&9#0C. H*6. tro~. Coord.                            A9*0c . U*6. ?m~ . Cooti .                                          S*nior st*ti8ticie.n                             Senior Sdrector
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NDA 50-742                                                                                                 Page 16
Meclizan @ (Ivermectin)                                                            .                       Orrchoeerciasis


                    ii.   Medical officer comments

        This study is important because it is the only clinical study included in the NDA which utilizes the to-be-
marketed formulation in the treatment of onchocerciasis. Unfortunately, the design and execution o~this study are
suboptimal:

          + there is no direct comparator arm using the capsule formulation
          + there is no attempt to collect any clinical pharmacakinetic information
          + there are no data presented past the day 4 post-therapy timepoin~ although the study design calls for the
          usual 3 and 6 month post-therapy timepoints.

          The day 4 results from this study can be compared to the results seen in the above-reviewed capsule studies.
Specifically, the percent geometric mean reduction from baseline in microfilariae./mg of skin tissue was 97. I% and
the safety profi Ie was sim-ilarto that seen in the previous studies.


                                   DAY 4 POST-THERAPY RESULTS
                             ALL CLINICAL STUDIES OF ONCHOCERCIASIS

                                                           Geometric mean mf/mg skin             Percent
                                                                                                 of pre-
                TrcatmcrrU
 Study #        formulation       Dose           N                      post-treatment           Rx
                n                                         pre-Rx                               ‘ (Gee.
                                                                       day 3           day 4     Mean)

 514            lvermeetin       12 mg           47        60.5                         3.6     6%
               capsules

                DEC-C           1350 mg    I     49   I    55.9    I           I        3.8    I 7%
 519            Ivermectin
               capsules
                                   100
                                mcglkg
                                                254
                                                      II   51.4        13.5
                                                                                               I26.3%


                                 150            249        47.8         8.1                        I6.8%
                                mcgfkg

                                 200            254        51.8         6.7                        12.9%
                                mcglkg

 545            Ivermectin       150            101        36.4         2.1                     5.8%
               capsules         mcglkg

                                150-220          55        23.9                         0.7                                  .,
 548           Ivermectin                                                                       2.9%
               tablets          mcgikg

The day 4 results from study 548 show somewhat better parasite killing than was seen in the previously-reviewed
studies. This may in part be explained by ‘he fact that the patients enrolled in study 548 did not have as heavy a
parasite burden as did the patients enrolled in studies514 and 519. Furthermore, one additional day between dosing
and measurement of parasite killing would be expected to show more eradication of microfilariae in those patients
seen at day 4 as opposed to day 3 post-therapy. At the very least these data indicate that the tablet form ulat ion
appears to be at least as effective as the capsule formulation in eradicating skin microfilariae.

         Safety results from study 548 showed a profile of disease-associated signs and symptoms that is similar to
        Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 168 of 382



      NDA 50-742                                                                                                    Page 17
      Mectkan@(Ivermectin)                                                                                          Onchoccrciasis


      that seen in the other ivermectin studies. For comparison purposes, the following table presents the results of the
      most characteristic disease-associated and treatment-associated signs and symptoms across studies:


Study #         Treatment
                                     I         Disease-associated signs and symptoms
                                                                                                     I   Treatmen&associated signs and
                                                                                                                  sYmMoms

                                         skh pruritus              fever              arthralgia/          headache              myalgia
                                                                                       synovitis

514             Iver 12 mg                 19/37 (5 1%)         11/’29(38VO)          8!32 (25%)          13/50 (26%)          15/50 (30YO)

               DEC                         42/47 (89%)         25/34 (74Yo)          15/39 (38%)          1,9/50(38%)          19/50 (38’%.)

519             Iver 100 mcg             83/3 17 (26Yo)        54/3 14(1 7%)         27/3 16 (9%)        67/3 ]9 (21 ~,)       67/3 19(2 1%)
                                    !                      ,                     r                   I                     I

               Iver 150 mcg              831318 (26%)          71/3 13 (2394.)       30/3 19 (9~o)       701322 (22%)          57/322 (18%)

               Iver 200 mcg              99/3 19(3 1‘Y.)       93/3 16 (29VO)        331319 (lo%)        78/322 (24?4.)        661322 (20%)

545            Iver 150 mcg              16/103 (16VO)         49/1 03 (48%)          3/103 (3~0)        24/1 03 (23Yo)         9/1 03 (9’%0)

548            Iver I50 mcg                27164 (42%)         13/61 (21?40)         32/64 (50~o)        35/64 (55’%0)          9/64 (14%)
               tablets

      As can be seen in this comparative table, the rates of disease-associated signs and symptoms seen in study 548 were
      somewhat higher than seen in study 519. This would be expected, as the killing of microfilariae (as indicated in the
      previous table) was fairly rapid in this study. DEC, in general, has the most rapid killing kinetics and is more
      reactogen ic than ivermectin.
               Even though the symptoms ‘headache’ and ‘myalgia’ are referred to as “Treatment-associated signs and
      symptoms” in this table, these symptoms are probably particular to onchocerciasis patients as well. They are
      presented as a separate category in this table because they are outside of the constellation of signs and symptoms that
      comprise the Mazzotti reaction. If headache and myalgia were truly treatment associat~ one would expect to see a
      similar pattern of adverse events in the strongyloidiasis patients as well. This was not the case.


                        iii. Conclusions

                Study 548 was the only study submitted in this NDA in which the to-be-marketed tablet fommlation was
      studied in a field trial of onchocerciasis patients. Unfortunately, data were only submitted out to the day 4 post-
      therapy timepoint. Overall, the safety and efficacy of the tablet formulation appears to be comparable to that seen in
      the capsule formulation studies. From the results submitt~ there does not appear to be any evidence that the
      bioinequivalence of the tablet as discussed in the biopharmaceutics review of this NDA, is of any clinical
      significance. However, since the three month post-therapy timepoint was used as the primary endpoint for all other
      studies mentioned in this review, no fhrther comment regarding comparative et%cacy (tablet vs. capsule) can be
      made.
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 M@izan @ (Ivamcuin)                                                                                     Ckhocerciasis


 4. Medical officer review of litaature

            h addition to the clinical studies reviewed above, the NDA con~       S,II~~ive   ~o~t of lit=a~e
 submitted in support of the onchocerciasis indication. several of these key references have been cited above, as they
                                                                                                              —
 were the result of Merck-aponsod studies 514 and519.
            A separate volume of the NDA (vol. 1.25) is entitled ‘Tublished Clinical Ikmturc”. The index to this volume
 lists 404 references, all of which are submitted in abstract form. These ref?mmcesaddress a variety of aspects of the use
 of ivermectin in the treatment of onchocerciasis. The reader is refkmed to this volume if tier    specific information is    G
 sought. In general, these references support the use of ivem?mctinin mass treatment programs for onchoccrciasis. Most
 of the investigations were perfbrmed with the tablet formulati~ and the results of these studies are consistent with the
 results cited in the submitted clinical studies using the capsde formulation. Several abstracts refer to the use of
 ivermeetin in returning travelers who have acquired onchocercib, these abstracts support the safety and efficacy of
 ivermectin in this setting, including the need for retreatment at 3 to 6-month intervals.



5. Statisticalconsiderations

          As mentioned previously, the applicant submitted electronic datasets for portions of the onchocerciasis studies
reviewed above. These datasets were analyzed by Dr. Sue Bell of DATDP. The reader is referred to Dr. Bell’s portion
of this NDA review for her findings. IrI general, her review confumed the applicant’s analysis of the data as presented in
their Clinical Study Reports.



6. Conclusions regarding Onchocerciasis indication

          Since its introduction int~-clinicaluse in the early 1980’s, ivermed.n has become the drug of choice for the
treatment and control of onchocerciasis. The applicant has established the Mectizan Donation ProgranL through which
ivermectin has been donated to the WHO’s Onchocerciasis Control Programme since 1987. IXIthe ensuing 8 yam prior
to the submission of this ND&an estimated 36 million doses have been distributed to over 5.2 million pemons in
onchocerciasis-endemic areas of the world
          The studies submitted by the applicant demonstrate that the capsule version of ivemectin is more effkctive than
DEC-C in eradicating skin micrdlariae, is better tolerated than DEC-C in these patieds, and maintains its activity for
over three months following administration. The medical literature lends further suppat to these early clinical studies,
and indicates that the tablet formulation (which has been in use worldwi& since 1989) is as safe and efficacious as the
original capsule version-

           How, th~ to address the Biopharmaceutical reviewer’s findings of bioinequivalence between the capsule and
the tablet? One possible way to resolve this finding would be to repeat the study, using a larger number of subjects to
see if the initial bioequivalence finding was partially the result of small sample size. Unfortunately, the capsules are no
longer available (and if any eadd be located they would be long since past theii expiration date) and thus the study
cannot be repeated. Is there another way to seek assurance from within the submitted studies that the tablet formulation
is amxptable?
           Studies 514 and 519 used identical methodology for assessing parasite burden and response to therapy. IrIfact
these studies share several investigator in conhnon. Thus it is appropriate to do a cross-study comparison. Keeping in
mind that Dr. Colrmgelo’sbiopharrnaceutics’review suggests that the tablet may be less than 80V0of the capsule in terms
of bioavailability, and that the requested dose for onchoczrciasis is 150 mcg/kg, it is fortunate that the study design of
study 519 included a 100 mcg/kg arm. If the tablet truly delivers only 75°Aof the dose deliveml by the capsule, then the
100 mcg/kg mm is relevant since this represents 66% of the requested 150 mcg/kg dose. If this treatment arm of study
519 is wmpared to the DEC-C active contiol arm of study 514 (keeping in mind that this is the FDA-approved therapy
for onchocerclasis), one sees that wermectin compties quite favorably:
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 NDA50-742                                                                                                Page19
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                                       100 rncdkt! arm ofstudv 519                   DEC ann of studv 514

 Nat entry                                            319                                     50
 density of infection
          baseline (mf%ng,x [range])         47.3 (0.5-352.2)                          57.1 (9.8-228.9)
          day 4 (VOof baseline)                   26.3Yo*                                     3.8%
          day 30                                                                              390
          3 month                                    1.8Y.                                    14%
          6 month                                    2.9%                                     11%

                   ●iIlsaldy519, thismusmmaawas atday3p0st4ha’apy mtIlcrtlam&y4

         Additional information pertinent to this issue has been included in the ND~ to include the day 4 results of
study 548 and the large amount of medical literature that has been published since the introduction of the tablet
formulation to the Onchocerciasis Gmtrol Programme.

          Therefore it is the conclusion of this medical officer that the finding of bioinequivalexiw does not render this
indication nonapprovable. The great preponderance of clinical informati~ as well as the cross-study comparison noted
above, suppofi the efficacy and safety of the tablet formulation of ivermectin at a dose of 150 mcg/kg in the treatment of
onchocerciasis.



7. Recommendations

         The onchocerciasis indication should be approv~ at a single dose of 150 mcg/kg in adults and children over
15 kg in weight. The labeling-shoiildalso state that repeated dosing at 3 month intervals is appropriate, sinm ivermeetin
has no activity againsl the adult parasites.




                                                                 Reviewing Medical ~eer
                                                                 HFD-520




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M&49      @csm@in)                                                        OdnxUKiasis
                                                        .

cc:                                     Concurrence only:
NDA 50-742                              ODE IV/OD/
HFD-520                                 HFD-520/AetDivDir/DFeigal ~~~                   i(+d-y
HFD-5201’SMOKxisSa %                    HFD-520/DepDivDir/L.Gavrilovich
HFD-520/MOICoyne
HFD-520/csoEogarq
HFD-520/CheXdbF=
HFD-520/Micro/KirLg
HFD-520&harrdAdeyemo
HFD-520/Biophaxm/Colangelo
HFD-520/Stats/Bell
HFD-344frhomas




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 Medical ofJcer comment:
             The individual nports on each ojthese 15 elder~patients have been camfidiy reviewed. These patients ail
  had extreme debili~, and many appeared to have begun a downward clinical spiraI well before the administration of
  ivermectin. There were no concomitant medications that appetnwd to have been administered that watdd suggest a
 possible drug-dreg interaction. Thus, the medical oj%er apes         with the conclusions presented on page ]2 of the
 Merck report.
            ‘Because this drug has been used in millions ofpatients at doses simikzr to that used in the Wentworth Lodge
 scabies outbreak and appears to be exceeding~ safe when usedfor its approved indications, it would seem to be
 unlik+ that such a c[uster of deaths would be directiy aw”butable to ivemtectin. The confounding medical
 conditions seen in these elderly institutionalizedpatients,  along with the wide range in time between dosing and death,
 seem to argue convincing&y against any direct association wilh ivermectin.
            It should be noted that, although the reporting physician (D-. Barkwel~ may have perjiormed a suboptimal
 epidemiological stu+ in his investigation of these deaths, he at the vety least should be recognized as seeing the
 importance of attempting some sorI of retrospective case-control stu~. The investigation by Merck while making
 great efforts to point out the inadequacies of Dr. Barkwell ’s ana~sis, made no attempt to perform a case-control
 study of a better design. if Dr. Barkweil ’s choice of a control group was inappropn”ate, then perhaps ~heMerck
 investigators might have chosen a more appropn’ate contro[ group (perhaps age and sex-matched controls from
 wilhin the Alzheimer ’s unit). Furthermore, Dr. Barkwell was the physician on-site both before and during the
 episode. His suspicion that his patients were declining and ~ing at a rate that exceeded the norm seen at his
 institution is a clinical hunch that men’ts recognition. It appeam to be an unsubstantiated hunch, but the obsewation
 warranted a complete evacuation.
            The Canadian Health Protection Branch (HPB), immediateiyfoilowing lhe reporting of this episode, placed
 a clinical hold on their emergenq release program for ivennectin treatment of scabies. In prepan”ng this safe~
 Update review, this medical oficer contactedHPB both telephonical~ and by electronic mail. Following the
 Canadian investigation of this episode, HPB reached the same conclusions (i.e. that there was no causality identge~
 and has reinstituted the scabies emergency release program. Them have been no further repo~ of ivermectin-
 rdated deaths from the Wentworth Lodge.

          In conclusion, then, this medical ofjcer agrees with the Merck report found above. There is insufjcient
 information from this episode to wan-ant any addition to the Gen”ati”c Use section of the ivermectin product labeling.



          B. Nonfatal serious AE’s: human use product

           The one nonfatal serious AE reported to Merck during the repdng period is detailed in WAES repofi
               which describes the case of an 18-year old Cameroonian male who was treated with iverme.ctinin the
 context of an onchocerciasis eradication program. The patient experienced joint pains 24 hours following a single dose
 of ivertnectin, then two days later was found unconscious. He was hospitalized where he was found to be febrile and
 mmatose, with spastic hypertonicity. Microtllariae of Loa loa were detezted in blood, urine and cerebrospinal fluid.
 Over the following week his clinical status steadily improved. No t%rtherinformation was available.

 Medical ojjcer commen~:
           It is unclear whether this case represents some sort of tokicity to ivennectin (unlihz~), an immunologic event
 related to the response of the patient’s onchocerciasis to ivermecfi”n therapy(unlikdy), or an encephaiopathic event
 sometimes seen inpatients who are infected with Loa ioa when treated with an anthe[minthic (most likely). The report
 comes from Yaounde, which is at the perimeter of the loiasis-endemic zone of Cameroon.
           A relevant reference is included in Section 5 of the Safey Update: “Five cases of encephalitis during
 treatment of loiasis with diethylcarbamazine “by Canne et al, found in A~                        48(@: 684-90, 1991.
 This article describes the rare phenomenon of treatment-induced encephalopathy when patienfi with high -
 microjlarial loads are treated withjllaricidal drugs. AIthough this phenomenon is of theoretical concern in
 ivermectin-treated onchocerciasis patients from areas co-endemic for loiasis, it does not appear to be of signljicant




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                                                                                      .

concern despite many pars     of use in such co-endemic awas.



            C. Serious AE’s due to agriculturalheterina~ ivermectin exposure

          Other formulations of iverrnedin have been available in the US and elsewhere for several years. The
agricultural product (abamectin) and the veterimy preduct (ivennectin for topical, injectable, and oral administration)
are extensively used for control of nematodes and ectoparasites. Occupational exposures occur with these products:
topical formulation sometimes splashes on the user’s face or hands, and agricultural product can also come in contact
with the user’s skin during handling and preparation.
          The following cases were reported in which patients had serious AE’s after accidental (or intentional) exposure
to these non-human formulations of ivermectin:

WAES                       43 yearold female tim the UK with a history of delusional parasitosis had self-administered
6-gram doses of ivermectin (animal use) ffom 30 to 50 times over the course of one year. She also self-administered
furosemide and steroids. She was admitted to a London hospital for a full evaluation for parasitic infection, was found to
be cushingoid and hypokalemic, but checked out of hospital against medical advice. No follow-up was expected.

Medical ojjlcer commen~:
          The scenario common~ referred to as ‘delusional parasitosis’ infers that a patient, despite multiple failed
a~tempts to discover a parasitologic etiology for their symptom complex, has remained convinced that helshe is
infected with a parasi~e of some sort. Frequen#y, these patients are convinced they have an ectoparasite such as
scabies orpediculosis.    Other parasitic diseases implicated in this disorder include biasis, onchocerciasis,
strongyloidiasis, and myiasis. Many of these diseases are potentially treatable with ivermectin; thus, the use of
ivermectin by these patients is not unusual. The unavailabili~ of ivennectin on the US market has led some patients
(and theirphysicians) to use veterinary product, according to intemet correspondence reviewed by this medical
oficer.
          If the histoy of the above patient is accurate, it would at the ve~ least seem to attest to the relative safe~ of
ivermectin. Aside from hypokaiemia (which was most probably due to furosemide abuse), no other laboratory
abnormalities were noted.

WAES                        A male of unknown age committed suicide in Germany by ingesting multiple pesticides, as
well as iverrnectin. The reporter is listed as the police department in Traunsteti Ckmmmy. No additional information is
expected,

Medical ofjcer comment:
          Since this case involved exposure to multiple agents, it would be dtficult to inteqowt even t~etiensive
additional information were to become available.

WAES                        A male of unknown age used topical ivermectin for animal use on his cattle in Oklahoma.
One day following use, the patient developed generalized body rash, swelling, and joint pains which resolved 34 days
later. No accidental ingestion or topical exposure had been experienced prior to this event.

Medical officer comment:
         The physician treating this patient did not ascribe any causative role to ivermectin, but the event was
reported by the patient 5 wife. The symptoms experienced by this patient are similar to those experienced by
onchocerciasis patients given ivermectin. ”

WAES                         A 41 year old Argentineanmale ingested a bottle of averrnectin for animal use (??dose) along
with a liter of wine in an apparent suicide attempt. At the time of presentation to an emergency room, he “presented
obnubilation (sic) and slight mydriasis as a consequence of an acute intoxication”. Vital signs and exam were normal
otherwise. Appropriate measures were undertaken (lavage, activated charcoal, saline purge) and the patient was
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admitted to the ICU where he had an uneventful and complete recavery.

Medical ofjcer comment:
          Pupil[ary dihztation has not been descnbedprevious~ with ivermectin. it is unckr whether a~ other
substances had been ingested which may have prvduced this e~ect. The noted slight mydriasis may wX1 how been a
physiologic response.



         D. Serious AE’s included in Annual Report to IN’D

         The applicant submitted the annual report to IND          on September 12, 19%. This report covers the
period 18 July 95 to 17 July %. Since the SafetyUpdate to the NDA included the timepcxiodupto31 May%, this
MD Annual Report captures an additional one and one-half month of AE reporting.
         In addition to the deaths reported by Dr. Barlcwellin Canada, which have been extensively reviewed above, the
Annual Report to the IND lists the following deaths:

WAES                        A 44 yearold male patient with AIDS died of respiratory failure
WAES                        An 83 year old male patient died of myoeardial infarction

         No narrative summary information was included for these two deaths.


         E. Non-serious AE’s included in Annual Report to IND                related to exposure to veterinary
                 ivermeetin

         The applicant has also included a number of reports of exposure to various veterinary formulations of
ivermectin. A brief listing of the events as characterized in the narrative summaries follows:

         WAES #            agehex            exposure           event”
                           41 M              topical            abdominal cramps, headache, increased ALAT
                           ~F                topical            pregnant patient exposed at 16 weeks gestation
                           50 F              ingestion          -.
                           46 M              ingestion          --
                           30 F              ingestion          -.
                           36 M              injection          --
                           VM                topical            --
                           3’?7              ingestion          -.
                           ‘??M              topical            --
                           ??F               ingestion          see above (patient with delusional parasitosis)
                           65 M              topical            “Felt ghastly, decidedly grog#
                           ??M               ingdon             intentional self-treatment of parasite infkction
                           35 M              injection          upset stomach
                           30 M              injection          r@ness, swelling, and pain
                           20 M              injection          --
                           ??M               topical            splash in eyes resulted in erythem~ irritation
                           ??M             i topical            splash in eyes resulted in imitation
                           2F             , ingestion           -.
                           30 M              topical            splash in eyes without reaction
                           9M                ingestion          --
                           43 F              topical            --
                           ?? F              topical            --
                           ~M                topical            vomiting, diarrhea
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   Non-serious   exposures   to animal or agricultural     ivermectin   (con’t)
             WAES #              agehex                  exposure             event”
                                 80 M                    topical              dry eyes,changein eyesight
                                 21 F                    injection            -.
                                 33 F                    injection            .-
                                 29 M                    rnjection
                                 51 M                    topical              ..
                                 84 F                    ingestion            --
                                 42 M                    injection hypotensiom nause~ injection site swelling
                                 70 M                    topical   erytherna, swelling of hands, vertigo, paresthesia
                                 2F                      ingestion -.
                                 31 M                    topical   nause~ anxiety, tremors
                                 37 F                    topical   -.
                                 ?? F                    injection --
                                 50 M                    injection -.
                                 34 M                    topical   diarrhea
                                 ‘??M                    ingestion --
                                 ‘m                      ingestion -.
                                 33 M                    injection numbness, swelling at site
                                 ??M                     topical   shortness of brcati
                                 56 M                    ingestion --
                                 ‘???                    topical   rash
                                 25 F                    topical   exposure in nursing female; no event reported
                                 23 F                    inhalationdiarrhea, abdominal cramping, skin rash
                                 62 F                    ingestion --
                                 62 M                    injection rash, weight loss, fatigue
                                 2F                      ingestion --
                                 ?? F                    injection nervousness
                                 2M                      ingestion --
                                 ?? M                    injection swelling at site
                                 4M                      ingestion --
                                 36 F                    topical   splash into eye%nausea, drowsiness ensued
                                 ?? F                    injection --
                                 ?? M                    ingestion --
                                 ??M                     topical   headache, fever, skin tingling
                                 29 F                    topical   tntictia, rash
                                 38 F                    topical   splash into lefl eye led to severe pai.rLconjunctival
                                                                   edema, eqtherna ulceration of cornea, nausea
                              ??M                topical           stomach cramps, nausea, headache
                              33 M               injection         swelling and pain at site
                              ??F                ingestion         wamn heart f=ling, dry mouth
                              75 M               ingestion         --
                              ??F                ingestion         -.
                              2F                 ingestion         --
                              30 F               ingestion”        --
                              2F              . ingestion          --
                              33 F          , ‘“ ingestion         accidental exposure in pregnant woman
           TOTALS:                               Ingestion         25
                                                 Topical           25
                                                 Injection          17
                                                 Inhalation         1
   * Many of the reports have no associated adverse events reported, as depicted by the dashed lines.
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NDA 50-742                                                                                               Page 21
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                                                                                     .

Medical oJJcer commenti:
          There are numen-ws ingestion events of the 25 total, particular~ those in pediatric subjects, that are the
result of accidental ingestion ofveterinary ivennectin kept in the household for the family dog. In the majority of
these, no adverse events have been reported. The exact amount of drug exposure in these cases is not reported; a
van”ety of dose sises are on the ma&t that are intended for dlflemnt weight ranges of dogs.              —
          The most striking aspect to these reports is the apparent im”tant effect of topical ivermectin when it is
splashed into the eyes. Of the fw such events nported, all had some degree of eye im”tation; one actually proceeded
to comeal ulceration. It is unckar whether this is due to ivermectin itself or one of the excipients in the fonrndation.
          Several of these topical exposures resulted in systemic ~ptoms     such as nausea and headache, suggesting
that there may be some Wstemic absorption following such topical exposure.



3. Conclusions

           This Safety Update raises no new concerns over the safety of human use ivermectin. The only finding of any
significance in this update is the episode at Wentworth Lodge in Ontario, Canada.
            Any reported cluster of deaths warrants ciose scrutiny, particularly when the initial report claimed to show a
statistically significant association between ivermectin therapy and death. The applicant has thoroughly investigated this
event, generating WAES forms that are striking in their complete clinical documentation of each patient involvd.
Reading each of these cases leads one to the conclusion that these elderly patients suffered ffom the debilities of old age.


4. Recommendations

           The product labeling for ivermectin warrants no additional editing on the basis of the information submitted in
this stiety update. Therefore, no fbrther action is indicated.




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                                                                  Philip E. ~yn~ Jr., MD
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NDA50-742                                                                                 Ihge2b’
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                                              Concurmllce only:
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HFD-520                                       HFD-520/ActDivDK/DFagal                               11-zf.     “p
HFD-520/SMO/L.cissa ~                         HFD-520/XlqllivDir/LOavrilovi           *
HFD-520M40/Coyne
HFD-520ES0/Fogarty
HFD-520/Chan/Tii
HFD-520/MicmKng
HFD-5201PharmfA&yemo
HFD-520BiophiumfC01angelo
HFD-520/’Ststs/BeU                                                              ..
HFD-344/rhomas                                                                . ,-,




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            CLINICAL PHARMACOLOGY                         / BIOPHARMACEUTICS                         REVIEVV

   NDA:                      50-742

   Submission      Oate:     March 29, 1996

   Product:                  Ivermectin       6 mg Tablets
                             (MECTl~N@)


  Sponsor:                   Merck Research         Laboratories
                             VVest Point, PA

  Type of Submission:                 Original    NDA
                                              \
  Priority Category:                  1P
                                                                   1
  OCPB Reviewer:                      Philip M. Colangelo, Pharm.D.,             Ph.D.



                                                   L SYNOPSIS

  Section     6, Human     Pharmacokinetics        and   Bioavailability,     contained       the following   studies
  that were conducted by the sponsor (see also Table                    l-l   for details):

            - Radiolabeled Metabolic Disposition Study in Healthy Male Subjects
            - Single Dose Proportionality Crossover Study in Healthy Male Subjects
            - Bioavailability of Clinical Capsule, Market Image Tablet, and Oral
            Hydroalcoholic Solution in Healthy Male Subjects
            - Single Dose Excretion into Breast Milk of Lactating Women

  All of these studies were conducted between 1986 and 1988 to support the approval of
  the 6 mg tablets in France for the treatment of onchocerciasis. All initial tablet
  formulations used in these pharrnacokinetidbiopharmaceutics         studies did not include
  antioxidants. All tablet formulations used in the clinical efficacy strongyloides trials
  contained small amounts of antioxidants (i.e., final marketed formulation). Since the
  clinical efficacy studies for the strongyloides claim were conducted exclusively with the
  final market image tablet, no additional pharmacokinetics/biopharmaceutics studies
  were conducted with this formulation, i.e., either in association with the approval for ...
  treatment of strongyloides in France or with this current NDA submission. The results
  of in vitro dissolution testing showed comparable and acceptable rates of dissolution for
  the final market image 6 mg tablet (i.e., with antioxidants), the initial 6 mg tablet
  formulation (i.e., without antioxidants), and the clinical 6 mg capsule formulation used in
  the onchocerciasis trials.
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Table I-1                   Table of Investigations”
            Study                            I                                   Fomnulation                Number of
             No.            StudyObjective/                  Dosage                  No.                    Sullq:b($)
             Ref.            study
                                 Daslgn                      Fosms               (Batch Size)     Dose             ()                       Conclusions
       L      2     EvaluMion of (3 H)ivermeotin     14-mg kmectin    Capsule   R0933-DFC-002.    14mg         4s        Mean Tmaxforivennectin   woo6 ~ correspondingt,A
       I    [1-s]   sbaosptio~distributi~
                    metabolism
                             andexcretion
                    Single-dose
                             study
                                                                                    AOOI
                                                                                    (14)
                                                                                                 (200pci)    (All M)     was 11,8 h, ~ax oftritiated metabolizes
                                                                                                                                                              wastwice
                                                                                                                         Ihatofparentdug, Drugandmetabolizesare slowly
                                                                                                                         Iemeta6in bile andexmted In k.   No morethan
                                                                                                                         1.0% ofthedosewas exmetedin urine.




       F
            3s37    Evaluationof dose                 3.rng IvennectinTablet       E3806          6 mg         12s       FollowingSD of 6,12, and 1Smg mean~ax and
            [1.6]   pfopoftionalityk?ingledoes        d-nsgkrntectln Tablet         (390)         12m.g      (AllM)      AUCweseproportional   to dosealthoughsubstantial
                    @D$ threa.way uossovas                                         11-3807        15 mg                  variability was ObSGSVd.
                                                                                   (230S)
            5s3s    MduationofPhase111               d-sngNenmctinCapsule          E6086          12 mg         12s      TIM oral solutlonshowedhigher(closeto twice)
            [1-7]   capauleandto-be-marketed                                       (200)                      (AllM)     bioavailabilitythan eitherof thetolld forms The
                    tabletvs.oralsolutionlSlngte.     6-mgIvermectin
                                                                  Tatdet                                                 tablet formuhtion   showedcomparablebioaveilabilily
                    dose,three-way ctowover                                        E.3807         12mg                   to the capsulef~lation,     The relntive
                    study                           0.6 mg/mLhydroa!cAolia         (230S)                                bioavailability of the capsulewss 113% of thetablet,
                                                    Solutlon(40% ethanol)
                                                                                    E-3798        12 mg                                                              .
                                                                                   (S00 mL)

                                                                                                               12s       Orallyadministered



       E
            5533                                                                   65885           5 mg                                     ivesmectinis secretedin human
            [1-8]                                                                   (1000)                    (AllF)     milk The highesteoncentmtionobsesvedwas
                                                                                                                         18.5 ng/mL a.fterthe 12.mg dose, Dmg WM still
                                                                                    S4893          12 mg                 detectable1460V postdose.
                                                                                    (1000)




MK-0933VIW934.DOC
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It is noteworthy from Table i-l, that the batch size of -2300 for the 6 mg tablets USed in
the bioavailability study (i.e., Lot No. 3807) represented only -2-3?40of the
marketistability batches manufactured in 1987 (-83,000-97,000 tablets) and c 1YOof
the market/stability batches manufactured from 1989 to 1995 (+20,000-600,000
tablets). Thus, these percentages were substantially lower than the cwently employed
ratio of-1 0% for bioavailabilii batch sizes to production batch sizes.       —

The results of the radiolabeled metabolic disposition study indicated that systemic
exposure to dreg-related radioactivity, determined as ‘H+netabolite(s) of ivermectin,
appeared to be greater than that of parent iverrnectin. The mean plasma Cmax for the
3H-metabolite(s) was approximately twice that of iverrnecth. Also, the ‘H-metaboliie(s)
persisted longer in plasma than that of parent ivermectin and appeared to be related to
the slower rate of disappearance of the ‘H-metabolite(s), i.e., half-time of -3 days
compared to an effectiie T’!! of -12 hours for ivennectin. An effective T% was
determined rather than the true elimination T?? since the plasma drug concentration-
time profiles showed evidence of enterohepatic recycling (see Section V1. 1. for
details). No parent ivermectin was detectable in urine and only -0.6% of the
radioactive dose was recovered in the urine at 4 days postdose. The predominate
pathway of excretion appeared to be fecal, with -50% of the radioacthfe dose recovered
in the feces at 5 days postdose. This suggested that some of the drug and/or
metabo!ites are excreted in the bile and ultimately eliminated in the feces. Based on
the mean half-time of radioactivity of -3 days, it would take -12 days ( 4 x half-time) to
recover nearly all the radioactive dose (-95Yo) in the feces.

The results from the dose proportionality study (i.e., 6, 12, and 15 mg as tablets)
suggested increases in systemic exposure to ivermectin that were approximately
proportional to dose. However, the overall variability in the AUC(O-72) and Cmax data
(i.e., as %CV) between subjects was wide, ranging from -50-70% across all three
doses. The statistical analysis (ANOVA) of the dose-adjusted AUC(O-72) data (i.e., to
the 6 mg dose) detected a statistically signillcant difference in the 12 mg vs. 6 mg
comparison (p= 0.03), with the 12 mg dose producing a lower estimate. No other
significant differences were detected in the dose-adjusted AUC comparisons and none
were detected in the dose-adjusted Cmax comparisons. This reviewer concurs with the
sponsor’s conclusion that the deviation from strict dose proportionality in AUC(O-72)
between the 12 and 6 mg doses would not be expected to be clinically significant.

in order to ve~ the -12 hour effective T% estimated from the small number of
subjects in the radiolabeled metabolic disposition study, this reviewer requested the --
sponsor to determine this parameter for the 6 and 12 mg doses in the dose
proportionality study using the same calculation method as in the metabolic disposition
study (see Section V1. 2. for details). The mean effectiie T% estimates for the 6 and
12 mg doses were similar at 16.8 and 16.7 hours, respectively, and were longer than
that determined in the metabolic disposition study. Thus, it appeared that the T?? of
ivermectin was at least -16 hours, if not potentially longer.


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 The results from the bioavailabilii trial (i.e., 2 x 6 mg clinical capsules vs. 2 x 6 mg
 market image tablets vs. oral solution 12 mg) showed significantly higher AUC(O-72)
 and Cmax estimates for the sol~”on as compared to either the capsules or tablets (-2-
 fold higher). No statistically significant dtierences were detected by ANOVA between
 the mean AUC(O-72) and Cmax estimates. Mean Cmax values following single 12 mg
 doses were 50.6 ng/mI for the capsules and 46.6 rig/ml for the tablets, with_mean Tmax
 at 3.7 and 3.6 hours, respectively. The sponsor did not provide an evaluation of
 bioequivalence between the tablet (as test fomwlation) and oapsules (as reference
formulation) using the 90% confidence intervals on the tabletkapsule ratios calculated
 based on the currently acoepted two onesided test procedure. Instead, posterior
 probabilities and 95% confidence intervals for AUC and Cmax were calculated (see
Section W. 3. for details) using the ratio of capsuleltablet, i.e., using the tablet as the
reference instead of the test formulation. The sponsor ooncluded that any differences
in systemic availabilii of the capsules vs. the tablets were most likely (i.e., -90Y0
probability) to be less than 30% and probably (i.e., - 80% probability) less than 25%.
However, the sponsor failed to note that differences of 20% or less had only a -70%
probability of occurrence. The latter difference of 20% being that which the currently
accepted two one-sided test procedure for evaluation of bioequivalence is based upon.
The bioequivalence of the madcet image tablet relative to the clinical trials capsule
formulation was evaluated by this reviewer using the currently accepted two one-sided
test procedure, as mentioned above. The 90% confidence intervals for AUC(O-72), i.e.,
(66.8%, 117.1%) and Cmax, i.e., (75.3%, 120.5%) indicated that the systemic
availability of ivermectin from the market image tablets was less than that from the
clinical capsules. This finding of bioinequivalence should be weighed against the
results of the clinical efficacy and safety in the onchocerciasis trials in order to
determine the relevance.

The results from the breast milk excretion study indicated that ivermectin was present in
the milk of lactating women after a single dose of 12 mg (as capsules), maximum milk
concentrations occurred on the first day following the dose (mean 7.6 rig/ml at 4 hours),
and had substantially decreased thereafter, but remained detectable (> -0.1 rig/ml) for
up to 14 days postdose. The maximum intake of drug by a nursing infant (3 kg body
weight) was estimated to be -3 mcg/kg on the first day of single dose ivermectin
administration and represented a minimal intake as compared to the recommended
adult dosages of 150-200 mcglkg (i.e., - 2% of adult doses). The mean intake of drug
at 14 days postdose, the end of the study, was estimated to be +1 mcg/kg in a
nursing infant (i.e., -0.05%-O.07Y0 of the adult doses).

The sponsor commented in the Clinical Summary Section of this NDA that in light of the
limited information concerning the development of the blood brain barrier in newborn
infants, that treatment w“fi ivermectin in mothers who intend to breast feed be withheld
until at Ieast 1 week after the ~ifih of the child. This recommendation was also provided
for in the proposed labeling. Thus, it appeared that the sponsor considered drug
exposure through ingestion of mother’s milk to the nursing infant to be of minor
consequence in infants with fully developedfintact blood brain barriers. The conclusions

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appeared to be appropriate based on the results of this study and of the oral toxicity
study conducted in neonatal monkeys (i.e., c 2 weeks old). In this species, which has
been reported to be more predictive of the human response to ivennectin than rodent
models, no evidence of toxicity was observed at doses up to 100 mcg/kg/day.




The studies in the Human Pharmacokinetics and Biopharmaceutics Section of this NDA
have been reviewed by OCPB. In the bioavailabilii study (NDA Study No. 5535), the
matket image 6 mg “wermectintablet formulation was found by this reviewer to be
bioinequivalent to the capsule fomwlation used in the onchocerciasis clinical efkacy
and safety trials. In light of the fact that ivennectin tablets have been distributed
worldwide for the treatment of onchocerciasis, it is urged that the reviewing medical
officer weigh this finding of bioinequivalence against the clinical evaluation (i.e., efficacy
and safety) of ivermectin in the treatment of this disease. Comments 1 through 3
should be conveyed to and adequately addressed by the sponsor.
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                                          Ill. BACKGROUND                                                e

Ivermectin is a semisynthetic macrocyclic Iactone in the avermectin series of anti-
parasitic agents. It possesses potent anthelmintic activity and has been registered for
agriculturallveterinary use since 1981 for the treatment of infestations by Onihocema
and Wungykides       species of nematodes. Ivermectin is not sold in the U.S. for human
use, but it is used in the U.S. and abroad in many countries for the clinical treatment of
onchocerciasis (a.k.a. river blindness). The 6 mg tablets are donated exclusively by the
sponor and distributed worldwide through the World Health Organization’s
Onchocerciasis Control Program. In France, the drug was approved for use in
onchocerciasis in 1988 and was more recently approved for use in strongyloides of the
gastrointestinal tract in 1993.

The sponsor has filed this NDA to support the use of MECTIZAN@ 6 mg tablets for the
treatment of(1) onchocerciasis at a single dose of 150 mcg/kg (not to exceed 12 mg
ivermectin/dose) and (2) strongyloides of the gastrointestinal tract at a single dose of
200 mcg/kg (not to exceed 18 mg ivermectin/dose) in humans.


           IV. DRUG CHARACTERISTICS                             and DOSAGE FORMULATION


1. Physical and Chemical Characteristics

Ivermcetin is a mixture of two closely related homologies (HZB1. and H2B1J of the class
of compounds known collectively as avermectins. The mixture mntains at least 90%
H2B1. and less than 10% HzB1~. The chemical structures are as follows:




                             f)”
                         Ho,,,


                        qc

                                J5
                                 o   “’0,,,

                                     qc       o   “’o,,,
                                                           ~“
                                                            \            ;0
                                                                                              ..*Q3




                                          .F
                                                                                        ‘“o
                                                                                                   ‘“H
                                                  $$C’” ,                                      R
                                                                                  ‘“H


                                                                1;            H
                                                                     ,
                                                                              I

                                                                     G             9
                                                                         OH



                                      H,B,.
                                          (R=C,H,)GH,4J.: U.W.-675.10
                                      HJBm@ =Ctf,):
                                                 GH+,.: M W..U! 07



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Volubility is greatest in solvents of intermediate polarity. Ivermectin is insoluble in water
(< 0.001 g/L), but freely soluble (> 200 g/L) in solvents such-as methanoJ, ethyl acetate,
and methylene chloride. It is soluble (1O-100 g/L) in ethanol, diethyl ether, acetone,
and aromatic hydrocarbons.

2. Dosage Formulations         and    Dissolution


a.  Formu Iation History
During the course of the clinical program for onchocerciasis (i.e., to support registration
in France in 1988), the initial formulations were capsules of varying strengths, ranging
from           mg ivermectin and also 14 mg [3H]4abeled ivermectin. All capsules,
except for the 14 mg [3H]-labeled ivermectin capsules, contained microcrystalline
cellulose and magnesium stearate as inert ingredients. The capsules were used in all
Phase Ill clinical onchocerciasis safety and efficacy trials and in the following
pharmacokinetics/biopharmaceutics NDA studies: metabolic disposition (as 14 mg [3H]-
Iabeled ivermectin), bioavailability, and excretion in human breast milk.

The 3 and 6 mg tablets replaced the capsules and these were used in the dose
proportionality and bioavailability studies of the NDA. The tablet ingredients, which
show proportionality in composition, were as follows:

                                    Initial Tablet Formulations
 Ingredient                            Amount (mghablet)          I   Amount (mgltablet)       I
 Ivermectin                     I                                 I                           I
 Microcq&alline
 NF
                  Cellulose,
                                I                                 I                           I
 Pregelantinized Starch, NF

 Mg Stearate, NF

A bioavaiIability/bioequivalence study was performed between the 6 mg tablet and the 6
mg clinical capsule to establish a link between the clinical trials and proposed marketing
formulations. After the completion of the pharmacokinetics/biopharrnaceutics studies
with these tablets and prior to submission of the original French registration package,
small amounts of antioxidants were added to prevent discoloration. Thus, the final’
market image 6 mg tablet contained the following ingredients:                            ..’




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 Final Market Image Tablet Formulation
                                                              <
    Ingredient                       Amount (mgltablet)           .

    Ivermectin

  Microc~stalline Cellulose,               4___              1
  NF

  Pregelantinized Starch, NF               -
I Mg Stearate, NF               I                             I

I Butylated Hydroxyanisole,
  NF                            I                             I
I Citric Acid, USP              I                            1
                                                              I
The addition of the antioxidant represented -0.02% of the total tablet weight and the
increase in microcrystalline cellulose from          mg represented -0.5?40 of the
total tablet weight.

This final tablet formulation, which has been distributed for use in onchocerciasis, was
used in the clinical safety and eficacy studies to support the eventual French
registration of iverrnectin for the strongyloidiasis indication. Thus, no additional
pharmacokinetics/biopharmaceutics studies with this final formulation were deemed
necessary by the sponsor. This was found to be acceptable by this OCPB reviewer
(see also Dissolution below for further support).

b. Dissolution
The initial dissolution specifications for the market image tablet were as follows:

Dosage Form:                Compressed Tablet
Strength:                   6 mg
Apparatus:                  USP Apparatus II (paddIe)
Medium:                     Distilled water/n-propanol in ratio of 2:1
Volume:                     900 ml
Agitation:                  50 rpm                                                    .
Temperature:                37°c
                                                                                           ..
Sampling Time:              45 min
Analytical Method:            HPLC with UV detection (247 nm)
Dissolution (tentative):    Q =~!     in~min

A non-polar medium (i.e., 33?40v/v n-propanol) was required to maintain sink conditions
since ivermectin is nearly insoluble in water (< 0.001 g/L). Since this medium
apparently did not represent physiological conditions, the results of in vitro dissolution

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testing would serve only as a quality control check of the tablet manufacturing process.
During validation of this method, samples were repeated at 15, 30, and 45 minutes (N
= 12 for each time). The mean dissolution was 52% (RSD 36.8%), 89?40(RSD 7.2%),
and 98?40(RSD 3.5Yo) at 15, 30, and 45 minutes, respectively. Thus, the specfkation
was set by the sponsor at ~A dissolved (Q =@%) at ~minutes          since the dissolution
gave an acceptable RSD only at this sampling time. The dissolution results for the final
market image tablet and other dosage fonm.dations (selected by the sponswr) used in
various NDA studies are presented below for this method.

                   Ivermectin
                   .- --------       Dosam - Fmms:
                                 . . ----    . . . . . .. . Mean
                                                            ...=-..    %  Di=sdutinn
                                                                       .- -----------      lRsnnn\
                                                                                            . .. . . -

 Dosage Form             Study Type                %Q at 15 min             %Q at 30 min            VOQat 45 min

 3 mg Tablet*            PK - Dose                                                                          106
 (N=12)                  Prop                          (8~-?09)                 (9;-:   1)               (98-1 13)

 6 mg Tablet*            PK - Dose                                                101                       104
 (N= 12)                 Prop; Bioavail                (839:06)                (97-105)                  (98-107)

 0.5 mg Cap              PK - Excretion                                           93.5                       —-
 (N= 2)                  in Breast Milk                (8:!31)                  (93, 94)

 2.5 mg Cap             PK - Excretion                                           97.5
 (N= 6)                 in Breast Milk;                (83~:01)                (89-102)                      –
                        Clinical -Oncho
                        Trial

 6 mg Cap               PK- Bioavail;                                                                       100
 (N= 12)                Clinical -                     (929!03)                (909:05)                  (90-106)
                        Oncho Trial

 Market   Image

 6 mg Tablet**          Clinical -
 (N= 6)                 Strongyloides                  (88!;     01)           (99YOO)                   (98~:00)

 6 mg Tablet’*          Clinical -                                               103                        103
 (N= 6)                 Strongyloides                  (91~:06)               (100-108)                  (100-107)
 , ... . . . ..-     .. . ..       ... .          ..   . . ..
**Final market image tablet formulation with antioxidants

Dissolution for the market image tablets and the other formulations presented-in the    “
table above was acceptable. In addition, dissolution results for the market image tablet
formulation (i.e., with antioxidants) and the initial tablet formulation (i.e., without
antioxidants) were comparable qt all sampling times.

According to the sponsor, this initial dissolution method was employed to control and
release ivermectin 6 mg tablets until March, 1994, when a more environmentally

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acceptable dissolution medium was developed. The medium employed use of the
surfactant, sodium dodecyl sulfate (SDS), and was buffered $0 pH 7 with sodium
phosphate. The current dissolution method and specification are as follows (changes in
bold):

Dosage Form:                Compressed Tablet
Strength:                   6 mg
Apparatus:                  USP Apparatus II (paddle)
Medium:                     0.5% SDS/Distilled Water,
                            O.OIM Monobasic Na Phosphate,         pH 7
Volume:                     900 ml
Agitation:                  50 rpm
Temperature:                37°c
Sampling Time:              45 min
Analytical Method:          HPLC with UV detection (247 nm)
Dissolution:                Q =-!   in~minutes

This current method has been adequately validated with respect to accuracy, precision,
linearity, stability of ivermectin in the dissolution medium, and analytical specificity.
Dissolution in the two media (i.e., SDS vs. waterln-propanol) were acceptabe and
comparable at 45 minutes for 3 production batches of tablets (i.e., 96% vs. 103Yo; 94!40
vs. 99Yo; 95% vs. 97’?40,N = 12 for each batch). Based on these resufts, the sponsor
tightened the dissoultion specification for the SDS medium to Q =~Yo        in= minutes.
Dissolution at ~minutes       with the SDS medium for the commercial batches of
ivermectin tablets manufactured after March 1994 ranged from                   0/0dissolved.




                              V. ~NALYTl CAL METHODS

The method to quantify ivermectin in plasma and milk was by HPLC with fluorescence
detection. Since there was only minimal excretion in the urine, no urine assay was
developed. In all studies included in Section 6 of this NDA, the concentrations of only
the major component of ivermectin, i.e., HZB1,,were determined. Although the assay
appeared to be selective enough to determine both the HzB1~and HzB1~components,
the sponsor noted that at lower total drug concentrations, the levels of HzB1~fell below
the limit of detection for the assay (-0.2 rig/ml). The validation of the assay in plasma
and milk was acceptable, and assay performance, with respect to interday precision
(“ACV) of the quality control samples was also within acceptable limits (i.e., < S?0%) for’
each of the studies in Section 6. It is noteworthy to mention that the performance of the
assay for all studies was evaluated using only 2 levels of quality control samples (i.e.,
low and high), instead of the currently accepted 3 levels of quality control samples (i.e.,
low, medium, and high). However, this does not represent a major deficiency in the
analytical methodology.


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  It is also noteworthy that, for all the pharmacokineticdbiopharmaceutics studies
  included in Section 6, even though the limit of assay quanti$ation was             rig/ml in
  plasma (as defined by the linear dynamic range of the assay), the sponsor reported a
  limit of detection -0.2 rig/ml. Furthermore, no precision and accuracy data were
  provided to support this claim, and it was also apparent that the AUC estimates in the
  various studies were determined using plasma concentrations between
  rig/ml (i.e., extrapolation beyond the linear range of the assay). In gener~    this did not
  appear to effect the integrity of the AUC data or the overall results of the studies.


                     VI. HUMAN PHARMACOKINETICS                    STUDY SUMMARIES

  1. Dmg Metabolism Study #606:- Metabolic Disposition
  “An Open, Sinqle-DoseStudyin HealthySubiectsto Determinethe Metabolic Dls~osition of Radiolabeled
  Ivermectin” (R=port Date: January, 1986)

  Objective:
  To determine the absorption, metabolism, and elimination of radiolabeled iverrnectin following single dose
  administration to healthy male volunteers.

  Formulations/Treatments:
  [3H]-lvermectin Capsules 14 mg (200 PCi) - Lot #R0933-DFC-002-AOOl
           Ratio of Components: 91.8% HzB,.; -8Y0 HzB1~
           Position of Label: [22,23-3H]-lvermectin HZB1.;no label on HzBf~

  Subjects:
  Four healthy male Caucasian subjects, age range 2340 years (mean 30 yrs), weight range 60.0-75.0 kg
  (mean 65.7 kg)

  Study Design and Methods:
  Each subject received a single oral 14 mg dose of the radiolabeled capsule with 240 ml of water after an
  overnight fast of at least 8 hours. Blood samples for quantitation of parent ivermWin concentrations, i.e.,
  H261. only, and drug-related radioactivity in plasma were collected serially from O (predose) to 72 hours (3
  days) postdose. Urine andfecalsamplesfor determination of parent and 3H-rnetaboIite(s) concentrations
  were collected at specified intervals for up to 96 hours (4 days) postdose for urine and 120 hours (5 days)
  for feces. Radiolabeled metabolize concentrations were determined as the difference between total
  radioactivity and unlabeled HZB1.as measured by HPLC (see below).

  Assay Methods, Validation, and Pedonnance
  (i) Iverrnectin (HQB,.) in Plasma and Urine - HPLC with Fluorescence Detection
           Validated over linear dynamic range from 1-50 ng/mi in plasma. The limit of detection was
           reported to be =0.2 rig/ml, but no data (i.e., accuracy and precision) was provided to substantiate
           this claim. The lower limit of quantification was 1.0 ng~ml,however, it appeared that the sponsor
           used plasma ivermectin concentrations between                  rig/ml to calculate the AUC       ..-”
           estimates. Quality control (QC) samples were run with the ethical samples at two concentrations
           (low and high), instead of the preferred three concentrations (low, medium, high). Th@interday
           precision (%RSD) was acceptable for both the low(15 rig/ml) and high (35 rig/ml) QCS at 3.2%
           and 7.9’Yo,respectively.       ,

          The assay of iverrnectin in urine was the same as that in plasma. No urine assay validation or
          performance data was provided. According to the sponsor, no detectable levels of parent HzBt.
          could be determined in urine.

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(ii) Total Radioactivity in Plasma, Urine, and Feces
         Total drug-related radioactivity in these matrices was measured by conventional liquid scintillation
         counting. The potential for the radiolabel to associate with plasma water (i.e., 3H20)was
         determined to be minimal, i.e., < 6V0of the total radioactivity was found in plasma water.

Results:
The individual and mean plasma concentration data for parent iveti”n        (HZB1=)and the 3H-rnetabolites
are illustrated in Figures 1 and 2, respectively. These figures indicated that, for all four subjects, individual
3H-metabolizemncentrations were higher and persisted bnger in plasma than parent ivermectin and the
between subject variabilii in both parent and 3H-metabolizeconcentrations appeared to be wide. The
postabsorptive phase of the ivermectin profiles suggested enterohepatic recycling (i.e., double peaks),
which precluded accurate determination of the terminal phase rate constant(K) and TIA by conventional
methods. The estimate of T% was subsequently determined as the “effective” TYzusing the single-dose
method of Kwan, et. al. (In: Pharmacokinetics, Chp 14, p 147-162, U&net,         G Levy, B Ferraiolo, eds,
f984); see below for details. The pharrnacddnetic parameters in plasma are summarized in the following
table:

                     Mean t SD (Range) Plasma Pharmacokinetic           Parameters,   N =4

         Parameter                     Ivermectin (HZ81.)                          3H-Metabolite(s~

 Cmax                              21.7*11.2 rig/ml (9.2 - 33.4)            54.2i26.6 ng.eq/ml (28.2 - 88.7)
                                            [CV 52%]                                   [Cv 49%]

 Tmax                                 6.0t4.O hr (4.0 - 12.0)                    7.0*3.9 hr (3.0 - 12.0)
                                             [CV 67%]                                   [CV 56%]

 AUC(O-72)                         329~196 ng.hdml (127-588)                               ND-
                                          [Cv 59.5%]

 Effective T%***                        11.8* hr (9.8-14.3)                                ND


 Radioactive   Half-Time                        ND                                 2.9@days (2.0-3.4)

●Determined as the difference between the total radioactivii munts and unlabeled H2B,ameasured by
HPLC
‘ND = Not determined
‘Determined as (in 2)/rl, where q = -(1/T) ● [In(l - (AUC(O+AUC(O-72)))], and T =
120r24hr
‘Harmonic Means

The mean plasma Cmax for the 3H-metabolite(s) was approximately twice that of parent ivermectin. The
mean Trnax estimates appeared to be similar for both species at -6-7 hours, but may be actually shorter
for the parent sinoe in 3 subjects Tmax was 4 hours, but was 12 hours in the fourth subject. This same
subject appeared to have a prolonged rate of appearance of the 3H-metabolite(s) as Tmax was also 12
hours. The apparent elimination of the 3H-rnetabolite(s) was substantially prolonged when oornpared to
parent ivermectin, as evidenced by the half-time for radioactivity of -3 days mmpared to the -12 hour   ‘
effective TYzestimated for ivermectin.

As noted by the sponsor, no detectable levels of parent ivermectin (i.e., HzB,.) could be determined in
urine. The recovery of drug-related radioactivity in urine and feces are summarized in the following table.




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                  Mean f SD (Range) Cumulative        Recovery of Total Radioactivity,       N=4

        Time Postdose                   Urinary Recovery                      .      Fecal Recovery
                                           as YOof Dose                               as ‘A of Dose

  24 hours                          0.252*0.091 (0.153-0.331)                           29.03, 0.01 ●
  (Day 1)                                   [CV 36%]                                    0.06, 0.05””

  48 hours                          0.388t0.191   (0.206-0.632)                        17.49ti9.22
  (Day 2)                                    [Cv 49%]                             (0.18, 1.18,7.57, 61.04)

  72 hours                           0.500S244 (0.269-0.828)                           31.31, 8.76”+”
  (Day 3)                                    [Cv 49%]
  96 hours                          0.606t0.311 (0-294-1.017)                           37.45*30.03’
  {Day 4)                                    [Cv 51%]                               (7.64, 36.63, 67.89)

  120 hours                                Not Collected                              48.62*18.3
  (Day 5)                                                                    (25.77, 43.60,56.64, 68.45)
●Collected 24 hours postdose for subjects 1 and 2
●*Collected predose (Day O)for subjects 3 and 4
“Walues for subjects 2 and 4; no sample for subject 3; no value reported for subject 1
‘N = 3; no sample for subject 2

Urinary excretion of radioactivity appeared to be minimal, with a mean of -0.6?4. of the radioactive dose
recovered in the urine at 4 days postdose. Fecal remvery was greater with a mean of -50Y0 of the
radioactive dose excreted in the feces at 5 days postdose. As Figure 3 illustrates, fecal excretion was
minimal (i.e., < 10’%.)for up to -2 days postdose in subjects 2, 3, and 4, and appeared to continue to
increase through day 5, indicating that the length of the sample collection period was insufficient, i.e.,
based on half-time of radioactivity of-3 days, it would take -12 days ( 4 x half-time) to recover nearly all
the dose (-95’?40)in the feces. For subject 1, fecal excretion was -30Y0 at 1 day postdose and appeared to
remain constant at -7O’%O   at the foufth and fifth days following the dose.

Reviewem Conclusions:
Systemic exposure to drug-retated radioactivity, determined as 3H-metaboliie(s) of iverrnectin, appeared to
be greater than that of parent ivermectin (i.e., H,B,,). The mean plasma Cmax for the 3H-metabolite(s)
was approximately twice that of ivermectin. Also, the 3H-rnetaboliie(s) persisted longer in plasma than that
of parent ivennectin and appeared to be related to the slower rate of disappearance of the 3H-
metabolite(s), i.e., half-time of -3 days compared to an apparent/effective T% of -12 hours for ivermecth.

The postabsorptive phase of the parent iverrnecth ptasma concentration-time profiles suggested some
enterohepatic recycling (i.e., double peaks), which prectuded accurate determination of the terminal phase
rate constants (K) and T% by conventional methods. The estimate of T% was subsequently determined
as the “effective” T%, which employs an estimation of drug accumulation (i.e., AUC(O-T)/AUC(O-inf) ratio)
associated with the recycling process. In calculating the effective T%, the sponsor assumed: (1) that-
AUC(O-72) approximated the AUC(O-inf) since plasma iverrnectin concentrations at 72 hours were either
at or below the lower limit of quantification of the assay (i.e., 1.0 rig/ml) for all subjects, and (2)-a dosing ,
interval, T, of either 12 or 24 hours. These assumptions and the method to determine T’% for parent
ivermtiln were appropriate for this study.

No parent ivermectin was detected in the urine and only -0.6’Yoof the radioadlve dose was recovered in
the urine at4 days postdose. The predominate pathway of excretion appeared to be fecal, with -50Y0 of
the radioactive dose recovered in the feces at 5 days postdose. The results suggested that some of the
drug and/or metabolizes are eliminated in the bile and ultimately excreted in the feces. Based on the
mean half-time of radioactivity of -3 days, it would take -12 days ( 4 x half-time) to recover nearly all the


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 radioactive dose (-95°/0) in the feces.

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                                               FIGURE1
                  INDIVUX.ML   SUBJECTAND MEAN PLASMA coNCENIWiTIm          OF IVERMEc’ml

                        ~lMElfT:     3H-XVEMECTIN     14 MC. 200 MICRO Ci.       ORAL




                                                                   -
                    0          6       12       18            24       36         48         72
                                                     Iiouus




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                                   FIGURE 2




           0        6        12       18           24                        72
                                           HOURS




                                                                       .

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                                                            FIGURE 3

                                           CUMULATIVE FECAL RECOVERY OF RADIOACTIVITX
                                            FOLLOWING ADMINISTRATION OF 3E-IVEMECTIN


                                              80


                                                                                    +       Subject


                                              60
                                                                                    ~       Subject

                             Percent  of
                                 Oose
                                                                                   !+-      Subject
                                              40


                                                                                        +   Subject
.
                                              2C




                                               c
                                                   o    i     2        3    4
                                                                                                         .




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  2. Drug Metabolism Study #615: Dose Propotilonality
  “An Open, Three Period, Single Dose, Crossover Study in Healthy Male Subjects to Determine the Effect
  of Dose on the Pharmacokinetics of Ivermectin Administered Orally as Tablets” (Report Date: June, 1986)

  Objective:
  To determine the effects of increasing the oral dose of ivermectin (tYom              rng) on its
  pharmacokinetics.

  Fonnulationflmatments:
  Ivermectin Tablets
         6 mg - Lot #E-3807
          3 mg - Lot #E-3806
         The 6 mg tablet was the market image.
          Dissolution at 30 minutes was acceptable.
         See Table 1 for details of formulation and dissolution

  Subjects:
  Twelve healthy male Caucasian subjects, age range 2141 years (mean 25.5 yrs), weight range 64.7-79.0
  kg (mean 73.1 kg)

  Study Design and Methods:
  Open label, randomized, three period, crossover design. Each subject received the following three single
  dose treatments of ivermectin tablets with 240 ml of water after an overnight fast of at least 8 hours:

          A. 6 mg (1 x 6 mg tablet)
          B: 12 mg (2 x 6 mg tablets)
          C: 15 mg (2 x 6 mg tablets + 1 x 3 mg tablet)

  Each treatment was separated by a 12 to 15 day washout intewal. Blood samples for quantitation of
  ivermectin concentmtions, i.e., HzB,. only, in plasma were collected serially from O (predose) to 72 hours
  (3 days) postdose. No urine samples were collected.

  Assay Methods, Validation, and Performance:
  Iverrnectin (HZB1,)in Plasma - HPLC with Fluorescence Detection
          Linear dynamic range from 1-40 rig/ml. The limit of detection was reported to be -0.2 rig/ml, but
          no data (i.e., accuracy and precision) was provided to substantiate this claim. The lower limit of
          quantification was 1.0 rig/ml, however, it appeared that the sponsor used plasma ivermectin
          concentrations between                rig/ml to calculate the AUC estimates. Quality control (QC)
          samples were run with the clinical samples at two concentrations (low and h~h), instead of the
          preferred three concentrations (low, medium, high). The interday precision (%RSD) was
          acceptable for both the low (2.5 rig/ml) and hgh (30 rig/ml) QCS at 9.2°A and 5.2Y0, respectively.

  Data Analysis:
  (i) Pharmamkinetic
          AUC(O-72), Cmax, and Tmax were estimated by conventional model independent methods; ‘It
          was obsewd that the postabsorptie phase of the ivemwctin concentration-time profiles
          suggested enterohepatic recycling (i.e., double peaks), which precluded accurate determination of
          the terminal phase rate constant (K) and T??by conventional methods. The estimate of VA was
          subsequently determined for the 6 rng and 12 mg doses as the “effectiie” TYzusing the single-
          dose method of Kwan, et. al. (/rt; Pharmacokinetics, Chp f4, p f47-f62, LZ 13enet,G Levy, B
          Ferraio/o, eds, 7984); see below for details.
                                       ,
 (ii) Statistical
            Statistical significance between the pharmacokinetic parameters AUC(O-72), Cmax, and Tmax


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           from the three dose levels was tested using an ANOVA for a three period design. Pairwise
           comparisons (i.e., 6 vs 12 mg, 6 vs 15 mg, 12 vs 15 mg) oftheAUC(O-72) and Cmax estimates
           were performed using both the actual and dose-adjusted (for the 6 mg dose) values. For the
           dose-adjusted parameters, the 95!40confidence intetvals were also constructed for the cliometric
           mean of the ratios (i.e., 12 mg:6 mg, 15 mg: 6 mg, and 12 mg:15 mg). The level of significance
           was assessed at a = 0.05.

Results:
The mean plasma ivermectin (i.e., HzB1~mncentration-time data, unadjusted for dose, are illustrated in
Figure 1 and suggested an increase with the increase in dose. The descriptive statistics for all
pharmacokinetic parameters are summarized in the table below and the results of the ANOVA for Cmax
and AUC(O-72) are presented in Tables 2 and 3, respectively. The individual and mean unadjusted
AUC(O-72) and Cmax values are plotted as a timction of dose in Figure 2.

                         Mean t SD (Range) Phannacokinetic       Parameters   (N = 12)

  Parameter                             6 mg                      12 mg                      15 mg

 AUC(O-72)                           347*195                     513i209                    820&555
 (ng.hrlml)                          (114-712)                  (306-900)                 (178-1871)
                                     [CV 56%]                   [Cv 41%]                   [Cv 68%]
 Dose Adjusted*                      347*195                     257t104                   328*222
 AUC(O-72)                           (1 14-712)                 (153450)                   (71-748)

 Cmax                                 18.3*9.7                  30.6i15.6                  48.5*35.2
 (nglml)                             (6.4-31.9)                (13.9-68.4)                (10.4-118.5)
                                     [Cv 53%]                   [Cv 51%]                    [Cv 73%]
 Dose Adjusted*                       18.3*9.7                   15.3*7.8                  19.4*14.1
 Cmax                                (6.4-31 .9)                (7.0-34.2)                 (4.247.4)

 Tmax                                 3.9io.79                   3.8k0.87                  3.821.19
 [hr)                                   (34)                       (3-6)                     (245)
                                     [Cv 20%]                   [CV 23%]                   [Cv 31%]
 Effective W**                          16.8                      16.7                       ND-
 [hr)                               (14.0-21.0)                (13.3-20.5)
  \djusted to 6 mg
‘Determined as(ln 2)/rl, where q = <l/r) ● [In(l - (AUC(O-T)IAUC(O-72)))],and T =
24 hr. Mean values expressed as harmonic means.
●*Not determined

The increase in mean AUC(O-72) values approximated the increase in dose. However, the total variability
in AUC(O-72) between subjects (i.e., YoCV)was high across all 3 doses, especially the 15 mg dose. me
range of AUC(O-72) values varied -l O-fold for the 15 mg dose and from -3-to 6-fW for 6 mg and 12 mg
(see Figure 2). The results in Table 3 indicated that no sgniticant difference was detected between the
mean unadjusted AUC(O-72) for the 6 and 12 mg doses (p = 0.08), but significance was attained between’
the 6 and 15 mg (p c 0.01) and the 12 and 15 mg (p < 0.01) comparisons. When adjusted for dose (6
mg), the mean adjusted AUC(O-72) for the 12 mg dose was significantly lower than that of the 6 mg dose
(p= 0.03). No significant differences were detected for the other dose adjusted comparisons (i.e., 6 vs 15
mg or 12 vs 15 mg). Although the geometric mean of the ratios for adjusted AUC(O-72) were close to
unity and the 95’% confidence intervals for these ratios all included unity (see Table 3), there was wide
variability between subjects for a given dose level. The individual dose adjusted AUC(O-72) ratios varied
          -fold, with ranges of         for the     mg ratio.            for the 15:6 mg ratio, and


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for the 15:12 mg ratio

Similar to AUC(O-72), the mean CmaX values also increased with the i~rease in dose. AS me table
above indicates, the overall variability in unadjusted Cmax between subjects (i.e., as ‘ACV) was wide and
similar in magnitude to that obsewed for unadjusted AUC(O-72). The Cmax values varied over -1 O-fold
range at the 15 mg dose and -5-fold at 6 mg and 12 mg (see Figure 2). The results in Table 2 indicated
that a significant difference was detected between the mean unadjusted Cmax for the three dose
comparisons (i.e., p = 0.04 for 6 vs 12 mg; p <0.01 fbr 6 vs 12 rng and 12 vs 15 mg). Th&same
comparisons for the dose adjusted Cmax estimates were not statistically significant. The geometric
mean of the ratios for adjusted Cmax were ctose to unity and the 95°A confidence intervals for these ratios
all included unity (see Table 2). The individual adjusted Cmax ratios varied          -fold, with ranges of
           for the 12:6 mg ratio,            for the 15:6 mg ratio, and       for the 15:12 mg ratio.

Maximum plasma concentrations of ivermectin were attahed, on average, within -4 hours for all three
dose levels and no significant differences were detected in Tmax between doses. The mean effectNe
half-life estimates, calculated with T =24 hr, were similar for the 6 mg and 12 mg doses at 16.8 and 16.9
hr, respetiively. However, these T% values were longer than those determined for the 4 subjects studied
in the metabolic disposition study (i.e., mean TYz= 11.8 hr, range 9.8-14.3 hr).

Reviewers Conclusions:
The sponsor provided the following conclusions:
       Despite the substantial variability obsenmd in the estimates of AUC(O-72) and Cmax following
       increasing single dose administration of 6, 12, and then 15 mg, this increase in dose did not result
       in unpredictably high plasma drug concentrations/ systemic exposure to ivermectin.

        The statistical analysis of the unadjusted and dose adjusted AUC(O-72) data suggested some
        deviation from dose proportionality, but would not be expected to be clinically significant over this
        dosage range. The analysis of the unadjusted and dose adjusted Cmax data suggested dose
        proportionality was maintained across the three doses. The remarkable similarity in mean Tmax
        estimates suggested no dose related differences in the rate of drug absorption from the
        ivermectin tablets.

This reviewer is in agreement with the conclusions provided by the sponsor with respect to the
assessment of dose proportionality.

With respect to the method to determine the ‘effective” T% for ivermecth (i.e., (In 2)/q, where q = -(l/r) ●
[In(l - (AUC(O-T)/AUC(O-72)))] and T = 24 hr), the sponsor assumed that AUC(O-72) approximated AUC(O-
inf) since plasma ivermectin concentrations at 72 hours were either at or betow the lower limit of
quantification of the assay (i.e., 1.0 rig/ml) for nearly all subjects at the 6 and 12 mg dose levels.
Inspection of this concentration data revealed that 5 of 12 subjects at the 6 mg dose (42%) and 7 of 12
subjects at the 12 rng dose (-58Yo) had plasma ivermectin concentrations at 72 hours postdose that were
-2 rig/ml or greater (actual range             nglml). From thk, it appeared that the assumption was not
appropriate for approximately one-half of the subjects for whom T!! was estimated. Furthermore,
inspection of the individual In concentration-time profiles suggested that a sampting schedule beyond 72
hours postdose may be needed to adequately characterize the terminal phase and accurately determine
T%. Thus, the estimates for effective T??determined in this study and the metabolic disposition study
may have underestimated the “’true” T% for ivermectin.                                                     ..-.




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r.
                                                        E!EwL
                    Formulation     and analytical measurements for 3 nig and 6 mg
                    tablets     of Ivermectin used In dose proportionality study.

                 Ivermectin (MK-933) is a mixture of no less than 80 Z 22c23-
             dlhydroavermectln-B1a  (H2B1a)  and   no more than 20     $ 22,23-
             dihYdrOaVermeCtin-B1b  (H B b).     In this  study, the drug    was
             administered as the uiarkef~mage 6 mg, or submultiple 3 mg tablets.

                                                                 6 mg tablet             3 ❑ g tablet

             Lot number:                                              E-3807                 E-3806

             Formulation:
                Ivermectin human use grade (90.2$)                         mg                         mg
                ?licrocrystallineCellulose                                 mg                         ❑g
                S\archo pregelatinised                                     mg                         mg
                  Hagneslum    Stearate                                    mg                         mg

                                           Total   Meight                  mg                         mg

             Assay Potency:
                                      Assay method: FP-148

                                           mean              5.82 mgttablet          3.00 mg/tablet
                                           range

             Dissolution test:
                                      Test Method:          FP-148a

                                           time                                % dissolution (N-12)
                                                                                  mean   (range)

                                               min.
                                               min
                                               min

             a-   The method  used in the dissolution     test  was:
                  USP XXI, 14ethod II (paddles    at 50 rpm.)
                  in 900 ml of 33X VIV n-propanol     in uater.
                  5 ml   samples    were   taken   at  15. 30 and 45 minutes                  -
                  and analyzed using assay           procedure AM-211




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                                               FIGURE 1

                            MEANI-CTIN         CONCENTRATIONS
                                                            IN PLASMA
                                   -         SINGLEDOSEOF DRUG




                 o    2     4     6      e      10   12      14

                                             HOUR PosrDRuc


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                                                                                 SUMMARYSTATISIXCS AM) RESULIS FOROBSERVED MAXIMUM
                                                                                  PLAStt4CONCENTRATION (C ) of IVERHECTfNA~TER
                                                                                          6,   12 ANfJ 15 t4G O~!S           Or   IVERtlECIIN

                                                                                       CWX-ACTUAL
                                                                                                VALUES(NG/ML)
                                                                                                                                                C~@OSE-AOJUSTED
                                                                                                                                                              VALUESt(NG/ML)
                                                   .                           ~~                                     ~—6&_~15HG                                                      .
I                                         N       “                            12
                                          Mean                                 18.3                                                        12             12                12
I           ,.’,!.
                                          Std
                                          (!l{n, max)
                                          within subject std
                                                                               (~:i   31.9)
                                                                                                !;,6
                                                                                               (:;:;,         68.4)
                                                                                                                       :;. s
                                                                                                                      (%!,        llB.5)
                                                                                                                                           18,3
                                                                                                                                           (~:~, 31.9)
                                                                                                                                                          15,3
                                                                                                                                                          (;:!,    34.2)
                                                                                                                                                                            )9.4
                                                                                                                                                                            14.1
                                                                                                                                                                            (4.2, 47,4)
          .,,                             Overall treatment P-val                              t 0:01
                                          Pa{rw{se comparisons:                                                                                            0:16
                                             6 mg                                                 0,04                <’0,01                               0,17
                                                                                                        ●             { 0.0)                                               ~ O*2O
                                          With!’:subjectstd                                                                                                   ●
                                                                                                                                                                             0,07
                                           (log un{ts)                                                  NIA
                                          Overall treatment                                                                                                0,35
                                           p-value (log un{ts)                                          MIA
                                          Gm&rJ;      meanof the                                                                                         > 0,20*
                                                        ax after the
                                           follow{ng: ? reatments:
    ;4,



            ,.



                                           12 mg:6 mg
                                           15 mg:6mg                                                                                                      0,88
                                           15tn :12mg                                                   N/A                                               0.92
                                          95% C! fOri eometr{c mean                                                                                       1.05
                                           of the rat ?o of Cm~ after
                                              the following treatments:
                                               12 mg:6 mg
                                               15 mg:6 mg                                           N/A                                                  (0.65,1.19)
                                               15mg:12mg                                                                                                 (0.68,    1.25)
                                                                                                                                                         (0.78,    1.42)
                                          t Dose adjusted to,6mg
                                 w        ● All patw{se comparisons ) 0,10
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                                                 FIGURE 2

I                                                                                 ,
                            Drug Metabolism Study #615                   o

           9nnn
                            AUC(O-72)          vs. Dose       (N = 72)            I




             a        6              9           12            15        18
                                         Dose (mg)



                          Drug   Metabolism           Study    #615
                            Cmax         vs. Dose     (N = f2)
     . -A




       J          6              9               12             15           18



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3. Drug Metabolism     Study #616:   Bioavailability
“An Open, Three Period, Crossover Study in Healthy Subjects to Estimate the Relative Bioavailabiljty of
Iverrnectin Administered as a Capsule and as a Tablet Compared to Ivermectin Administered as an Oral
Solution” (Report Date: August, 1986)

Objective:
To estimate the relative bioavailability of a 12 mg single dose of ivermedn when administered as
capsules, tablets, and an oral solution to healthy male subjects.

Fom?ulationflreatments:
Ivermectin Tablets 6 mg (market image) - Lot #E-3807

Ivermectin Capsules 6 mg - Lot #E+086

        Mean dissolution at 30 minutes was acceptable for both tablets and capsules.
        See Table 1 for details of formulations and dissolution.

Ivermectin Hydroalcoholic (40% Ethanol) Oral Solution 6 mg/10 ml - Lot #E-3798

Subjects:
Twelve healthy male Caucasian subjects, age range 2248 years (mean 29.1 yrs), weight range 65-83 kg
(mean 72.8 kg)

Study Design and Methods:
Open label, randomized, three period, crossover design. Each subject received the following three single
dose treatments of iverrnectin with either 250 ml (for the tablets and capsules) or 230 ml (for the oral
solution) of water after an overnight fast of at least 8 hours:

        A 12 mg iverrnectin oral solution (20 ml)
        B: 12 mg iverrnectin capsules (2 x 6 mg)
        C: 12 mg ivermectin tablets (2 x 6 mg)

Each treatment was separated by at least a 13 day washout interval. Blood samples for quantitation of
iverrneti”n        i.e., HzB,. only, in plasma were collected serially ftom O (predose) to 72 hours
        mncentrations,
(3 days) postdose. No urine samples were mllected.

Assay Methods, Validation, and Performance:
Ivermectin (H2Bfa) in Plasma - HPLC with Fluorescence Detection
        Linear dynamic range from             rig/ml. The limit of detection was reported to be -0.2 rig/ml,
        but no data (i.e., accuracy and precision) was provided to substantiate this claim. The lower limit
        of quantification was 1.25 rig/ml, however, it appeared that the sponsor used plasma ivermectin
        concentrations between                 rig/ml to calculate the AUC estimates. Quality mntrol (QC)
        samples were run with the clh’iical samples at two concentrations (low and high), instead of the
        preferred three mncentrations (low, medium, high). The interday precision (“ARSD) was
        acceptable for both the low (6.25 rig/ml) and high (75 rig/ml) QC’S at 8.7% and 5.7Y0,respectively.
                                                                                                         .,,
Data Analysis:
AUC(O-72), Cmax, and Tmax were estimated by conventional model independent methods. The AUC
and Cmax values were adjusted to the 12 rng dosages based on the assay potencies (see Table 1).

An ANOVA for a three period crossover design was used to determine statistical differences in the
pharrnacokinetic parameters between the three treatments. The most relevant statistical evaluations were
those between the capsules and tablets since thecapsules were used in the clinical onchocerciasis trials.
The AUC(O-72) and Cmax data were log-transformed for the pairwise ANOVA comparisons of solution vs.


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 capsules, solution vs. tablets, and capsules vs. tablets. The 95% confidence intervals were also
 constructed for the geometric means of the ratios of solution:capsules, solution: tabiets, and
 capsules: tablets for AUC and Crnax. In addition, posterior probabilities that the ttue mean difference in
 AUC and Cmax of the capsules vs. tablets comparison were less than 40, 35,25, and 20°A of the mean
 AUC and CmaX of the “standard”, i.e., tablets, were calculated. It is noteworthy that the sponsor used the
 tablets, instead of the capsules, as the standard or reference treatment when calculating the posterior
 probabilities. Also, the sponsor did not perform an evaluation of bioequivalence between thh tablets (i.e.,
 as the test treatment) and the capsules (i.e., as the raference treatment) based on the currentty accepted
 two one-sided test procedure.

Results:
The mean plasma ivermectin concentration-time data are illustrated in Figure 1, which suggested that the
systemic availability of ivermectin from the 12 mg dose of the oral solution was greater than that from
either the tablets or capsules, especially up to 24 hours postdose. The mean plasma concentrations
resulting from administration of either the capsules or tablets appeared to be similar. The descriptive
statistics for the pharrnamkinetic parameters are summarized in the table below. The resutts of the
ANOVA and other statistical tests for AUC(O-72) and Cmax are presented in Table 2.

                        Mean k SD (Range) Pharmacokinetic        Parameters   (N = 42)

  Parameter                         lverrnectin                Ivermectin                 Iverrnectin
                                  Oral Solution                Capsules                     Tablets
                                  (12 mg/20 ml)                (2x 6 mg)                   (2x 6 mg)

 AUC(O-72~                          1291t330                     782&302                     726*41 1
 (ng.hr/ml)                         (954-1958)                 (304-1334)                  (287-1826)
                                     (CV 26%]                   [Cv 39%]                    [Cv 57%]
 Cmax*                              82.9X?5.4                   50.6t15.2                  46.6S21.9
 (nglml)                           (42.9-139.7)                (26.3-71.0)                (16.4-101.1)
                                     [Cv 31%]                   [Cv 30%]                   [Cv 47%]

 Tmax                                4.0*0.9                     3.7*I.O                    3.6i0.7
 (hr)                      I       (2.145.2)        I       (2.04.1)        I        (2.24.2)
                           I      [CV 23%]          I      [CV 27%]         1       [Cv 19%]
 dalues for these parameters adjusted to the 12 mg dosages based on the assayed potencies given in
Table 1

As evidenced from the data above, the mean AUC(O-72) and Cmax estimates resulting from single dose
administration of the oral solution were -2-fold higher than those for e.kherthe capsule~ or tabie& These
same estimates were only slightly hgher for the ivermectin capsules as compared to the tablets. Mean
Tmax was similar for all three formulations at -4 houm and no statistically significant differences were
detected (p> 0.20). In Table 2, the ANOVA detected significantly higher AUC(O-72) and Cmax values for
the oral solution vs. either the capsules or tablets (p <0.01 ). No statistically significant differences were
detected in the ANOVA between the capsules and tablets for either AUC(O-72) or Crnax (p > 0.20). The
posterior probabilities for AUC and Cmax, calculated with the tablets as the standard instead of the test
formulation, were 0.71 that the true mean difference (i.e., for capsules vs. tablets) in either parameter was”
less than 20% of the tablet means, 0.84 for less than a 25% difference, and 0.91 for less than a 30%
difference. Thus, any differences in systemic availability of the capsules vs. the tablets were most likely
(i.e., -90% probability) to be less than 30% and probably (i.e., -80% probability) less than 25?40,but only
marginally (i.e., -70% probability) less than 20’Yo.The latter difference of 20’% br4ng that which the
currently accepted two one-sided test’ procedure for evaluation of bioequivalence is based upon.

The bioequivalence of the market image tablet relative to the clinical trials capsule formulation was
evaluated by this reviewer by calculating the 90% confidence intervals based on the currently accepted

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two one-sided test procedure. The ratios of the tablet (test) to capsule (reference) and the 90’?40
confidence intervals (Cl) are summarized in the table below.
                                                                           .
               Bioequivalence            Summary of Ivennectin            Tablets (N = 12) vs. Capsules    (N = 12)

                                 AUC(O-72)                   90% Cl for                      Cmax         90% Cl for Cmax**
                                   Ratio*                    AUC(O-72)W                      Ratio”

  Arithmetic    Mean                 0.97                (88.8%, 117.1%)                      0.98         (755%,      120.5%)
                                                         Not 8ioequivalent                                Not Bioequivalent

  S.D.                              0.42                                                      0.40

  Range

  Geometric     Mean                0.88                                                      0.88
●Ratio of Tablets/Capsules
‘Cl calculated based on the two one-sided test procedure; bioequivalence acceptance criteria (80V0,
125%)

These results indicated that, despite the apparent similarities in mean estimates of AUC(O-72) and Cmax,
the ivermectin tablets tilled to meet the criteria for bioequivalence when compared to the capsules. Thus,
the systemic availability of ivermectin from the market image tablet formulation was less than that from the
capsule formulation used in clinical trials.

Reviewers Conclusions:
The sponsor provided the conclusions that the bioavailability of ivermectin from the capsule used in
clinical trials and the market image tablet formulations appeared to be similar, with any difference probably
being less than 25%, and with drug from the capsule being slightly more bioavailabie than that from the
tablet.

Based on the statistical analyses of the phannacokinetic data performed by the sponsor (i.e., ANOVA,
posterior probabilities), these conclusions were valid. However, the results of the currentty accepted two-
one sided test procedure used to assess in vivo bioequivalence, conducted by this reviewer, indicated that
the ivermectin tablets were not bioeauivalent to the capsules. This finding-.. of bioineauivalence
                                                                                  .      “.        should be
          . ..whA- G-                    L1---=-----   --+   -—~-~   : “.L— –—,L   .-.,-,.
                                                                                                      I     ~uV     la70J
                        A:----     .-~
                                                                                                                                 I
Walues for these parameters adjusted to the 12 mg dosages based on the assayed potencies given in
Table 1

As evidenced from the data above, the mean AUC(O-72) and Cmax estimates resulting from single dose
 administration of the oral solution were -2-fold higher than those for either the capsules or tablets. These
same estimates were only slightly hgher for the iverrnectin capsules as compared to the tablets. Mean
Tmax was similar for all three formulations at -4 houm and no statistically significant differences were
detected (p> 0.20). In Table 2, the ANOVA detected significantly higher AUC(O-72) and Cmax values for
the oral solution vs. either the capsules or tablets (p <0.01 ). No statistically signitkant differences were
detected in the ANOVA between the capsules and tablets for either AUC(O-72) or Cmax (p > 0.20). The
posterior probabilities for AUC and Cmax, calculated with the tablets as the standard instead of the test
formulation, were 0.71 that the true mean difference (i.e., for capsules vs. tablets) in either parameter was’
less than 20% of the tablet means, 0.84 for less than a 25’%odifference, and 0.91 for less than a 30?40
difference. Thus, any differences in systemic availability of the capsules vs. the tablets were most likely
(i.e., -90% probability) to be less than 30% and probably (i.e., -80% probability) less than 25’?40,but only
marginally (i.e., -70?40probability) less than 20Y0. The latter difference of 20% being that which the
currently accepted two one-sided test procedure for evaluation of bioequivalence is based upon.

The bioequivalence of the market image tablet relative to the clinical trials capsule formulation was
evaluated by this reviewer by calculating the 90% mnfidence intervals based on the currently accepted


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                                                               Table         1
;
.                     Fonnulatlon       and Analytical Measurements for Oral Solution
Ii                               and for 6 UIgCapsules and lablet6 of Ivermectln
                                        Used in the BioavailabllltyStudy
E

i-
/
         IVC?~eCtin             (~-933)     $S a =iXtUTe Of no l@!66 than  80% 22,23-dihydro-

         ~mectln-Bla
                                       (H2Bla) and no more than 20% 22,23-d~hydroaVennectin-
          lb (R2B1b).

                                                        6 mg Tablet               6 mgCapsule                  Solution

         Lot number:                                          E-3807                   E-6086                   E-3798

         Formulation:
             Ivemnectin          human     use
                grade       (90.22)                                    rlg                  w                             lng
             Microcrystalline              cellulose                   Qg                   mg
         < Starch,   pregela~inized                                    ulg
         ~Magnesiurn    stearate                                       mg                   w
                                                                                                                          nll
                                                                                                                                lr.1

                                TOTAL                                    mg                     mg                        ml

         Assay potency:
           Assay method:                                      R-148                     FP-89                   lW-l&9
              mean                                     5.82    mgltablec         6.1   mglcapsule 5.9 mg/10 ml
              range

         Dissolution   test:
            Test method:                                      FT-148a                  Ca4-39b

                                                              Z dissolution (n=12)
                lime                                               mean (range]

                      min
                      mln
                      min



         .    USP XXI, Method H (paddles ● t SO rpm) fzi900 ml of 33X v/v
              n-propanol In water. 5 ml-samples were taken ● t 15, 30, and
              45 minutes ●nd analyzed +ing ●ssay procedure AM-211.
                                                 ,
         b     USP XX, Method II (paddles at 50 rpm) in 9°0 ml of                                    33% ‘/v
               n-propanol             In water.    5 ad samples were taken at 1S. 30.                          and
               45 minutes             and analyzed   using assay procedure AM-105.
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                                FIGURE 1

            MEAN PLASMA CONCENTRATIONS OF IVERMECTIN (H2B~a)
                                (N= 12)
    100



    50



    6a




    u)



    20


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  f:<,..,
  I 4 #. #..
                                                                                             fWC (NGoHR/HL)
                ...             ,,
                                                                                                                                             Cw     (NG/HL)
  ,,’ .,.                                                                          wJUQM_~~
  ,A                    .
                                                       N                                                                       ~
                                                                                                 12
 .,
                                                       ~;n                          12;;
 ,,,                            . .
                                                                                               782                    7;:        ;:.9
              ....,,.                                                                330       302                                                ;;.6             ;;,6
                                                       II{n, man                                                                 25,4
       ,.,4                 .    .    .




                                                                                   954, ~958 30;j41334             28$ ’1826   42.9, 139,7     26!;;271.0          21,9 10t,l
                                                                                                                                                                 16.4,
                                                      Wfth{n-subjeet Std
                                                      overall treatment                          ( O.O1                                          17.1
                                          .            p-value
                                              ., I    Pairw{se p-values
                                                       Solution vs                               ( 0,01
                                                       Capsules vs                                                 ( 0,01                                                                    ,,
                                                                                                                   > 0,20
                                                                                                                                                c O.O1           t O,ot
                                                      Posterior probabfl{ty
                                                                                                                                                                 > 0.20                       ,,
                                                       true mean difference                                                                                                                       ‘A
                                                       (caps Vs tabs) {$
                                                       less than:
                                                        20% of stdb
                                                                                                      0.74
                                                        25%of ttd                                     0.84                                        0.74
                                                        30%Of std                                                                                 0,84
                                                        40% Of $td                                    0.91
                                                                                                      0.97                                        0.91
                                                      Log Un{ts                                                                                   0.97                                   .
                                                       Wfth{n subject $td                         0.33                                                                                 ,’
                                                       Overall treatfnent                       ( 0.01                                           0.28
                                                        p-value                                                                                ~ 0.01
                                                       Palrwtse p-valuM:
                                                       Solution vs                             < 0.01
                                                       Capsules VS                                               < 0.01                        c 0.01
                                                                                                                 ) 0.20                                          t 0.01
                                                     Geometric
                                                             Mean/95%                                                                                            ~ 0.20
                                                      Confidence Interval!
                                                       Solutton    to   capsules
                                                                                               1.73/(1,28,        2,34)
                                                       $O?UtfOn    to   tablets                                                              1.65/(1.28,     2,12)
                                                                                               1.96/(1.43,        2.61)
                                                       CaP$u?es to tablets                     1.13/(0,84,        1.52)
                                                                                                                                             1.88/(!.46,     z.41)
                                                                                                                                             1,~4/(0.89,     1,46)
                                                     a See    Sect{on    11.b.2.   for   additional          information
                                                       assay,of samples                                                     on the pharmacokinetlc parameters and
                                                     b tfean of tablets                                                                                                         /



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4. Protocol No. 539: Human Plasma and Milk Levels
“An Open, Single-Dose Study in Healthy Lactating Women to Determine Ivermectin Levels in Plasma and
Milk” (Report Date: April, 1986)
                                                                   .
Objective:
To determine milk and plasma concentrations of ivermectin in lactating women following a single 12 mg
oral dose of ivermectin capsules.

Formulations/Treatments:
Iverrnectin Capsules 2.5 and 0.5 mg

       Mean dissolution a &    minutes was acceptable for both strengths (i.e., Q ~Yo      for *   mg;
       ~.    fo~mg)

Subjects:
Twelve healthy, nonpregnant, lactating African women who were not breast feeding or contributing to milk
banks, age range 17-37 years (mean 24 k 7 yrs), weight range 40-65 kg (mean 54 f 8 kg). Although
women weighing less than 50 kg or under 18 years of age were to be excluded, the study investigator
allowed 3 women weighing 40-44 kg and another 4 women 17 years of age to participate in the study.

Study Design and Methods:
Open label design in which each subject received a single 12 mg dose of ivermectin capsules (i.e., 4 x 2.5
mg + 4 x 0.5 mg; total of 8 capsules) at least one hour before breakfast. The subjects were hospitalized
for 14 days following drug administration and blood and milk samples for quantitation of ivermectin
concentrations, i.e., HZBI, only, were mllected as follows:

        Blood
                Day 1: Predose, 1,4, and 12 hours postdose
                Days 2 and 3: Predose (i.e,, within 1 hour before breakfast)

        m
                Day 1: Predose, 1,4, and 12 hours postdose
                Days 2 through 14: Predose (i.e., within 1 hour before breakfast)

Assay Methods, Validation, and Performance:
Ivermectin (H2Bt,) in Plasma - HPLC with Fluorescence Deteotion
        Linear dynamic range from 140 rig/ml. The limit of detection was reported to be -0.2 nglml, but
        no data (i.e., accuracy and precision) was provided to substantiate this tiim. The lower limit of
       quantification was 1.0 rig/ml, based on the range of the assay. Quatity control (QC) samples were
        run with the clinical samples at two concentrations (low and high), instead of the prefemed three
       concentrations (low, medium, high). The interday precision (%RSD) was acceptable for both the
       low (2.5 nglml) and high (30 rig/ml) QC’S at 10.4% and 3.0%, respectively.

Ivermectin (H&) in Milk - HPLC with Fluorescence DeteCtiOn
        Linear dynamic range from 0.1-8 rig/ml. The limit of detection was reported to be -0.05 nghnl, but
        no data (i.e., accuracy and precision) was provided to substantiate thk ctaim. The lower limit of
       quantification was 0.1 rig/ml, based on the range of the assay. Quality control (QC) samples were
        run with the clinical samples at two concentrations (low and high), instead of the preferred three
       concentrations (low, medium, high). The interday precision (YoRSD)was acceptable for both the
        low (0.5 rig/ml) and high (6.0 rig/ml) QCS at 10.6% and 4.6?40,respedvely.

Data Analysis:
No pharmacokinetic parameters from tither plasma or milk were determined by the sponsor.



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Results:
Plasma
The plasma concentration data are provided in Table 1. Plasma levels of iverrnectin (HZB1.)were
quantifiable (i.e., >1.0 nglml) in all women from 1 hr postdose on Day 1 through predose on Day 3.
Maximum plasma concentrations were observed at 4 hrs postdose on Day 1 with a mean of 23 rig/ml and
ranged from 5.0 to 62 rig/ml. Plasma drug concentrations decreased substantially by Day 3 (47 hrs
postdose) for all but one subject-,       who had an elevated mncentration of 69 rig/ml. The total
variability in the plasma concentration data was wide at each timepoint (i.e., CVS of -65YOsnd greater).

Milk
=    concentmtions of ivermectin in milk are provided in Table 2 with the mean data plotted against time in
Figure 1. Coincident with the plasma data, the mean maximum drug concentrations in milk were also
observed at 4 hrs postdose on Day 1 at 7.6 rig/ml and ranged from                 rig/ml. The highest
ivennectin milk concentration was obsenfed in subject-t             18.5 rig/ml which occurred at 12 hours
postdose on Day 1. Mean milk concentrations decreased by Day 2 postdose to 1.3 rig/ml and remained
approximately at this level through Day 6 postdose. From Days 7 through 14, milk concentrations
decreased further and remained between                   , rig/ml. On Day fi4 postdose, milk levels were
quantifiable (i.e., >0.1 rig/ml) in 9 of the 12 subjects with a mean concentration of 0.6 rig/ml. Similar to
the plasma concentration data, the total variability in ivermectin milk mncentrations between subjects was
also wide (i.e., CVS from -60 to -160Yo).

The sponsor estimated that the maximum intake by a nursing 3 kg infant on Day 1 would be -3 mcg/kg,
based on e maximum ivermedn concentration in milk determined in this studytobe-19         rig/ml (i.e.,
subject &      ~ nd the daily consumption of-500 ml of milk. This 3 mcglkg “dose” represented -2Y0 of
the recommended adult dosages for onchocerciasis and strongyloides (i.e., 150-200 mcglkg). Mean
intake of ivermectin through the mother’s milk would be lower on Days 2 through 14 ranging from
       mcgtkg.
                                                                                                                  .
Reviewers Conclusions:
The sponsor concluded that ivermectin was present in the milk of lactating women after a single dose of
12 mg, maximum milk concentrations occurred on the first day after the dose, and had substantially
decreased thereafter, but remained detectable for up to 14 days postdose. The maximum intake of drug
by a nursing infant (3 kg body weight) was estimated to be -3 mcg/kg on the first day of single dose
ivermectin administration and represented a minimal intake as compared to the recommended adult
dosages of 150-200 mcglkg. The mean intake of drug at 14 days postdose, the end of the study, was
estimated to be +.1 mcg/kg (-0.05Y04.070A of the adult dosages) in a nursing infant.

The sponsor also commented in the Clinical Summary Section of this NDA that in light of the limited
information concerning the development of the blood brain barrier in newborn infants, that treatment with
ivermectin in mothers who intend to breast feed be withheld until at least 1 week after the birth of the child.
This recommendation was also provided for in the proposed labeling.

Thus, it appeared that the sponsor considered drug exposure through ingestion of mother’s milk to the
nursing infant to be of minor consequence in infants with fully developedhtact blood brain barriers. The
conclusions are approptite based on the results of this study and of the oral toxicity study conducted in
neonatal monkeys (i.e., <2 weeks old). In this species, which has been reported to be more predictive of
the human response to ivermectin than rodent models, no evidence of toxicity was obsennxt al doses up
to 100 mcg/kg/day.




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                                                     .
                                                         .




               PLASMA
                    LEVELSOF IVERMECTIN(H2Bla, NG/ML)FOLMWNG
                      ANOWL DOSE OF IVERMECTIN (12 MG)

          SUBJECT    DAY 1,     DAY 1, DAY 1,   DAY 1,       DAY 2,  DAY 3,
          NUMBER    PREDOSE    1 HOUR 4 HOUR    12 HOUR      23 HOUR 47 HOUR   “




        N
        Mean ~ SD: N.D.       1329     23$15    12~11        624     12 * 22
        Median     N.D.       10       19        7            4       4

        N.s. = No sample.
        N.D. = None detected.
        a Sample marked as plasma but was a milk sample.
        b Above range of standard line--assay repeated on a smaller sam-
          ple volume.
        c Marked as Day 2, seven-hourPlasma 6. Plasma 6 should be Day 3.
        d An additional sample supplied marked Day 1, seven-hour. No
          drug vas detected in this sample.




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                              LEVELSOF IVERtlECIIN(H2Bla, NG/Ml.)FOLLONINGIIN
                          tlll~                                             ORAL00SEOF IVER!4ECTIN
                                                                                                 (1211G)




                                                                                                                                  .,


N                 10          11            12           12           12        12            12            10         12
Mean * SO:        ;.;.         1.6*   1,8    7.6 ~ 4,5    4*O i 5.3   163$2.1    I*3*   1.3    1.7*   1,9    1.2*1.1    1.2*1.1
Median              . .        O*9          ?.2          2,5            .        O*7           ?.0           0.7        1*O ‘

N,S, = No sample
N,O = None detected
    6 , Above ~an~eOf standard f{fle...a$$ay repeated on a Srnalter sample volum@




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         .                                                       -   &r~N~
             .
                         MILK   LEVELSOF IVERHEC71N
                                                  (H2EI
                                                      la , NG/FtL)FOLLOWING
                                                                         ANORALDOSE OF IVERflECTIN(12 flG)




                                                                                                                     ..-
N                 12             10          12             11               10           12           10           12
Iiean ~ SD:        0.9 * 0.8      004 *0,4   0.S ~ 0,6      O*S * 0.5        0.9*   0.7   O.e*   1.0    0.4 ● 0.5    :.! ~ 0.8
Med{an             0.9            0.3        0.3            0.s              0.7          O*3           0.2            .

N,S. s No sample
N,O = None detected
    h =Above range of standard I{ne-assay         repeated en a smaller sampl@volume
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                                        FIGURE1
                =     IVERMECTIN
                              (H2Bla)        LEVELS IN MILK FOUWING
                                     12 ~   ORAL DOSE



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                    \!
                 ———_ ___
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                              VU. lN VITRO METABOLISM
                                                              .
As a follow-up to the radiolabeled metabolic disposition study (see Section VI.), the
 sponsor attempted to characterize further the metabolize profile of ivermectin using the
 urine, feces, and plasma samples collected from the subjects in this study. A number
of polar and non-polar (or “drug-like”) metabolizes were tentatively identified or
 postulated. In urine, a group of polar metabolizes were identiied, with the fiajor
 metabolize postulated to be a hydroxylated derivative of HzBt.. Another group of at
 least 7 “drug-like” metabolizes were also postulated and resembled those identiied in
the livers of pigs. In feces, the “drug-like” metabolizes were the primary group identiied
(-40-50% of extractable residue), with the monosaccharide of H,B,a being a major
derivative of this group. The sponsor noted that all ‘drug-like” metabolizes obsewed in
the feces were also present in the urine, only at much lower levels. The unmetabolized
drug was also a major component of the extractable radioactivity in feces (-25-70%).
In plasma, only trace amounts of parent ivermectin were detected and -80% of the
extractable radioactNity existed as non-polar metabolizes, with the majority postulated
to be derivatives of the monosaccharide of HzB1a. Approximately 12 polar metabolizes
in plasma were postulated, but the nature of these metabolizes were not investigated
any further.

The sponsor did not provide any data or related results of in vitro hepatic metabolism
studies of ivermectin in human liver miscrosomal or other hepatic tissues. It appeared
that the in vitro metabolism of ivermetiln was investigated in rats and other animal
species. In rat liver microsomes, CYP3A and possibly CYPIAI may be involved.

In summa~, although the data are not definitive, it appeared that ivermectin is
metabolized to a number of metabolizes and most likely by the liver. in light of the one-
time dosage regimen for either onchocerciasis or strongyloides, the potential for a drug-
metabolism or drugdrug interaction would be expected to be minimal.




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                     Vlll. COMMENTS      TO BE S ENT TO SPONSOR

 1. For the bioavailability study (NDA Study No. 5535), the sponsor was asked to re-
evaluate the bioequivalence of the to be marketed tablet formulation relative to that of
the capsule formulation used in clinical trials using 90% confidence intervals calculated
on the geometric means of the tabletkapsule AUC and Cmax ratios based on the
currently accepted two one-sided test procedure. In the initial NDA submis~on, the
sponsor calculated posterior probabilities and 95% confidence intewals using the to be
marketed tablets as the reference, instead of the test formulation. The request was
made since it is standard practice for the to be marketed tablet to be considered as the
test formulation and the clinical capsules as the reference formulation. However, the
sponsor responded by providing 909f0confidence intervals on the capsule/tablet ratios,
i.e., the opposite of what was requested, and essentially the same as was performed in
the initial submission.

2. Has the influence of food on the systemic availability of ivermectin been assessed ?
The sponsor may want to consider examining this since iverrnectin, like albendazole, is
nearly insoluble in water and appears to be poorly absorbed following oral
administration. Yet, administration of albendazole with food for the treatment of
systemic parasitic diseases is recommended since systemic exposure appears to be
substantially increased. If no such data or related results exist, then it is recommended
that the sponsor provide a statement in the labeling to indicate that the effect(s) of food
on the systemic availability of ivermectin has not been studied.

3. Labeling Comment:
Under CLINICAL PHARMACOLOGY,           Phannacokinefics,   the last sentence in this
section currently reads:




Since in the dose proportionality study (NDA Study No. 5537), apparent/effectNe half-
Iives of 16.8 and 16.7 hours were recently calculated for the 6 and 12 mg doses,
respectively, it is recommended to change the current wording to:




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                                       Philip M. ~olahgeto,   ~ha&.D.,Ph.D~
                                       Offi~ Clinical Pharmacology/6iopharmaceuti~,
                                       Division of Pharmaceutical Evaluation Ill




  RD/FT signed by Frank Pelsor, Pharm.D., Team Leader
                                                                   t

  Clin Pharrn/Biophaml R view Attende es 08/29/ 96: Dr. Nicholas Fleischer (HFD-880),
  Dr. Henry Malinowski (H;D-860), Mr. John Hunt (HFD-870)



  cc:
  Div. File - NDA 50-742
  HFD-520 (P. Coyne, MO)
  HFD-520 (P. Fogarty, CSO)
  11
  II
  HFD-340 (Viswanathan)
  HFD-205 (FOI)
#D-880       (Division File)
#D-880       (Pelsor, Colangelo)
@%g     file (Clarence Bo% HFD-870, PKLN RM 13B-31)




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Review and Evaluation   of Pharmacology and Toxicology                                          Data
Division of Anti.-Infective Drug Products,   HFD-520

NDA:    50-742       (formerly              NDA    20-721)

DRUG:    Mectizan          (Ivermectin)

CATEGORY:        Anti-parasitic                   agent

SPONSOR:         Merck    Research      Laboratories
                 Sumneytown        Pike
                 West   Point,       PA  19486

CONTACT     PERSON:         Kenneth            R. Brown,            M.D.,       Regulatory   Liaison
                            Phone           610-397-2552

NUMBER OF VOLUMES:                34

DATE    OF SUBMISSION:             March           29,      1996

DATE    CDER     RECEIVED:         April           3,      1996

DATE    ASSIGNED:         April        8,     1996

DATE    REVIEW      STARTED:           June        17,      1996

DATE    FIRST     DIWFT       COMPLETED:                 July      26,   1996

DATE    REVIEW      ACCEPTED           BY


INTRODUCTION/OVERVIE’W


Ivermectin    is derived   from the          avermectins,        a class     of broad-
spectrum   antiparas itic    agents         isolated       from   the    fermentation
products   of Streptomyces     avermitilis.             It    is  a mixture      of two
semisynthetic   macrocyclic    lactones,           which are designated         as H2B1~
 (ethyl analog) and H2Blb (methyl analog).                The mixture contains at
least 90% of the ethyl analog, and not more than 10% of the methyl
analog.    The structure    of ivermectin            is shown on the next page.
Ivermectin is also known by the sponsor’s code number MK 0933, and
by the trade name, Mectizan.        The drug will be marketed in a tablet
dosage form, contai_n$_ng--t—
                            6 mg_of active ln9re@$.?.QS:.                      . ...._.—___
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                                                                  OH

                             Molecularformulas and relative
                                                         molecular
                                                                 masses:



                             H2B1a(R = C2H~): C4SHT40,4;M.W. -875.10
                             H2Blb @ = ~3):     c4THT@14;M.W. -861.07


 Ivermectin    has   been    used   in Africa    and   elsewhere   to treat
 onchocerciasis    (river blindness)     and strongyloidiasis    (a nematode
 infection    of   the    gastrointestinal     tract ) .    Previous    human
 experience   has shown that the compound is highly efficacious           and
 generally,   well-tolerated.      It is approved in France and several
 other   countries   for human     use, and in the United        States   for
 veterinary   use.    In the U. S. it is used for prophylaxis        again-st
 heartworm   in dogs, and as an anthelmintic         in several species     of
 farm animals.

-This--NDA--eekapprovdldl    of MecEizan-<er---Ehereaetwentnt   of river
blindness    in a single    oral dose of 150 mcg/kg,        and for the
 treatment of strongyloidiasis   in a single oral dose of 200 mcg/kg.


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      PRECLINICAL           SAFETY       STUDIES


     This NDA contains reports of a large number of toxicology      studies
     on ivermectin, that were conducted between 1977 and 1995.     The data
     from most of these studies have been previously      reviewed by the
     Center for Veterinary  Medicine   (USFDA), and are summarized   in the
     next section.   The previously  unreviewed  studies, are reviewed in
     this section.

     1.   Ascending          Dose      Oral     Toxicity         Study      in Rhesus          Monkeys

     This was a GLP study conducted                              by the sponsor in West Point, PA
     between          March      and     September        of     1985        (study       TT-85-013-0).                Eight
     rhesus         monkeys           were     caged        individually                and      maintained            under
     appropriate             environmental           conditions.               At the        start      of the       study,
     the    animals         were     two to three         years        old     and weighed           between       2.4     and
     3.2    kilograms.              TWO males        and     two     females         received         MK-0933,         while
     four     other      animals         (two   of each        sex)      received         another        compound         (MK-
     0936)     .       The     compounds         were      administered               orally,          by    gavage,         in
     sesame       oil      (5 mlikg)       .   The doses          tested        were     0.2,      0.5,     1, 2,      4,    6,
     8,   12,      and     24 mg/kg with intervals                      of two to three weeks between
     doses.    Body weights and food consumption  were recorded, and the
     animals   were observed   for signs of toxicity.     The eyes were
     examined   for mydriasis.   Also, blood was drawn periodically  for
     measurement   of plasma drug concentrations.

     Emesis was observed in these animals, with a dose-related   incidence
     at doses of 2 mg/kg and higher.     Mydriasis was seen at doses of 6
     mg/kg and above.   Decreased activity and/or sedation occurred at 24
     mg/kg.   After the minimum toxic dose of 2 mg/kg, the peak plasma
     drug concentrations    were highest   at 24 hours and averaged     110
     nanograms/ml.    No postmortem    or microscopic  observations   were
     reported for this study.

     2.   Two    Week     Oral Toxicity              Study      in Immature            Rhesus       Monkeys

     This was a GLP study                  conducted
                                         for the sponsor by
                                                 (study TT-85-9033).      Immature
     rhesus monkeys (4/sex/group) were caged individually and maintained
     under appropriate     environmental    conditions.     At the start of the
     study, the animals were 13 to 21 months old, and weighed betwsen
     1.9 and 3.2 kilograms.      MK-0933 in sesame oil was administered        once.
     daily, by nasogastric     incubation,    at doses of O, 0.3, 0.6, or 1.2
     mg/kg/day    (1 ml/kg) for 14-16 days.         Evaluations   for treatment-
     related    effects   were     based   on   observations,     body    weights,
     hematology,    serum chemistries,      ophthalmogic    examinations,     gross
                                                                             —..—.—
‘-–~altiology,    organ weights”j’-an=-”rnicroscopic-listopathology.
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 There   were   no  treatment-related    findings    in   these  animals.
 Increases   in serum transaminases   occurred .in three animals,      but
 these increases were   attributed to hepatitis-like    viral infections.

 3.    Two     Week    Oral   Toxicity     Study       in Neonatal    Rhesus      Monkeys

 This        was   a GLP     study   conducted     for the        sponsor    by      -

 (study TT-86-9005).       Three groups of neonatal        rhesus monkeys      (5
males and 3 females/group)          were maintained     on a bottled      infant
formula   in individual      incubators    in the                      nursery.
The animals were examined by a veterinarian,             and deemed to be in
clinically    acceptable    condition.     At the start of the study, the
animals were 7 to 13 days old, and weighed between 400-600 grams.
MK-0933 in sesame oil was administered          once daily, by nasogastric
incubation,    at doses of O, 0.04, or 0.1 mg/kg/day          (1 ml/kg) for 14
days.    Evaluations     for treatment-related       effects    were based on
observations,     body weights,      food consumption,     hematology,     serum
chemistries,    ophthalmogic     examinations    (including pupillary      light
responses) , gross      pathology,      organ   weights,     and   microscopic
histopathology.

No treatment-related                 effects   were     observed     in this      study.




The Mectizan     tablets   described   in this NDA carry a three year
expiration   date.    It has been determined    that a loss of potency of
approximately    5-10% occurs during three years of storage at room
temperature.      The loss of potency       is due to the formation    of
unidentified    oxidative   degradation   products  in the tablets.   The
following two studies were performed to evaluate the safety of the
degradation   products.

4.     Two    Week    Oral    Toxicity    Study    of    Stored    Tablets     in Rats

This was a GLP study conducted           by the sponsor in West Point, PA
during June and July of 1995 (study TT-95-043-0).              Mectizan tablets
that had been stored for three years, were               ground into    a powder
with a mortar    and pestle.     The crushed powder was suspended in 0-.5%
aqueous    methylcellulose,       and   the    suspension     was   assayed    for
concentration     and uniformity.         The suspension      was administered”
orally to Sprague-Dawley       rats (15 males, 15 females) once daily for
14 days.      The suspension      was given ‘in a volume         (5 ml/kg)    that
corresponded    to 10 mg/kg of ground tablet, and a dose of 0.5 mg/kg
of   ivermectin.       Another     group    of   rats    (lS/sex)    received    ““a
comparable-volume     -of-~~~-met+y+aellulose,        and served-as--a---control------
group.    Evaluations      for treatment-related       effects were based on
observations,     body weights,      food consumption,       hematology,    serum
chemistries,       ophthalmogic       examinations,        urinalysis,      gross

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  pathology,    organ     weights,   and microscopic       histopathology.

  No treatment-related        effects   were     seen   in thins study.

  5. Two Week    Oral     Toxicity   Study   of Stored     Tablets     in Monkeys

 This was a GLP study conducted by the sponsor in West ~oint,                      PA
 during July of 1995 (study TT-95-044-0).         Mectizan    tablets that had
 been   stored   for three years,       were ground       into a powder           and
 suspended in 0.5% aqueous methylcellulose,        as described above.            The
 suspension was administered      orally, through a nasogastric           tube, to
 rhesus monkeys     (4 males, 4 females) once daily for 14 days.                  The
 suspension was given in a volume (5 ml/kg) that corresponded                  to 10
 mg/kg of ground tablet, and a dose of 0.s mg/kg of ivermectin.
 Another group of animals (4/sex) received 0.5% methylcellulose,                  and
 served as a control group.          The monkeys were approximately               two
 years old, and weighed from 2.4 to 3.4 kilograms              at the start of
 the study.     Evaluations    for treatment-related       effects were again
 based on observations,     body weights, food consumption,         hematology,
 serum chemistries,      ophthalmogic    examinations,      urinalysis,        gross
 pathology,   organ weights, and microscopic       histopathology.

 No treatment-related         effects   were     seen   in this    study.


 TOXICOLOGY     PROFILE    OF IVERMECTIN


 The following summary of ivermectin toxicity                has been         derived   from
 the CVM reviews of the earlier submissions,                 and     from      the current
 NDA .

 Acute   Toxicity

 The median lethal doses (LD50s) were reported as follows:
  11.6 mg/kg oral-male   mice
  24.6-87.2 mg/kg oral-female    mice (several different studies)
  42.8-52.8 mg/kg oral-male rats
  44.3-52.8 mg/kg oral-female    rats
   2.3 mg/kg oral-infant   rats (I-2 day old pups)
 406 mg/kg dermal-rabbits    (both sexes)

 The signs of toxicity obse~ed  in rodents                were ptosis,          bradypnea,     ,.
 ataxia, tremors, and loss of the righting                reflex.

 A study was conducted        in dogs using single oral “doses of 5-80
 mg/kg.    Mydriasis,   ataxia, and tremors occurred at 10 mg/kg.        Two
‘“of the–’fo–u”r—doq=””-dosedat 80 mg/kg;-15ecaiiie”-c=iiaYosean-d died.

 In experiments   with       cattle, subcutaneous doses             of up to 6 rng/kg
 were well-tolerated.           However, in a group of              four calves that
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received 8 mg/kg sc (40 times the therapeutic dose) , one calf died
and two others were sacrificed moribund.   The. compound was thought
to have caused CNS depression  in these cattle.

Subchronic        Toxicity

A 14-week study was conducted in rats (20/sex/group) at tises of O,
0.4, 0.8, and 1.6 mg/kg/day        orally.     (The animals used in this
study, were derived from dams that had also been treated with the
compound) .    The no-effect    level was 0.4 mg/kg/day.         At higher
doses, the following gross and microscopic         signs of toxicity were
observed:   enlarged   spleens with congestion       of the red pulp and
extramedullary     hematopoiesis,     iron-positive     pigment   in   renal
tubular   epitheliums,   hepatocellular     vacuolation    and pigment     in
Kupffer cells.    Reactive hyperplasia of the bone marrow was seen in
the    animals    with    enlarged     spleens,     suggesting     possible
intravascular   hemolysis.

In dogs  (4/sex/group), a 14-week study was conducted at doses of O,
0.5,     1,and 2 mg/kg/day   orally.   The no-effect    level was 0.5
mg/kg/day.     The signs   seen at higher   doses    were  salivation,
mydriasis, anorexia, dehydration, tremors,  and ataxia.     Some of the
animals      became      recumbent,     and    four   of the       eight   dogs   in   the     high-
dose    group     were     sacrificed     in   poor   condition.

Reproductive        Toxicity

Several     teratology   studies  were  conducted   in    mice    (20-25
dams/group)    at doses of O, 0.1, 0.2, 0.4, 0.8, and 1.6 mg/kg/day
orally, during gestation days 6-15.     Tremors and convulsions     were
seen in some dams following doses of 0.2 mg/kg/day.      Some maternal
deaths occurred at doses of 0.4 mg/kg/day and higher.       Teratogenic
effects   were seen at doses of 0.4 mg/kg/day     and above.       Cleft
palate occurred in the fetuses from the 0.4, 0.8, and 1.6 mg/kg/day
groups.    Exencephaly  was seen in the 0.8 mg/kg group.

A teratology  study was conducted in rats (25 dams/group)     with oral
doses of O, 2.5, 5, and 10 mg/kg/day      during gestation   days 6-17.
There were some maternal deaths, and some pre-implantation       loss in
the high-dose group.    Incomplete bone ossification   occurred in the
5 and 10 mg/kg/day  groups.    Cleft palate and “wavy ribs” were seen
in the 10 mg/kg group.

In rabbits    (16 dams/group)   the teratology study was conducted with”
oral doses of O, 1.5, 3, and 6 mg/kg/day during gestation           days 6-
18.    In the high-dose     group, there were losses in maternal       body
weights,   and some abortions.       There was also an increase      in the
number-o&dead     fetuses.   Cleft pa-lat-e--and---clubbforepawsepaws
                                                                   occurred
in the fetuses from the’ 3 and 6 mg/kg groups.

Some   additional         reproduction         studies    that     were    conducted         in rats

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showed   that   ivermectin    produced    adverse  effects   in neonates
(delayed   development,    increased   pup mortality) .    These effects
occurred at maternal doses of 1.6 mg/kg/day and above.        It was also
shown that the compound was secreted in the milk of lactating rats.

No chronic    toxicology   studies on ivermectin     have been reported.
Ivermectin was non-mutagenic     when tested (with or withou~etabolic
activation)    in the Ames Salmonella       mutation    assay,  the mouse
lymphoma   (L5178) assay, and the unscheduled      DNA synthesis   test in
human fibroblasts.     Carcinogenicity  studies have not been conducted
with the compound.


PHARMACOKINETICSTUDIES


MK-0933         was     administered            orally           (in    sesame       oil)      to    two     groups        of
mice,      in     doses       of   0.1      or   0.5     mglkg/day            for     35 days         (Study        TT-82-
071-0)      .         Peak        plasma          drug         concentrations                 were         5     and       20
nanograms/ml,               in   the      low-     and      high-dose           groups       respectively.                 At
necropsy,          analysis        of brain         tissue,          revealed        MK-9033       concentrations
of    35      ppb     in      some      animals          (because           of     technical           difficulties
encountered            in the       brain      assay,         the     value      of 35 ppb may or may not
be reliable)            .

In an acute study in mice, a single oral dose of MK-0933 (51 mg/kg)
was administered   in sesame oil (Study TT-82-088-0) . This dose was
lethal to four of 30 animals, while other animals became moribund.
At various    times after dosing,    blood was drawn    from surviving
animals,   and some animals were sacrificed     for analysis  of brain
tissue.   The peak drug concentrations   found in this study were 5000
nanograms/ml   in plasma, and 400 ppb in brain.

In another study, MK-0933 in sesame oil was administered     orally by
gavage to two groups  of four female   Beagle dogs at doses of either
0.5 or 2 mg/kg/day   for 35 days (Study TT-82-070-0).      Peak plasma
drug concentrations   of 175 and 1500 nanograms/ml    occurred during
the third week of the study, but then declined during the last two
weeks of the study.     One dog in the 2 mg/kg/day    group developed
tremors, ataxia, and depression,   and was sacrificed moribund on day
24.   In this animal,   the drug was detected    in the cerebrospinal
fluid at a concentration    of 3 nanograms/ml.     In the other seven
animals sacrificed on day 35, the drug was not detected in the CSF
                                                                       ..
(detection limit 1 rig/ml).

The pharmacokinetic  data obtained                               in human        studies         is presented             in
Table 1-1 (attached).
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 CONCLUSIONS/RECO~ATIONS              TO SPONSOR
                                                            .

 Ivermectin  appears to be neurotoxic,    presumably  through an effect
 on GABA neurons.   The compound appeared to be more toxic in rodents
 than in subhuman primates,    especially   with regard to CNS effects
 such as tremors and ataxia.    In mice, effects were seenst      doses as
 low as 0.2 mg/kg/day;      in monkeys,   mild toxicity     (emesis)   was
 observed following a dose of 2 mg/kg, which is 10 times higher than
 the recommended   human dose of 200 mcg/ml.      At these   doses,   peak
 plasma   drug    levels    were 5.5 times     higher      in     the   monkeys     than   in
 humans   (110   versus    20 nanograms/ml).

 Ivermectin is teratogenic   in mice, rats, and rabbits, and should be
 labeled as Pregnancy   Category C.   It is also excreted in the milk
 of lactating animals and humans.

 Ivermectin    has been shown to be effective      in the treatment      of
 onchocerciasis    and   strongyloidiasis,   and   this    drug   will   be
 extremely   useful in the control of these parasitic       diseases.    w
 adequate   margin of safety has been demonstrated      between   the dose
 toxic to subhuman     primates,   and the intended   single    (one-time)
 human therapeutic   dose,    Approval of this NDA is recommended.

 The drug should not be used by pregnant women or nursing                         mothers,
 unless  it can be shown that the benefits    of therapy,                          clearly
 outweigh the risks to the fetus.




                                   ?tL-4’ SiQ.4bL
                                 Kenneth Seethaler,   Ph.D.,             D.A.B.T.
                                 Pharmacologist,    HFD-520




cc: Original NDA 50-742                                 Concurrence   Only:
HFD-340                                                 HFD-520/L.Gavrilovich
HFD-520                                                 HFD-520/R.0sterberg
HFD-520/Pharm/K.Seethaler                                                            #l?@&4b
HFD-520/MO/P .Co~e
HFD-520/Micro/J.King           p        .~kf
HFD-520/Chem/J.Timper
-HFD-52-O@Q+P.Fogarty      ,                            . .-..—     .. ---
HFD-520/Biopharm/P    .Colangelo
HFD-520/Biostat/S.Bell
                               Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 230 of 382



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      lvermectin      ,
      Synopsk ofApplication
      1,1Synopses
      1,Human P~armaclLtinetfcs
                             and Bioavaflability
                                            Documentation
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      Table ~            ~ations                                                       -
                 Study                                                                   Fonnulellon                Number of
                               StudyObkctive/       I                Dosage                  No.                    Subjects(S)
            +_                   StudyDealgn        I                 Foti               (Batch Size)     Dose      Patients(P)                      conclusions
                         Evaluationof @H)ivemsec!in         I 4.mg IvarmectinCapsule   R0933.DFC.002-     14mg                    Mean Tmax for ivamsectinwas 6 IU corresponding t%
                 11-5]   absorptio~dia&ibutio~                                              AOOI        (200 pCi)    (;:M)        wea 11.8 h, ~ax of tritintedmctnboliteaweatwice
                         metabolismend excretion                                            (14)                                  that of parentdrug, Drug and metaboli~eswe rdowly
                         Single-dosestudy                                                                                         secretedIn bile endexcretedin feces. No moreihan
                                                                                                                                   1,0% of the dosewea exmetedIn urine.

                 5537    Evsduationofdose                    3-mg lvennectinTablet         E-3806         6 mg         12s        FollowingSD of 6,12, endIS mg mean~ax and
                 [1-6]   pro~ionedity/Single dose            6-mg Mrsnectin Tablet          (390)         12mg        (All
                                                                                                                         M)       AUC were proportionalto dosealthoughsub@-antial
                         (Sb), three.waycroaeovec                                          E.3807         lSmg                    variability was observed.
                         study                                                             (2305)

                 5535    EVeluntionof PheaeIll              6.mg lvennectinCapsule         E-6086         12mg         12s        The oral solutionahowedhigher(closeto twice)
                 [1-7]   ca$ule endto-be.marketed                                           (200)                     (AJI
                                                                                                                         M)       bioavailability theneitherof the solidforms. The
                         tabletVS.oral solutloti Single-     6-mg Mrmectin Tablet                                                 tabletformulationshowedcomparablebioavailabili!y
                         do$is,three-waycrossover                                          E.3807         12mg                    !0 the capsuleformulation, The relative
                         study                             0,6 mg4nLhydrotlcoholic         (2305)                                 bioavailability of thecapsulewcs 113% of the tablet.
                                                           :olutkm (40% ethanol)
                                                                                            E-3798        12 mg                                                         .
                           I                                                               (500 mL)
       I
            -            Eatiiation of ivermcctin’s         O.$mgIvennectin Capsule         E-5885        S mg          12s       Orally dnhisteredivcnnectinis :ecretedin human
                 11-8]   sedretionInto humanbreast                                          (tooo)                     (ANF)      milk. The ~ghaat concentrationobservedwas
                         milk/Single-dosestudy              2,5.mg !vemvxtln Capsule                                              18.5 ng/mL afler the 12.mg do~e, Drug was still
                                                                                            E-5893        12mg                    detectable14 dayapoaldose.
                                                                                            (1000)
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  NDA50-742MECTIZANW(ivermectin) oral tablets                                                                                                          1



                              STATISTICAL                     REVIEW              AND         EV ALUATION

  NDA:                               50-742
  Generic Drug Name:                 Ivermectin
  Drug Trade Name:                   MECTIZANR
                                                                                                                          ~>6~
  Formulation:                       oral tablets
  Drug Class:                        1P
  Applicant:                         Merck Research Laboratories

  Indications:                       1. Strongyloidiasis of the gastrointestinal tract
                                     2. Onchooerciasis (a.k.a. River blindness)

  User Fee Date:                     October 1, 1996

  Documents         Reviewed: NDA Volumes 1,28,29,30,31,32 dated March 29, 1996 submitted as NDA
                              NDA Volumes 3,7,29, and 34 dated July 9, 1996 submitted as NDA
                              Safety Update Report dated July 31, 1996 submitted for NDA 50-742
                              Dataset provided August 23,1996 for Strongyloidiasis studies.
                              Dataset provided September 3,1996 for Onchocerciasis studies.
                              Draft of Medical Officets strongyloidiasis review.

  Type of Review:                   Clinical

  Medical Offlcec                   Phillip Coyne, M.D., HFD-520
            Reviewe~
  Statistical                       B. Sue Bell, Ph.D., HFD-725
  Project Manage~                   Pauline Fogarty, HFD-520

  O. Executive Summary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

  I.Background           . ... .. .. ...... .... .... .. .......... ..... ........... .... .... .... ... ..... 3

  11.Strongyloidiasis oftl-te gastrointestinal tract . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
          ll.A. Labeling claims and primary studies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ...4
          11.B. Applicant’s Analysis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ...4
                   11.B.l. Protoco1004 (Gentilini/Datry). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                             11. B.l.a. Study Design
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   NDA 50-742 MECTlZAN7~        (iverrnectin)
                                           oraltableta                                                                                                      2
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        V.A. Strongyloidiasis of thegastrointestinal tract
        V.B. Onchocerciasis

  O. Executive Summary
  The applicant is requesting approval of ivermectin for the treatment of strongyioidiasis and of onchocerciasis.
  The recommended dosages are a single oral dose of approximately 200 or 150 pg of ivermectin per kg of
  body weight for strongyloidiasis and onchocerciasis, respectively. Ivermeotin is to be supplied as 6 mg white,
  scored tablets.

  In support of the strongyloidiasis indication, five studies were submitted with two studies that used albendazole
  as the comparator being considered pivotal by the applicant. The Medioal Officer considers negative stools
  through 30 days of follow-up to represent a cure. Ivermectin was statistically superior to albendazole in both
  pivotal studies with lower bounds on the 95% contldence intetvals of the difference in pmpottion     wed   of IO”A
  and 27°4. However, in two U.S. studies and in one French study comparing single-dose and doubledose
  ivermectin with thiabendazole, ivermectin was not statistically comparable to thiabendazole based upon the
  DAIDPs Points to Consider document that requires that the lower bound be greater than or equal to -10%
  if the cure rate is greater than or equal to 90”A. These studies were very small resulting in very tide
  confidence intervals. Except for one treatment arm in one study, the point estimates of the proportion cured
  by an iverrnectin treatment was either equal to or slightly greater than the point estimate of the proportion
  cured by thiibendazole. In mntrast, statistical analysis based on time to treatment fkilure showed that both
  singledose and double-dose iverm’bctin treatments were slightly better than thiabendazole based upon a
  comparison of the 95% confiden~ intewals of cure rates. Graphs provided in the section titled Medical
  Officer’s Integrated Summary of Efficacy show the consistency of the study results. Concerning safety,
  ivermectin was shown to be extremely safe in these studies and to have a better safety profile than
  thiabendazole.

  Therefore, based upon statistical review of the data provided by the sponsor and revised by the reviewing
  medical officer, it is recommended that ivermectin be approved for the indication of strongyioidiasis.
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 NDA 50-742 MECTIZAN*M (iermectin)   oral tablets                                                                  3
                                                                              .

 In support of the onchocerciasis indication, 4 studies were submitted for review. The one pivotal study was
 a multicenter, double-blind clinical trial with comparison to both a placebo group and a diethylcarbamazine
 citrate (DEC-C) treatment group. The medical officer considers the reduction in geometric mean of
 microfilaria (mf) density atone month to be the primary outcome with reductions at 3 months and 6 months
 being of secondary importance. These time points are relevant because of the label’s rmmendation                for
 possible retreatment at three months. Using nonparametric statistical methods to compare the percent of
 baseline mf count shows that ivermectin is statistically superior to DEC-C at all three time points with a p-value
 of 0.0001. Further, DEC-C treatment causes severe systemic reactions as the result of the killing of the
 microfilaria. The number of ivermectin-treated patients with such reactions was statistically less. All other
 studies were placebo controlled trials whiih demonstrated that ivermectin was superior with vefy few and very
 minor adverse clinical experiences.

 It must be noted that the onchocerciasis cJinicaltrials used a capsule that was found to be bioinequivalent to
 the tablets in the clinical pharmamlogy/biopharmaceutics. Otherwise, the statistical review of the applicant’s
 data supports approval of ivermectin for the treatment of onchocerciasis.

 1. Background
 “MECTIZANR (Ivermectin) is a semisynthetic, anthelmintic agent for oral administration. Ivermectin is derived
 from the avermectins, a class of highly active broad-spectrum anti-parasitic agents isolated from the
 fermentation products of Streptomyces avermitilis.”

 “The drug has been registered for agricultural and veterinary use since 1981.“

  “In 1987, ivermectin was approved in France for the treatment of onchocerciasis and is now considered the
 drug of choice for the treatment of that infection.” “As of mid-1995, greater than 36 million ivermectin
 treatments (representing >5.2 million patients) have been administered for onchocerciasis.”

 “In November 1993, the French government approved the use of ivermectin for strongyloidiasis.”

 Ivermectin is available in 6-mg tablets. The applicant recommends administration of a single oral dose where
 the dosage is dependent upon the indication and the weight of the patient. The applicant mnsiders the single
 dose regimen to be one of the advantages of ivermectin since other agents used to treat these indications
 require a multidose regimen.


 Il. Strongyloidiasis                of the gastrointestinal             tract
 ‘Strongyloidiasis occurs chiefly in tropical and subtropical regions of the world.   However, endemic regions
 also exist in southeast USA, Japan and southern and eastern Europe. Severe disseminated disease may
 occur in immunocompromised patients.”

 “The therapeutic arsenal available at present for the treatment of strongyloidiasis is limited to thiabendazole
 and albendazole. Thiabendazole is effective in 75-96% of cases; however, it is frequently associated with
 considerable clinical adverse reactions. Albendazole, the therapeutic alternative, is well tolerated and has a
 cure rate of 42-100?40,depending on the dose schedule and length of follow-up.”

 REVIEWER COMMENT: Exact statistical methods implemented in the software package StatXact3 will be
 used to calculate 95% confidence intervals for the dflemnce in cure rates for this indication. Because of the
 relatively small sample sizes and high cure rates, the data from the majority of studies for this indication do
 not satisfy the assumptions for using the normal approximation to the binomial distribution. The Marti study
 does have sufficient sample size for use of the normal approximation.
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NDA50-742MECTIZANTU
                  (iverrnectin) oral tablets                                                                     4
                                                                             .

JLA. Labeling claims and rximary studies

me recommended dosage of MECTIZAN for the treatment of strongyloidiasis is a single oral dose designed
to provide approximately 200 pg of ivermectin per kg of body weight= ‘Patients should take tablets with water.
In general, additional doses are not necessary. However, a follow-up stool examination to v=rify eradication
of infection should be performed.”

“Two controlled clinical studies using albendazole as the comparative agent were carried out in international
sites where albendazole is approved for the treatment of strongyloidiasis of the gastrointestinal tract, and three
mntrolied studies were carried out in the US and internationally using thiabendazole as the comparative agent.
Efficacy, as measured by cure rate, was defined as the absence of larvae in follow-up stool examinations.
Based on this criterion, efficacy was significantly greater for MECTiZAN (a single dose of 170 to 200 pg/kg)
than fbr albendazole (200 mg b.i.d. for 3 days). MECTIZAN administered as a single dose of 200 pg/kg for
1 day was as efficacious as thiabendazole administered at 25 mg/kg b.i.d. for 3 days.”

The applicant considers the Gentilini study and the Marti study as the two pivotal studies. Both pivotal studies
compared Ivermectin to Albendazole.

 REVIEWER COMMENT Since the applicant is making a labeling claim that ivermectin is “as efficacious as
thiabendazole, ” the studies comparing ivermectin to thiabendazole are also reviewed in detail.

11.B. At3D!icant’s        Analvsis


11.B.I. Protocol 004 {GentilinilDatryJ

Protocol title:
“An Open, Randomized Study of Efftcacy, Safety and Tolerability of Ivermectin Single Dose vs. Albendazole
(3day course) in the Treatment of Patients Infected Wdh Strongy/oides Stercoralis (Study 004).’

Publication based upon data collected:

Datry A, Hiimarsdottir 1,Mayorga-Sagastume R, Lyagoubi M, Gaxotte P, Biligui S, Chodakewitz J, Neu D,
Danis M, Gentilini M. Treatment of Stmng~oicfes stemordis infection with ivermectirt compared with
albendazole: results of an open study of 60 cases. Trans Roy Soc Trop Med Hyg, 1994;88344-345.

JI.B.1 .a. Studv Desian

lWs study was an ‘Open, randomized trial in otherwise healthy ambulatory patients to compare the efficacy,
safety and tolerability of ivermectin versus albendazole in the treatment of strongyloiiiasis of the
gastrointestinal tract.” “Although the study was open in design, stool specimens were examined by one-single
expert who was to remain blinded as to the treatment allocations.m The study was conducted in France.

Patients received either a single dose of ivermectin (target dose of 200 pg/kg) or albendazole (200 mg b.ild.
for 3 days). Because the iverrnectin dosage schedule included in the protocol was in error, the actual dose
of ivermectin was approximately 170 pg/kg. “The difference betwean the administered dose and the target
dose is not considered meaningful.’

Patients were included who were between 5 and 70 years of age and who were infected with Strungy/oides
stercoralis (SS). Infetilon status was determined by stml examination using the Baermann technique. Please
refer to the Medical Officer’s review for more details of the inclusionlexclusion criteria and for details of the
visit procedures.

REVIEWER COMMEN~: The published article also mentioned the exclusion of patients who had received any
other antifilaria/ drug in the 6 months, or other anfihelmintic treatment in the 72 hours, preceding the study.
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NDA50-742MECTIZANT~
                  (ivermectin)
                             oraltablets                                                                        5
                                                                            .


“After completion of the informed consent procedures and documentation of strongyloidiasis evidenced by
stool examination, patients were randomized to rece”we e“tier ivermectin or albendazole according to an
allocation schedule. The patients were dosed at least 2 hours before breakfast.”

REVIEWER COMMEN~ According to the published article, informed oral consent was g~en rather than
written consent. The applicant’s audit found no patient consent forms for 6 patients, 3 forms had not been
signed by the patients, and 4 of the signed forms were dated by the investigator.

The applicant’s study report considered all patients whose data was received by August 10, 1991. The
evaluability criteria were that strongyloidiasis was documented on stool examination, the patient did not
receive any other effective therapy during the study period, the patient was compliant with therapy, adequate
follow-up stool examinations were performed for determination of efficacy, and there was no violation of
inclusion and/or exclusion criteria that would compromise efficacy evaluation.

REVIEWER COMMEN71 The published article reports on 60patients entered into the trial while the applicant’s
report is for 56 patients. The applicant suggests that the discrepancy may have resulted fmm a cut-off date
imposed for the assemb/y of the French MAA.

“The efficacy and safety of ivermectin was evaluated on the basis of physical examinations and laboratory
tests prior to treatment and on Days 7 (5-9), 30 (26 to 34), and 90 (85 to 95) posttreatment.m Aspirin and
antihistamines were permitted for mild or moderate reactions to drug treatment. “Other medications were not
to be administered during the first week of drug administration except for necessary treatment of patients with
severe allergic reactions.”

“The prima~ measure of efficacy in this study was the absence of larvae in posttherapy Baermann fecal
examinations. The detection of larvae on any posttreatment stool examination meant failure. Patients with
adequate follow-up examinations which were all negative for Iawae were mnsidered cured. It should be noted
that although not specified in the protocol, parasitological cure (i.e., stool exams negative for lafvae) without
resolution of symptoms was counted as a clinical failure.” Clinical failures were retreated using ivermectin.

REVIEWER COMMENT Contratyto thepmtocol, 2 ivermectin and 9 abendazole patients were fatreated afier
having a positive stool examination. A sensitivity analysis wi/1be performed on the Medical CMfhWs data to
assess the impact of showing the 6 albendazole patients, who were ratn?ated as eaffy as 70 days atter initial
treatment, as non-eva/uab/es in contrast to treatment failuras. The other 3 albendazole patients and the 2
ivem?ectinpatients were retreated approximately a month after initial therapy which was suficient time for the
drugs to demonstrate efficacy.

In a quality assurance audfi performed by the applicant 3.5 years after the completion of the trial, “certain
GCP compliance issues relating to insufficient documentation of informed consent, incomplete case report
form documentation at the site, protocol mmpliance, inmmplete regulatory documentation at the site and lack
of study monitoring” were found.
                                                                                                             .,,”
11.6.1.b. Efficacv Results

Atmlicant’s   results

“A total of 79% (22/28) of patients werewred following ivermectin therapy compared to 43% (10/23) of those
receiving albendazole. This difference in cure rates is statistically significant (p=O.02). Logistic regression
analysis demonstrated that no other factor (age, sex, mce, clinical severity of infection, and intensity of
infection) was significantly related to treatment failure.” If those patients whose diagnosis was greater than
6 days prior to treatment are removed, similar results are seen with 76.9% (1Oof 13) of the ivermectin-treated
patients being cured and 33.3% (2 of 6) of the albendazoie-treated patients being cured,
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 NDA50-742MECTIZANW(iermectin) oral tablets                                                                      6
                                                                             .
 RE V7EWERCOMMENT: The differena between the percent curad fbr the two treatments is 43% with a 95%
 confidence interval of 28.23 [8°A , 66% ] 7W,dB% This indicates that ivermectin cun?d a statistically greater
 patcent of patients than albendazole in this study population.

 “Similar results are seen if all patients, regardless of their efficacy evaluation status, ate considered for
 analysis.” In this intent-to-treat analysis, 79% (23 of 29) of ivermectin-treated patients are cured and 48%(13
 of 27) of albendazole-treated patients are cured.

 /?EVIEWER COMMENT: The difemnca between the percent cured tbrthe two fmatments in the intent-to-treat
 analysis is 31% with a 95% conftience internal of ~z [6Y0 , 62°A ] ~,,w.       This indicates that ivermectin
 cured a statistica//y gfeater percent of intent-to+eat patients than a/bandazo/e in this study population.

 As can be seen in Table 1, there is “no substantive difference” between the outcomes of the 56 patients
 included in the applicant’s report mmpared with the outcomes of the 60 patients included in the published
 report.


           Table 1: Comparison between applicant’s data received from investigative site
           and data published by the investigative team for protocol 004.

                                          Applicant Summary                  Publication

            Patient Accounting:           Iv’     ALB*      ALL”       IV*       ALB*      ALL*

            Patients Entered              29        27       56        32         28       60

           Evaluable patients             28        23       51        29         24        53
           (Efficacy)

           Nonevaluable Patients           1        4         5        3          4         7
           (efficacy)

           Cure Rate                    22/28     10/23      NIA     24/29       9/24      N/A
           (%)                           (79)      (43)               (83)       (38)

           ●   IV= Ivermedln;                                       ( ) = Percent cured
               ALB = Albendazole;
               ALL = IV p!USALB


 Medical Officer’s resul&

 Using a test of cure at 30 days post treatment and evaluating those patients with any recent positive stml
 examination taken pretreatment without intervening treatrnen~ the Medical Officer fbund that ivennactin cured
 24 of 26 (92%) evaluable patients and albendazole wred 12 of 22 (55Yo) evaluable patients. A 95’%
 confidence interval of the difference in proportion cured is ~.n [10’%, 65% ] ~2w,~~M.A lower bound greater
 than zero indicates that ivermectin cured a statistically greater proportion of patients diagnosed with
 strongyloidiasis than albendazole. Because the risk of reinfection in France is very low, a 90 day follow-up
 is considered to evaluate the potential for relapse. At 90 days, the Medical Oflicer found that iverrnectin cured
 21 of 26 (81%) and albendazole cured 10 of 21 (48?4.). A 95?40mnfidence interval of the difference in
 proportion cured ~,21 [3% , 64!’. ] ~lM,dB,~   which continues to indicate that iverrnectin cures a statistically
 greater proportion than albendazole.
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NDA50-742MECTIZANW(iverrne~ln)oraltablets                                                                       7
                                                                            .

JI.B.1 .c. Safe tv Results

No patients were discontinued due to adverse clinioal or laboratory experiences. One patient from the
ivermectin group experienced mild nausea, fatigue, dizziness, sleepiness, tremors, and mild vertigo for one
to two days after treatment. Although probably related to the study drug, it was not considered serious.

11.B.2. Protocols 014/015 (Berk and Gann}

Protocol title:
“An Open, Randomized Study of Efficacy, Safety and Tolerabiiii of Ivermectin Single Dose and Repeat Dose
(One day apart) vs. Thiabendazole (Threeday course) in the Treatment of Patients Infected With
Stmngyioides Stercoralis.”

Publications based upon data collected:

Gann PH, Neva FA, Gam AA. A randomized trial of single- and two-dose ivermectin versus thiabendazole
for treatment of Strongyloidiasis. J Infect Dis, 1994;169:1076-1079.

Salazar SA, Berk SH, Howe D, Berk SL. Ivermectin vs. Thiabendazole in the treatment of Strongyloidiasis.
Infect Meal, 1994;11 :50-59.

11.
  B.2.a. Studv Desian

“Open, randomized trial in ambulato~ patients with strongyloidiasis of the gastrointestinal tract. Following
diagnostic studies and laboratory tests, patients received either a single dose of ivermectin, two single doses
of ivermectin 1 day apart or thiabendazole twice a day for 3 days. Follow-up visits were weekly for 1 month
and monthly for 1 year (Study 014), or at Week 1, and Months 1, 3, 6, and 12 (Study 015).” “Although the
study was open in design, stool specimens were examined by one single expert who was to remain blinded
as to the treatment allocations.” The primary therapy period was from May 1990 through December 1991.
The Berk study (014) was conducted using patients from a Veterans Administration Medical Center in
Mountain Home, Tennessee. The Gann study (015) was conducted in                                    where there
is a large population of refugees from Cambodia and Laos.

Dosages were a single 200-mcglkg iverrnectin oral dose, two 200-mcg/kg oral doses of ivermectin 1 day apad
or 3 days of 25 mg/kg b.i.d. oral treatment with thiabendazole.

“After completion of the informed mnsent procedures and documentation of strongyloidiasis evidence by stool
examination, patients were randomized ...”

REWEWER COMMENT: The applicant @age 1549 of volume 30] reported that 4 of the 68 patients who were
randomized had negative pretreatment stooi examinations and were therefore considered nonevaiuable.
Beowse 2 of these 4 patients had at /east one positive pratreatrnent stocd examination, the Medical Ofticer
wnsidered these 2 patients to be evaluable.

‘Parasitological cure was the primary measure of efficacy and was assessed using repeated Baermann stool
examinations during the follow-up period. Cure was defined as the absence of Iawae in the follow-up stool
examinations. A single positive stool after Day 6 was defined as a therapeutic failure.” “The primary
measurement of eficacy was the cure’ rate.”

Patients were included who were between 5 and 80 years of age and who were infected with Sbongy/oides
stercoralis. Infection status was determined by stool examination using the Baermann technique. Please
refer to the Medical Officer’s review for more details of the inclusionlexclusion criteria and for details on the
visit procedures.
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NDA50-742MECTIZANT~(ivermectin) oral tablets                                                                   8
                                                                            .

J?EVIEWER COMMENT There were inconsistencies between the prutocoh that required one year of fo//ow-
up and a statement in the study report that 7hrae- to &month foliow-up was the main goal. ” The evaluability
criteria never explicitly stated what was considered “adequate fo//ow-up stool examinations. The Medical
Of&er concluded that 30 days was appropriate for test of cure.
                                                                                           —
A subsequent audit by the applicant “showed that 52?40of the patients had incomplete supportive
documentation on file for stool testing. [n this group of 520A,one to four source repofi were missing per
patient, with most patients having had an average of 6 to 7 tests completed during the study course.
Admittedly, these findings would be of great concern if the frequency of positive stool tests were high;
however, this is not the case for any of the three treatment groups in this study.”

Rm EWER COMMENT               Them wem discussions concerning the lack of signed informed consent documents
for 43% of all patients, It was conciuded that oral cwsent had been given, and that the problems had arisen
because “almost all patients who entered the tria/ were Cambodian n?fugees who wen? for the most part
illiterate.” The journal article by Gann et al specifically stated that the medical interviews were conducted in
Cambodian.

11.
  B.2.b. Efficacv Results



“Aflevaluable patients (14/14) in the singledose ivermectin group were cured (100%) compared to 18 of t9
patients (95?4.) assigned to the twodose ivermectin group and 16 of 17 (94’%.) of patients receiving
thiabendazole. There were no significant differences between treatment groups in the proportion of patients
cured. Cure was not significantly related to age, sex, race or intensity of infection.”

REVIEWER COMMENT The dfierence between the percent cured tirthe single-dose ivermectin group and
the thiabendazole group is 6% with a 95% confidence interval of ,d,j, [-12Y0, 24% ] ,mM,w% The difference
between the percent cured for the double-dose ivermectin group and the thiabendazole group is 1% with a
95% confidence interval of ,9,,7 [-20%, 21%] g~%,&%         In the DAIDP Points to Consider document,
equivalence, when the better of the two agents has a cure rate greater than 90%, is established when the
lower bound of the 95% confidence interval around the dfierence in the outwmes is notAS than -70%. The
Iowerbounds of -12% and-20% miss this ttveshold for establishing equivalency. Howevefi it should be noted
that the studies were small which /ed to wide confidence intervals.

In a modified intent-to-treat analysis, the applicant included all patients “with adequate pretreatment and
posttreatment stool examinations.” In this population, “18 of 18 (lOO”A) of the single-dose ivermectin group
were cured compared to 21 of 22 (950A)patients in the twodose ivermectin treatment group and 18 of 20
(90%) patients assigned to receive thiabendazole.”

Table 2 presents the number of patients by treatment group who entered the study and the number of pdients
considered nonevaluable for clinical efficacy by reason for exclusion.                                  -.,
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NDA50-742MECTIZANTM
                  (ivefrnectin)
                              oraltablets                                       .                               9


  Table 2: Accounting       by applicant of patients entered into protocols 014 and 015.

                 Patients                      Ivermectin          Ivennectin        Thiabendazole
                                                 I dose              240se

  Entered into Studies                              22                  24                  22

  Nonevaluable for Efficacy                         8                   5                   5

  Reason for nonevaluability for efficacy

    Pretreatment stool exam negative                2                   2                   0
    Inadequate follow-up parasitology               5                   3                   3

    Pretreatment stool exam >30 days                1                   0                   0
    Patient discontinued too earty                  o                   0                   1
    Patient on high dose                            o                   0                   1
     immunosuppressive treatment

 Evaluable for Efficacy Analysis                    14                  19                  17

 Cure Rate                                        141j4               18/19               16/17
 (%)                                              (loo)               (95%)               (94%)

 Evaluable for Safety Analysis                     22                  24                  22



Medical Officer’s results

Using a test of cure at 30 days post treatment and evaluating those patients with any recent positive stml
examination taken pretreatment without intervening treatment, the Medical Officer found that single-dose
iverrnectin cured 18 of 18 (1OOYO) evaluable patients, double-dose ivemwctin cured 19 of 20 (95Yo)evaluable
patients, and thiabendazole cured 18 of 19 (95%) evaluable patients. A 95% confidence interval of the
difference in proportion cured between singledose ivennectin and thiabendazole is ,a,lg [-20Y0,37°A] ,W~,g5%.
 A 95% confidence intewal of the difference in proportion cured between doubledose ivermectin and
thiabendazole using the exact method is ~1~ [-28?40,30°A ] ~~x,~~x.

Because the risk of reinfection in the U.S. is very low, a 90 day follow-up is mnsidered to evaluate the
potential for relapse. At 90 days, the Medical Officer found that singledose iverrnectin cured 18 of 18 (100%),
double-dose ivermectin cured 17 of 18 (940A),and thiabendazole cured 17 of 19 (890A). A 95% confidence
intewal of the difference in proportion cud by singledose ivermectin versus thiabendazole at 90 is           ....
,e,lg [-16%, 43%] ,OOK,eQ%.   A 95% confidence interval of the difference in propodion cured by double-dose
ivermectin versus thiabendazole at 90 days is ,B,lg [-23°/0, 39°A ] M%,8Q.A.

JI.B.2.c. Safetv Res Ults               ,{

Two patient deaths that were not considered related to the study drugs were repotied. One patient on two-
dose of ivermectin died 57 days posttreatment of coronary artery disease and chronic pulmonary disease.
One patient on thiabendazole died on study day 84 as a result of underlying pulmonary disease.

One patient on thiabendazole had his treatment discontinued after 1 day of therapy due to severe nausea and
moderate tinnitus. The investigator considered these clinical adverse events to be definitely related to the
study drug.
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NDA 50-742 MECTIZANm      (ivemnectin) oral tablets                                                            10

“The difference in the incidence of clinical adverse experiences (AEs) between each of the ivermectin groups
and the thiabendazole group was significant (p<O.001 for each comparison).”             For ctinical adverse
experiences that were considered possibly, probably, or definitely related to study drug, there were 3 of 22
(14%) patients on single-dose ivermecth, 5 of 24 (21%) on two-dose ivermectin, and 18 of 22 (82%) on
thiabendazole.

11.6.3. Protocol    020 (Drever)

Protocol title:
‘An Open, Randomized Study of Efficacy, Safety and Tolerability of Ivermectin Single Dose (One or Two Day
Course) vs. Thiabendazoie (Ttweeday Course) in the Treatment of Patients Infected With Strongylcides
Stemora/is.”

11.B.3.a. Stu dv Desian

“Open, randomized trial in ambulatory patients with strongyloidiasis of the gastrointestinal tract. Following
diagnostic studies and laboratory tests, patients received either a single dose of ivermectin, two single doses
of ivermectin 1 day apart or thiabendazole W& a day for 3 days. Follow-up visits were held weekly for 4
weeks.” The study was conducted in Recife, Brazil between May 1991 and December 1991.

Patients received either a single 200 pg/kg ivermectin oral dose, two 200-mcg/kg oral doses of ivermectin one
day apart or 3 days of 25 mg/kg b.i.d. oral treatment with thiabendazole.

Patients were included who were between 5 and 70 years of age and who were infected with Strongy/oides
stercoraks. Infection status was determined by stool examination using the Baermann technique. Please
refer to the Medical Officer’s review for more details of the inclusionlexclusion criteria and for details of the
visit procedures.

“The primary measure of efficacy in this study was the absence of larvae in posttherapy Baerrnann fecal
examinations. Cure was defined as the absence of larvae in the follow-up stool examinations. The detection
of larvae on any stool examination past Day 6 up to 36 days posttreatment met the definition of treatment
failure. “ “Since the study was conducted in a highly endemic area, a positive stool examination beyond 36
days posttreatment was not considered a clinical failure if all prior posttreatment stool examinations were
negative. ” “All stool specimens were examined by one single expert who was to remain blinded as to the
treatment allocations.”

u.B.3.b. Efficacv Results
A!mIicant’s results

“Ten of 15 (67%) evaluable patients in the single-dose ivermectin group were cured compared to 14/17 (82%)
in the twodose ivetiln       group and 13/15 (870A)of patients treated with thiabendazole. There was no
significant difference between treatment groups in the propotilon of patients cured. A patient’s likelihood of
cure was not significantly related to age, sex, race, or intensity of infection.”

REVIEWER COMME NT The dflerance between the pement cured fir the single-dose ivetmectin group and
the thiabendazole grvup is -2W0 with a 95% cont7denceintetval of,5,5 [-58%, 16% ] ~m,Bm. The difference
between the percent cured for the dobble-dose iverrnectin group and the thiabandazole group is -5% with a
95% conftience inte~al of ~T,5[-36%, 27% ] ~~~,a~ The small study size resuks in very wide confidence
intervals with /ower bounds we// below the -75% required by DAIDPs Points to Consider to estab/ish
comparability.

“In order to estimate a ““worst outcome”” cure rate, efficacy was also evaluated by designating all patients with
any positive stool examination at any posttreatment time point (beyond Day 5) as treatment failures. By this
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NDA50-742MECTIZANm(iverme~~n)
                            oraltablets                                                                       11

criteria, 10/1 5 patients (67Yo) in the singledose ivermectin group, 10/17 (590A)of patients in the twodose
ivermectin group and 9/15 (60Yo) of patients in the thiabendazole treatment group were cured.”

REV I*    R COMMENT The %vorstoutcome” resutis use the definition of faikn that was used by Bark and
Gann (ptvtorwls 014 and 015). The lower cum rates would be expected because of the ni of reinfection.

Table 3 presents the number of patients by treatment group who entered the study and the numbers included
in the clinical and safety analyses. Because Recife, Brazil is an endemic area, the cure rates for any
treatment failures after 36 days could have been due to reinfection.

REVIEWER     COMMENT       The Medics/ Oflicer used 30 days as test of cure.


 Table 3: Accounting      by applicant of patients entered into protocol 020 (Dreyer).

                      Patients                          Ivermectin         Ivermectin        Thiabendazole
                                                          ldose              2dose

 Entered into Study                                         17                  17                  15

 Dismntinued study                                           2                   1                   0
 Completed study                                            15                  16                  15

 Evaluable for Efficacy Analysis                            15                  17                  15

 Cure Rate (failure if positive stool days 6-36)          10/15               14/17               13/15
 (%)                                                      (67%)               (82%)               (87%)

 Cure Rate (failure if positive stool after day 5)        10/15                10/17               9/15
 (70)                                                     (67%)               (59%)               (60%)

 Evaluable for Safety Analysis                              17                  17                  15




Using a test of cure at 30 days post treatment and evaluating those patients with any recent positive stool
examination taken pretreatment without intervening treatment, the Medical Officer found that singledose
ivermetiln cured 9 of 14 (65Yo)evaluable patients, doubledose ivermectin cured 15 of 17 (88Yo)evaluable
patients, and thiabendazole cured 13 of 15 (87%) evaluable patients. A 9!YY0confidence intewal of the
difference in proportion cured between singl~ose ivermectin and thiibendazole is ,415 [-59°A, 16°A] ~~w,m.
 A 95% confidence interval of the difference in proportion cured between double-dose ivermectin and
                                                                                                         ..
thiabendazole using the exact method is ,7.15[-31%, 39%] ~x,8%.

Because the risk of reinfection in Brazil is high, a 90 day follow-up is considered to evaluate the potential for
reinfetilon. At 90 days, the Medk.al Officer found that singledose ivermectin cured 6 of 11 (550A), double-
dose ivermectin cured 10 of 16 (63%)/and thiabendazole cured 8 of 14 (57Yo). A 95% confidence interval
of the difference in proportion cured by single-dose ivennecth versus thiabendazole at 90 days follow-up is
,1.14[-50%,45%] 55%857%.    A 95% confidence intewal of the difference in proportion cured by doubledose
iverrnectin versus thiabendazole at 90 days follow-up is ,G,l, [-36°A , 470/0] 630~,57%
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NDA50-742MECTIZANW(ivermectin)
                             oraltablets                                   .                                 12

11.B.3.c. Safety Results

There were no serious clinical adverse events or discontinuations due to clinical adverse events.

There was a statistically sgnticant dfirence between the i*ce        of din”e! adverse ex@~e.nces between
the ivermectin groups and the thiabendazole group (P<O.001). None of the 17 patients who received
ivermectin in a single-dose reported a clinical adverse experience. Two of the 17 patients who received
ivermectin in two doses reported clinical adverse experiences that the investigator mnsidered unrelated to
the study drug. Nine of the 15 patients who received thiibendazole reported clkkal adverse experiences with
8 patients having psychiatric/nervous system complaints and 6 of the 8 reporting dizziness.

“Each patient who entered the trial was asked to give an overall tolerance assessment of their treatment.
Seventeen of 17 (100%) patients in the single-dose ivermectin group found the treatment to be Well
tolerated,” compared to 1? of 17 patients (1OO”A)in the twodose ivennectin and 6 of 15 patients (40%) treated
with thiabendazole.”

11.B,4. World   Health Organization         Studv (Marti et. alJ

Protocol title:
“A Comparative Trial of a Single Dose Ivermectin versus 3 days of Albendazole for Treatment of Stmngy/oides
Stercom/is and Other Soil Transmitted Helminth Infections in Children.”

Publication based upon data collected:

Marti HP, Haji HJ, Savioli L, Chwaya HM, Mgeni AF, Hatz C. A comparative trial of a single dose ivermectin
versus 3 days of albendazole for treatment of !Wongyloides sterccmdis and other soil transmitted helminth
infections in children. Am J Trop Med and Hyg, (submitted November 1995).

11.B.4.a. Studv Deskm

“A randomized trial carried out in rural Zanzibar comparing a single dose 200 pg/kg ivermectin and 400 mg
daily for 3 days of albendazole for treatment of strongytildiasis and other intestinal nematodes.” The study
was conducted October-December 1994. The participants were students at least 10 years old enrolled in
either one of two primary schools. Included were students with S. stercom/is detected in a stool sample
provided by the student Stool samples were evaluated in the laboratory on the same day as collection using
the Baerrnann technique. Excluded were students from whom consent was not given, who had fever or other
signs of acute illness, severe neurological disorders, severe liver disorders, or were pregnant.

A randomization list for the sequential allocation of the drugs was prepared in advance. Treatments were
administered under the supewision of a medical assistant. Three weeks after the end of treatment, the
subjects were given a stool container and asked to bring a fresh specimen the following morning.   -

A standardized questionnaire was used by the medical assistant to assess side effects at baseline, at 3 days
after start of treatment, and at 3 weeks after the end of treatment.

11.B.4.b. Efflcacv results

Armlicant’s   results                 /

A total of 419 children were found to be infected with S. Stercoralis and were eligible for the trial. Of these,
2 children were excluded for medical reasons, 13 had inmmplete treatments, 32 had incomplete follow-ups
and 71 had no follow-up. The loss to follow-up was primarily attributed to an unforeseen closure of a school
just before the holidays, so that many pupils did not return to school. Of the 301 evaluable participants, 152
received a single dose of ivermectin, while 149 were treated with 3 days of albendazole.
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NDA50-742MECTIZANW(iverrnectkr)
                             oraltablets                                                                        13

“Cure rates for S. stercwdis were significantly better with iverrnectin than with albendazole (82.9% vs 45.0%).”

Med ical Officer’s results

Patient level data was not available for this study. Please refer to the Medical Officet’s report46r a qualitative
assessment of this study.

JI.B.4.c. Safety Resuftq

No severe adverse effects were recorded among the students in either treatment group. “109 children
(32.7%) experienced adverse effects of either medication: 29.4% in the ivermectin group and 35.9% in the
albendazole group (n.s.). None of them was sufficiently incapacitated to be unable to perform normal daily
activities. Abdominal distension and chest tightness or pain were recorded significantly more often after
ivermectin medication.”

11.6.5. Dose    ranaina     studv   [Naauira.   et. al.)

Publication based upon data collected:

Naquira C, Jimenez G, Guerra JG, Bernal R, Nalin OR, Neu D, Aziz M. Ivemwctin for human strongyloidiasis
and other intestinal helminths. Am J Trop Med Hyg, 1989;40:304-309.

11.B.5.a. Studv Desian

“Seventy-four males and 36 females aged 11-74 years who had stcd examinations positive for S. Stermralis
larvae within 7 days of the study and who gave informed consent were assigned to 1 of 6 dose groups. All
received matching placebos on day 1 and then on day 3 a single oral dose of ivermectin. Sequential groups
of about 18 patients received single doses of 50, 100, 150, or 200 pg/kg ivermectin, followed on day 4 by
another matching placebo or, in 2 of the groups by another dose of ivermectin (100-1 00 or 200-200 pglkg).”
(page 2511 of volume 1.32)

“Ivermectin dose was assigned according to a double-blinded sequential dose allocation schedule,”

11.
  B,5.b. Efficacv results

Amdicant’s     results

Table 4 presents the numbers and percents of patiints treated and cured by dose level. “Strongyloidiasis cure
rates were significantly higher in recipients of doses >150 rncg/kg, but did not vary significantly above that
dose.’

                                                                                                               ...-
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NDA=742 MECTIZANW(ivermecth)oraltablets                                                                         14
                                                                             .


 Table 4: Cure rate (%) of strongyloidiasis patients treated with single ivermectin doses of 50-200
 mcg/kg or with 2 doses of 100 or 200 mcg/kg in study conducted by Naquira et, al.

                                                            Patients cured/ total patients (%) -

             Total dose                                           Days post-treatment
              (mcg/kg)                                  3                                    30

                  50                              12/18 (67%)                            10/15 (67%)

                 100                               2/18(11%)                             11/15 (73%)

                 150                               7/18 (39?40)                          16/17 (94%)

                 200                              11/17 (65%)                           16/17 (94%)

               100 (x2)                           11/18 (61VO)                          15/17 (88%)

              200 (x2)                             9/20 (61%)                           20/20 (loo%)
              All Doses                          52/109 (48?40)                         89/101 (88%)



Medical Officer’s results

Patient level data was not available for this study. Please refer to the Medical Officefs report for a qualitative
assessment of this study.

11.B.5.c. Safetv Results

“Clinical and laboratory adverse effects were chiefly mild and self-limited among the 200 patients in tits study.”
“There were 3 deaths of patients with severe complicating diseases: 1 with perforated gastric carcinoma, 1
with leukemia who developed a hernatologic blast cxisis, and 1 W-WKiebsiella meningitis. These patients died
at 10, 3, and 18 days after therapy, respectively.”

JLC. Medical Officer’s Integrated Summarv of Efficacv

The applicant provided patient level data for the Gentilini (004), Dreyer (020), Berk (014), and Gann (015)
studies. The protocols for these studies were fairly consistent including the use of blinded examination of
patient stools using the Baermann technique to assess infection with SWongyioicfessfercoralis. Patients in
these studies were followed for an extended period with stool examinations generally occurring at 30,.60, and
90 days. However, these protocols had some inconsistencies in their definitions of evaluable patients and of
test of cure.                                                                                               -’

The Medical Officer reviewed all the patient records provided and made an independent assessment of
evaluability and cure. Basically, any patient with a positive stool within a couple of months prior to treatment
was mnsidered evaluable. A few patie,ntshad been excluded by the sponsor because they had both positive
and negative stools prior to treatment& Because it is possible for the Baermann technique to misdiagnose
light cases and because Strongyloidiasis is not known to be eliminated without treatment, the Medical Oticer
considered these patients to be evaluable. A few patients were excluded who had positive stool examinations
more than 100 days prior to entry into the study. Refer to the Medical Officet’s report for further discussion
on evaluability criteria.

For consistency, the primary efficacy outcome was defined as a test of cure at 30 days post treatment with
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NDA50-742MECTIZANT”(iverrnectin) oral tableta                                                                  15


a secondary outcome at 90 days. The study by Dreyer was conducted in Brazil where Strongyloidiasis is
endemic to the area so there is the possibility of reinfection. The other studies were conducted in France by
Gentilini and in the United States by Berk and Gann where risk of reinfection is small.

For further analysis, the patient outcome data from the Gentilini, Dreyer, Berk, and Gann studies are being
pooled by treatment regimen. The studies started with very similar protoools. The Medical -r      has applied
consistent criteria for evaluabilii and outcome assessment in his review. Respectively, for 30 days follow-up
and for 90 days follow-up, Table 5 and Table 6 compare the ivermecth treatment regimens with the
comparator treatments for each study and for the data pooled by treatment. Figure 1 and Figure 2 each
provide a graphical view of the 95% confidence intervals of the difference in treatment outcomes.

REVIEWER COMMENT            DAIDPs Points to Consider document suggests when a standati treatment has
90994eitiiacy or higher then the lower bound on the 95% confidence interval of the dflen?nce in the cure rates
should not be below-10% for approval. As can be seen in the following tables, tierrnectin is statistically better
than albendazole. A/though ivermectin’s cure rates ata comparable to”thiabandazole’s, the lower bounds are
genera//y around -20% at 30 days post treatment. The confidence intervals are wide because of the small
sample sizes.
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NDA50-742MECTIZANW(ivermectin)
                             oraltablets                                                                                                                    16



 Table 5: Summary of Medical Wtcer’s assessment of efficacy at 30 days post treatment

                                                     Ivermectin                                 Comparator                                95% cl of
                                                 cured/evaluable (%)                        cured/evaluabIe (%)                      treatment difference

 Iverrnectin 1 dose versus Thiabendazole

    Pooled Treatments                                     51/58 (88YO)                                31/34 (92%)                       [-22% , 16%]

   Berk (014)&          Gann (015)                        18/18 (loo%)                                18/19 (95%)                       [ -20%, 37%]

   Dreyer (020)                                            9/14 (65%)                                     13/15(87%)                    [ -59%, 16%]

 lverme~ln 2 doses versus Thiabendazole

   Pooled Treatments                                      34/37 (92%)                                 31134 (92%)                       [-19%,23%]

   Berk (014)&       Gann (015)                           19/20 (95?40)                               18/19 (95?40)                     [ -28%,   30% J

   Dreyer (020)                                           15/17 (88%)                                 13/1 5 (87%)                      [ -31%,   39%]

 Ivermectin 1 dose versus Albendazole

   Gentilini (004)                                        24/26 (92%)                                 12/22 (55?40)                     [ 10% ,65%]

   Marti (WHO)                                        126/1 52 (83%)                              67/149 (45%)                          [ 27% , 49%]




            Figure 1: 95% Confidence              Intervals of Differences      in Proportions Cured of Strongyloidiasis
                                                              at 30 Days Post Treatment


        I
             Iven’nectin1 Dose versus Thiabendazole


                   Pooled Treatments                              ~


                   Berk (014)& Gann (015)                         ~


                   Dreyer (020)         +                                               ●




                      2 Dose versus Thiebendszole
             Ivermectin


                   Pooled Treatments                                  ●                      *


                   Berk (014)&    Germ (015)                  ●                                       ●




                   Dreyer (020)                           ●                                                 ●


             Ivermectirr 1 Doee vemus Albendezoie


                   Gentiliii (004)                                                  ~


                   Merti (WHO)                                                                    +               ●
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        I
             I      I      I      I     I    1    i        I          I   I   I     I       I         I      I    I    I     I   I     I    I
            -1.0         -0.8         -0.6       -0.4             -0.2        0.0           0.2             0.4        0.6       0.8       1.0
                                                              Wfswencain Proportion Cured
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NDA50-742MECTIZANTM
                  (iverrnectin)
                             oraltablets                                                                                                                          17
                                                                                                                 .
 Table 6: Summary        of Medical Officer’s assessment of efficacy at 90 days post treatment

                                                     Ivermectin                             Comparator                                         95% c1 of
                                           cured / evaluable (%)                       cured / evaluable (%)                          treatment difference
 IvermWln   1 dose veraus Thiabendazole                                                                                                         -.

    Pooled Treatments                            45155       (82%)                          25133        (76%)                             [-14%         , 28%]

    Berk (014)&      Gann (015)                 18/ 18 (100%)                               17/19(89%)                                    [-16%          , 43%]

    Dreyer (020)                                     6 ! 11 (55%)                               8 t 14(57%)                                [ -46%, 37%]

 Ivermectin 2 doses versus Thiabendazole

    Pooled Treatments                            27 f 34 (79?%J)                           25/ 33 (76%)                                    [-21%,29%]

    Berk (014)&    Gann (015)                    17/ 18 (94%)                               17/ 19 (89%)                                  [ -23%,         39% J

    Dreyer (020)                                 10/ 16 (63%)                                   8114     (57%)                             [-31%,44%]

 Ivermectin f dose versus Albendazole

   Gentilini (004)                               21126       (81Yo)                             10/21 (48YoI                                   14Y0 ,61%]




            Figure 2: 95?4.Confidence Intervals of Differences in Proportions Cured of Strongyloidiasis
                                                         at 90 Days Post Treatment

              Ivermectin1 DoseversusThiabandazde                                  ,

                   Pooled Treatments                                     *                       ●
                                                                                  ,
                                                                                  ,
                                                                                  ,
                   Berk (014)& Gann (015)                            ●                                           ●
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                   Dreyer (020)            4                                                                     ●
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              Ivermectin2 Dose versus Thiabemkde                                  ~
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                   PooIed Treatnwts                              ~
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                                                                                  1
                   Berk (014)& Gann (015)                    ●                                           ●
                                                                                  1
                                                                                  #
                   Dreyer (020)                      ●                                                               b
                                                                                  ,
                                                                                  t
              Iverrnectin 1 Dose versus Albendazole                               ;
                                                                                  ,
                                                                                  1
                   Gentilini (004)             , ‘                                $+                                              ●



              1      I    I     I    I     I     I       I       i           I    I    I    i        I       I           I    I       1    I         I     I
            -1.0         -0.8       -0.6       -0.4          4.2                 0.0       0.2           0.4                 0.6          0.8             1.0

                                                         Difference in ProportionCured




                                     ——                              ..
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  NDA 50-742 MECTIZANW           (ivermectkt) oral tablets                                                                  18


  A survival analysis can be used to analyze the time to an event. In this &se, the event is a positive stool on
  follow-up examination. A Kaplan-Meier analysis is a non-parametric method that can be used to estimate the
 proportion cured and to provide a confidence interval about the proportion cured. For this analysis, patients
 were pooled across studies by tneatment regirmm. In the Gentilini study, a few patients were retreated within
 a week or so of initial treatment For the sutvival analysis, these patients are treated both as treatment failures
 and as if they were lost to follow-up at that time (i.e. censored).

 REV IEWER COMME WI! Six patients wefe Mraated with a/bendazo/e within 10 days of initial treatment. It
 is possible that the dmg had not had sui7icient time to complete its cure. It is a mom conservative case to
 treat these patients as 10sS6?Sratherthan 8s failures ofalbendazok. Note that in the Marti study albendazole
 only cured 45%. At 30 days, Albendazole cures 55% if the early retraabnents am treated as losses and 43%
 if the early retn?atments are treated as failures.

 Basedon the Kaplan-Meier method, the 95°A confidence interval on the percent cured at end of follow-up is
 the following for each treatment albendazole [33%,76%] if retreatment are failures and [49% , 96%] if
 retreatment are losses, singledose ivermectin [68Y0,92Yo],doubledose ivermecth [66Y0,94Yo], and
 thiabendazole [62%,92’3!.]. Figure 3 and Fgure 4 each provide a graphical view of the survival curves for each
 of the treatments first with the Gentilini eariy retreatment treated as tiilures and second treated as losses.



                   Figure 3: Kaplan-Meier Analysis of lime to Treatment Failure for Strongyloidiasis
                              w“th early Gentilini retreatment treated as treatment failures




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                       NDA50-742MECTl~NTU (ivemdin)        orsl tabkts



                                                                                                              .                                                 19

                                       Figure 4: Kaplan-Meier Analysis of Time to TreaWent Failure for Strongyloidiasis
                                                    with early Gentilini ratreahenb treated as censored events
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          REvJEwER COMMENT: AS the graphs illustrate, albendazole k closer in effectiveness to the other
          tmahnts   when the early retreahents are bated as lossesratherthan as failures. Howevec even withthis
          WfiaPs ovetiY consemative approach, iverm=tin still demonstmtes effecttieness at /east as g~ as the
          altematwes.




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NDA50-742MECTIZANW(iverfnectin)
                              oraltablets                                                                       20
                                                                             .
J1l.Onchocerciasis                (a.k.a. River blindness)
“Onchocerciasis is a major filatil disease and one of the major causes of blindness in Third World countries.
This disease, caused by the filarial parasite Onchocerca VOIVU  IUS,is transmitted to humans by blackflies of
the genus Simuiium.”

“The clinical manifestations of the disease, largely due to the host’s immune response to the dead microfilaria,
range from itching, weight loss, disfiguring skin changes, and eye damage which can lead to blindness.”

“Efforts to reduce transmission of onchocerciasis by vector control have proven unsuccessful and
chemotherapy of thii disease has been limited to the two drugs DEC and Suramin. These drugs often have
serious side effects and must be administered under close supervision making them impractical candidates
for mass chemotherapy.”

“During the development of ivermectin for animal health, it was discovered that the drug was highly effectWe
against the microfilariae of Or?chocemacankalis in horses. Thus, it was postulated that ivermectin may have
activity in man against Onchocema vohdus, the causative agent of onchocerciasis, also known as river
blindness.”

“In 1987, ivermectin was approved in France for the treatment of onchocerciasis and is now mnsidered the
drug of choice for the treatment of that inf~lon.”


IILA. Labelinu c Iaims and mima w studies

“The recommended dosage of MECTIZAN for the treatment of onchocerciasis is a single oral dose designed
to provide approximately 150 pg of ivermectin per kg of body weight’ “Patients should take tablets with water.
In mass distribution campaigns in international treatment programs, the most commonly used dose interval
is 12 months. For the treatment of individual patients, retreatment may be considered at intewals as short
as 3 months.”

“The evaluation of MECTIZAN in the treatment of onchocerciasis is based on the results of clinical studies
involving 1278 patients. In a double-blind, placebo-controlled study involving adult patients with moderate to
severe onchocercal infection, patients who received a single dose of 150 pg/kg MECTIZAN experienced an
83.2?4.and 99.5% decrease in skin microfilariae count (geometric mean) 3 days and 3 months after the dose,
respectively. A marked reduction of >90Y0was maintained for up to 12 months after the single dose.”

“In a separate open study involving pediatric patients ages 5 to 12, similar decreases in skin miorofilariae
munts were obsewed for up to 12 months after dosing.=

JWVIEWER COMME N’C Applicant provided two sets of data for each of the following studies. The effkacy
dataset only provided basic demographic data and supped for the density outcome of nn%ngof skin byralative
study day. The second dataset prvvided adverse clinical experiences. Note that systemic responses w@ra
excluded fmm the dataset since these wem oonsidemd to be the result of effective tn?atment rather than
unexpected adverse clinical expedences.

The statistical reviewer verified that rasults rapmted in the tVDA submission were consistent with results
produced by analysis of i%ese&tase,&. Since the medical oficer did not rsciassify individual patients as to
evaluability or cure status, statistical mana/ysis of the data was /imited to application of a/temative statistic/
analysis to assess the robustness of the findings based upon the submitted data.
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NDA50-742MECTIZANW(Merrnectin)
                            oraltabtets                                                                       21

                                                          .
111.B. Proto COI 514 (Document 500 2 )
       Studies bv Lariviere (509. 510}. Awadzi (511]. Green                     [512~

Protocol title:
“Double-Blind Comparative Studies of Ivermectin, Diethylcarbamazine Citrate and Placebo in Patients with
                                                                                       _.
Onchocerciasis.”

111.B.1.Studv Desian

The study was a double-blind, doubledummy, comparative study of ivermectin, diethylcarbamazine citrate
(DEC-C) and placebo. Treatment assignment was according to a randomized allocation schedule. lvermectin
patients received a single oral 12 mg (two 6 mg capsules) dose on Day 1. DEC-C patients received 2 daily
doses totaling 50 mg on Days 1 and 2 and 200 mg on Days 3 through 8. The synopsis of the clinical study
report was dated 16Jan87. The study subjects were hospitalized onclmcerciasis patients located in Senegal,
Mali, Ghana, and Liberia.      The outcome was a measure of microfilana density that was the combined
measurements from 4 skin snips taken at the right and left iliac crest and at the right and left calf.

111.B.2.Efficacv Re Sldts

AODlicant’s   results

“In this mmparative study of ivermectin vs DEC-C vs placebo in hospitalized onchocerciasis patients, mean
skin microfilaria (mf) densities decreased sharply by Day 2 in both ivermectin and DEC-C patients and
reached almost identical low levels ( - 2°A of pretreatment) by Day 8. The mf densities then decreased further
in the ivenmectin patients (some to O) over the next 3 months but increased gradually in DEC-C patiints to
about 14°A of pretreatment level in 3 months. Between 3 and 12 months posttreatment, the mf densities in
ivermectin patients gradually increased to about 5% of the pretreatment level mmpared to 20% in the Dee-C
patients at 12 months. There were essentially no changes with placebo treatment.”

“Both ivermectin and DEC-C eliminated mf from the anterior chamber of the eye. DEC-C-treated patients
cleared mf faster than ivermectin-treated patients.”

Figure 5 was provided by the applicant to graphically show the difference in the affect of the treatments on
the reduction in the geometric mean of microfilaria densities (mf/mg skin) over the one year of follow-up.
Table 7 shows the results for the outcomes that the Medical O~cer considered primary and semnda~.

FWVIEVVERCOMMENT The Mectica/ Olfker considered the teduction in the geometric mean of the mth?g
one month posttmatmantto be the primary outoomefor assessmentof eficacy. Of secondary interest was
the mdudion at 3-months and 6-months posttmatrnent because of the labeling suggestion of possible
n?traatment at 3-months posttmatment.

As the applicant noted in the submission @ageD-1473 of volume 1.79], the data is neither normally distributed
nor log-normally distributed. The applicant appropriately petionned nonparametnc analysis of the data in
addition to reporting the geomeb”c mean for consistency with otherpublications in this f~ld. In this mvieww%
nonparametric analysis of the data, results were consistent with the applicant in that there was not a
statistically significant difference between ivennectin and DEC-C in the actual reductions in the density
(mflmg). An alternative to analyzing the actual raduct.ionsin micmfilaria counts is to ana/yze the effect of the
treatments on the ratio of the micmfilaria count at a fo//ow-up time point to the microfilaria count at baseline
before tn?atment. The applicant referred to this measwe as pemantage of pretreatment. Analysis of this
measure resulted in a statistically signifkant dfierence in the pementage of pretreatment baseline at all three
time points (p-value = 0.0001) based upon a kWcoxon Rank Sum analysis of the data provided by the
app/icant.
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NDA 50-742 MECTlZ4Nw (tverrnechn)oraltablets                                                                 21
                                                                           .
111.B. Protocol 514 (Document 50 o2}
       Studies bv Lariviere (509. 510]. Awadzi {511}. Green (512J

Protocol title:
‘Double-Blind Comparative Studies of Ivermectin, Diethylcarbamazine Ctite        and Placebe4n Patients with
Onchocerciasis.”

111.6.1.Studv Desian

The study was a double-blind, doubledummy, comparative study of ivermectin, diethylcarbamazine citrate
(DEC-C) and placebo. Treatment assignment was accotilng to a randomized allocation schedule. Ivennectin
patients received a single oral 12 mg (two 6 mg capsules) dose on Day 1. DEC-C patients received 2 daily
doses totaling 50 mg on Days 1 and 2 and 200 mg on Days 3 through 8. The synopsis of the clinical study
repoft was dated 16Jan87. The study subjects were hospitalized onchocerciasis patients located in Senegal,
Mali, Ghana, and Liberia.      The outcome was a measure of microfilaria density that was the combined
measurements from 4 skin snips taken at the right and left iliac crest and at the right and left calf.

111.B.2.Efficacv Results

Amiicant’s   results

% this comparative study of iverrnectin vs DEW2 vs placebo in hospitalized onctwcerciasis patients, mean
skin microfilaria (mf) densities decreased sharply by Day 2 in both ivermetiln and DEC-C patients and
reached almost identical low levels ( - 2°A of pretreatment) by Day 8. The rnf densities then decreased further
in the ivermectin patients (some to O)over the next 3 months but increased gradually in DEC-C patients to
about 14% of pretreatment level in 3 months. Between 3 and 12 months posttreatment, the mf densities in
ivennectin patients gradually increased to about 5% of the pretreatment level compared to 20% in the Dee-C
patients at 12 months. There were essentially no changes with placebo treatment.”

“Both ivermectin and DEC-C eliminated mf from the anterior chamber of the eye. DEC-C-treated patients
cleared mf faster than ivermectin-treated patients.”

Figure 5 was provided by the applicant to graphically show the difference in the affect of the treatments on
the reduction in the geometric mean of microfilaria densities (mfhng skin) over the one year of follow-up.
Table 7 shows the results for the outcomes that the Medical Officer considered primary and secondary.

J=vEwE R COMMENT The Medical Ot?icarconsidered the reduction in the geometfic mean of the mtimg
one month posh?eatment to be the primary outcome fix assessment of etikacy. Of secondary intemsf was
the reduction at 3-months and 6-monMs posttmatment because of the /abe/ing suggestion of possib/e
retreatment at 3-months posttreatment.
                                                                                                        ..
As the applicant noted in the submission @ageD1473 of volume 1.19], the data is neither normally dis~buted
nor log-normally distntxded. The applicant appropriately performed nonparametric analysis of the datajn
addition to @porting the gaomebic mean for consistency with other publicatins in this field. /n this mviewets
nonpammetric ana/ysis of the data, msu/ts wers consistent with the applicanf in that them was not a
statistically sign%cant dit7erence between ivermectin and DEC-C in the actual mcfuctions in the density
(mVmg). An a/temative to analyzing the actua/ faductions in microfilaria counts is to analyze the affect of the
tn?atments on the ratio of the mhmilaria count at a fo//ow-up time point to the micrutlaria count at baseline
before treatment. The applicant refem?d to this measure as pementage of pretreatment. Ana/ysis of this
measum tw,dted in a statistica//y significant dflemnce in the percentage of pfetmatment baseline at all three
time points (p-va/ue = 0.0001) based upon a bWcoxon Rank Sum ana/ysis of the data provided by the
applicant.
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 254 of 382



NDA 50-742 MECTIZAN1”(iverrnectin)oral tablets                                                            22
                                                                                .
Fgure 5: Geometric mean of microfilaria densities (mflmg skin) of onchocerciasis where the treatments are
ivermectin, DEC-C, and placebo.



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Table 7: Summary of skin microfiiaria density (mf/mg skin) between-treatment comparisons
(pages D-1475 and D-1478 of volume 1.19)

                    Number of evaluable patients                Between-Treatment Comparisons
                  Median Change from Pretreatment
                   Percentage of Pretreatment@

   Visit      Ivermectin         DEC-C           Placebo      Iverrnectin       Ivermectin     DEC-C
                                                              vs DEC-C          vs Placebo   vs Placebo

                                                                 N.S.                “          M*
 Day 28           38                39              36
                 41.7             -56.9           -24.9
                  1?40             3%              37%

                                    29             26            N.S.                -          w
Month 3            26
                -68.6Y0           49.1           -10.1
                  1Yo              149+0          86%

                                                                 N.S.                H*         ●   **    ..~’
Month 6            44              45              43
                 -49.9            43.2            -3.1
                  2%               11?40          929’o

@ Geometric mean of the percentage of pretreatment mf counts calculated as (follow-up mf
count / baseline mf count) ● 100Y0. ,
- Significant difference between the respective treatment groups regarding median change
from baseline, p s 0.001
N.S. Difference between respective treatments was not significant, p >0.05
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   NDA 5G742 MECTIZANW       (ivennectin)oraltablets                                                            23
                                                                                .
  In addition to the analysis of reduction in microfilaria density, the applicant performed an analysis using as a
  test of cure a success being a reduction in the mf/mg of skin to less than 5 mf/mg skin. ‘It is generally
  beliived, among the onchocerciasis experts, that a patient becomes “noninfective- and will no longer serve
  as a host for transmission of onchocerciasis when the microfilaria is reduced to less than 5 mfhng skin.”
  [page D-1479 of volume 1.19]. Based on this criteria, ivermectin cured 36/38 (95%), 23&6 (88%), 31M4
  (70%) at day 28, month 3, and month 6, respectively, while DEGC cured 25/39 (64%), 8/29 (28%), and 16/45
  (36%) at day 28, month 3, and month 6, respectively. [page D-1480 of volume 1.19]

  REVI-R     COMME NT The 95% confidence intervals about the dflemnce in pmpotfions with a favorable
  response are ~,ag [ 1f %, 50%] ~~%,m%,~ Zg[37%, 85% ]W,m,           U 45[f3%, 57%1 Tmm for day 28,
  month 3, and month 6, respectively. This reviewer performed the analysis also using cut points of 2.5 and
  f.O mflmg with ivermactin showing even gn?ater ei?kacy in comparison to L3EGC.

  JII.B.3. Safetv results

  “The incidence of clinical adverse experiences in the ivermecth-treated patients was slightly lower than in
  patients treated with DEC-C (50 vs 56Yo). More DEC-C patients had a worsening of systemic readlons than
  ivermectin patients. In addition, more DEC-C patients required steroids, anti-inflammatory drugs and
  analgesics than ivermectin patients to relieve symptoms of systemic reactions and clinical adverse
  experiences.” The most commonly reported clinical adverse experience was myalgia in 30% of the
  iverrnectin-treated patients and 38% of the DEC-C-treated patients. Headache closely followed behg reported
  by 26% of the ivermectin-treated patients and by 38% of the DEC-C-treated patients [page D-1503 of volume
  1.19].

  “In general, ophthalmologicsafety results were similar for ivermectin and DEC-C.m

  “None of the laboratory adverse experiences was considered serious by the investigators, and no patient was
  dismntinued from the study due to adverse experience.” There was not a statistically significant difference
  between the number of ivemwctin-treated patients and number of DEC-C-treated patients with any adverse
  laboratory experiences. The only statistically significant lab difference was AST that increased in 2% of the
  ivermetiln-treated patients and 22% of the DEC-C-treated patients (0.001 <p<O.01).



  JILC. Protocol 519 (Documents 5003 I 5004]
         Studies by Green. Awadzi. Lariviere. Sc hulz-Ke~.                     Vinatain.    Zea-FloreS

  Protocol title:
  “A Multiclinic, Doubl&Blind Study of Ivermectin and Placebo in Patients with Onchocerciasis.”

  Protocol 5003 reported the results through 6 months of follow-up. Protocol 5004 is the posttreatment fbllow-
  up through 12 months and includes all CRF data received as of June 30, 1987.

  jll.C.l.   Studv De sian

  The study included 6 investigators (Greene, Awadzi, Lafi”iere, Schulz-Key, Vingtain, and Zea-Flores) in 6
  countries (Liberia, Ghana, Ivory Coast, Togo, Mali, and Guatemala). The study was a double-blind,
  randomized, placebo-controlled, muiticenter study comparing 3 dosage levels of ivermectin to placebo in
  hospitalized onchocerciasis patients. Each patient received a single oral dose of ivermectin (100, 150, or 200
  mcg/kg body weight) or placebo on Day 1 of the study. Efficacy follow-up was through 12 months
  posttreatment.

  REVIEWER COMMENT               Note that three of the investigators (Larivien%Awadzi, and Greene) and three sites
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NDA 50-742 MECTlZ4Nm   (iermectin)   oral tablets                                                           24


(Liberia, Ghana, and Mah) are the same as fbrboth pnXocols 514 and 5i9.” Futther, these studies were being
conducted at the same time (cutoff date for 514 was December 26, 1985 [page D-1449 of volume 1.19] and
the cutoff data for 519 was February 28, 1986 [page D-1551 of vohme ?.f9J. This raises a question as to
whether then? is sui77cientindependence of the studies thm the two ptvtocols to sewe as independent
conthmation of the results.

“The overall efficacy assessment was based on reduction from baseline skin microfiiaria density and the
percentage of patients with a favorable response. Favorable response is defined as microfilaria reduced to
less than 5 mf/mg skin after the study drug administration.”

Patients whose baseline microfilariadensity was less than 10 mf/mg skin were excluded rather than the 20
mfhrtg that was specified in the protocol. The less stringent criterion was used ‘to avoid the exclusion of too
many patients”. Because at six months Dr. Lariviere retreated 75 of his patients whom he felt were not
responding to therapy, his center was excluded from the efficacy analysis at 12 months. The skin snip assays
were not performed according to the protocol for Dr. Zea-Flores center, so the medical monitor decided to
exclude this center from the per-protocol efficacy analysis as well.

111.C.2.Efficacy Results

ADDiiCant’S reSUltS

Table 8 summarizes the efficacy of three dose levels of iverrnectin and of placebo at day 3, month 3, and
month 6 posttreatment. [page D-1561 of volume 1.19]. This study did not capture data at month 1
posttreatment. There was not a statistically sgnikant difference among the ivermectin treatments while there
was a highly statistically significant difference (p s 0.001) between each iverrnectin treatment and placebo at
each time point.


     Table 8: Summary of skin microfilaria density (mf/mg skin) between-treatment comparisons for
                                             ~rotocol 519.

                                                Number of patients evaluable for efficacy
                                                  Median change ftom pretreatment
                                                   Percentage of pretreatment@

    Visit            100 mcg                150 rncg iverrnectin      200 mcg ivermectin     Placebo
                    ivermectin

 Day 3
   N                    254                           249                     254               252
   Median              -32.6                         -34.0                   -40.5             -2.9
   9’0                 26.2%                         16.8%                   12.9%            91.4%
 Month 3
   N                    238                           237                     238               229
   Median              47.9                          -45.2                   -48.0             -15.5
    ‘%0                1.8%                          0.5%                    0.4%             60.8%
 Month 6
   N                    237                 /         230                     223              227
   Median              43.5                          43.4                    48.4             -18.0
   %0                  2.9%                          1.5%                    1.1%             54.4%
 (@Geometl      mean of the percentage of pretreatment values
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  NDA 50-742 MECTIZANW    (iermectin)   oral tablets                                                             25

                                                                               .

  jlLC.3. Safetv Resuls

  “Clinical adverse experiences (drug related or not drug related) were reported in 152 (47.6%), 155 (48.1%),
  170 (52.8%) and 94 (29.8’Mo)patients in the 100, 150,200 rncg and placebo groups, respectively.” “None of
  the adverse experiences was considered serious by the investigators and no patient was d13eontinued from
  the study because of the adverse reactions.=[page D-1586 of volume 1.19]. The two most common adverse
  clinical events were myalgia and headache [page D-1590 of volume 1.19]. Myalgia was reported by219’o,
  17.7Y0,20.5Y0,and 13°Aof the patients in the 100,150, 200 rncg, and placebo, respectively. Headache was
  reported by 21Yo, 21.7Y0, 24.2Y0, and 10.2°A of the patients in the 100, 150, 200 mcg, and placebo,
  respectively. “Myaigia and headache are probably reactions caused by the death of the skin microfilaria,
  which explains their frequent occurrences among the patients receiving ivermectin.

  Only two patients, one in each of the 100 and 150 mcg groups, had any adverse laboratory experiences after
  receiving the study drug. The patient in the 100 mcg group had high urine WBCS, and the patient in the 150
  mcg group had increased total serum bilirubin. [page D-1593 of volume 1.19]

                                                                    .    .
  JII.D. Protocol 548 (Document                   5545] . Study by Wnatam

  Protocol title:
  “A single-blind, placebo-controlled study of the tolerabilii, safety, and efficacy of successive single oral doses
  of ivermectin (MK-933) approximately 150 to 220 mcgkg in adults with onchocerciasis””

  111.D.1. Study Desian

  The study was mnducted as a single-blind, placebo-controlled study. The synopsis of the clinical study report
  was dated 02Feb87. The intent was for the study to continue over a 3 year period, but “only data at the day
  4 visit were in-house” at the time this report was prepared.

  The dose level of ivermectin was 150 to 220 mcglkg of body weight. Five successive single oral doses at 6-
  month intervals were to be administered.

  Evaluability criteria was that baseline microfilaria counts be z 10 mf/mg skin rather than 20 mg/mg skin that
  was specfied in the protocol.

  JILD .2. Efficacv Results




  “No formal analysis of the data was performed. Summary statistics of the data for the first 4 days after the
  first dose suggest that ivermectin, administered in tablet form, reduced skin microfilada counts to near O-levels
  while skin microfilariae decreased only sliihtly in the placebo-treated patients. The proportion of patients with
  a favorable response (<5 mf/mg skin) at Day 4 posttreatment was 53/55 (96.4Yo) and 2/16 (12.5Yo) for
  ivermectin- and placebo-treated patients, respectively.”

  In the study, 64 patients (37 males and 27 females) were treated with ivermectin and 21 patients (9 males and
  12 females) were treated with placebo, All 85 patients completed the study. Seventy-one patients (55
  ivermectin-treated and 16 placebo-treated) were evaluated for efficacy. Nine patients from the ivecmectin
  group and five patients from the placebo group were excluded because e.tier their baseline microfilaria counts
  were too low or the patient lacked posttreatrnent skin microfilaria measurements.

  REVIEWER     COMMENT The difference between the percent cured in the iverrnectin-treated group versus
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NDASO-742MECTIZANm(ierrnectin)oraltablets                                                                      26
                                                                             .

the placebo-treated group is 85% with a 95% confidence inteNa/ of S.,6 [63%, 105% ] gfjx,lsz.. Cieaffy,
ivem?ectin is sfatisfical/y more efficacious than placebo.

flI.D.3. Safety Resul@

The investigator reported chical adverse experiences for 38 of 64 (590A)ivermectin-treated patients and for
5 of 21 (24%) placebo-treated patients. No laboratory adverse experiences were reported.

111.E. Protocol 545 [Document             5544) - Studv bv Lariviere

Protocol title:
‘An open study of the tolerabilii, safety, and efllcacy of single oral 150 rncg/kg doses of iverrnectin (MK-933)
in children 5 to 12 years of age with onchocerciasis.”

111.E.1.Studv Desian

This was an open study of 103 children (71 male and 32 female) aged 6 to 13 who had onchocetiasis without
eye involvement and were otherwise in good health. Fifty-four of the 103 (52.4Yo) patients had a secondary
diagnosis of malaria.

Patients were given 1 oral dose of 150 mcg/kg of ivermectin on Day 1. Patients were followed for 3,6, and
12 months posttreatment. All patients were hospitalized for at least seven days following administration of
iverrnectin.

“Evidence for the efficacy of the study drug was obtarned from skin biopsy samples taken on Days 3,4, or 5
and subsequently during follow-up examinations at three, six, and twelve months after study drug
administration.” The relative day ranges for the vis”~ were -14 to predose for the pretreatment visit, 1 to 7 for
the Day 3 visit, 65 to 125 for Month 3 visit, and 141 to 225 for Month 6 visit. “If a patient had multiple data
within a day range, the valid data from the last visit in that interval were used in the analysis.”

JII.E.2. Eficacv   Results

fiDD Iicant’s results

“Ivermectin was effectNe in reducing skin microfilaria in children. The median decrease from baseline
(median of 34.1 mf/mg skin) was significant at Day 3, Months 3 and 6 with changes of -29.3,-33.5, and -32.7
(mf/mg skin), respectively. Greatest reduction from baseline occurred at Month 3. The percentage of patients
with a f5vorable response (< 5 mf/mg skin) was at least 70°A for all vis-h.”

Based on an all-patients-treated analysis, as of Day 3,74 of 101 (73.3%) patients had a favorable response.
As of Month 3, 95 of 102 (93.10A) patients had a favorable response. As of Month 6, 89 of 102 (87.3%)
patients had a favorable response.
                                                                                                         ,.
For the per-protocol analysis, one patient was excluded because a baseline skin biopsy was not pwformed.
A second patient was excluded from the Month 6 analysis because the follow-up skin biopsy was not
performed.




IILE.3. Safetv Results

“Forty-seven clinical adverse experiences were reported in 36 (35.0%) patients. Forty-six were mild, 1 of
     Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 259 of 382


     NDA SO-742 MECTIZANm    (ivennetin)   oral tablets                                                           27


     edema was moderate, none was serious. The most commonly reported Wereheadache (23.3%) and myalgia
     (8.7Yo)followed by peripheral edema (5.8%) and edema (4.9%). The majority of clinical adverse experiences
     had a drug relationship of ““possibly.”” Most patients did not have any of the disease-associated signs and
     symptoms at baseline and remained symptom free after receiving ivermectin.”

     “No Iaboratoty adverse experiences were reported.’

     IV. Int earated Safety Summa~
     Combining the dlnical adverse experiences of patients treated for strongyloidiasis under protocols 004, 014,
     015, and 020 [page J-88 of volume 1.1], 4 of 68 (6°4) single-dose ivermectin patients experienced an adverse
     clinical event compared with 8 of 41 (20’Yo)double-dose ivermectin-treated patients, 28 of 37 (76VO)
     thiabendazole-treated patients [page D-91 of volume 1.28], and 2 of 27 (7%) of albendazole-treated patients.
     No patients were discontinued from the ivermectin or albendazole treatment regimens due to adverse
     experiences. One patient was discontinued from thiabendazole treatment due to nausea.

     For onchocerciasis, the disease-associated sgns and symptoms were presented separately from unexpected
     events that were considered clinical adverse experiences (AEs). “No clinical AEs were considered serious
     by the investigators.* “Clinical AEs, regardless of relationship to study drug, were reported in significantly
     more ivermectin-treated patients regardless of dose (49.5Yo)than placebo patients (29.50A).” The applicant
     states the these results ‘may be consistent with the profile of reatilons caused by death of skin microfilaria”
     [page J-121 of volume 1.1]. Myalgia was repotied in 18% (218/1209) of the patients, and headache was
     reported in 22.7% (274/1209) of the patients [page J-127 of volume 1.1].


     The applicant submitted a safety update report dated July 31, 1996 that included specific details concerning
     the 15 deaths in a Canadian nursing home that were considered by the reporting physician to be possibly
     .Nermectinrelated. There does not appear to be any pattern in the timing of the deaths or the causes of death
     to indicate a relationship to ivermectin. The ages of the patients ranged from 77 to 90 with 7 males and 8
     females. The first death occurred 17 days after treatment and was due to pneumonia. The other deaths
     occurred 40 to 176 days after treatment. The most common cause of death was cerebral vascular accident
     with 4 deaths occuning ftom 45 to 140 days after treatment, The second most common cause of death was
     pneumonia with 3 deaths occurring from 17 to 123 days after treatment. Other causes of death included
     Alzheimets disease, congestive heart failure, corona~ artery disease, myocardial infarction, renal failure, and
     respiratory infection.

     REVIEWE R COMMENT:         In the Onchocerciasis studies only 2 of 1437 patients were over 65. One
     experienced eye pain 3 days posttreatment. The other mpafed no adveme clinical experiences. In the
     Strvngyloidiasis studies, 10 patier?tswem over 65 yearn of age. Of these only one patient n?portedclinical
     adverse experiences. The adveme experiences @potted wem somnolence, tremor, vertigo, asthenia,
     nausea, and dizziness f to 2 days posttn?atment.




—–   .—
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   NDA50-742MECTIZANW(rvennectin)
                                oraltablets                                                                        28
                                                                               .

   V.    Summary and Conclusions

   ~#
   VA           ro     oidias’          ea

   1. Based upon the evidence presented in the Gentilini study 004, the single target dos=of 200 pg/kg of
   ivermectin was statistically more efficacious than albendazole (200 mg b.i.d. for 3 days) in the treatment of
   strongytildiasis in patients 5 to 70 years of age (95°A confidence interval ~.= [1OY0,65Y0] *m,xX). Further,
   the World Health Organization’s study in children replicated the results with a 95% confidence interval of
   152.149   127°\ot490~l
                      83%,45”&

  Ivermectin and albendazole appear to be equally safe with no serious adverse clinical or laborato~
  experiences noted for either treatment.

  This reviewer concludes that the applicant has demonstrated that a singledose treatment of ivermectin has
  statistically superior efficacy and comparable safety to albendazole.

  2. Using a test of cure as negative stools through 30 days of follow-up, neither single-dose of 200 pg/kg nor
  doubledose (200 pg/kg for 2 days) treatments of ivermectin met the DAIDPs Points to Consider document’s
  criteria for establishing comparable efficacy to thiabendazole (25 mg/kg b.i.d. for 3days).          Because
  thiabendazole’s pooled cure rate was 92Y0, a lower bound on the 95% confidence interval of the difference
  in the rates should be no less than -1 OYO. Except for the singledose ivermectin arm of the Dreyer study, all
  the remaining point estimates of cure rates for ivermectin equaled or exceeded the point estimates of the cure
  rates for thiabendazole. The small sample sizes of the studies resulted in very wide confidence intervals.

  In contrast, the 95% confidence intervals for the cure rates based upon a Kaplan-Meier analysis of the data
  were slightly better for the iverrnectin-treated patients than for thiabendazole-treated patients with [68 Y0,92Yo],
  [66%,94%], [62%,92%] for singledose ivermectin, for doubledose ivermectin, and for thiabendazole,
  respectively.

  In regards to safety, the ivermectin-treated patients consistently reported statistically fewer clinical adverse
  experiences than the thiabendazole-treated patients (p-value < 0.001).

  Because ivermectin demonstrated both a statistically better safety profile than Utiabendazole and statistically
  comparable efficacy based upon survival analysis methods, this reviewer considers ivermectin to be a
  satisfactory alternative to thiabendazole for the treatment for strongyloidiasis.



  V.B.       OnchocerciasiS

  Based upon evidence presented in protocol 514 for the treatment of onchocerciasis, a single oral dose of 12
  mg capsules of ivermectin was statistically comparable to DEC-C administered at a daily dosage of 50 mg
  for two days followed by 200 mg daily for six days in the reduction of microtilaria density at one mon,ti
  posttreatment. Ivermectin maintained a lower level of microfilaria density through the one year of follow-up
  than DEC-C. Both treatments resulted in a statistically greater reduction in microfilaria density than placebo.
  The safety profile for the two drugs was also comparable except a statistically greater proportion of DEC-C
  patients experienced systemic reactions associated with the microfilaricidal action of the treatments.

  The second study presented in support of the claim was protocol519 that was a dosing study comparing
  ivermectin with placebo. There was not a statistical difference between the 100, 150, and 200 pg/kg dose
  levels of ivermectin in reduction in microfilaria density at 3 days, 3 months, and 6 months posttreatment.
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 261 of 382


NDA 50-742 MECTIZANm    (iverrnectin)oral tablets                                                               29
                                                                            .
Because   protocol 514 demonstrated       that ivermectin was at least comparable in efficacy with DEC-C but with
a better safety profile and a much simpler dosing regimen and because the iverrnectin results were replicated
in other clinical trials, this reviewer concludes that ivermectin provides a statistically satisfactory alternative
to DEC-C for the treatment of onchocerciasis.




                                                               B. Sue Bell, Ph.D.
                                                               Mathematical Statistician, DOB IV




Concur           Daphne Lin, Ph.D.
                 Acting Team Leader, DOB IV



                   ,j/+4f2$$w
                 Ralph H&kins, Ph.D.
                 Division Director, DOB IV

cc
Archival: NDA 50-742
HFD-520
HFD-520/D. Feigal
HFO-520/B. Leissa
HFD-7251R. Harldns
HFD-725/D. Lin
HFD-520/Medical Officer/P. Coyne
HFD-520/Pharrn/K. Seethaler
HFD-520/Micro/J. King
HFD-520/ChenVJ. TimPer
HFD-520/Project Manager/P. Fogarty
HFD-880/Biopharm/P.ColangeIo
HFD-725/BioStat/S. Bell
HFD-344/Clin lnv/M. Thomas
Chron
This review contains 29 pages, 8 tables, and 5 figures.
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 262 of 382




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Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 263 of 382
     NDA 50-742
     Mectizan
     Merck

                                                                               .

     Division     of Anti-Infective         Drug    Products     (HFD-520)
                     Clinical Microbiology            Review     Notes #1




     NDA # 50-742                                      DATE COMPLETED:             10/4196

     SPONSOROND)IAPPLICANT(NDA):                          Merck


     SUBMISSION          REVIEWED: Proposed draft labeling

     PRODUCT NAMES(S):
          Proprietary: Mectizan

                Non-ProprietaryAJSAN:              Ivermectin

     DISPENSED:           X     Rx _         OTC

     INITIAL     SUBMISSION:
       Received     by CDER:          N/A
       Received     by Reviewer:
       Review      Completed:

     AMENDMENT(S)
      Received by CDER: 9/30/96
      Received by Reviewer: 10/3/96
      Review       Completed:         10/4/96

     Related     Documents:       The complete NDA

     REMARR(s) :

     l?his review      is written        to bring      disposition    of this NDA        to closure   from
     the   microbiological        perspective.           Microbiological    review        of this
     application       was    administratively          waived     at   the   request   of   the
     Supervisory   Microbiologist  at the time the NDA was filed.   No technical
     review of microbiological    data was proposed because the application   was
     perceived   to contain no microbiological   data.  Indeed, no technical data
     have been reviewed in accordance with admi.niatrative agreements
     determined   at the time .the NDA was filed.

     Nevertheless, proposed draft labeling was brought to my attention;        the
     proposed draft labeling contains a MICROBIOLOGY   section which was not
     requested by a FDA Microbiologist.   These labeling statements     have not
     been verified in accordance with administrative   agreements   noted   above.
     However, these labeling  statements are likely  to be accurate
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 264 of 382
       NDA50-742
      Mectizsn
      Merck
      scientifically because Merck has previously demonstrated a strong
      commitment   to providing basic scientific information      to the FDA; on the
      other hand, these labeling statements have not been reviewed        for
      inaccuracy   due to gratuitous   juxtaposition   of otherwise  true statements.
      Overall, no outstanding    microbiological    issues have been raised within
      the context of the administrative      agreements pertaining   to this
      application.

      CONCLUSIONS     and/or   RECOMMENDATIONS:

      No outstanding microbiological        issues have been raised within     the
      context of the administrative        agreements pertaining  to review    of this
      application.




                                                  James R. King
                                                  Microbiologist,    HFD-520



      SMicro/ASheldon




      DepDir/LGavri   lovich



      cc: Orig. NDA # 50-742
      HFD-473
      HFD-520/DepDir/LGavrilovich
      HFD-635
      HFD-520/SMicro/ASheldon     ~
      HFD-502
      HFD-520
      HFD-520/Micro/King
      IiFD-520/MO/Coyne
      HFD-520/Pharrn/
      HFD-520/Chem/
      HFD-520/CSO/Fogarty

      Printed   for signatures    prior   to draft   concurrence;   10/4/96




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         Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 265 of 382
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     Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 266 of 382                  !,!,           r-
                                                                                            =.          t..__




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              DIVISION OF ANTI-INFECTIVE                           DRUG PRODUCTS
                                Review of Chemistry,
                                                   Manufactig, and Controls
                   50   a 742
          NDA #: #3+%F            CHEM.REVIEW          #: ]      REVIEW DATE:       6114/96

          SUBMISSIONflYPE          DOCUMENTDATE               CDERDATE      COMPLETED      DATE
          ORIGrNAL                    3/29/96                 411196            6/14/96


          NAME & ADDRESS OF APPLICANT:
             Merck ResearchLaboratories
            P.O.Box 4,BLA-20
            Sumneytown Pike
            West Point,
                      PA 19486


         CONTACT: Kenneth R. Brown, M.D., Regulatory Affairs
         610-397-2552


         DRUG PRODUCT NAME
                Prourietarv:     Mectizan
                Established:     Iverrnectin
                Code i%          MK-0933


         PHARMACOLOGICAL              CATEGORY/iNDICATION:
            Treatment of strongyloides of the gastrointestinal tract and onchocerciasis.
         DOSAGE FORM: Tablets, immediate release

         STRENGTHS: 6 mg

         ROUTE OF ADMINISTRATION:               OraI

         Rx/OTC:   Rx




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Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 267 of 382




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Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 268 of 382

     NDA 20-72l;J.Timper;                                           Chemistryreview#l;page 3
     Mectizan(lverrnectin);                                     .
                                                                            Merck & Co.,Inc.


     SUPPORTING DOCUMENTS:
        Two original IND were made for iverrnectin by Merck & Co. The fi.rstJN13
        was filed on 9/13/84 in order to administer ivermectin to persons infected with S. .
        stercoralis or Ascaris hunbricoides or other gastrointestinal nematodes. The second,
                       was filed on 7/17/90 to specifically determine the safe~ and efficacy of
        ivermectin in patients who were infected with S. stercoralis and other intestinal
        nematodes. Following the filing of the second ND the first was withdrawn on
        12/28/90.

    RELATED DOCUMENTS:
                  DMF

    CONSULTS:
    5/2 1/96: A consult for environmental assessment was prepared by this reviewer and
    submitted to Nancy Sager, Environmental Scientist, CDER.
    5/2 1/96: 2 method validation packages were prepared and submitted: Nick Falcone,
    FDA U.S.CustomsHouse,room 900, 2“d& Chestnut St., Philadelphia PA 19106; Hank
    Drew, DDA, room 1002, 1114 Market St., St. Louis,MO63101.
    5/2 1/96: A consult was prepared and submitted for suitability of the trade name in the
    labeling
           totheLabeling
                       andNomenclatureCommittee.
    5/20/96: A consult was submitted for the fermentation process controlstoHFD-160,      Dr.
    Peter Cooney.
    An establishment evaluation request was submitted at the time of this review; The EER
    number is 10248. The pertinent sites to be inspected are:
          Fermentation
                     k petiormed
       Extraction,
                crystallization,
                             and isolation
                                        ofavennectins
                                                    areperformedat


       Hydrogenation
                   andfinal
                          purification
                                    stepsarepefionnedutilizing
                                                            thefacilities
       located at
                                                                                              --
       The manufacturing and packaging for ivennectin tablets are conducted at the facility

                                 .




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    Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 269 of 382


            NDA 20-721; J.T&per;
            Mecti~ (TvermeCti);
                                                                             Chemise review#l;page 4
                                                                         .
                                                                                      Merck & Co.,Inc.
           REws/comms:
              *~ecb’s          ase~wnthdicy
                                          an@4rn&tiC
                                                   agentfor ml admhismtim                  Ivemecti
              IS derived horn the avemecti,       a cl=of hi~y active broad-spw~         antip~itic
              agen~ isolated born fe~entition produck of &-ePfOmYce~~e~iri/iS.           me ~g ha
              been registe~d for agricd~     and vetfiq      use since 1981.


          CONCLUSIONS & RECOm~ATIONS:
             The application    is not approvable ~fi reg~d to che~~,     m~~ac~g,         ad
             contiols.    The comd@ itetized on the pretiou   page are incomplete  at this time:
            envi.romenti       assessment fennentition process comdt; 2 method wdidation
            packages;
                    consdtforsti~bili~ofthetradenae inthe]abelkgtotheLabelkg and
            Nomenclatie Couitiee; establishment
                                             evd~tion request. comenti to & f~
            with deficiencies to the application are cited in the sectiom: S.ntiesis; Process Raw
            Materials; Drug Product Component Composition; ExcipienG; Stabili~; Labelkg.




                                                             J. Timper, Review Chemist
                     —.
          HFD-520~ivision File
         HFD-520/SBRoyfle@etier
         HFD-520/jThper/Chem 6/14                   7296
         HFD-520/pCoWWO          q~l
         HFD-520KS~&der@~                                                                                     ——
         HFD-520~fi@cro
        HFD-520/SBelVStit
                                                                                           .
        HFD-520@Colmgeio~ ioph~
        HFD-520/CktiotiCSO                                                                                     —
        ~C-130/J~en
                                                                                                          —




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      ———-’————————                                                                                      —.    .-
      Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 270 of 382

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                       I)MSION    OF ANTI-INFECTIVE       DRUG    PRODUCTS
                             Review ofChemistry,Manufacturing,and Controls

             NDA 50-742                     CHEM.REVIEW #2           REVIEW DATE: 9/16/96
                                                                         Revision: 9/20/96

             SUBMISSION TYPE          DOCUMENT DATE CDER DATE                   ASSIGNED DATE
             tiendment (BZ)           8128196       8/29/96                     914/96

             NAME & ADDRESS OF APPLICANT:

             Merck Research Laboratories
             P.O. Box 4, BLA-20
             Surn.neytown Pike
             West Point, PA 19486
                                     .
             CONTACT: Kenneth R. Brow           M.D., Regulatory Affairs; 610-397-2552

             DRUG PRODUCT NAME
             Proprietary: Mectizan
             Established: Ivennectin
                     Code # MK-0933
             Chem. Type/T’her. Class: 1P

             PHARMACOLOGICAL CATEGORY/INDICATION:
             Treatment of strongyloides of the gastrointestinal tract and onchocerciasis.

             DOSAGE FORM: Tablets, immediate release

             STRENGTHS: 6 mg

             ROUTE OF A.DMINIST’IU4TION: Oral




                                       .
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 271 of 382
,


      NDA 50-721; Chemistxy review #2;                               page 2
      Mectizan (Iverrnectin); Merck & Co., Inc.           .


      CHEMICAL NAME. STRUCTURAL FORMULA.                 MOLECULAR       FORMULA,
      MOLECULAR       WEIGHT:
                                                                         ----
     Ivermectin: A mixture of ivexmectin component Bl, and ivennectin component B1~.

     Ivermectim CAS-70288-86-7;
     Ivermectin component Bk: CAS-70161-1 14;
     Ivermectin component B1~:CAS-70209-81-3.

            Ivennectin
                     componentB1; CigH74014.
                                          Component ofIvermectin.
                                                                (2aE,4E,8E)-
            (5’S,6S,6’~7S,l
                         1~1 3~15S,17@20~20@20bS)-6’-(S)-sec-Bu~I-
            3’,4’,5’,6,6’,7,10,11,14,15,1
                                 7QO~O~20b-tetradeca.hy&o-20,20bdfiy&o~-
            5’,6,8,19-tetramethy1~
                             17-oxospiro[l
                                        1,15-methano-2H,13H,17H-furo[4,3z-pg]-
            [2,6]benzodioxacyclooctadecin-l3,2'-[2Hlpyran]-7-yl
                                                       2,6-dideoxy-4-0-(2,6-
            dideo~-3-0-metiyla-L-~bko-hexop~o~1)-3-O-metiyl-a-L-mbtio-
            hexopyranoside.

            Iverrnectin
                     component B1~.C,&O~& Component ofIvermectin.
                                                                (2aE,4E,8E)-
            (5’S,6S,6’~7S,1
                         l~13~15S,17&20~20&20bS)-
            3’,4’,5’,6,6’,7,10,1
                          l,14,l5,l7@O~O~2Ob-Tetradeca,hy&o-2O,2Ob-dihy&o~X'-
            isopropyL5’,6,8,1
                          9-tetramethyl-17-oxospiro[l
                                                 1,15-methano-2H,13
                                                                 H,17H-
            fio[4,3,2-p~[2,6]-be~dioxacyclooctidech-l3,2'-[2~p~]-7-yl
                                                                   2,6dideoxy-
            4-O-(2,6-&deo~-3-O-metiyl-a-L-mbino-hexop~mosyl)-3-O-metiyl~-L-
            arabino-hexopyranoside.




                                                                                            —.
                                                                                       ,,
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 272 of 382


       NDA50-721; Chemistry review #2;                                      page 3
                                                                  .
       Mectizan (Ivermectin); Merck & Co., Inc.


       SUPPORT~G DOCUlW3~S:
       Two original INDs were made for ivermectin by Merck & Co. The tirs~ IND                , was
       filed on 9/13/84 in order to administer ivermectin to persons infected with S. stercoralis
       or Ascaris lumbricoides or other gastrointestinal nematodes. The second, IND
       was filed on 7/17/90 to specifically determine the safety and efficacy of iverrnectin in
       patients who were infected with S. stercoralis and other intestinal nematodes. Following
       the filing of the second IND the fust was withdrawn on 12/28/90.

       RELATED DOCUMENTS:

              DMF
                                     .
       CONSULTS:

       5/21/96: A consult for environmental assessment (EA) was prepared by this reviewer
       and submitted to Nancy Sager, Environmental Scientist, CDER.
              9/3/96: A consult with the response by the firm to the findings of the first
              consulted EA review was prepared by this reviewer and submitted to Nancy
              Sager, Environmental Scientist, CDER. The FONSI was completed 9/16/96.
              (Comldete, acceMab]e)

      5/2 1/96: 2 method validation packages were prepared
                                                         and submitted:
                                                                     Nick Falcone,
      FDA U.S.CustomsHouse,room 900,2nd & Chestnut      St.,
                                                           Philadelphia
                                                                      PA 19106;Hank
      Drew, DDA, room 1002,1114 Market St.,   St.Louis,MO63101. The method validation
      packagesarenotcompleteatthetimeofthisreview.

      5/21/96: A consult was prepared and submitted for suitability of the trade name in the
      labeling to the Labeling and Nomenclature Committee.
              6/20/96 (Comtdete, acce~table) The committee reply stated no reasons to object
              to the product name, Mectizan.
                                                                                            ..
      5/20/96: A consult was submitted for the fermentation process controls to HFD-160,
                                                                                           .,,
      Dr. Peter Cooney.
              9/3/96: A consult with the response by the fm to the findings of the first
             consulted review was prepared by this reviewer and submitted to HFD- 160, Dr.
             Peter Cooney,        .
             9/1 1/96: (Complete, accer)tab]e) The second consulted review of the
             fermentation process consulted review was completed with recommendation that
             the information is acceptable.
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 273 of 382



     NDA50-721; Chemistry review #2;                                      page 4
     Mectizan (Ivermectin); Merck & Co., Inc.


    6/14/96: An establishment evaluation request was submitted at the time of this review;
    The EER number is 10248. The pertinent sites to be inspected are: Fermentation is
    petiormed                  Extraction crystalliiatio~ and isolation of avermectins are
    performed at                   Hydrogenation and final purification steps are performed
    utilizing the facilities located at                          The manufacturing and
    packaging for ivennectin tablets are conducted at the facility in
    NDA 20-721; J.Timpe~ Chemistry review #l; page 4 Mectizan (Ivermectin); Merck &
    Co., Inc. ThisisOPEN atthistime.


    REMAIU’WCOMMENTS:
        This WA 50-742 was f~st pssigned @e number NDA 20-721. In June, 1996 the
        product number was changed to conform to the numbering for fermentation products.
        The firm should provide a translated copy of the drug substice batch records and
        address the lack of impurity controls in the drug substance fermentation and
        subsequent synthetic step.

    CONCLUSIONS & RECOMMENDATIONS:
       There are still a few remaining deficiencies. The method validation work is open.
       The establishment inspection request is open. The firm’s request for 24 months
       stability dating is not supported by the data; the stability data supports 12 months
       expiration dating.

                                                           L+               ~]+~

                                                         J. Timper,
                                                                      .

       NDA 50-742
       HFD-520/Division File
       HFD-520/BD@eamleader      (Acting)
       HFD-520/JTimper/Chem 9/20/96
       HFD-520/PCoyne/MO                                                                      ., ,
       HFD-520/KSeethaler/l%arm
       HFD-520/DKing/Micro
       HFD-520/SBell/Stat
       HFD-520/PCokmgelo/Biopharm
       HFD-520/Cintron/CS 0
       HFC-130/JAllen
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 274 of 382


   TO: NDA50-742
   DATE: 10/7/96                                                   .
   RE: ADDENDUM TO REVIEW #2

   The firm was requested to use the uninvested systematic chemical name. The prohibitive
   length and room on the labeling was given as explanation for the request. The-response is
   adequate.

          The firm has proposed the inverted form of the systematic chemical name
          developed by Chemical Abstracts Service (CAS), in general accordance with the
          rules established by the International Union of Pure and Applied Chemistry
          (IUPAC) and the International Union of Biochemistry (IUB), and employed in the
          cument issues of CA. The name proposed is the names of two components of a
          mixture of at least 900/0of

          5-O-demethyl-22,23 -dihydroaverrnectin Al,

          and less than 10°/0of

         5-O-demethyl-25 -de(l -methylpropyl)-22,23 -dihydro-25-(1 -
         methylethyl)averrnectin A,,

  The drugproductcomponentsarecorrectly
                                     giveninthelabeling
                                                      section,
  “DESCRIPTION”. The chemicalstructureisgivencorrectly.



                                                       ~“
                                                       J. Timper

    NDA 50-742
    HFD-520/Division File
    HFD-830/BDunn/Deputy Div. Director, DNDC 111       qb
    HFD-520/JTimper/Chem                       ~d ,o\q
    HFD-520/PCoyne/MO
    HFD-520/KSeethaler/Pharrn
    HFD-520/DKing/Micro
    HFD-520/SBell/Stat
    HFD-520/PColangelo/Biopharm
    HFD-520/Fogarty/CS0
  HFC-130/JAllen              ,




——             —--                —
        Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 275 of 382



                       D1V1S1ON   OF ANT1-lNFECTIVE       DRUG    PRODUCTS
                             Review ofChemktry, Manufacturing,and Controls

             NDA 50-742                    CHEM.REVIEW         #3   REVIEW DATE: 10/7/96


             SUBMISSION TYPE          DOCUMENT DATE            CDER DATE ASSIGNED DATE
             Amendment BC             10/4/96                  10/7/96    9/30/96

             NAME & ADDRESS OF APPLICANT:

             Merck Research Laboratories
             P.O. Box 4, BLA-20
             Sumneytown Pike
             West Point, PA 19486

            CONTACT: Kenneth R. Brown, M.D., Regulatory Affairs; 610-397-2552

            DRUG PRODUCT NAME
            Proprietary: Mectizan
            Established: lverrnectin
                    Code # MK-0933
            Chem. Type/Ther. Class: 1P

            PHARMACOLOGICAL CATEGORY/INDICATION:
            Treatment of strongyloides of the gastrointestinal tract and onchocerciasis.

            DOSAGE FORM: Tablets, immediate release

            STRENGTHS: 6 mg

            ROUTE OF ADMINISTRATION:              Oral

            Rx/OTC: Rx

            SUPPORTING DOCUMENTS:
            IND           was filed on 9/13/84 in order to administer ivermectin to persons infected   -
            with S. stercoralis or Ascaris lumbricoides or other gastrointestinal nematodes. IND
                     was filed on 7/17/90 to specifically determine the safety and efficacy of
            iverrnectin in patients who were infected with S. stercoralis and other intestinal
                                        ,
            nematodes.




—   —           .      ——
Case 3:22-cv-00184 Document 1-11 Filed on 06/02/22 in TXSD Page 276 of 382


     NDA 50-742;      Chemistry     review #3;                            page   2
     Mectizan   (lvermectin);     Merck&   Co., inc.



     RELATED DOCUMENTS:
     FDA memorandum to Dr. Dunn from J.Timper regarding NDA 50-742 dated 9/27/96.
     Letter to Philadelphia Regional OffIce from Merck, dated 9/18/96.

     REMAIUWCOMMENTS:
        This review is of Merck’s fax, dated September 30, 1996. There was a telephone
        conversation with Merck Research Laboratories on 9/26/96, A fax was sent on
        9/27/96 to summarize the FDA comments to the firm in that phone call.
        In the fax, the firm has adopted controls at the extraction of averrnectin step that
        occurs at                 This control monitors the impurity Bz. to be Iess than 1.1VO in
        the wet cake. The firm should commit to submit the results of the on-going
        investigation of process failures at this step. The fiml states in the fax that they wi11
        reject batches that show visible impurities or fail the Bz,specification.

    CONCLUSIONS & RECOMMENDATIONS:
        The few remaining chemistry concerns should be addressed by the firm. The method
        validation work is open. The firm’s request for 24 months stability dating is not
        supported by the data. The stability data support 15 months expiration dating.



                                                         J. Timper

       NDA 50-742
       HFD-520/Division File
       HFD-830/BDunn/Deputy Div. Director, DNDC 111
       HFD-520/JTimper/Chem                       ,~y,
       HFD-520/PCoyne/M0
       HFD-520/KSeethaler/Pharm
       HFD-520/DKing/Micro
       HFD-520/SBell/Stat
       HFD-520/PColangelo/Biopharrn
       HFD-520/Fogarty/CSO
       HFC- 130/JAllen
                                      ,/
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   TO: NDA 50-742
   DATE: 10/7/96
   RE: ADDENDUM TO REVIEW #3


   A memorandum dated October 4, 1996 was received by HFD-520. The memowdum
   recommends to withhold application. It states the following deviations from GMPs:

   ●   Batch records are not routinely reviewed by Quality Assurance prior to product
       release.
   ●   A limited review of batch production records found failures which were not
       investigated to determine their cause nor were methods instituted to prevent their
       reoccurrence.
   ●   Failure to validate changes made to established manufacturing processes and access
       their effect on stability.

   See attached.




     NDA 50-742
     HFD-520/Division File
      HFD-830/BDunrdDeputy Div. Director, DNDC III@b
      HFD-520/JTimper/Chem
     HFD-520/PCoyne/MO
     HFD-520/KSeethaler/Pharm
     HFD-520/DKing/Micro
     HFD-520/SBell/Stat
     HFD-520/PColangelo/Biopharm
     HFD-520/Fogarty/CSO
   HFC- 130/JAllen
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                       REQUEST       FOR    TRADEMARK           ~VIEW

To:              Labeling and Nomenclature Committee
Attention:       Dan Boring, Chair (HFD-530), 9201 Corporate Blvd, Room N461


 From:         Division of Anti-Infective Drug Products                              HFD-520
               Attention: Bonnie B. Dum, Ph.D.                    Phone: 827-2003
 Date: October 4, 1996
 Subject:         Request for Assessment of a Trademark for a Proposed New Drug Product
 Proposed Trademark: Stromectol                                      NDA/ANDA# 50-742
 Established name, including dosage form:
 Ivermectin; 6 mg immediate release tablet


 Other trademarks      by the same fm    for companion products:

 Mectizan (same drug product but donated else where than the U.S.). Merck does not want
 to use the same name as that used else where in the world because they don’t want to
 confuse the donated drug program name with the “for sale” drug program in the U.S.
 According to Frank Ricci of Merck Research Laboratories, this name is already registered
 in the U.S. and France.
 Indications   for Use (may be a summary if proposed statement is lengthy):

 Treatment of strongyloides of the gastrointestinal tract and onchocerciasis (gastrointestinal
 nematodes).




 Initial Comments from the submitter (concerns, observations,        etc.):




Note: Meetings of the Committee’ are scheduled for the 4* Tuesday of the month. Please
      submit this form at least one week ahead of the meeting. Responses will be as timely
      as possible.

Rev. December 95
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          Consult #685 (HFD-520)                                           .
          STROMECTOL                                     ivermectin immediate release table~ 6 mg

                  There were no look-alildsound-alike conflicts or misleading aspects noted with the
          proposed propriet.q name. However, the Committee believes the established name for the
          product is (ivermectin tablets) immediate release. The USP does not speciilcally~cognize
          the term “immediate release” and to be in conformance with the USP established name
          conventions, “immediate release” should either not be used at all or appear outside of the
          parenthesis.

                 The Committee has no reason to fmd the proposed proprietary name unacceptable.
                                                   1
                                                               [(l[$@            , Chair
                                                              N~en&lature Committee




cc:   Original   NDA 50-742
      HFD-520/Div.    File
      HFD-830/Chem/DunnB
      HFD-520/Chem/TimperJ
      HFD-520/Chem/Ka    tagueD
      HFD-520/PM/FogartyP



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              DIVIS1ON OF ANTI-INFECTIVE             DRUG PRODUCTS
                    Review of Chemistry, Manufacturing, and Controls

    NDA 50-742                    CHEM.REVIEW    M   REVTEW DATE: 10/22/96



    SUBMISSION     TYPE    DOCUMENT       DATE   CDER DATE    ASSIGNED         DATE
    Amendment BC            10/15196             10/16/96      10/17/96

    NAME & ADDRESS OF APPLICANT:
                                                                          ..
    Merck Research Laboratories
    P.O. Box 4, BLA-20
    Sumneytown Pike
    West Point, PA 19486

    CONTACT: Kenneth R. Brown, M.D., Regulatory Affairs; 610-397-2552

    DRUG PRODUCT NAME
    Proprietary: Stromectol
    Established: Ivennectin
            Code # MK-0933
    Chem. Type/T’her. Class: 1P

   PHARMACOLOGICAL       CATEGORY/INDICATION:
   Treatmentofstrongyloides
                         ofthegastrointestinal
                                          tractand onchocerciasis.
                                              .,..
   DOSAGE     FORM:    Tablets,
                              immediaterelease

   STRENGTHS:      6 mg                                                               .,


   ROUTE OF ADMINISTRATION:            Oral

   Rx/OTC: Rx

   SUPPORTING DOCUME~S:
              was filed on 9/13/84 inordertoadminister
                                                     ivennectintopersonsinfected-‘
   withS.stercoralis
                   orAscarisIumbricoides  orothergastrointestinal
                                                               nematodes.lND
         was filedon 7/17190tospecifically determine
                                                   thesafety and effkacyof
   iverrnectin
            inpatients who were infectedwithS.stercoralis
                                                        and otherintestinal
   nematodes.




                 ——.
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     NDA 50-742; Chemistry review #4;                                  page 2
     Mectizan (Ivermectin); Merck & Co., Inc.


     REMARKS/COMMENTS:
       The name “Mectizan” has been revised by the fm to be Stromectol. ~~purpose
        was to avoid confhsion in marketing. There was a consult to the Committee for Drug
        Product Labeling and it was found acceptable. The formal review of the trade name
        will be submitted to the file when it arrives.


        The review #4 is the evaluation of the response by the firm to the FDA f~@ated
        October 9, 1996)sent by Pauline Fogarty. This fax contained deficiencies noted to the
        firm in chemistry review #3.



     CONCLUSIONS       & RECOMMENDATIONS:
        Recommend approval tier acceptable establishment inspections. The research
        needed to understand the production failures at the avermectins extraction and
        purification step should be provided in a phase 4 submission.

                                                              ..y-maItip’h=
                                                        J.Timper

        NDA 50-~~2-:-=.
        HFD-520/Divisi6n File
        HFD-830/BDurdDeputy Div.Director,
                                       DNDC            111~    ‘olzq~qb
        HFD-520JJTimperfChem
        HFD-520/PCoyne/MO
        HFD-520/KSeethaler/Pharrn
        HFD-520/DKing/Micro
        IIFD-520/SBell/Stat
        HFD-520/PColangelo/Biopharm
        HFD-520/FogartylCSO . “
        HFC-130fJAllen      “



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                                                      .




                  ENVIRONMENTAL ASSESSMENT



          FINDING OF NO SIGNIFICANT IMPAC>

                                    FOR



                               MECTIZAN@


                     (ivermectin          tablets)




             FOOD AND DRUG ADMINISTRATION

   CENTER FOR DRUG EVALUATION AND RESEARCH

 DIVISION OF ANTI-INFECTIVE                          DRUG PRODUCTS
               ‘ (Hm-520)
                                                ,-
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                                                                 .
                       FINDING    OF NO SIGNIFICANT        IMPACT

                                      NDA   20-721


                        MECTIZAN@     (ivermectin     tablets)             –

The National Environmental    Policy Act of 1969 (NEPA) requires                        all
Federal agencies to assess the environmental    impact of their
actions.    FDA is required under NEPA to consider the
environmental   impact of approving certain drug product
applications   as an integral part of its regulatory  process.

The Food and Drug Administration,  Center for Drug Evaluation   and
Research has carefully considered  the potential  environmental
impact of this action and has concluded that this action will not
have a significant  effect on the quality of the human environment
and that an environmental  impact statement therefore will not be
prepared.

In support     of their      new drug application       for MECTIZAN@
 (ivermectin     tablets),      Merck Research    Laboratories         has conducted     a
number of environmental           studies    and prepared      an environmental
assessment     in accordance        with 21 CFR 25.31a(a)         (attached)    which
evaluates    the potential        environmental     impacts     of the manufacture,
use and disposal          of the product.

Ivermectin   is a semi-synthetic  drug which will be administered
orally in the treatment of strongyloidiasis      and onchocerciasis.
The active moiety is used in the U.S. in approved veterinary
products.    The Center for Veterinary   Medicine reviewed an
environmental   assessment  and issued a finding of no significant
impact for the approval of ivermectin products.       Approval   of this
product for human use will result in a very small incremental
increase in the use of this active moiety over that which is
currently used for veterinary    purposes.

The drug substance will be manufactured        at Merck facilities      in
Elkton, VA, Danville, PA and Barceloneta,        PR.   The drug product
will be manufactured    at a Merck facility     in Haarlem,    Holland.
The finished   drug product  will  be used in hospitals,       clinics   and
by patients  in their   homes throughout    the United   States.

Ivermectin    may enter  the environment    from excretion  by patients,
from disposal    of pharmaceutical    waste or from emissions   from
manufacturing    sites.

The environmental        fate ’and effects   of this    active    moiety   have
been studied      extensively    because   of its use as a veterinary
product.      Rapid photodegradation       and oxidative      degradation     in
soil    have been identified      as environmental      depletion     mechanisms.
Effects     on standard     test organisms   have been observed         at
concentrations       as low as 0.01 ppb.
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Disposal      may result          from production        waste su’ch as out of
specification          lots,     returned    goods      and user disposal       of empty or
partly     used product          and packaging.          Pharmaceutical       waste will     be
sent to licensed             incineration      facility.       At U.S. hospitals         and
clinics,      empty or partially           empty packages          will   be disposed
according      to hospital/clinic            procedures.       From home use,-empty          or
partially      empty containers           will    typically      be disposed      of by a
community’s        solid      waste management         system    which may include
landfills,       incineration          and recycling,        while    minimal   quantities
of unused drug may be disposed                  of in the sewer system.

Precautions   taken at the sites      of manufacture   of the bulk product
and its final    formulation  are expected     to minimize   occupational
exposures   and environmental    release.

The small      incremental     increase      in   the use of this        drug that will
result    from this     approval      does not change        the Agencygs      previous
conclusion       that a finding       of no significant         impact     is
appropriate.         The Center     for Drug Evaluation          and Research      has
concluded      that the product        can be manufactured,          used and disposed
of without      any expected      adverse      environmental      effects.       Adverse
effects     are not anticipated          upon endangered        or threatened      species
or upon property        listed    in or eligible        for listing        in the
National     Register     of Historic      Places.



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   & ~~-       ‘---           /!.
                   PREPARED BYfi
                  Nancy B. Sager
                                           S4w___
                                                   .
                  Team Leader
                   Environmental  Assessment Team
                  Center for Drug Evaluation   and Research


                                                       —
                                                       ,
  J3       -
* AE               CONCURRED
                   Charles    P. Hoiberg,
                   Division    Director,               f New Drug Chemistry-1
                   Center   for Drug Evaluation        and Research



Attachment:             Environmental     Assessment
                                ,




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lvermectin                                                                                       F- I
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      1.     Lm

                                   Jarnq      1,1996


     2.      Nam e of Appl icant/Petitioned


                                  Merck ResearchLaboratones

                                  Merck & Co.,Inc.



     ~-      Mk2ss:


                                  Sumneytown Pike
                                  West PoinLPA 19486-0004



     4. Pescrintion
                 oft.b
                     e Pronosed ActioT



             a.   RN uested Acho n



                                  Merck Research Laboratories, Division of Merck and Co., Inc. has
                                  filed a New Drug Application for MEC~                 (ivermectin),
                                  indicated for the treatment of strongyloidiasis       (threadworm
                                  infection) of the gastrointestinal tract and onchocerciasis (river
                                  blindness). MECTIZAN will be available in tablet fomn (6 mg)
                                  pac!~ed      in an aluminum foil strip. The composition of the foil




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                                 strip is as follows (outside to inside); lacquered coa~g, aluminum
                                 foil (30 microns), primer, polyethylene sealant.



                                 At the projected annual US patient usage, the maximum
                                 incremental production of ivennectin required is estimated to be
                                extremely small (Confidential Appendix III, Part 1). This amount
                                is only a very small percentage (less than 0.1‘XO)
                                                                                 of the estimated
                                amount of ivermectin used for human health purposes worldwide
                                and represents an even much smaller percentage of the ivennectin
                                produced for previously approved veterinary uses.


           b.   Need for the Action


                                MECTLZAN (ivermectin), a semisynthetic anthehnintic ageng
                                offers effkctive therapy for the treatment of strongyloidiasis and
                                onchocerciasis. While endemic in the tropics, these diseases also
                                occur to a limited extent in the United States especially where
                                unsanitary, crowded conditions prevail.


                                Strongyloidiasis is caused by the parasitic worm, Stron@oides
                                stercoralis.   The   recommended dosage of MECTIZAN                   for
                                treatment of Strongyloidiasis is a single oral dose designed to
                                provide approximately 200 micrograms of ivermectin per kg of
                                body ‘weight. In general, additional doses will not be necessaxy.




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                                                                                           —
                                  Onchocerciads k caused by a pmash.icWormj Onchocera volvulus

                                  and is a leading cause of blindness in certain tropical regions. The
                                  recommended      dosage      of     MECTIZAN      for     treatment    of
                                  onchocerciasis is a single oral dose designed                to provide
                                  approximately 150 micrograms of ivermectin per kg of body
                                  weight In mass distribution campaigns in international treatment
                                  programs, the most commonly used dose interval is 12 months.
                                  For treatment of individual patients, retreatment maybe considered
                                  at intervals as short as 3 months.


            c.   me Locations Where the Product will be Produced and Trees of
                 Enw‘ronrnents Adjacent to those I.ocatiou


                                 The bulk drug substance (ivennectin) will be manufactured in the
                                 applicant’s facilities. The fermentation steps will take place at the
                                 Merck Manufacturing Division facilities in Elktoq Virginia and
                                 Danville, Pennsylvania (as avermectin broth).            The avermectin
                                 broth produced at the Elkton facility will be shipped to the facility
                                 in Danvil.le, Pennsylvania.        The Danville site will complete the
                                 isolation and purification of avermectin. The avermectin will be

                                 shipped to     the Merck      Manufacturing Division          f=ility   @,

                                 Barcelone@     Puerto Rico for conversion to ivermectin (drug

                                 substance).




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                            The drug product (MECTIZAN) will be ma=factured                      and
                            packaged at the applicant’s facility in Haarlem, Holland. Returned
                            goods will be disposed of at the Merck Manufacturing Division

                            facility in West Poin~ Pennsylvania.


                           The types of environments present at the locations mentioned
                           above, specific to the vicinity of drug substance (avermectin and
                           ivermectin)    manufacturing    or   drug   product   (MECTIZAN)
                           manufacturing and packaging, are described in the following
                           sections.


             1) JWcton.Vinzinia



                            Route 340 South (P.O. Box 7)
                            Elkton, VA 22827


                a)   Geomaph ic Condltions


                           The Elkton plant is heated on the south fork of the Shenandoah
                           River approximately three miles south of ElktoL Virginia in

                           Rockingham County.        Coordinates of the plant’s location qe

                           latitude38°23’ N and longitude 78°39’ W. The town of Elkton k

                           located approximately 3 miles northeast of the plan~ has a

                           poptiation of less than 1,935 people accmrding to the 1990 U.S.
                           Census Bureau.


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                         The site is approximately 58 acres and employs about 700 people.
                         The      sumounding   neighborhood    includes   Merck’s     chemical
                         operations, fdan~     wooded acres, and residential homes.


             b)   Air Resources


                        The plant is located in Virginia’s Air Quality Control Region II
                        which is in attainment with the National Ambient Air Quality
                        !hndads      (NAAQS) for sulfhr oxides, nitrogen oxides, total
                        suspended particles and ozone.        State air regdations   generally
                        incorporate standards and procedures required by the United States
                        Environmental Protection Agency (LJSEPA). The Prevention of

                        Significant Deterioration (l?SD), the New Source Performance
                        Standards (NSPS), and the National Emission Standard for
                        Hazardous Air Pollutants @JESHAPS) regulations have been
                        incorporated    into   the state air regulations.     The     plant    is
                        approximately two kilometers from a Class I Area (Shenandoah
                        National Park). Prevailing winds near the plant are fin      the south-
                        southwest.

                                                                                    .
                        The mean summer tempemture is 23°C (73”F) and the mean winter
                        temperature is 1°C (33”F). /uumal rainfall is about 34 inches.




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                                                                                —
              c)   Water Resources


                          Separate sanitary, process and storm water sewer systems are
                          maintained by the plant.        The sanitary wastes, after solids
                          separation and chlorinatio~ are mixed with the process waste for
                          additional treatment in the plant’s waste water treatment facility.
                          Water from the storm water system and non-contact cooling water
                          is mixed with the waste water treatment plant eflluent and
                          discharged to the South Fork of the ShenandoahRiverthroughthe
                          plant’s
                               VPDES outfhll.
                                            Thereareno injection
                                                              wellson theplant’s

                          property,
                                 and theonlystiacewaterwithin1000 feetoftheplantk

                          theSouthForkoftheShenandoahRiver.The 100-year
                                                                      floodplain

                          elevation
                                  attheplantisapproximately
                                                          973 f=t above mean sea

                          Ievel.One wellsupplies
                                               theplant’s
                                                        potablewaterneedswith an

                          additional
                                  wellasbackup.



              d)   ] and Resources



                          The terrain surroundingthe plant is valley flatiand.. The E1.kton
                         plant is underlain by carbonate rocks of the Rome and Elbrook
                          formations, surficial deposits consist of fluvial sand and gravel, and
                         regolith of residual clays. The bedrock strata beneath the plant are
                         tilted and strike north 57° and dip to the northwest 45°. Handliig
                          and ‘disposal of solid waste streams at the Elkton plant is subject to,
                          and in compliance with, the Federal Resource Conservation and


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                          Recovery Act (RCRA), the Virginia Solid Waste ‘Management
                          Regulations    and the Virginia Hazardous Waste Management
                          Regulations, which are administered by the Department of
                          Environmental Quality.


            2) Danvl“he. Pennsvbnia


                          P.O.Box 600

                          Danville,
                                 Pennsylvania
                                            17821


               a)     Om phicCondition~



                          The Danville
                                     plantk located
                                                  on a 180acresiteintheSusquehanna

                          Rver Valley approximately70 miles north of Harrisburg,

                          Pennsylvania
                                     in theBorough of Riverside.The plantislocated

                          adjacent
                                 tothesouthbank oftheNorthBranchoftheSusquehanna

                          River.Coordinates
                                          oftheplant’s
                                                    location
                                                           arelatitude
                                                                    40°57’N and
                          longitude
                                  76°38’W.



               b) m Resources


                          Annual rainfall at the WilliamsPort Airport (approximately 30
                          miles from the plant) is 41 inches. The mean summer temperature
                          is 22°C (72°F), while the mean winter temperature is -2°C (28°F).
                          The entire state of Pennsylvania has no significant nitrogen dioxide


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                            pollution. The       entire state of Pennsylvania is in~uded in the
                            Northeast Transport Region. The Danville plant is located in

                            NorthurnberlandCounty which is in attainmentwith the standards

                            for the National Ambient Air Quality Standards(NAAQS) for all

                            criteriapollutantsexcept ozone. The statehas incorporated into its

                            regulations the new source performance standards (NSPS), the

                            National Emission Standards for         Hazardous Air    Pollutants

                            (NESHAPS), and the National Ambient Air QualityStandards
                            (N~QS).      Thereareno ClassI Areaswithin50 km of theplant.
                            Prevailing
                                     winds near the plantare from the west-northwest

                            direction.



                c) WaterResources



                            Separate sanitary, process, and storm sewers are maintained at the
                            plant. The sanitary sewer flows to Danville’s wastewater treatment
                            plan~ while the process sewer flows to the plant’s waste water
                            treatment fmiiity.    Water from the storm sewer merges with the
                           effluent horn the plant’s waste water treatment system, and the
                           combined streams are discharged to the Susquehanna River through
                           the plant’s National Pollutant Discharge Elimination        System
                           (NPDES) outfb.11.The only surface water within 1000 feet of the
                           plant is the North Branch of the Susquehanna River. There are no
                           injection wells on the plant prope~,   and the 100-year flood plain
                           elevation at the plant is approximately 460 feet above mean sea


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                             level. The plant derives its potable water entirely from an on-site

                             treatmentplant which uses the North Branch of the Susquehanna

                             River as its source. The plant potable water quality meets all
                             requirements of the Federal Safe Drinking Water Act and the

                             PennsylvaniaSafe DrinkingWaterAct.



                  d)   J and Resourcm


                             The Danville site is located within the Appalachian Mountain
                             Section of the Valley and Ridge Physiographic Province. General
                             topographic trends of the region include long, continuous ridges
                             separated by valleys of varying width. The Danville site lies on a
                             fairly flat region around which the North         Branch of the

                             SusquehannaRiver flows. Montour Ridge is located directly across

                             the river from the Danville site, and rises to an elevation above

                             1000 fet above mean sea level. Elevations on the Danville site

                             range Iiom approximately 450 to 470 f=t above mean sea level,

                             with the steepestslopes occuning along the banks of the river.


                                       .
             3)   Jhrceloneta. Puerto T&Q



                              Merck Sharp& Dohme

                              Quimica de PuertoRico
                                   ,
                              Road #2, Kilometer 56.7
                              Barcelone@ PuertoRico



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               a)   Geom-mhic Condition~


                           The Merck Sharp& Dohme Quimiea de Puerto Rico, Inc. (MSDQ)

                           facility is located on a 166 acre site in Bareelone@ Puerto Rico.

                           The city of Bareeloneta contains a population of approximately

                           20,000 people and is located 38 miles due west of San Juan and

                           three miles south of the Atlantic Ocean.     The MSDQ plant is
                           Ioeated at km 56.7 along state Highway 2.       Coordinates of the

                           plant’slocation are latitude 18°25’ N and longitude 66°32’ W.



              b)    Air Resour ces


                           Puerto Rico generally has attainedNational Ambient Air Quality

                           Standards(NWQS)      althoughthere are problems with particulate

                           in the Catio   air basin. The Bareeloneta plant is located in the

                           Barceloneta air basin. The state requires new source permits and

                           operating permits for all point sources.   Puerto Rico has been

                           delegated authority over the National Emission Standards for

                           Hazardous Air pollutants prOgrilIll(NESHAPS).
                                                                                               ..

                           Meteorological data for the area is collected at the Isla Verde
                                 in San Juan (about47 mileseastof Barceloneta).
                           Airport                                            Annual
                                .
                           rainfall
                                 isnear60 inchesand themean ambienttemperature varies




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                          between24 and 28°C (76 and 82”F). An easterly trade wind is the

                          predominantwind pattern.


               c) WaterResources



                                  fresh water requirements for the plant are supplied by
                         The entire

                         one pumped well and two artesian wells. The artestian wells are
                         used as the ptiary    source of plant water. No other well, or surface
                         water bodies, are located within 1000 feet of the facility. The plant
                         potable water quality meets all requirements of the federal Safe
                         Drinking Water Act. Separate sewer systems exist for sanitaty,
                         process and storm water runoff. Process waste water flows into the
                         plant’s pretreatment system and then to the Barceloneta Regional
                         Wastewater Treatment Plant (BRWTP). Sanitary waste from the
                         plant joins the effluent horn the pretreatment system and the
                         combined streams flow to the BRWTP.


                         Storm water from the plant is collected in an independent trench
                         system, consisting of concrete dikes and swales and directed away
                         from the facility. Surfhce water runoff from portions of the plant
                         discharge to the sinkhole system which is described in the land
                         resources   section   below.      The       MSDQ   plant     is     located
                         approximately 1.25 miles west of the Manati River and 70 meters
                         (230) f~t above mean sea level. The plant is located well above
                         the 100-year flood plain.


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             d)   Land ResourCes



                        The piantis located in an inter-mogotedepression. The depression

                        is elongated east-west over a distance of 2 km. The mogotes are

                        asymmetricalhills that are built of massive thick-bedded members

                        of the Aymamon Lmestone. A series of sink holes and secondary

                        depressions are located to the east and tend in a northwesterly

                        direction from the site. Bedrock beneath the plant site consists

                       primarily of moderately solutioned, recrystallized limestone of the

                       Aymanmon Formation.          In depressions between mogotes and
                       ridges, the Iirnestoneis overlain by the quaternaryblanket sands.

                       The blanket deposits consist mostly of silty or sandy clay which

                       underwentrapid deposition in a subaerial fluvial plain environment.

                       Based on soil borings from the site, 20 percent of the soil is sand.
                       Red-brown to yellow silty clay comprises the dominant soil found
                       in the borings. Land use surrounding the plant includes industrial
                       and mixed industrial. Other industries lie north and west of the
                       fiicility, the canrnunity of Trinidad lies north of the ficility, and the
                       rest of the surrounding area is undeveloped.




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             4) ~aarlem. Holland


                           Merck Sharp & Dohme B.V.
                           Waaxdenveg 39
                           2031 BN Haarlem
                           The Netherlands


                a)   ~eomaDhic Conditions


                           The MSD plantinHaarlem,Hollandk located
                                                                 inthemunicipality

                           ofHaarlem,neartheNorthSeacoastandapproximately
                                                                        20 km (13
                           miles)hornthecityofAmsterdam. The plantisheatedeastofthe

                           cityof Haadem on 18 hectare(45 acres)of landnear the river

                           Spaame. The plantislocated
                                                    intheareaof Waarderpolder,
                                                                            which

                           k dedicated
                                     toindustrial
                                               activi~only.The population
                                                                        of Haarlem

                           isapproximately
                                        150,000
                                              people.



                b) Air Resources


                           Dutch governmentlaws prescribeemission standardsfor hazardous

                           air pollutants. No significantair pollution generatingindustriesare
                           located in the vicinity. Annual rainfall is about 0.75 meter (30

                           inches). Mean Jauuarytemperatureis 5-8°C (40-45”F). Prevailing

                           wind, directions are west and south-west (sea wind) at a windforce
                           of 3 to 8 Beaufort.



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              c)   Water Resources


                         All water used for eansumptio~ process, and sankuy equipment is

                         obtained from the official county supplier. Water quality meets

                         standardsof potable water. Waterfor iirefightingcan be withdrawn

                         from the River Spaarne. There are no injection wells on the plant

                         property. The sanitmyand storm sewer system are directly coupled

                         to the municipal sewer system, while the process effluents are

                         treatedbefore dischargeinto the municipal sewer. The discharge of

                         wastewater into the municipal sewer is covered by an agreement

                         with the Hoogheenwaadschap van Rynland.        All wastcwater is

                         treated in the public wastewater treatmentplant managed by tie

                         Hoogheemraadschapvan Rynland. The effluent from the treatment

                         plantis dischargedinto the River Spaarne.




                         The land of the industrializedzone where the plant is located is

                         reclaimed (“polder”). The soil is composed of layers of clay, san~

                         and peat




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            5) West Point- Pennsvlvania


                            SumneytownPike

                            P.O. Box 4
                            West PoinL PA 19486-0004


               a)   Geo_graphic Condit io~


                           The West Point plant is located on a site (-450 acres) in Upper

                           Gwynedd Township,Montgomery County,whichk approximately

                           30 milesnorthwest
                                           of Philadelphia.
                                                         The centeroftheWest Point

                           plantk located
                                        nearlatitude
                                                  40°12’54” N and longitude
                                                                          75° 17’

                           59”W. Land usesurrounding
                                                   theplantk primailyresidential
                                                                             and

                           agricultural
                                    withotherindustrial
                                                     sites
                                                         approximate~y
                                                                     one-half
                                                                            mile

                           away.



               b)   Air Resource$



                           Air quality in this area is in compliance with the Environmental
                           Protection Agency’s    (EPA) National Ambient fi        Quality
                           Stidmds    (N&lQS)    of the Clean Air Act for total suspend~..
                           particuIates,SUMUoxides, and nitrogenoxides. This compliance is

                           based on      monitoring and reporting by    the Pennsylvania

                           Departmentof EnvironmentalProtection
                                                              (PA DEP) under the
                           requirements
                                      of the StateImplementation
                                                               Plan. At thistime,



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                                         . .
                            Montgomery County does not meet the ozone Standar;set            forth by

                            the NUQS.          The WestPoint plant lies within the outer zone of

                            the Southeast Pennsylvania air basin.       Pennsylvania    is part of the

                            EPA Region III and PA DEP is responsible for implementing               the

                            State Implementation      Plan which includes new stationq           source

                            permits for manufacturing.       Meteorological   data for the region is

                            collected at the Philadelphia International Airport. Annual rainfall

                            is approximately      42 inches (107 cm) and the mean ambient

                            monthly temperature       varies between 33 and 77°F (0.5 -25”C).

                            Predominant winds are from west to southeast.



                c)   Water Resources



                            Potable water is supplied to the pkmt operations           via an on-site

                            storage tank which is supplied by on-site wells and a public water

                            supplier, North Wales Water Authority.        The North Wales Water

                            Authority operates two public wells within a half-mile of the plant

                            proper&y.



                            Storrnwater drainage is controlled using detention          basins which

                            maintain site runoff at levels estimated for undeveloped         property

                            and to minimix      erosion.   This runoff is discharged into either the

                            Towamencin Creek or the Wissahickon Creek.




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                           Wastewater generated as a result of on-site incineration activity will
                           be discharged       to the    Upper       Gwynedd     Township         Authority

                           Wastewater    Treatment      Plant (UGTA).           The UGTA         discharges

                           treated effluent to the Wissabickon Creek.



                           The location of the discharge from the UGTA is downstream from

                           the West Point site.         Pennsylvania     DEP limits      the wasteload
                           allocation   and    water     pollutant     limits    (established      by      the

                           Pennsylvania Water Toxics Management Sirategy) from the UGTA

                           by means of the National Pollutant Discharge Elimination                 System

                           discharge pexmit.     This wasteload allocation and water pollutant

                          limit are used to determine the allowable contribution                limits from

                          tie West Point site to the publicly owned treatment works.                    The

                          treated wastewater is also regulated by the UGTA under permit and

                          local ordinance.



               d)   JXUI
                       d Resourcw



                           The plant is underlain by Triassic age sedimentary rocks, mapped
                           as the Brunswick and Lockatong formations.                These formations

                           occur as layered beds of red and very dark gray shale wi@

                           occasional layers of sandstone.           Although    these rocks generally

                           have low primary       porosities,    permeability      is maintained        and

                           improved by the presence of fi-actures and joint sets.




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                                       The plant site elevation is about 361 feet above mean sea level

                                       (United States Geologic Survey datum).




                  d.   The Location Where the Product will be Used and Disposed Of



                                      MECTIZAN           is intended for use throughout               the United        States.

                                      lvermectin and other ingredients used to formulate MECTIZAN

                                      will enter the environment primarily in domestic sewage which is

                                      highly      diluted       during       routine         wastewater          processing.

                                      Environmental concentrations of iverrnectin resulting from the use

                                      of MECTIZAN tablets will be many orders of magnitude                               below

                                      levels of environmental            significance.        When compared             to the
                                      expected environmental         concentration          (US-use) for treatment              of

                                      strongyloidiasis       and onchocerciasis,           aquatic    toxicity    endpoints

                                      born     studies   conducted       with      ivermectin        produce     differences

                                      (assessment fmtors) which are well in excess of 1000.



                                      Merck & Co., Inc. has a returned goods policy which involves the

                                      return    of any unused        market        packages       to the       West      Point

                                      Pennsylvania       facility for disposal.          This results essentially         in. a

                                      single    controlled     location      for        product   disposal.         Thermal

                                      destruction
                                          .       is used to treat wastes containing finished product                      On-
                                      site inci.nemtion facilities are used to handle the majority of this




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                                   waste.      Any off-site incineration     is conducted        a~a    permitted

                                   facility.


      5.     lden tification of Cheroical Substances th at are th e Subiect of the Promsed Acbon


                                   Ivermectin is produced by fermentation (Strepfomyces avennitilis)

                                   aud subsequent chemical hydrogenation           and is a mixture of two

                                   closely related homologies        belonging to a class of compounds

                                   known       as avermectins.       The   chemical      names     of   the   two
                                   homologies      are: 22,23-dihydroaverrnectin       B]a   (R=C2H5)         and

                                   5-O-DemethyL25-de( l-methylpropyl)-22z3            -dihydro-25-(1 -methyl

                                   ethyl) avermectin     B 1a (R=CH3).       The latter is also known as

                                   22,23dihydroaverrnectin       Illb.   The Chemical Abstracts Registry

                                  (CAS) number assigned to ivermectin is 70288-86-7.



                                  The structure      and properties      of ivermectin     are given       below.

                                  Formulation      ingredients and excipients are listed in Cm.fIdential

                                  Appendix - Part 2.




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                                          Oq
                               HO,,+,


                                     b .
                               WC o “’’’04,
                                                    oq


                                       h       WC   o ““’’’0,,$




                                                                      i
                                                                           OH


                            Molecular Formu 1a               Molecular Weipht
                            @= C2H5) C48H74014                    875.10
                            (R= CH3) C47H72014                    861.07


                            Ivermectin contains at least 90% of the compound              in which R in

                            the above structure is the ethyl group and less than 10% of the

                            compound in which R is the methyl group.             ~ote:   Iverme.etin was

                            previously defined as containing at least 80?? of the compound in
                            which R is the ethyl group and less than 20% in which R is the

                            methyl      group. Based on a historical        data review    and process

                            capability,    the   component     proportion       was   changed   to     that

                            indicated.] Ivermectin is a white to yellowish-white crystalline
                                 .
                            powder and has an ill-defined melting point of about 155”C. The




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                           material is optically active and has a specific rotation       [a]~,        of

                           approximately -1 9“ (C=2.5, CH30H).



                           The ultraviolet absorption spectrum in methanol is characterized

                           by a maximum at 245 nm and clearly defined shoulders at -237

                           and -254       nm.    Ivermectin   is very insoluble     in water:      The
                           concentration of a saturated aqueous solution is 4 ppm.



                           Iverrnectin has been shown to be stable for at least six months

                           when stored under ambient conditions.        In solution, ivermectin is

                           photolabile.



                           Ivermectin contains at least 95% of the two compounds                shown
                           above as determined by W absorption and liquid chromatography.



                           Based on radioactivity      measurements,    the octanol-water       (@3 7

                           buffer) partition coefficient KD, for ivermectin is 1651.



                           The present assessment       supplements    ivermectin   data with data

                           generated with avermectin B1.         The structure of aven.nectiri B1

                           (AVM) only differs from that of ivermectin (IVM) by a double

                           bond at position 2243.       Ivermectin is produced from averrnectin

                           by ca$alytic reduction of this double bond.      Physical properties of
                           ive~ectin      and avermectin are compared below.




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                                                                       ._
                                mmrmon of IVM and AVM Ph vsical ProDerheS



                                                                                           Aw


                           Molecular Weighta                   875                         873

                           Octanol/Water
                           Partition Coef.                     1,651                       9,900

                           KoCb                                12,600-15,700               a4,000
                           Aqueous Solubilityc                 4 ppm                       8 ppb

                           E (Lmax), Methanol                  30,100 (245)                31,850 (243)



                           a Molecular weight of the Bla component
                           b
                               Different soils used

                           c Different methods used



                           Both     compounds       possess    low water             volubility,      high

                           octanol/water     partition coefficients and high ~                     values.

                           Compounds       with ~c     values >1000 are considered to be

                           irnmoblle in soil.



                          Additional       information         cmweming              the     molecular          -

                          structure,     chemical     names,     laboratory           codes,       generic            -

                          name, trade name, physical-chemical                    properties as well as

                          a summary of the environmental               fate and effects data for

                          ive~ectin      carI be found in Appendix I.



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                                                   .
     6.    Introduction of SubStan ces into the Envuo nment


                                 A surnmq        of the permit numbers applicable to the mantiacture             of

                                 MECTIZAN           (ivennectin),     discussed    below,   is     given         in

                                 Cotildential    Appendix III - Part 3.



           a.   Asa R esult of the Manu facture of MECTIZAN (iverm ectinl 6 mg


                1)   J3kton. Virpinia



                     a)   Air Emissions Control sand Citations - Bulk Dn.w Substanc eM anufacture



                                 The fermentation step genemtes fermentation off-gases that contain

                                 typical respiration    byproducts,    including   carbon dioxide         (COJ

                                 The on-site incinerator      emissions    consist of typical combustion
                                 products.



                                 Air emissions are subject to, and in compliance wi~             the Virginia

                                 Regulations for the Control and Abatement of Air Pollution.                The

                                 on-site trash incinerator is in compliance with the Commonwealth

                                 of Virginia Regulations       for the Control and Abatement              of Air

                                 Pollution.     No new permit limits are anticipated as a result of the
                                 proposed action and approval will not impact the facility’s ability to

                                 comply with all applicable permit condhions.




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                                                         .    .
                b)   kiquid Emissions Controls and CIMOJIS         - Bulk       Drup     subm~




                            The manufacturing process generates aqueous waste streams horn

                            fennentor vents, fermenter sample fimnels, equipment washes and

                            floor drains. All aqueous waste is collected via piping or collection

                            sump in a 20,000 gallon collection tank or directly transferred to

                            either holding tanks or tank trucks.        From the collection tanlq the

                            waste can be transf~ed            either   to an evaporator               system    to

                            concentrate the liquid waste prior to shipment off-site or directly to
                            a tank truck.   The liquid waste is then sent to the appkant’s

                           Danville, Pennsylvania       facility for treatment            and disposal.        The

                           specifics of wastewater treatment employed at the Danville facility

                           are described in the section (2) below.              On a limited case-by-case

                           basis, liquid wastes that have been determined                        through process

                           knowledge and detailed analysis to contain less than a threshold

                           concentration of avermeetins will be sewered to the site’s advanced

                           activated sludge system (wastewater treatment plant).



                           Effluent from the facili~s     wastewater treatment plant is discharged

                           directly to the Shenandoah          River under the Virginia                 Pollutant
                           Discharge   Elimination      System     (VPDES)             Permit      #VAOO02178

                           (expiration date: 6/6/99).        The VPDES permit is administered                   by

                           the Virginia Department       of Environmental              Quality.     The effluent
                           curren~y has maximum daily limits of TSS S338                          kgld and COD
                           <17,246 kg/d and pi-l limits between 6.5 and 9.5. No new permit



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                              limits are anticipated as a result of the proposed action and approval

                              will not impact the fid.ity’s        ability to comply with all applicable

                              permit conditions.


                                                  . .
                  c)   sol id Waste Controls and Cltatlons - Bulk Drug Sub stance Man ufacture


                              Burnable, non-hazardous,           solid wastes containing        “de rninirnis”
                              amounts of avermectin may consist of paper, aluminum,                       plastic,

                              and drums.       Such wastes are incinerated            on-site   or sent to a
                              permitted incineration facility able to accept such waste streams.

                              Other non-hazardous wastes which cannot be recycled are disposed

                              of at a state licensed landfill.



                              Disposal   of non-hazardous          solid waste     is subject       to and in
                              compliance with Permit #183 (no expiration date) issued under the

                              Virginia Solid Waste Management                Regulations.       There are no

                             numerical permit limits on solid waste generation and no additional

                             permit conditions are anticipated as a result of the proposed action.



                 d)        Ovee protectlo~


                              Material Safety Data Sheets (NISDS) are available on-site for all

                              chemicals as required by the Occupational Safety Act of 1971, the

                              Hazards Communication        Act of 1985 and Title 29 Code of Federal

                              Regulations    (CFR) Part 1910.             Employees    associated    with the



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                               manufacture of drug product have appropriate -MSDS;available                  for

                               their review.         Employee    protective   clothing,   such as gloves,
                               uniforms and safety glasses are used during the packaging process
                               to assure compliance with the Occupational Safety Act of 1971 and

                               the Hazud         Communication      Act of 1985 and Title            29 CFR
                               Subpti     I.



             2)   Dan “Ile. Pennsvl vani~


                  a)   Air Emission Controls and Citations - Bulk Drug Substan ce Manufacture



                              The fomentation        step generates fermentation off-gases that contain

                              typical respiration byproducts, including carbon dioxide (COJ.                 Air

                              emissions        generated   ffom the avermectin       isolation     consist    of

                              volatile organic compounds          (such as hexane, methanol,          ethanol,

                              and toluene)        and dust.     Volatile   organic   emissions      from the
                              avermectin production process are controlled by condensers.                  Dust

                              in the process buiiding will be filtered with HEPA filters to control

                              the introduction of avermectin and dust into the ambient air with an
                              efficiency greater than 99.90A.

                                                                                                                   .’




                              Air emissions applicable to the production             of avermectin        are in

                              compliance with the regulations of the Pennsylvania Department of
                                    .
                              Environmental        Protection (Title 25, Part I, Subpart C, Article III,




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                              Air Resources) and Operating Permit #49-31 3-032~                      (expiration

                              date: 10/3 1/99).


                b)   Liauid    F   “ -
                               alsslons       Controls       and   Citatim.s     - Bulk     Drug      Substan ce

                     Man ufactur~



                              The avermectin         manufacturing     process     generates      two types     of

                              liquid-waste    streams: one, a combination            of solvent-based        waste

                              streams, the other, a combination of aqueous waste streams.



                              The      solvent-based      waste      streams       horn     the      averrnectin
                              manufacturing process are generated in the isolation step and in the

                              recovexy of solvents used for the isolation.           They contain discarded

                              organic compounds (e.g., avermectin) dissolved in solvents such as
                              toluene, methanol, ethanol, hexane.              Solvent-based      liquid streams

                              will be recovered within the process to the extent faible                         to

                              minkize      any potential       release of organic         compounds      to the
                              environment.        Solvent-based wastes will either be sent off-site for

                              disposal    to a pexmitted facility, or disposed             of in an on-site

                              permitted incinerator.      The incineration process is subject to and in

                              compliance with the Pennsylvania           Rules and Regulations           for the.,
                              Protection of the Environmen~ Title 25, Part I, Subpart C, Article I,

                              Land Resources, Chapter 75, Solid Waste Management and Article
                              III, ~      Resources    and 40 CFR Parts 264 and 265, Standards

                              Applicable     to     Owners     and   Operators       of   Hazardous          Waste



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                             Treatmen~       Storage and Disposal    Facilities..    me     incineration

                             process   is also subject to and in compliance            with the site’s

                             hazmdous waste (RCRA) permit #PADO03043353                   and Operating
                             Permit #49-301-018 (expiration date: 4/30/98).



                             The aqueous-based       waste streams consist of spent fermentation

                             broth and wash waters that contain           unconsumed       fermentation

                             nutrients, unrecovered by-products and traces of avermectins              and

                            dissolved solvents such as hexane, methanol, ethanol, and toluene.

                            The aqueous-based streams are treated using caustic in an on-site

                            high pressure, high temperature reactor designed to destroy residual

                            avennectins.     The effluent from the high pressure reactor is fiut.her

                            treated in an on-site two-stage biological        waste water treatment

                            plant   before    being discharged   into the North        Branch       of the

                            Susquehanna River. The final plant effluent is discharged under the

                            requirements     of and in compliance with NPDES           Permit No. PA
                            0008419    (expiration    date: 9/99) which     is administered         by the

                            Pennsylvania      Department   of Environmental         Protection.        The

                            amount of avermectin released into the Susquehanna River is below

                            levels of environmental concern based on toxicity testing.



                c)   sol id Waste Controls and Citations - Bulk Jhug Substan ce M anufacture


                            Dry solid waste (such as paper, trash and HEPA filters) from the
                            avermectin production process is disposed of by either on-site or



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                            off-site incineration.    On-site incineration of solid a       is subject

                            to and operated in compliance with the regulations for air emissions

                            of the Pennsylvania Department of Environmental         Protection (Title

                            25, Part I, Subpart C, Article III, Air Resources).



                d)



                           Material Safety Data Sheets (MSDS) are available on-site for all

                           chemicals required by the Occupational Safkty Act of 1971 and the

                           Hazards Communication         Act of 1985. Employees associated with

                           the manufacturing of avermectin have appropriate MSDS available

                           for their review.     Employee protective clothing, such as gloves,

                           uniforms,   and safety shoes, aud protective        equipmen~     such as
                           safety glasses, are used during the manufacturing process to assure

                           compliance with the Occupational Stiety Act (OSHA) of 1971 and

                           the Hazards Communication Act of 1985.



                           To minimiz        worker    exposure     to avennect@     the   following
                           monitoring activities are conducted:



                           (l). At least hi-annual monitoring        of dust levels for averrnectin . .
                           where avermectin powder is handled; and



                           (2) At ~east monthly wipe test on equipmenq floors and production
                           bottles in the production area.


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             3)   Barceloneta. PUerto RicQ



                  a)   ~ ”-”                                                               Ce       uce


                                Air emissions generated during the production process will consist

                                of volatile organic compounds           such as ethanol, formamide,           and

                                toluene which will be controlled as appropriate             by condensers.

                                Exhaust air in the process building and the fommlation              and sterile

                                areas will      be filtered.    h    emissions     are subject      to and         in

                                compliance      with the Puerto Rico Environmental              Quality    Board

                                under the “Regulations for the Control of Atmospheric               Pollution.”
                                Manufacture       of drug      substance   is also    in compliance          with

                                conditions under permit number PFE-09-1291-1668-I-11-O.



                  b)   Liquid    Emissions      Conti o Is and      Citations    - Bul k         P Subs tance

                       Marl ufacture


                                The manufacturing       process generates two types of liquid waste
                                streams:     a combination      of solvent-based     waste streams,        and a

                                combination of aqueous waste streams.                                         ..

                                                                                                                    ./”
                                The solvent-based streams are generated in the chemical processing

                                steps. They will conti  discarded organic compounds dissolved in
                                        .’
                                solvents such as ethanol, formamide, toluene and water.      l-he
                                                                                             —
                                solvent-based     streams will be destroyed by incineration.              The on-



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                           site incineration process will be subject to and in coliipliance with

                           the Puerto Rico Environmental           Quality Board (EQB) Regulations

                           for the Control      of Atmospheric        Pollution     and the U.S.        EPA

                          regulations    for the control of hazardous waste, 40 CFR Parts 264

                          and 265. Currently, the solvent incinerator operates under a permit

                          number PRD 090028101             issued by the EQB Hazardous             Waste

                          Program       and under EQB Permit No. PFE-09-1291-1668 -I-111-O

                          issued by the EQB Air Program



                          The aqueous-based waste stream consists of wash waters generated

                          by equipment       washings.     Holding tanks are provided to contain

                          these washes prior to testing and disposal,                Depending     on the

                          ivermectin      concentration,    the holding      tank    contents    will    be

                          managed in one of two ways:



                          (1) Contents are tested for ivermectin and recycled through a filter
                          until a specified level is reach~          and then are discharged to the

                          chemical sewer, or



                          (2) contents are incinerated.

                                                                                                          .,
                          Effluent from the Barceloneta plant is discharged to the Barceloneta

                          Regional      Wastewater     Treatment    Plant (BRWTP)        under permit

                          #~,A-93-202-045.           The BRWT’P operates under the requirements

                          of NPDES permit #0002137 which is administered by EPA.



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                                                  . .
                c)   solid Waste C@ols       and Citations - Bti   DNP Sub-cc        ~       ufacture


                             SoIid wastes, such as paper, tmsIL and HEPA-type                filters etc.,

                             generated at the BarceIoneta plant as a result of drug substance

                             manufacture are subject to, and in compliance wi~           the regulations

                            for solid waste disposal of the Puerto Rico Environmental              Quality

                            Board (EQB).


                            Non-hazardous      solid waste (general trash, paper and plastics) is

                            dkposed of on-site in a solid waste incinerator.       The incinerator is

                            subject to and in compliance with the Regulations for the Control of

                            Solid Waste administered by the EQB and permits PFE-09-1291-

                            1668-I-111-O issued by the EQB Air Program              and S1-93-0004

                            (expiration date: 4/14/96) issued by the EQB Solid Waste Program.


                d)   Emglovee Protection



                           MateriaI Safety Data Sheets are available on-site for all chemicals

                           required by the Occupational Stiety Act of 1971 and the Hazards

                           (hnmunications       Act of 1985.       Employees    associated     with the

                           manufhcturi.ng of drug product have appropriate MSDSS available

                           for their review.     Employee protective clothing (such as gloves,

                           uniforms, tiety     glasses, safety shoes, and protective equipment) is

                           used dpring the manufacturing       process of drug product to assure
                           compliance    with the Occupational       Stiety    Act of 1971 and the



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                             Hazards     Communication        Act of 1985.        To minimiz           worker

                             exposure to ivermectin, the following monitoring activities will be

                             conducted:



                             (1) At least semi-annual monitoring of dust levels where ivexmectin
                             powder is handled;



                             (2) Wipe tests are performed to veri$ the cleanup of spills in the

                             manufacturing area.



             4)   Hml e m. Ho hand


                  a) Air Emissions      Controls and Citations      - Druz Product Formulation            and

                      ?rim.v Packa~ing


                             Air     emissions   generated     during    the   formulation      of     human

                             iverrnectin consist of volatile organic compounds (such as ethanol)

                             and dust.    Air fbm the process building, formulation             area sterile

                            facility is exhausted through HEPA-type filter prior to discharge to

                            the atmosphere       to control     particulate    emissions     of iverrnectin

                            powder (drug substance).          The manufacturing      is regulat~       and in

                            compliance with the Air Pollution Act.




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                b)   Liquid Em-           Controls and C-                  - Dxug prOdUCt F=           ulation and

                     ?rimq    Pa ckapi~


                             Liquid waste streams containing ivermectin are generated in the

                             formulation and packaging of the drug product.                   Small quantities of

                             organic solvents,     such as ethanol               and water,     from equipment

                             cleaning and wipedowns are generated.                 Waste organic solvents are

                             collected and sent to the Rotterdam incinerator.                 The disposition of

                             organic solvents is in compliance with the Hazardous                       Waste Act

                             and the Waste Act.



                             Any aqueous waste resulting from manufacturing                    the drug product
                             will be collected and treated with an activated carbon purification

                             unit to remove the ivermectin.                The wastes will then enter the

                             plant’s general waste system which includes domestic sewerage and

                             will go via a neutralization pit (pH X5)               to the municipal sewerage

                             treatment    plant”   This plant operates under the control                       of the

                             ibogheemraadschq            Van    Rynkmd.               MSD       has     a      permit
                             #1420(’86)V26580      (gmnted June 11, 1987 with no expiration date)

                             from the municipality       for entering the sewerage treatment                    plant

                             with their plant effluent. The wastewater discharge is regulated by,

                             and    in      compliance         wi~          the      “Wet       Verontreiniging

                             Oppervlaktewateren”     which includes tie Waste Water Regulations.
                             Spent activatwl carbon from the filter system will be collected in




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                                Pltic    bags, put into drums, and handled as a hazardous waste as
                             described below.


                       .          . .                    . .
                 c) Simons                 Controls and C@@gms - Dnw Pro duct Fo rrnulation and




                             Solid waste resulting from production and packaging                of the drug

                             produc~ such as HEPA-type filters and spent activated carbon, will
                             be combined         with other plant trash and transferred          via closed

                             vehicle to the Rotterdam incinemtor.              A permit for transport and

                             incineration is issued by the provincird authorities under the laws

                             regulating transport and processing of solid wastes.



                             Management of solid waste from manufacturing is regulated, and in

                             compliance wi~         the “Wet Milieubeheer” which includes:           the h

                             Pollution Act the Hazardous Waste ACG the Waste Act and the
                             Waste Regulation.


                                           .
                d)    Employ=      Protetion


                             Material Safety Data Sheets (MSDS) are available for all chemids.
                             required by the Dutch Safety Law (Arbo Law) and the Dutch Safety

                             Rules for Industry and Workshops.             Employees associated with the

                             formtiation       and packaging of ivermectin have appropriate MSDS

                             available     for their review.     As additional        worker     protection,


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                             monthly swab tests are performed for ivermectin                on equipmen~

                             floors, and production bottles in the production area.



                             Manufacturing     is regulated by, and in compliance, with the Dutch

                             Stiety Law (Arbo Law) and the Dutch Safety Rules for Industry

                             and Workshops.



            5)   West Po in~ Penn svlvania



                 a)   Air Em ission Controls and Citations - Dnw Product Disr)osal



                             The on-site      incineration    facility   employs     necessary     operating

                             conditions as to ensure compliance with permitted emission levels.

                             As a contingency,       off-site incineration        will be conducted     at a

                             permitted facility.



                             The air emission controls for the disposal of this product meet the
                             requirements      of   the      Pennsylvania     Air      Pollution    Control

                             Regulations     under Title 25 of the Pennsylvania            Code, Part I-

                             Department      of Environmental        Protection     (PA DEP),      Chapters

                              121-141.                                                                     .,’”


                             Approval      of the proposed action will not impact the facility’s
                             ability to comply with the above stated requirements.                  No new

                             petit   limits are anticipated as a result of the proposed action.



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                      b)   Liquid Waste Cm trols and Citations - Drug ~sx



                                  The liquid from incineration operation will be discharged into the

                                  site wastewater collection system and wiIl undergo pretreatment

                                  along with other sanitary waste. This wastewater is discharged for

                                  fiuther treatment to the UGTA.        The treated effluent is discharged

                                  horn the UGTA under NPDES Permit Number PA 0023256.                       This

                                  permit is administered by PA DEP.



                                  The wastewater        is subject    to, and in compliance         with,      the

                                  pretreatment standards for existing sources of the Pharmaceutical

                                  Manufacturing      Category under Title 40 of the Code of Federal

                                  Regulations     Part 439.   The wastewater       is also regtdated    by the

                                  UGTA and is in compliance with the existing contract and the

                                  “Rules and Regulations Governing the Discharge of Sanitary and

                                  Industrial Wastewaters into the Public Sewem of Upper Gwynedd

                                  Township       Authori~.”     These    regulations    are based      on the

                                  requirements     of the Federal Clean Water Act and Pennsylvania

                                  Clean Streams Law. The cumnt           contract with UGTA (expiration

                                  9/30/98) limits plant efiluent to a flow (calculated from a monthly

                                  average) of 1.255 million          galh~    BOD = 250 mg/L             (daily

                                  maximum); TSS = 300 mglL; and pH between 5.5-9.0.                 Approval

                                  of the proposed action will not impact the facility’s ability to
                                        /
                                  comply with the above stated requirements and no new permit
                                  limits are anticipated as a result of the proposed action.


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                                                                         .
                 c)   Solid Waste Controls and Citations - Dn.w Product Dmo.sal



                             Appropriate controls for the disposal of unused market packages

                             are utilized as part of the site solid waste management                         program.

                             The waste is incinerated         at permitted            disposal     facilities.      Ash

                             generated horn the on-site incineration process is disposed of at a

                             permitted facility and is monitored to mnfirrn its acceptability with

                             prevailing solid waste regulations.



                            Solid   waste     management        at the           West    Point      plant      requires

                            ccmformance       with     conditions         set    forth    in     Permits         400674
                            (expiration     date:    1/25/2003)          aud      400459         (expiration       date:

                            6/16/2005)      issued    by PA       DEP           and    Permit     PADO02387926
                            (expiration   date:      4/15/2002) issued by both EPA and PA DEP.

                            These requirements assure comprehensive control for management

                            of waste throughout the plant including returned market packages.

                            The requirements         of the Pennsylvania              Code, Title 25, Part I -

                            Department      of Environmental             Protectio%      Chapter       75, are the

                            prirmuy regulations which impact solid waste management.                                The
                            regulations are subject to the requirements of the Federal Resource

                            Consemation      and Recovery A@ the Federal Hazardous and Solid

                            Waste    Amendments,          and       the         Pennsylvania         Solid        Waste

                            Management Act.




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                               Approval of the proposed action will not impact the facility’s ability

                               to comply with the above stated requirements.


                   d)   Emplovee Pro tection


                               Material Safety Data Sheets are available on-site for all chemicals

                               required by the Occupational          Stiety        Act of 1971, the Hazards

                               Communication          Act of 1985 and Title 29 Code                  of Federal

                               Regulations     Part    1910.1200.         Employees     associated    with     the
                               manufacture of drug substance have appropriate MSDSS available

                               for their review.       Employee protective clothing, such as gloves,

                               uniforms, and safety glasses are used during the manu.fhcturing

                               process to assure compliance with the Occupational              Saf&y Act of

                               1971 and the Hazard Communication                   Act of 1985 and Title 29

                               Code of Federal Regulations, Subpart I.



          b. As a Result of th e Use of IWECTIZAN ( ivennect@



                               The projected use Of mcm                   (ivermectin) for the treatment of

                               strongyloidiasis    and onchocerciasis involves oral administration             of
                               a single dose consisting of one to three 6 mg tablets depending on,

                               the patient’s body weight.       The annual demand for MECTIZAN

                               (iverrnectin), 6 mg for use in the treatment of Strongyloidiasis              and

                               onchocaciasis      in the United States will be very low. Based on the
                               indicated dose, this corresponds to an extremely small quantity of



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                                  ivermectin annually on an incremental use basis (se=Confidenti@

                                 Appendix      III - Part 1).       This amount    is only a very small
                                 percentage (less than 0.1 ‘XO)
                                                              of the estimated amount of ivexmectin
                                 used for human health purposes worldwide and represents an even
                                 much smaller percentage of the ivermectin produced for veterinary

                                 use. Human health use of ivermectin will not result in emissions to

                                 either the terrestrial or atmospheric compartments.



             c.   Asa Result of the Dis~ osal of MECTIZAN 6mE(I vermectin. MSD)



                                The Merck West Point, Pennsylvania incineration facilities will be

                                used to treat returned product.        On-site incineration   facilities will

                                handle    the majority      of this waste with resulting        combustion

                                efllciency of at least 99.9°/0 on an hourly basis. In the event that the

                                West Point facility is unable to accept such waste, the wastes will

                                be disposed        of at an alternate permitted    off-site facility.     The

                                expected emissions from the disposal site are described below.



                                (1)      Air Emissions      - Particulate   and vapors (carbon dioxide,

                                         water vapor, etc.) are expected to be emitted             into- the

                                         atmosphere from the incineration of returned goods.               The
                                                                                                             .,.”
                                         on-site    West Point    facility incineration   operation      is in

                                         compliance with all applicable standards and pexmit limits.

                                         Any off-site incineration will be conducted at an equivalen~
                                         permitted facility.


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                               (2)         Liquid Emissions                  - Any wastewater            genemted        from the
                                           incinerator operation will be discharged                            into the sanitary

                                           sewer which undergoes on-site pretreatment for equalization

                                           and        is     discharged            for    off-site   biological      wastewater

                                           treatment at the UGTA.



                               (3)         Solid       Emissions             - All returned            and    outdated      market
                                           packages and residual ivermectin waste horn operations at

                                           West Point will be incinerated at on-site or off-site facilities

                                           permitted to handle such waste streams.


                                . .                                             .
         d.   Effect   of   A@lca~on         Appro v al             on      Com@nce              With    Cumen t      Emissions
              Reuuiremen~



                               Merck & Co., Inc. states that it is in compliance wi~                                     or on an

                               etiorceable            schedule to be in compliance                        with,    all emission

                               requirements                 set     forth      ~         Wts>        consent      decrees       and
                                     . .
                               admmstmd “ve orders applicable to the production of ivermectin at

                               its facilities          in         Elkto~     Wrgin@          Danville,       Pennsylvania       and

                               Barcelonekq             Puerto        Rico and the production                   of MECTEZAN

                               (ivemwctin) at Haarle~                       Holland as well as emission requirements

                               set forth in applicable                       ftieral,      state, and local        statutes     and
                               regulations            applicable         to the production              of iverrnectin        at its

                               facilities        in        Elktou          VirginiA        Dauville,      Pennsykmkq            and
                               Barcelone~              Puerto Rico and the production                        of MECTIZAN          at


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                               Haarlem, Holland and the incineration               of returned goods at its

                               facility in West Poin~ Pennsylvania.


     7.   Fate in the Environm ent



                               MECTfZAN (ivermectin) is derived from the avermectins, a class

                               of highly active broad-spectrum             antiparasitic agents isolated from

                               fermentation      broths of liltrep~onzyces avemzitilis.         Environmental

                               assessments have previously been prepared in connection with the
                               approval of the use of avermectins in veterinary and agricultural

                               applications. Environmental Assessments for ivermectin submitted

                               to the FDA (CVM) have universally resulted in “findings of no

                               significant impact” (FONSIS).              Moreover, detailed assessment      of

                               ivermectin’s      effect    on   the      environment   has    been   a major

                               component        of the overall program to develop ivermectin              as an

                               antiparasitic    drug for fd        producing animals. Extensive studies

                               have   been conducted.            These      were specifically     designed   to

                               determine the extent of ivexmectin’s impact on the environment.

                               Ivennectin’s mobility, distribution and stabiity              in soil and water

                               were measured.           Other studies investigated the drug’s effect on a

                               variety of environmentally        important organisms including Imcteri&

                               invertebrates,     fid     plants, etc.     Combined    with the clinical use

                               pattern of ivermectin         in livestock     and m-      these provide the
                               means to assess ivennectin’s environmental impact.




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                                 Information which supports the present Environmental      Assessment

                                 can also be found in assessments prepared for previously approved
                                 products including:



                                 EKK!!M                         NNAQA                &w-Md


                                 IVOMEC (ivexmectin)

                                 Injection for Cattle           128-409              02/1 3/84

                                 EQVALAN (iverrnectin)

                                 Paste for Horses               134-314              05/21/84

                                 IVOMEC (ivermectin)

                                 Injection for Swine            135-008              07/22/86

                             IVOMEC (ivermectin)

                                 Pour-On for Cattle             140-841              12/04/90



                             Relevant sections of those assessments have been summarized and
                             are included herein.



         a.   Photod
                   efzradation



                             Halley (1990) used a high-pressme         xenon arc lamp to simtdate

                             sunlight and calculated that ivennectin         would photodegrade     near

                             the surfkce of opeIL flat bodies of water under clear skies in
                             summer and winter sunlight with half lives of 12 and 39 hours,
                             respectively.     This rapid photodegradation      in water should effect



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                             swifl elimination     of ivermectin     from the aquatic environment.

                             Based upon data from a preliminary study, ivermectin undergoes

                             photodegradation     as a thin, dry fihn on glass with an estimated t%

                             of about 3 hours in summer sunlight (Yeager and Halley, 1988).

                             Av-hn        Bla possesses an absorption maximum similar to that

                             of ivermectin      (Sec.   5), with less intense      longer     wavelength

                             absorption at approximately      290 and 350 nm (Halley, 1990), and

                             photodegrades on soil TLC plates with a hrdf He of 21 hours (Ku

                             and Jacob, 1983a). Rapid photodegradation          is consistent with the

                             rapid loss of avermectin B la from cotton leaves (Bull et al., 1984).



         b.   Soil Binding



                             Ivermectin has been classified        as “tightly bound” to soil ~c

                             12,578 with clay loam soil (Iowa)] and hence considered immobile

                             (1-kdley, 1985).    Consequently,     the possibility of translocation     of

                             ivermectin through soil from one site to another in the environment

                             is remote.   It was also demonstrated        that toxicity of ivermectin

                             (Ostlincl and Cifelli,     1980) and avermectin       B1 (Forbis,       1989)
                             toward Daphnia is greatly attenuated (99Yo) in the presence of soil.

                             These results agree with the known irnmobolization             of ivemwtin ..

                             (Halley, 1985) and aveqnectin B1 (Ku and Jacob, 1983a) on soil.

                             When ivexmectin was partitioned between water and Iowa soil, a

                             soil to water distribution   of 333 was foun~ predicting that 99.7%




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                                    of the drug would be boun~ with only 0.3V0 in so~tion            (Halley,

                                    1985).


              c.   Fate in Soil and Ve~etatio~


                                    Laborato~       studies (Bull et al., 1984) have shown     that under

                                    aerobic conditions in soil [31-Ijavermectin Bla degrades to at least
                                    thirteen radioactive products; half lives for the drug (at 1 ppm) in

                                    Lu&in fine sandy loam, Houston clay and coarse sand soils are 14-

                                    28, 28-56, and 56 days, respectively.        The major degradation

                                    product is an approximately       1:2.5 equilibrium   mixture     of 8a-

                                    hydroxyavennectin      Bla (an acetal) and the cmespondi.ng         ring-

                                    opened aldehyde.       At all treatment levels in Lufkin fine sandy

                                    loam, 90% degradation of [3Hlavermectin        B]a occurs within 168

                                    days of exposure.     Avermectin B la is strongly adsorbed by ditch-

                                    bottom sludge (VOnk and Van den Hove~           1985) and other soil

                                    types and is immobile (Ku and Jacob, 1983b).



                                    Low levels @O.1 ppm) of radioactivity      were found in the leaves

                                    and sterns of cotton seedlings grown in Lu.fkin fine sandy loam

                                    containing      10 ppm of [3HJavexmectin    B]a; some mdioactivity

                                    (23 ppm) was found on the seedling roots, but whether it was
                                    absorbed or adsorbed was not detennimd      (Bull et al., 1984). Little

                                    radioactivity    from labeled avermectin Bla or its degradates       was

                                    taken into the vascular system of the cotton seedlings.         This low



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                            level   of      uptake     is   consistent   with   the- obse~ed    lack      of

                            phytotoxicity      for a number of other plant species grown in soil
                            containing      avermectin       B1. The obsemed       lack of pronounced

                            systemic insecticidal activity for ivermectin and averrnectin B1 also

                            indicates little or no uptake of these compounds by plants.



                            Tntiated avermectin Bla was found to undergo rapid depletion and

                            degmdation when applied to the leaves of cotton plants (Bullet al.,

                            1984). Little more than half of the applied radioactivity was still
                            present on the leaf at 2 days post treatrnen~ and only one-third of

                            this was averrnectin.           At this time, roughly 5V0 of the applied
                            radioactivity     was found within the leaves.         By eight days post

                            treatment    only 13% of the applied radioactivity was found on the

                            leaf surfaces, and only 15’%0
                                                        of this residue was avermectin;             8% of

                            the dose was within the leaves. The authors suggest that the rapid

                            loss of applied labeled avermectin Bia and its instability are related
                            to the known        photolability      of this compound.      A non-polar

                            photodegradation         product of avennectin Bla has been identified as

                            the Ag’g-immti (Ku and Jacob, 1983).


                            The slight uptake by cotton seedlings of radioactivi~              from soil

                            containing      [3H]avennectin       Bla, repoti     by Bull et al. (1984),

                            suggests that if soil were to contain the close structural analog

                            ivefiecti       uptake of the latter by plants grown in the soil would
                            also be minor.       Data from Bull et al. (1984) concerning           lack of



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                           uptake     of radioactivity       by grass   from       a plot    treated   with

                           [14C]avermectin        B]a ant bait fonmdation            also    support      this
                           contention.     In additio~ studies comparing the pesticidal activities

                           of dimxtly applied vs. systematically            applied (soil) avermectin

                           demonstrated little or no uptake of the agent from soil.



                           Moye and coworkers (1987) reported radioactive residues in crops

                           (sorgh~       lettuce, carrots and turnips) grown in three types of soil

                           to which [14C]avermectin B 1a had been applied 3 to 12 times at

                           0.025 to 0.030 lb/acre/application.              Radioassay      of the crops

                           indicated a maximum total residue of 14 ppb. ~               only 4.4°/0 of the

                           total radioactive     residue in a lettuce leaf was extractable             with

                           acetone, it is clear that most of the residual radioactivity           is either

                           chemically different iiom avermectin B la or present in a strongly

                           bound form (probably incoqxxated             into the vegetable matter as

                           small molecules resulting from breakdown of the avermectin B1 ~.



                           Iwata et al. (1985) reported that the initial rate of avemnectin Bia

                           degradation on citrus iiuits and leaves is very rapid. Total residue

                           dissipation half lives were 50 days (lemon leaves), 58 days (orange

                           tid)   and 36 days (lemon rind).         timparison       of total radioactive,

                           residues    with     percentage    ayerrnectin    Bla    showed     continuing

                           degradation of the actual avermectin Bla present in the residues.

                           Comparison of pulp and rind radioactive residues indicated lack of
                           translocation      from the rind into the e&ble portion of the fruits.



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                               Residue levels (total radioactivity)        were less than-0.004          mcg/g

                               (limit of detection) in new growth leaves from tips of branches
                               whose mature leaves had been immersed in a [31+javennectin B1a
                               solution (3 mg/rnL) 91 days earlier. It is reasonable to assume that

                               the extent of translocation (both leaf to leaf, and rind to pulp) of

                               ivermectin would also be very slight.          Ivermectin would also be

                               expected to exhibit a short persistence on fruit surfaces because of

                               photodegradation



           d.   Fate Summary



                               Photodegradation,        combined with oxidative       degradation       in soil

                               under aerobic conditions, will diminish the extent of environmental

                               contamination     by ivermectin.       Human drug use of ivermectin              is
                               unlikely     to result in contamination       of surface     water    and, as

                               movement      of ivermectin through soil is sligh~ contamination              of

                               surface and subterranean water is highly improbable.              Binding of
                               iverrnectin to soil sediment in water greatly reduces its eff6ctive

                               concentration.         Based on the discussion       of soil binding,       soil

                               metabolism       and    photodegradatio~     it can    be    predicted      that

                               ivennectin    present in the environment would not be expected to

                               undergo significant       movement     or translocation,     and should not

                               accurm.date.     Given        its   environmental     fate    characteristics,
                                     ,
                               ivermectin   will be         readily    eliminated    from      the      aquatic
                               environment.



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     8.     Effect on the I%rironm ent



            a.   A! uatic To-


                                      The effects of iverm~            avermectin and related compounds upon

                                      a number of aquatic species (including I)aphnia), as determined in

                                      laboratory     tests,     are reported     in Table     1.      Ivermectin        and
                                      avermectin     B 1 show comparable           aquatic     toxicity.       However,
                                      ivermectin     is more toxic to daphnids          than is avermectin              B 1.
                                      Daphni~       the   freshwater     aquatic    species        most     sensitive    to

                                      ivermect~      have been used for risk assessment               purposes.         The

                                      concentrations at which toxicities are observed in these tests should

                                      be regarded as ‘worst-case” values because factors (i.e., binding to

                                      soil and other particulate matter, and photodegradation)                 known to
                                      reduce exposure under field conditions are absent.                  Iverrnectin and

                                      averrnectin    show comparable           mammalian      toxicity      (Lankas     and

                                      Gordo~ 1989).



                 I)   Daphnia



                      a)   ~oxicity                                                                                           ,,


                                      The 48-hr LC50, 48-hr NOEL and calculated 21-day MATC values

                                      for ivennectin toward Daphnia are 0.025, -0.010                 and 0.004 ppb,
                                      respectively (see Table 1). As indicated in 7.b., the presence of


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                                soil in the test system reduced the toxicity                     of ~ermectin         and

                                avermectin B1 toward Daphnia.



                                It is clear that the environmental      fate characteristics           of ivexmec~

                                and the very limited use of the drug in humans, make it highly

                                unlikely    that environmental       concentrations          as a result        of the

                                proposed    action will reach levels toxic to any aquatic species,

                                including Daphnia.        Data in Table 1 also support the view that

                                ivermectin-related     compounds      such as its monosaccharide                   and

                                agl ycone    and     feces/soil   column            percolates      which      contain

                                ivermectin degradation/metabolites                 are much less toxic than the

                                parent compound (based on 48-hr. LC50 data for the former, and
                                48-hr. NC)EL data for the percolates).               Avermectin B 1 is less toxic

                                toward Daphnia than is ivermec~                     and the known degradation

                                products of avermectin        B la (i.e., the A899 isomer and the 8a-
                                hydroxy compound)         are also much reduced                  in toxicity    toward

                                Daphnia compared to their parent compound (Forbis, Georgie and

                                Burgess, 1985a and b, respectively).




                a)   Toxicity


                                Fis~’are at ieast 100-fold less sensitive to the toxicity of ivermectin
                                than are Daphnia.       Ivermectin    96-hr LC50 values, corrected for



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                              assay, (Table 1) for rainbow trout and bluegill sunfish are 3.0 and
                              4.8 ppb, respectively, fm higher (factor of at least several orders of

                              m~de)        th~ the extremely low concentrations that might occu
                              with ivermectin in ponds and streams because of the use of this

                             drug in the treatment of Strongyloidiasis     and onchocerciasis.        In

                             general, the acute toxicity of avermectin toward fish [e.g., LC50

                             values of 3.6 and 9.6 ppb for rainbow trout (Sous~           1981) and

                             bluegill sunfish (Wlson,      1981), respectively]   is similar to that

                             exhibited by ivennectin.



                b)   J3ioconcen tration in Sunfish



                             The bioconcentration     of [3~avermectin   Bla by the bluegill sunfish

                             is modest and occurs gradually (Forbis and Franklin, 1983).              In

                             water containing 0.099 mg of test compound per liter (0.099 ppm)

                             the daily bioconcentration    factor for whole fish was only 19 to 69,

                             with an uptake tissue concentration for whole fish of 1.9 to 6.8 ppb;

                             accumulation ceased by about day ten. A 95 percent clearance rate

                             of radioactivity   for whole fish was found for a M-day deputation

                             period; the whole-fish concentration dropped from 6.8 to 0.32 (day

                             14). This bioconcentration    value of less than 100 and the rapid rate

                             of deputation are favorable, as they demonstrate that concentration

                            and retention of avermectin Bla (and hence ivermectin)             in fish
                                  ,
                            shouid not be an environmental concern.




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              3)   Toxicity Toward Other Aauatic Snecie~



                              The toxicity     of ivermectin     and avermectin      toward other aquatic

                              species is also presented in Table 1. Iverrnectin has a moderate effect

                              upon the growth characteristics         of Clzlorella pyrenozdosa,     a fresh

                              water unicellular,    non-motile       chlorophyte,   at the relatively” high

                              concentrations    of 1 to 10 ppm (Halley et al., 1989). Avermectin B 1

                              exhibits   14- and 9-day EC50 values of 3,900 and 100,000 ppb,

                              respectively,    with duckweed     and a freshwater      algae, Selenastrwn

                              capricornutum (see Table 1).




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  TABLE 1
                                  EFFECT OF IVERMEC~,
             ~~~.c~        AND ~J,ATFD   CO~O~S       WON AOUA~C       SP
                                                                             IF,s
       coMPo~                  SPECIES         EFFECT
  Ivermectin                   Daphnia         48-hour             Halley et al., 1989
                                               LC50 0.025 ppb

  Ivemecti   (H2BIJ           Daphnia          48-hour             Halley et al., 1989
  monosaccharide
                                               LC50 0.400 ppb

 Ivermectin (H2BId            Daphnia          48-hour             Halley et al., 1989
 aglycone
                                               LC50 >17 ppba

 Ivermectin                   Daphnia         48-hour NOEL         Haley et al., 1989
                                              -Q. OIOppb

 Feces from ivermectin-       Daphnia         48-hour             Halley et al., 1989
 dosed stee;/soil column
                                              NOEL -3.2 ppbc
 percolates

 Ivennectin                  Bluegill         96-hour             Forbis, A.D., 1983
                             Sunfkh           LC50 4.8 ppb

Ivermectin                   Rainbow          96-hour             McAllister, W.A., 1986
                             Trout            LC50 3.0 ppb

Avermectin B]                Daphnia          48-hour             Surprenant & LaBlanc,
                                              LC50 0.34 ppb        1981

Avermectin Bla               Bluegill        Estimated btha.1     Forbis, 1983
                             Sunfish         Threshold 6.7 ppb,
                                                                                           .,
                                             NOEL 2.3 ppb
                                             @ynamic 7-Day
                                             Toxici~ Study)

Avermectin B1               m“               96-hour              Douglas and Pen, 1985
                                             LC5042 ppb


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                                      TABLE 1 (Con ti nued]


Avermectin B]              Channel              96-hour                   McAllister et al., 1985
                           Catfish              LC50 24 ppb

Averrnectin B1             Mysid                96-hour                   Surprenan~ D., 1988a
                           shrimp               LC50 0.022 ppb

Avermectin B1              Sheepshead           96-hour                   Ward, 1985
                           Minnow               LC5015 ppb

Avermectin B]              Oyster              48-hour                    War~ 1983
                                               EC50 430 ppb

Avermectin B1              Bluegill            96-hour                    Wdson, 1981
                           Sunfish             LC50 9.6 ppb

Avermectin B1              Rainbow             96-hour                    so-    J.V., 1981
                           Trout               LC50 3.6 ppb

A839-Avermectin            Daphnia             48-hour                    Forbis et al., 1985a
B]a (@otochemical                              LC5014 ppb
degradation product of
avermectin Bl~

8a-Hydroxyavermectin       Daplmia             48-hour                    Forbis et al., 1985b
B]a (aerobic soil                              LC5026 ppb
degradation product of
avennectin B@

Avermectin B1              Daphnia             21-day MATC                Surprenanq D. C., 1984
                           (Life Cycle)        0.03-~.09 ppb
                                               ACR 6.5

Ivermectin                 Dap&a               Estimated MATC             Calculated value’
                           (Life Cycle)        0.004 ppb



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                                     TABLE 1 (Continuedl


Averrnectin B 1              Mysid shrimp          28day MATC               Surprenan~D.C.,1988b
                             (Life Cycle)          0.0035-0.0095 ppb
                                                   ACR 3.8

Avermectin B]                Rainbow               MATC 0.52-0.96           McAllister, W.A., 1986
                             Trout (ELS)           ppb ACR 4.6

Avermectin B1                DuckWeed          14-day                       Hollister, 1981a
                                               EC50 3900 ppb

Avermectin B]                Selenastrum       9-day EC50                   Hollister, 198 lb
                             capricornutum     100,000 ppb

Iverrnectin                  Chlorella         Maximum tiOWth               Halley et al., 1989
                             pyrenoidosa       Rate, No Effkct
                                               at 10,000 ppb




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Notes:
a
      L~50 could not be determined        accurately as the highest concentration        of the aglycone

      studied W= 17 ppb.
b
      Feces from steers dosed with radiolabeled ivermectin were mixed with soil and applied to the

      tops of soil columns.    Water was allowed to percolate through the columns; collected water

      contained no (<0.01 Oppb) ivenmctin,        which binds to top of column.
c
      Because the low concentrations     of ivermectin-related    compounds in the faes/soiI      column

      percolates Iimited the extent of testing, suilicient data could not be collected to calculate the

      LC50 value accurately.
d
      ACR    =   Acute   to    Chronic   Ratio;     LC5@4.ATC        (Maximum       Acceptable   Toxicant

      Concentration).
c
      An estimated MATC for ivermectin was calculated from the 2 l-day MATC for avermectin

      (0.03 to 0.09 ppb; geometric mean of 0.052 ppb) and the ratio of the ivermectin                 and

      avermectin 48-hr. LC50 values for Daphnia (0.025 and 0.34 ppb, respectively):               X/52 =

      25/340; X = 0.004 ppb.




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             b.   other



                           An overview of the pharmacology            of ivermectin and Mormation

                           on the toxicity     of ivermectin     to soil microbes,      plants,       various

                           aquatic organisms, nematodes, arachnids, insects, and annelids, as

                           well as a literature review, can be found in the Environmental

                           Assessment      for lVOMEC@          (ivennectin)     Injection     for Swine

                           (MDA         135-008).    The    present    Environmental          Assessment
                           supplements      this with recent      information     on ivermectin          and

                           supporting information on avermectin B 1.



                           The low phytotoxicity     toward six plant species (cucumber, lettuce,
                           soy-         perennhd    ryegrass,    tomato,   and     wheat)      has      been
                           demonstrated    with ivermectin in both a seed germination             and root
                           elongation    study (Feutz and Stuennan,            1995a) and a seedling
                           growth study (Feutz and Stuerman, 1995b,).             The results (NOEC
                           values) from the studies are presented below.            All NOEC values
                           were based on mean measured concentrations.




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                                    Table 2: Seed Germination and Root Elongation
                                         Phytotoxicity Study with Ivermectin
                            Species                                NOEC, ppm

                                                        Germination          Root Elongation

                            Cucumber                        >980                   98
                            Lettuce                         >980                  z980

                            Soybean                         >930                  >930
                            Perennial Ryegrass              >980                   98
                            Tomato                          >980                  >980
                            Wheat                           >930                  >930



                             Table 3: Seedling Growth Phytotoxicity Study with Iverrnectin
                                                          in Sand
                            Species                            NOEC, ppm

                                             Shoot Length      Shoot Weight         Root Weight


                            Cucumber             0.68                 0.68               >790
                            Lettuce               6.9                 0.68               >790

                            soybean              ~790                 6.9                2790
                            Tomato               0.68                 0.68               0.68
                            Wheat                 6.9                 0.68               0.56


                            In additio~ a seedling growth study was conducted with perennial
                           ryegrass    in sand and sandy loam soil (Feutz and Stuennan,
                            1995b). The low phytotoxicity of ivermectin to perennial ryegrass
                           was tier      reduced by approximately      2000-fold, as measured by



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                             the NOEC for shoot weight (the most se)isitive parameter)                        in
                             sandy loam soil relative to that in sand.



                                 Table 4 Seedling Growth Phytotoxicity Study for Perennial
                                                    Ryegrass with Ivermectin


                               Growth Medium                                  NOEC, ppm

                                                    Shoot Length          Shoot Weight        Root Weight

                              Sand                         7.7                  0.57              2780
                              Sandy Loam Soil             >1 ]00                >1100”           >1 ]00


                            Both ivermectin and avermectin are toxic toward a wide variety of

                            agricultural   pests including    the Mexican bean beetle, Southern

                            army worm, aphids, and mites.               The effect of ivermectin          upon

                            animal ectoparasites including flies, fleas, lice, ticks, and mites has

                            also been determined (Fisher and Mro~                1984). A review article

                            by Strong and Brown (1987) discusses the avermectins                   in insect
                            control.



                           Avermectin B1 has no effect upon vitrification                in humic sandy or

                           loam soils at up to 0.4 mg/kg soil, or 0.4 ppm (&rug                    and” Van

                           Agtere~      1985).    There      was no effect upon            notification       or -

                           respiration (Halley et al., 1989) for soil containing 30 ppb of fecal

                           ivennectin      and metabolizes       from     subcutaneously       dosed      (300




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                           mg/kg) steers. These are much greater concentratio~            than would
                           be found in the environment from human health use.



                           Avermectin B1 was found to impair the total gas production and the

                           methane production of anaerobic methane-forming             bacteria above

                           a concentration of 1000 mg/L @mstvei~           et al., 1985) (1000 ppm,

                           the NOEC).       The EC50 for total gas production was determined
                           (by extrapolation)      to be >>3200 mg/L; a significant inhibition           of

                           methane   production       rate could not be detected.          These        are
                           concentrations     f=     above   any    anticipated   to   arise     in     the

                           environment.



                           The LC50 earthworm toxicity for ivermectin             is 315 mgkg          soil

                           (315 ppm) and the corresponding 96-hr. NOEL is 12 ppm @lalley
                           et al., 1989). These are much gnater concentrations than would be
                                                       ..
                           found in the environment horn human health use.




                           Because of 1) the very limited amount of ivermectin             introdumd
                           into the environment        through     its use as an anthelmintic           for

                           humans, and 2) its rapid elimination from the environmen~                  there

                           will be no undesirable, adverse effkct of this drug with respect to
                           aquatic species or other life forms in the environment.




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                           Ivermectin has been tested for acute oral toxicity in a variety of

                           laboratory animal species (Lankas and Gordo~ 1989). Acute toxic

                           effects are characterized        by signs of CNS toxicity           including

                           tremors, mydriasis,        and lethargy.     The acute oral LD50 values

                           range from about 80 mg/kg in dogs to about 30 mg/kg in mice.
                           The       derrnal   LD50    values   for ivermectin     following    24-hour

                           occluded       exposure    in rabbits      and rats   are 406    mg/kg    and
                           >660 mf$lsg, respectively.       The oral LD50 of ivermectin in mice is

                           approximately 30 mgkg.



                           In assessing the toxicity of ivermec@           it is important to note that

                           rodents, and mice in particular, are poor models for predicting

                           effects of ivermectin in humans. For example, doses of ivermectin

                           of 0.2 mgkg produce clinical signs of drug effects (tremors and

                           ataxia) in mice (Lank        and Gordo~ 1989). This dose (0.2 mg/kg)

                           of ivennectin is used to treat onchocerciasis infections in humans.

                           Since 1982, millions of people have been treated for onchocerciasis

                           (0.15 -0.2 mgkg) with no serious drug-related adverse eff&ct.s.-
                                                                                                           ,.

                           A comparison        of acute exposure data in rhesus monkeys             with
                           humans suggests that primates are abetter model for predicting the

                           effects     of ivenmctin     exposure      in humans.    In monkeys,        the

                           minimum        acutely toxic oral dose is 2 mg/kg based on a 25°/0



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                           incidence of emesis in treated animals (Lankas and ~ordoq            1989).

                           Peak plasma levels at this dose were 110 nghnl or about 5-fold the

                           human therapeutic plasma concentmtion.          Doses of 8-24 mg/kg in

                           monkeys produced mydriasis and sedation in addition to emesis

                           with no deaths, despite plasma levels up to 680 nghnl. These signs

                           are similar to those reported in a carefidly documented case of a

                           child after accidental     ingestion    of about 8 mg/kg     iverrnectin.

                           Emesis, mydriasis, and sedation were reported in this individual

                           followed by complete recovery.         Therefore, the primate is a better

                           model for predicting the effects of human exposure to ivermectin

                           than rodents.    In addition, a 2-week repeat dose study in monkeys

                           with ivermectin administered at dosage levels up to 1.2 mg/kg/day

                           produced no evidence of toxicity.



                           Ivennectin     was not genotoxic       in vitro in the Ames microbial

                           mutagenicity     assay (Salmonella typhimurium        strains) with and

                           without rat liver activatio~ the mouse lyrnphoma cytotoxicity          and

                           mutagenicity assays and in the unscheduled DNA synthesis assay

                           inhuman fibrobh.sts.     Ivermectin had no adverse el%zts on fertility

                           in rats at doses of up to eighteen times the maximum human-dose

                           @ased on mg/kg/day).      Long-term studies in animals have not been

                           petiorrned to evaluate the carcinogenic potential of ivermectin.

                                .
                           Developmental     toxicity studies cxmducted with ivermectin in rats,
                           rabbits, and mice have shown that the drug is not selective y toxic



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                                                                                            —
                               to the fetus. No-effect levels for embryo/fetal toxicity were at w

                               near those that produced         severe matemotox.icity           (Larks       and

                               Gordo~       1989).   Therefore, a risk assessment        for developmental

                               effects based on maternal exposure will provide even greater safety

                               margins for developmental        toxicity.   This is supported by target

                               animal safety studies conducted in a variety of domestic animal

                               species treated at 2-fold or 3-fold the recommended                use level of
                               ivermectin     with no evidence       of developmental           toxicity.      In

                               addition, extensive clinical use of ivermectin in these same species

                               with over a billion doses administered            to cattle, sheep, horses,

                               swine, and dogs has confirmed the safety of this drug in pregnant

                               animals.      There are, however, no adequate and well-controlled

                               studies in pregnant women.



         e.   ?harrn a CO1OW


                               Ivermectin is metabolized       in the liver and iverrnectin and/or its

                               metabolizes are excreted almost exclusively            in the f-s       over an

                               estimated     12 days with less than lo/o of the administered                dose

                               excreted in the urine. The plasma half-life of ivermectin in man is

                               about 12 hours.


                               Ivermectin     inhibits   signal transmission      from the ventral          cord

                               intemeurons      to the excitatory    motor neurons in nematodes               by

                               stimulating     release of the inhibitory        neurotransmitter,      gamma-



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                                aminobutyric acid (GABA) from presynaptic nerve terminals.                        In

                                arthropods, a similar mechanism inhibits signal transmission at the

                                neuromuscular junction.   Ivermectin does not readily penetrate the

                                CNS of mammals, and thus, does not interfkre with mammalian

                                GABA-dependent neurotransmission.



                                In animal species studied (dog, swine, cattle, sheep), liver and fat

                                contained the highest residues of ivermectin and little was found in

                                muscle and kidneys.   The unaltered drug was the major residue in

                               the liver. The high degree of extractability indicates that there are

                                few, if any, macromolecukuly          bound drug or metabolize residues.

                               In various species, virtually all of the excreted drug-residue was

                               eliminated in the feces.



    9.      Use of Resources and Enerw



                               The raw materials used to manufacture MECTIZAN                         (iverrnectin)

                               are common organic compounds                      and phannaceuticxd     excipients

                               which are generally regarded as safe (GIUN3).                   The amounts of

                               these which will be used for production of the human dosage form

                               will be insignificant compared to the amounts consumed for other
                               applications.   Energy requirements for dosage form production is

                               nominal and without environmental                  impact.   Energy will also be

                               used to transport   the drug product and to dispose                      of wastes

                               associated with this production        but the amounts involved will also



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                                 be negligible.    The land to be used for production             of the drug

                                 substance and the dosage form is already committed to production
                                 of other similar products.



                                 Approval of the intended use of ivermectin for the treatment of

                                 Strongyloidhsis    and onchoceriasis          will have no effect on any

                                 endangered or threatened species or upon property listed or eligible

                                 to be listed in the National Registry of Historic Places.



     10< h4iti~ation Meas ures



                                 The measures taken to avoid potential              adverse     environmental

                                 impacts     associated    with    the   manufacture       of    MECTIZAN

                                 (ivermectin) include proper disposal of liquid and solid waste as

                                 described    in Section      6 of this        Environmental      Assessment.

                                 Moreover, the distributio~       use and destruction of returned goods
                                 takes place under highly regulated and controlled conditions which

                                 further mitigate against adverse environmental consequences.



     11. Alternatives to the Proposed Action
                                                                                                                  .,

                                 MECTIZAN (ivermectin) has been demonstrated                   to be generally

                                 well tolerated    in the treatment       of both      strongyioidiasis         and

                                 onchocerciasis.      From    an environmental         prospective,       use    of

                                 MECTEZAN will result in negligible release of drug substance or



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                            active metabolizes and thus poses no environmental risk. Approval
                            of MECTIZAN      (ivennectin)     for the indicated   use is therefore
                            prefmble   to non-approval,     the only alternative to the proposed

                            action.




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      12. J,ist of Pre rxtrer~



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                               Princeton, New Jersey

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                               Cincinnati, Ohio



                               Senior Director,

                               Department of Safety Assessment

                               Merck Research Laboratories




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                                 Newar~ DE


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                                 Merck Manufactig        Division




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    13. Certih3tion:


                               The undersigned    official certifies that the information

                               presented is true, accurate and complete to the best of the

                               knowledge of the firm responsible for preparation    of the

                               environmental assessment.




                                                                        *
                                                                        Date

             Vice President,   Safety & the Environment

            Merck & Co., Inc.




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    15. ~uortimz    Inform ation



         a   A.Dproved Ivennectin prod u cts


                              Information which supports the present Environmental                   Assessment
                              can be found in assessments prepared for the following previously
                              approved products:




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                           ●IVOMEC@ (ivermectin)           Injection       for Cattle, N-DA         128-409;

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                           ●
                           EQVALAN@ (ivermectin)            1.87°/0 Paste for Horses, NADA              134-

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                           cIVOMEC@ (ivermectin)           Injection       for Swine, NADA      135-008;
                           Approved     7/22/86 Federal ~e@ter,             Vol. 51, No. 136, July 16,

                           1986, p. 25686



                           ●IVOMEC@         (ivermectin)   Pour-on         for Cattle,   NADA   140-841;

                           Approved 12/04/90




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                                                   Appendix I



     A.



             1.   Nli   clature



                                  International Non-Proprietary Name

                                       Ivermectin



                                  U.S. Adopted Name

                                       Ivermectin



                                  Chemical Name


                                  Ivermectin       is a mixture   of two closely        related   homologies

                                  belonging to a class of compounds known as avermectins.

                                  Ivermectin contains

                                       90’% (rein):     22z3-dihydroavermectin      B1.

                                       10% (ma):        22~3_&hydroavermec@         B~b



                                  Laboratory Codes

                                       MK-0933




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                              Other Names

                                     MEcmw
                                     Eqvalan@

                                     Ivomec@

                                     Htigard       30@


                             Chemical Abstracts Service (CAS) Registry No.

                                     70288 -86-7


      2.     Description



                             Structural Formula

                                        OCH,
                              HO,,             .

                                                         oc~
                              qc b     o   ““’’’o,,
                                                ...

                                           WC b       o    ‘“”’’O(,,


                                                           qc ‘“”’”




                                                                           H
                                                                                 OH




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                                     Molecular Foxmula/MolecuIm Weight



                                    component B,~          C@~~O,~           875.10
                                    component B,~          Ca7HnOlq          861.07


     3.      ~ vir



             a.   solubilitv. Aqueous



                                    4 mg/L




                                    K~= 1651




                                    Melting Point -155°C


          d.      UV - Visible SWXtru.m (Methanol)



                                    Maximum    at 245 nm with shoulders       at -237   and -253      run
                                    with Al*Al cm values of about 382, 349 and 248 respectively.




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                                 Ivennectin    is susceptible    to photodegration           in aqueous       media.

                                 Calculated half-lives under clear sky conditions are



                                      summer          12 hours

                                      winter         39 hours



    4.   Environmental Eff ects



         a.   Aa uatic ToxiciN


                                 There is an extensive bodj of literature on the aquatic toxicip of

                                 ivermectin    and the avermectins.                Representative   studies     with

                                 ivermectin are summarized below:



              1) DaDhnia ma$?na



                                 48-hour LC~O = 0.025 mcg/L

                                 NOEL             -0.010   mc@



              2)   Blu egill Sunfis h LLeDomismacrochirusj
                                 96-hour LC~O=       4.8 mcg/L




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                                                        .
                 3)     Rainbow Trout @.ncorhvnchus mvkzss+j


                                   96-hour LC~O=    3.0 mcg/L



            b.   Tti~



                                   96-hour LC~O=    315 mg/kg soil

                                   NOEL = 12 mg/kg soil




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                                          Appendix II

                                            MSDS




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lverrnectin                                                                                              F-85
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                               MATERIAL SAFETYDATASHEET
PRODUCTNAME: IVERMECTIN                            PAGE: 10F 9
PLANTMSDSCODE: PR-020                          Date: 1/96
1. Chemical Produet and Company Identification
Manufacturer---                                    MERCK SHARP& DOHME
                                                   QUIMICA DEPUERTO IUCO, ~C.
                                                   P.O. BOX601
                                                   BARCELONET&PUERTO RICO; 00617
EmergencyTelephoneNumber—                          (809) 846-3620 (P.R)
                                                       1-908-594-5555 (U.S.)

  LabelName--–-—-–—                                    Ivermectin

  ChemicalName———––––                                  Ivermectin(activeingredient)is a mixture of not less than
                                                       80% component Bla (5-O-demethyl-22,23dihydro-
                                                       avemwctin Al a) and not more than 2070 component B 1b
                                                       (5-Odemethyl-de( 1-methylpropy1)-22,23-dihydro-25-(l -
                                                       methylethyl) averrnectin Ala).

  Synonyrns——————                                      Ivomec

  MaterialStatisticalNumber———                         Not available

  MaterialProduct Nurnber---                           SP-2097

  Intended Use—-—————                                  Antiparasitic agent
2. Composition/Information   on Ingredients
                         Molecular Mokeular
    Comx)onent              Es?m2!&u             CAS Number      Percent(“Al

lvennectin (hmp. Bla        C@@]4        875      70288-86-7     CS.100
           Comp. B1b        C@@14        861       (mixture)

   EC Label                                            Not applicable
3. Hazards Identification
Appearance—————                                        Clear, moix off-white to slightly yellow powder

  Emergency Overview                                  CAUTION!
                                                      Antiparasitic agent.
                                                      Toxic if swallowed.
                                                      Hannfid in contact with skin
                                       ,              May  be harmful if inhaled.
                                                      Very toxic to aquatic organisms.
                                         *** Continued on next page ***



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PRODUCT NAME:   lVERME~                                PAGE: 2 OF 9             -        –
PLANT MSDS CODE: PR-020                            Date: 1{96

                                             Avoid contact of spilled material with soil. Do not allow
                                             any water potentially contaminated with ivermectin
                                             including storm water, runoff fbm spills and fire fighting
                                             activities and contaminated wastewater to enter any
                                             waterway, drain or sewer.

  PotentialHealthEffects————                 Overexposure to ivermectin may cause drowsiness,
                                             depressed motor activity, slowed breathing, dilation of the
                                             pupils, tremors, vomiting, anorexia and incoordination.

4. First-Aid Measures

    Eye Contact—— -—-----                    Flush with plenty of water for 15 minutes. Seek medical
                                             attention if irritation occurs.

    Skin Contact         ----                Wash with soap and water. Seek medical attention if
                                             symptoms appear.

    Inhalation           —-                  In case of accidental overexposure, get to fresh air. If
                                             irritation occurs get medical attention.

    Ingetion           ..——                  If ingested, call a physician or Poison Control Center
                                             immediately. Drink one or two glasses of water and
                                             induce vomiting by gently touching the back of the
                                             throat with finger. Repeat until vomit fluid is clear. Do
                                             not induce vomiting or give anything by mouth to an
                                             unconscious person.

   NoteiOPhysicians———                       Sinceivermectink believedto produceeffectsthat mimic
                                             enhancementof GABAactivityin animals,it is probably
                                             wise to avoiddrugsthat enhanceGABAactivity
                                             (barbiturates,benzodiazepines,valproicacid) in patients
                                             with potentiallytoxicivcrmectinexposure.                ../’
5. Fire-Fighting Measures

  FlashPoint (Wl%+—————                      Not applicable

  Flash Point Test Method--                  Not applicable
                                *** Continued on next page ***




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 Ivermectin                                                                                               F-87
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 PRODUCT NAME:        IVERMECTIN                      PAGE 3 OF 9
 PLANT MSDS CODE: PR-020                          Date: 1/96
 Flammable Limits-LEL (%)—                            Not appkable
           -UEL (%)—                                  Not applicable

   Autoignition Ternpemture (O(YF)-                   Not available

   Oxidizing Propeties—                               Not available

   Combustibility information—                        Not available

   Dust Explosivity Information—                      Not available

   Shock Sensitivity -----                            Not available

  FireiExplosion Hazards-------                       Materialwill bum if ignited. Can form explosive mixture
                                                      with air in dusty conditions.

  Extinguishing Media—---                             Use water spray or all purpose dry chemical. Water
                                                      contaminated with iverrnectin should be contained and not
                                                      discharged to any waterway.

  Special Fire Fighting Procedures-                  Avoid creating significant airborne dust. Use fill
                                                     protective clothing and self-contained respiratory apparatus.
                                                     Contain all water potentially contaminated with ivermectin.
                                                     All exposed personnel and equipment should be
                                                     dccataminated at the site.

  Hazardous Decomposition Products Resulting From a Fire-If    involved in
                                                     a fire, toxic gases including carbon monoxide and carbon
                                                     dioxide may be generated.
6. Accidental Release Measares
Personal Preeautions—                                Immediately contact emergency personnel. Keep
                                                     unnecessarypersonnel away. Use suitable protective
                                                     equipment. (Section 8) Follow all fire fighting pro-es
                                                     (Section 5).

  Environmental Precautions—                         Ivennectin is very toxic to certain aquatic species. Avoid --
                                                    contact of spilled material with soil. Do not allow any
                                                    water potentially contaminated with iverrnectin including
                                                    storm water, runoff fi-omspills and fire fighting activities
                                                    and contaminated wa.stewaterto enter any waterway, drain
                                                    or sewer.
                                       *** Continued on next page ***



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 Ivermectin                                                                                                   F-88
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 PRODUCT NAME:   IVERMECTIN                                      PAGE: 4 OF 9              ~
 PLANT MSDS CODE: PR-020                                     Date: 1/96
 Methods for Cleaning Up—                              If emergency personnel are unavailable, vacuum or
                                                       carefidly scoop up spilled material and place in an
                                                       appropriate container for disposal by incineration. Avoid
                                                       contact of spilled material with sod. Do not allow any
                                                       water potentially contaminated with ivermectin including
                                                       storm water, runoff from spills or fie fighting activities and
                                                       contaminated wastewater to enter any watenvay, drain or
                                                       sewer. Residual surface material should be removed with
                                                       towels moistened with methanol.

  For additional assistance in the U.S., CHEMTREC provides a toll-free
                                                     Hotline for chemical emergencies
                                                     regarding spills, leaks, exposure or accidents:
                                                     1-800-424-9300.

 7. Handling and Storage

 Flandling——————                                       Compound should be handled in a contained area with
                                                       access limited to authorized personnel and managed so that
                                                       material is prevented iiom entering unregulated areas.

  Storage———                —                          Store in a tightly closed container in a cool, dry well
                                                       ventilated location.

  Other-———                                            Protective clothing must be removed prior to leaving the
                                                       controlled area. Showers are required after handling the
                                                       material at the end of the workday. Always wash hands
                                                       with soap and water prior to eating, drinking, or smoking.

8. Exposure Controls/Personal         Protection



                        OSHA               ACGIH               Merck
                Permissible               Threshold           Exposure
              Exposure Lmit              Limit Value       Control Limit
  QmQQW?X~_fXLXl_                                         .~.

  Ivermectin     Not established   Not established     0.08 mg/m3
                                     (8hr-lwA)

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Ivermectin                                                                                                 F-89
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PRODUCT NAME:          IVERMECTIN                  PAGE: 5 OF 9
PLANT MSDS CODE: PR-020                        Date: 1/96
  -----          . .
  Lnstmeenrw ~on rrol~
   Ventilation                                       Loeai exhaust ventilation must be provided where dust may
                                                     enter the workroom environment. Containment areas
                                                     should have dedicated exhaust and dust collection systems
                                                     (HEPA filters or eolleetors).

  Personal Protective EauiDment

   Respiratory—----                                  An approv@ properly fit teste~ HEPA filtered
                                                     cartridge respirator,or a respiratorof greater proteetio~
                                                     is required for handling the powder.

   HanddAnns————               -.                    Latex gloves, or gloves providing greater protectio~ are
                                                     required.

   EyefFace–—----                                    Safety glasses are required. Goggles, face shield or
                                                     other full-face protection is required if potential exists
                                                     for direct exposure to dust or aerosols.

  Additional Protective Equipment-                   FuIl body garments should be worn when
                                                     handling this compound. Disposable clothing including
                                                     tyvek suits, head cover, arid shoe protectors should be
                                                     worn.
9. Physieal and Chemical Properties
Appeamnce          —                                 Clear, moi.sgoff-white to slightly yellow powder

  Odor/Threshold Level @pm)—                         Odorless

  pH                                                 Not applicable

  Boiling PointfRange (oCJW+——                       Not applicable

  Melting Point/Range (°C/OF)—                       Approx. 150°C (302°F)

  Volubility in water                                Negligible

  Partition Coefficient (ICowj--                     Not available

  SpeCific Gravity (Wa~l)---           ,             Not applicable

  Vapor Density (Air= l)---                          Not applicable
                                      *** ~ntinued   on next page ***



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Ivermectin                                                                                                         F-90
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PRODU~ NAME: IVERMECTIN                                        PAGE: 6 OF 9                        -
PLANT MSDS CODE: PR-020                                Date: lt96
  Vapor Pressure (rnrnHG @ O@F)---                     Not applicable

  Volatile Components (VOw/w)–—                         0%
10. Stability and Reactivity
Stability—---–––                                       Stable compound under reasonably foreseeable conditions
                                                       of storage and use.

  Conditions to Avoid——---                             None known

  Incompatibilities         —                          Can be hydrolyzed by strong caustic solution.

  Hazardous Polymerizations———                         None known

  HazardousDecomposition Products-                     If involved in a fire, toxic gases including carbon monoxide
                                                       and carbon dioxide may be generated.
11. Toxicological Information
J%imarvRoute(s) of Entrv--                             Inhalation: Yes
                                                       Ingestion: No
                                                       Skin Contact: Yes

  Toxicitv Data

            JVERMECTIN

         I&I              SEEc!Es                 Rom                                  REXJLT
         LD50             Mouse                   old                                  25 mgllcg
         LD50             Mouse                   Intraperitoneal                      30 mgikg
         LD50             Rat                     oral                                 50 mgfkg
         LD50             Rat                     Intraperitoneal                      55 mglkg
         LD50             Rat (infant)                                                 2t03mg/kg
         LC50             Rat                     Inhalation                           *
         LD50             Rat                     Dermal                               More than 660 mg/kg
         LD50             Rabbit                  Dennal                               406 mg/kg
         LD50             Dog                                                          About 80 mgllcg
         LD50             Rhesus monkey           oral                                 More than 24 mgkg
         Irritation       Rabbit                  ocular                               Very slightly irritating
         Imitation        Rabbit                  Dermrd                               Non-irritating

         *Maximum attainable concentration of 5.11 mg/liter produced tmnsient
         irritation of mucous membranes but no deaths or other signs of toxicity after 1 hour exposure.
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PLANT MSDS CODE: PR-020                              Date: 1/96

  Effects of Acute ExDosurQ

    Eye Contact                                Slightly irritating to the eyes in animal studies.

    Skin Contact                               Non-h-hating in animal studies. Prolonged or repeated
                                               contact may cause irritation andlor drying and cracking
                                               of the skin.

                                               An acute inhalation study demonstrated a low order of
                                               toxicity in animals by this route but this is accounted for
                                               by the large particle size of the sample used in this test.
                                               Inhalation is considered the primary route of exposure
                                               to the dry solid compound.

    Ingestion——————                            Iverrnectin is considered highly toxic in acute animal
                                               studies although rodents were shown to be more
                                               sensitive to ivermectin compared to other species.
                                               Ivermectin is used at a therapeutic dose of 0.2 mg/kg,
                                               without signs of toxicity, in a variety of species
                                               (including humans).

                                               Based upon studies in animals and cases of accidental
                                               ingestion in humans, overexposure to ivemwctin may
                                               cause drowsiness, depressed motor activity, slowed
                                               breathing, dilation of the pupils, tremors, vomiting,
                                               anorexia and incoordination.

  FffeCtsof Chronic Exnosure—                 lkre were no grossor histologicchangesobsenwl in dogs
                                              treatedwith ivermectin for 3 months or in monkeys treated
                                               for 2 weeks. Changes in the’spleeq bone marrow and
                                               kidneys were reported in rats treated fa 3 months. Signs of
                                               toxicity reported in these repeatdose studies were similar
                                               to those observed following acute overexposure. The
                                               lowest no-effect level reported was 0.4 mgkgklay.
                                               Iverrnectin produced developmental toxicity in animals
                                               only at or near dose levels that were matemally toxic. No
                                               evidence of genotoxicity was found in a battery of assays.

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PRODUCT NAME:   IVERMECTIN                                 PAGE: 8 OF 9
PLANT MSDS CODE: PR-020                                Date: 1/96

  Carcinogen Designation—                        Not listed as a carcinogen by NT’P,IARC or OSHA.

  Medical Conditions Aggmvated by Exposure- None Imown

12. Ecological Information

  EnvironmentalFate———                           Ivermedin photodegrades rapidly in the environment and is
                                                 metabolized in the soil. Water volubility is limited and it
                                                 binds to soil very tightly. It does not bioconcentrate in fish
                                                 and is not takenup from soil into plants. Both aquatic and
                                                 terrestrialstudiesconfirm the rapid degradation of
                                                 ivermectin in the environment and its lack of accumulation
                                                 and persistence.

  EnvironmentalEffects-—--                       Ivermectin is very toxic to certain aquatic species.

   LC50 - Daphnia rnagn~ 48 hours          = 0.025 ppb
   NOEL (No-Obsemtble-Effect Level) - Dadmia mama = 0.010 ppb
   LC50 - rainbowtrou496 hours           = 3.0 ppb
   LC50 - bluegill sunfkh, 96 hours      = 4.8 ppb

13. Disposal Considerations

  Waste Disposal Information—                             is very toxic to certain aquatic species.
                                                 Iverrnectin
                                                 Avoid contact of spilled materialwith soil. Do not
                                                 alIow any waterpotentially contaminated with
                                                 ivermectin including storm water, runoff from spills and
                                                 fire fightingactivitiesand contaminatedwastewaterto
                                                 enteranywaterway,rhainor sewer. Residualsurface
                                                 materialshouldbe removedwith towelsmoistenedwith
                                                 methanol.

                                                 Incinerate all spill materials and residues at temperatures
                                                 greater than 600°C.



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  Ivermectin                                                                                            F-93
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 PRODUCT NAME:   IVERMECTIN                                     PAGE: 9 OF 9
 PLANT MSDS CODE: PR-020                                    Date: 1/96

 14. Transport Information
   Shipninz Desc rintion

   U.S. DOT-                                         Toxic soli~ organic, N.O.S. (ivermectin), 6.1, UN281 1,
                                                     PGII

   IATA/TCAO———
              ------                                 Toxic soli~ organic, N.O.S. (ivermectin), 6.1, UN28 11,
                                                     PGII

   IMO——                    —                        Toxic soli~ organic, N.O.S. (ivermectin), Class 6.1,
                                                     UN2811,11

   ADR-RID–—-——–——                                   Not available

 15. Regulatory Information
   U.S. FederalRemdation~                            Not available

   ~ntemationalRezulations—                          Not available

   StateRemdations                                   Not available

 16. Other Information
   Date Prepared———                                  June 1989

   Last Revision Date-                               January 1996

   MSi)S Coordinator                                 1-908423-7926
                                                     Merck &Co, Inc.
                                                     One Merck Drive
                                                                  WS2F-48
                                                     P.O. BOX I(M),
                                                     Whitehouse &atio~ NJ 08889-0100
                                                     U.S.A.


   Disclaimm While this information and reaunrnendationsset forth
          are believed to be accurate as of the date hereof,
          MERCK & CO, INC. makes no warranty with respect hereto
          and disclaims all liability horn reliance thereon.




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      ;~
                                   ~       DEPARTMENT           OF HEALTH & HUMAN SERVICES
    :(                              z                                    .
                                           Public Health Service
    .2            (                ~$
     .W                                      Food and Drug Administration
      *                        ,’c, .“
     @ .&>                                           ‘“
        ~ W$                                 Center for Drug Evaluation and Research
         ‘-. o            %.~?’”’
             ..O USA   ‘- .- ““”

     MEMORANDUM




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    Mectizaa was submitted to the Division of Anti-infective Drug Products on March 29, 1995. The
    document was reviewed by the Supervisory Microbiologist prior to assignment and it was determined
    that no microbiological data had been submitted with the document. There were two possible
    administrative decisions that could be made regarding the fileability of this submission. The first was to
    make the NDA nonfileable because a microbiology section was not submitted with the NDA. This class
    1P drug would then have been returned to the applicant with a portion of the user fees deducted
    according to convention. The other possibility was to accept the NDA even though the microbiology
    section was missing.
The possibility of accepting the Mectizan NDA was discussed with the medical officer. The focus of the
discussion was to determine what additional information could have been required for microbiology that
would cast doubt on the efficacy of iverrnectin. It was reasoned that the establishment of
microbiological efficacy was provided for in the clinical study since the establishment of efficacy was
based on microscopic examination of stool (Strorzgy/oidiusis ) samples or skin microfilariae
(Onchocerciasis) geometric mean counts. Thus, clinical and microbiological eflicacy could be          -
assessed. The problem was then viewed horn the labeling perspective. The question was asked” What
statements were being made in the microbiology section of the package insert (PI) that require
verification?” In fact, no rnicrobiology,section was provided for in the original PI. The information that
was included in the PI, at the request of the FDA, was “reviewed” by microbiology. The information
appears reasonable but verification of the truthfulness must reside with the person requesting its
inclusion. From the microbiological perspective the NDA can be approved.




                         _         _..——     .—.
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              MEMOIUNDUM                        OF TELEPHONE CONVERSATION

NDA          50-742

Drug     :               Ivermectin
DATE :                   November         21,   1996
SUBJECT          :       CMC issues/Phase                   4    commitments

BETWEEN :                Representative            of           Merck         & Co,      Inc.

                         Kenneth    Brown,    Regulatory                        Affairs
                         Frank   Recci,    Regulatory                        Affairs

             Danville,           PA:
                    David     Long,    Tech.     Operations
                    John     Graves,     Tech.    Operations
                   Michael       Kovach,      Tech.    Operations
                   Randy      Hall,     Plant    Manager
             Rahway,     NJ:
                   Richard       Steinbach,       CMC
                   James      Buckley,       CMC

AND:                   Representatives                 of        the        Division        of   New Drug         Chemistry:
                       Bonnie         Dunn,     Ph.D.,            Chemistry

                       Representatives               of          the        Division        of   Anti-infective            Drug
                            Products:

                       James         Timper,     Chemistry
                       Pauline          Fogarty,     Project                   Management          Staff


Background:          An approvable          letter     was issued          on October           8, 1996,
with     CMC issues       to be addressed           by the applicant.                On October           15,
1996,      the    applicant         responded       to   the      approvable         letter.           Upon
review       of     the     response        Mr.    James       Ti.mper       felt      that       further
elaboration          was     required,        however,       this      could      be     accomplished
through        a phase       4 commitment.             The     attached        was     faxed       to”the
applicant        and a teleconference              was held        in which        the     issues      were
discussed.

P4erck        stated         that:

1.       The           particulate              impurities                     found         in   failed       batches       of
         avermectins                   bulk’     intermediate                          have     been      identified         as
         triglycerides                     and     phospholipids                           that      are     produced        in
         competition                  with   the      avermectins                       in the    fermentation         step.


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       The   observation Document
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                                    the Filed  on 06/02/22
                                           insoluble       in TXSD
                                                         brown       Page 381 ofin382the
                                                                 particles
         avermectins             bulk       intermediate                would    warrant           rejection                Of   the
         batch     for       human        use.

 3.      They     would      submit      to               the   NDA representative                          chromatograms
         showing       the    resolution                    and  detection       limit                 of      the   process
         impurity       B2=.



 DAIDP    agreed:            that     the        applicant’s             explanation             was        satisfactory.
                             Therefore,             the      application             can    be     approv~d            without
                             a   phase       4    Commitment.


The    teleconference               concluded              amicably.




                                                                       \&f
                                                                       P uline
                                                                        egula
                                                                                       Fo   arty
                                                                                            Heal       h     Manager




cc : NDA 50-742                                                        Concurrence           Only:
Div.Fi.le
HFD-520/Coyne

:R=:::f::::::            >~\++6
HFD-830/ESheini.n                        li\2+~
HFD-830/BDunn            e
HFD-520/Fogarty                                                     HFD-520/JBona
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    Ivermectin         50-742



    Commitment:    Attempt to provide an in-process                   control to assure that failed               batches
    of the avermectins  bulk are identified.                                            *



    This can be demonstrated                 by providing    information     on the following:
/

    I. An HPLC chromatogram                  of the avermectins     toluene     extraction    could be an
    adequate       in-process      control    when      the chromatograms       of failed batches          are
    significantly      different    than the chromatograms           of acceptable      batches.         Please
    provide A representative            chromatogram         of a failed and acceptable           batch.


    (1) Please identify         those   aspects      of the chromatogram         that identify     a possible
    failure.
    (2) In the failed batch         chromatography,         please identify    the impurity       Bti.



    Il. An HPLC chromatogram                 could be an adequate          in-process   control     for release        of
    the finished, purified avermectins   intermediate   bulk, when the chromatograms                                of
    acceptable batches are significantly    different than batches that contain &ible
    brown       particles.


    (1) Please provide          a chro-matogram         of an acceptable      and a failed batch.
    (2) Please identify         new peaks or enhanced           peaks in the chromatograms                 of failed
    batches.
    (3) Please identify         the impurity      Baa



    Ill. Continue      the effort    to identify     the compounds         that constitute    the brown
    particles found in the failed             batches of avermectins   bulk. Provide evidence of the
    resolution of the impurities              in the chromatogram    which is used to control the
    isolation     of avermectins.


                                                                                                                            .
